Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 1 of 439 PageID #: 212



   1                   UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            BEAUMONT DIVISION



     Bruce Cohn,


                   Plaintiff,                  Case No. 1:24-cv-00337


           v.


     Anna Popescu, TrustHFTwallet.com,         Declaration of Bruce Cohn
     and John Does 1 – 20,


                   Defendants.



          I, Bruce Cohn, state and swear as follows.

          I.     Introduction

          1.     My name is Bruce Cohn. I am of sound mind and capable of

    making this Declaration. I have personal knowledge of the facts stated herein.

          2.     I am the Plaintiff in this matter. I am submitting this

    Declaration in support of my Motion for Preliminary Injunction.

          II.    Chronology & Evidence

          3.     My first contact with the TrustHFTwallet scam was through a

    dating platform. I matched with a woman claiming to be named Anna

    Popescu in early June 2024. She soon suggested that we talk on WhatsApp.

    A true and correct copy of my WhatsApp coversations with Anna Popescu is

    attached hereto as Plaintiff’s Exhibit 1-A. I also later exchanged emails with

                                         -1-
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    Anna. A true and correct of my email exchange with Anna is attached hereto

    as Plaintiff’s Exhibit 1-B.

          4.     Anna and I began messaging frequently on WhatsApp. Anna

    told me that she was born in Romania but lived in Los Angeles and worked

    as a brand manager at a fashion company. After some time, our conversation

    turned to topics related to investment and finance. Anna told me that she had

    been trading cryptocurrenies for six years and had made significant profits

    using a “short-term trading platform” called TrustHFTwallet. She said that

    she would “teach [me] how to make money in the short-term Bitcoin market.”

    Throughout the events that followed, Anna provided me encouragement and

    guidance in crypto trading, while maintaining the pretense that we were also

    developing a romantic relationship.

          5.     At Anna’s suggestion, I made an account on TrustHFTwallet.

    Anna walked me through the steps of using U.S. dollars to purchase

    cryptocurrencies    on   legitimate   cryptocurrency   exchanges   and   then

    transferring those cryptocurrencies to TrustHFTwallet. Over the period from

    June 10 to July 15, 2024, I transferred cryptocurrencies with transaction-date

    U.S.-dollar value of $2,465,789.99 to deposit addresses provided to me by

    TrustHFTwallet. A true and correct statement of my outgoing transactions to

    TrustHFTwallet is attached hereto as Plaintiff’s Exhibit 1-C.

          6.     Throughout this period, the TrustHFTwallet platform appeared

    to be working as a legitimate investment platform. Over time, my purported



                                          -2-
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    balance on the platform grew to $5,191,779.30. A true and correct of a

    compilation of screenshots showing the TrustHFTwallet platform as it

    appeared from my perspective is attached hereto as Plaintiff’s Exhibit 1-D.

          7.     Over time, I tested my ability to make withdrawals from the

    TrustHFTwallet platform. The platform did allow me to make nearly

    $100,000.00 in withdrawals to my external accounts. This is what made the

    scheme seem so real. I was able to withdraw real assets. But, in mid-July, I

    tried to make larger withdrawals of approximately $50,000.00 worth of crypto

    assets at a time. I was repeatedly blocked from doing so. I messaged at length

    with TrustHFTwallet’s “customer service” about my inability to withdraw

    these assets. A true and correct copy of my messages with TrustHFTwallet is

    attached hereto as Plaintiff’s Exhibit 1-E.

          8.     TrustHFTwallet ‘support’ told me that my account had

    withdrawal restrictions, such that I could only withdraw more assets if I

    “upgraded” to the “VIP2 Level.” I was told that this would require my account

    to have a value of $10 million. I had already emptied my own financial

    accounts at this point and was not willing to go further.

          9.     Through online research, I learned about pig-butchering scams.

    I immediately understood that I had been the victim of such a scam, which

    has only been confirmed as I have cooperated with law enforcement and

    prosecuted this case in the months since.




                                         -3-
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          10.      I hired, Nefture, a blockchain-investigations firm, to trace the

    crypto assets that I transferred to TrustHFTwallet. A true and correct copy

    of the tracing report that Nefture producted is attached hereto as Plaintiff’s

    Exhibit 1-F.

          11.      The Defendants’ scam has been devastating for me, both

    financially and emotionally. I am pursuing this litigation and cooperating

    with law enforcement in the hopes that some of the assets controlled by the

    TrustHFTwallet scammers might be preserved for eventual recovery.

                          [SIGNATURE PAGE FOLLOWS]




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                                VERIFICATION

          I, Bruce Cohn, hereby verify and declare under penalty of perjury

    that the foregoing is true and correct.




                                              __________________________
                                              Bruce Cohn


                                              Dated:    09/06/2024




                                       -5-
                                                                                             Page 1
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                                         Anna Popescu
                    1-A
                                           Jun 9, 2024

Messages and calls are end-to-end encrypted. No one outside of this chat, not
even WhatsApp, can read or listen to them.
                                                                           6:16:57


Anna is a contact.
              6:16:57


Hi Bruce.
I'm Anna.
    6:10:45




<attached: 00000004-
PHOTO-2024-06-09-18-10-5
6.jpg>




                          6:10:56


                                                         Hi Anna!
                                                         Great to be off of MM and connected here.
                                                                                            6:28:29




                                                                          <attached: 00000006-
                                                                          PHOTO-2024-06-09-18
                                                                          -28-50.jpg>




                                                                                            6:28:50


I am also happy to contact you here
                               6:38:07


Wow, you have a beautiful nose, it would be even better if your smile was deeper.
!
                                                                             6:38:35
                                                                              COHN0001
                                                                                         Page 2
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                                                             <attached: 00000009-
                                                             PHOTO-2024-06-09-18-45-44.j
                                                             pg>




                                                                                         6:45:44


                                                                You look gorgeous in your pic.
                                                                                         6:46:36


Thank you, I'm glad to hear that.
                               6:47:04




<attached: 00000012-
PHOTO-2024-06-09-18-
47-37.jpg>




                     6:47:37




<attached: 00000013-
PHOTO-2024-06-09-18-
47-38.jpg>




                    6:47:38




                                                                         COHN0002
                                                                                            Page 3
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<attached: 00000014-
PHOTO-2024-06-09-18-
47-38.jpg>




                     6:47:38




<attached: 00000015-
PHOTO-2024-06-09-18-
47-38.jpg>




                     6:47:38


I was in Bucharest last year
                      6:47:42


                Fantastic photos of you! They look professional. Romania " is on my list to visit.
                You could easily pass for being Romanian and many other ethnicities. What’s
                your background?
                                                                                            6:50:43


Thank you. I will briefly introduce myself.
                                     6:51:52


I am 44 years old and have been divorced for 6 years. I weigh 134 pounds, I am 5
feet 7 inches tall, and I am currently single. I was born in Romania and grew up in
Bucharest. I came to the United States in 2018 and work and live in Los Angeles.
I am a brand manager at Fashion Brand Agency, Inc. in Los Angeles. I am also a
fashion designer. I am responsible for managing the fashion brands represented
by the company, developing brand promotion strategies, and increasing brand
value and market share. This is just a small business with only 37 employees.
                                                                             6:53:05




                                                                              COHN0003
                                                                                                Page 4
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                 Aha my intuition was right - that you are Romanian. I have to confess that I think
                 Romanian women are the most beautiful women in the world! #

                 Thank you for sharing a bit about yourself. I see see and feel your flair for fashion
                 design which suits you. My hit is you are truly talented in this field which brings
                 you passion and joy. Love that you are involved in a business which has been a
                 big part of my success in life.
                                                                                                6:58:49


Thank you for the kind words! I am indeed Romanian and I’m glad to hear that
you appreciate Romanian women. I’m also thrilled that you see my passion for
fashion design and that you believe in my talent in this field.
                                                                            7:02:54


Can you tell me a little bit about yourself?
                                      7:46:48


                 Okay here goes and is a bit about me. !

                 I was born and raised in the San Francisco Bay Area (San Rafael). I have one
                 sister that still lives there and also have one 25 year old son that is taking time
                 off from being a professional soccer player and is currently traveling his dream
                 trip in Europe right now.

                 I migrated north after college. I’ve lived in Ashland, Eugene and Portland for
                 many years and it was a better business opportunity that brought me originally
                 up to Seattle to the big apple of the Northwest.

                  I’m a new arrival to SoCal and Encinitas. After 30+ years in Seattle, I decided to
                 sell my home and move back to warmer, sunny California last May where people
                 are easier to meet. I purchased a beautiful home In Encinitas and after a big
                 remodel moved in just this last November. I love living here in Encinitas which is
                 a super high vibe community to live, work, play, and grow within. I also love living
                 next to the ocean and am definitely a water person. So I'm relatively new to
                 this area and I'm looking for a good tour guide. Know one? Haha

                 I definitely have a good rag to riches success story to tell you about being an
                 entrepreneur and my business. It’s another journey that deserves to also be told
                 in person Going from being a poor pauper sleeping on the church floor in
                 Ashland, Oregon to selling a successful multi-million-dollar sheepskin business
                 in 2008. The biz was multi-channel selling all genuine, high quality sheepskin
                 products – footwear, beautiful long wool rugs, car seat covers and accessories. I
                 used to call it my soft-wear business (ha!).

                 In the beginning I quickly learned that since it was a seasonal product, I only
                 needed to work six months out of the year. This afforded the time to take off and
                 go travel the world the rest of the year. As I already shared, I finally sold my
                 company to a former Microsoft employee and his brother – closing the deal in
                 Feb 2008.

                 Now I am in chapter two as a stock trader and helping people utilizing my gifts as
                 a Healer/coach. Since selling my company, I don’t need to work to make a living
                 because I make the bulk of my income through trading in the financial markets
                 which gives me complete freedom to live my best life and travel the world. The
                 only thing missing is meeting my beloved partner to share the journey together.
                                                                             COHN0004        8:03:46
                                                                                                  Page 5
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 10 of 439 PageID #: 221
Wow, what an incredible journey you've been on! From the San Francisco Bay
Area to Seattle and now settling in beautiful Encinitas, it sounds like you've
experienced so much. Your entrepreneurial success story is truly inspiring and
it's amazing to hear how you've found success as a stock trader and healer/
coach.
                                                                              8:08:15


So what do you like to do in your free time? I like fitness, traveling, photography,
art, reading, and investing.
                                                                                8:11:04


But I prefer traveling (experiencing the charm of different cultures) and short-
term two-way trading of BTC (making me a lot of profit) $ , I don’t know if you
like any of my hobbies
                                                                              8:13:39


Hope you can sleep well tonight. Good night
                                        8:36:23


                        I will answer you tomorrow Anna. - Goodnight! May all your dreams be as
                        beautiful as you are.
                                                                                                 8:37:50


                 My hobbies and interests are quite wide and varied. And I loive and enjoy all the
                 things you like.
                 For fun I enjoy life, so the skies are the limit both what I like to do: Hiking, beach
                 walks, cycling, road trips, pickleball, live music, sporting events, hit the gym,
                 hang with friends, dancing, attend live events, live theatre, TedX, movies,
                 farmer’s markets, cooking (I’m a really good cook), photography, reading,
                 sailing/boating, exploring a coastline, immersing in a culture and of course
                 traveling to most any beautiful beach in the world. !
                                                                                                 9:22:32


                 OMG So cool - I love all of your hobbies Anna!!! Awesome sauce that you trade
                 BTC. So do I and own several Bitcoin. I love to trade crypto and in the stock
                 markets. I've been trading for a long time and do really well. I trade both stocks
                 and options for short term swings in profit and long term for growth and
                 dividends (income) that give me financial freedom.
                                                                                                 9:28:01


                   Again - seems we have so much in common!! I look forward to talking with you
                   soon and getting to know you better.
                                                                                                 9:29:37


                                                                          *love not loive (typo) Haha
                                                                                                 9:30:34


<attached: 00000033-GIF-2024-06-09-21-43-54.mp4>
                                                      9:43:54


Incredibly, it seems we have a lot in common.
                                         9:44:12


I have been doing this for 6 years
                            9:44:57




                                                                                 COHN0005
                                                                                                 Page 6
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                                                                   <attached: 00000036-
                                                                   PHOTO-2024-06-09-21-45-42.
                                                                   jpg>




                                                                                                9:45:42


I traded stocks, futures, oil, and gold in the early days. But the US-China trade
war and the pandemic caused the stock market to fall, so I switched to
quantitative short-term trading in cryptocurrencies.
                                                                             9:45:42


                    Wow I also traded Gold. Cryptocurrency is a traders dream because of the
                    volatility and opportunities to book short term profits. I did really well trading
                    Solana and chain link this year.
                                                                                                9:48:42


Yes, the bull run we are experiencing right now is very good for my portfolio.
I know the crypto market has had incredible growth in the last 6 months. The low
was 15k and the high was 72k. Some people predict that crypto will reach 100k
by 2025
                                                                                9:51:18


Do you trade crypto on Solana and chain link?
                                             9:51:40


I use Strike and Trust Wallet most often
                                   9:54:34


                 Yes I agree with others that BTC will easily hit 100k. This is due to the BTC ETF’s
                 that started trading this year. They have to buy BTC to back the shares in the
                 funds. And with the recent halving there isn’t enough BTC to buy to cover the
                 demand. I own the IBIT BTC etf which is owned by BlackRock the largest asset
                 manager in the world.

                 Yes I trade both Solana, ETH, Avalanche and BTC on chart patterns that I use to
                 buy at support and sell into strength. I also use the Trust Wallet
                                                                                                9:58:14


What trading platform do you use?
                              9:58:50


Since the war, although Bitcoin has continued to rise, its volatility is quite
unstable. I am currently doing short-term cryptocurrency trading investments of
60 seconds to 180 seconds. When a good trend node appears, I will get a 10%
profit from it. -16% profit, every profit I make can be withdrawn to my bank
account at any time
                                                                               9:59:34
                                                                                COHN0006
                                                                                                   Page 7
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 12 of 439 PageID #: 223
Glad we're both investment junkies. lol
                                    10:00:45


                       Coinbase Advanced Trade and Kraken. I would love to learn more about your
                       trading software and platform.
                                                                                                  10:00:53


                                                                           We are investment junkies lol
                                                                                                  10:01:15


                       We have the potential to be a power couple! And have so much fun together.
                                                                                                  10:02:29


This is one of the cryptocurrency exchanges I use most often.
                                                              10:02:29


lol. I sure hope so
            10:02:40


Of course, I also have Kraken, Coinbase
                                     10:03:06




<attached: 00000052-
PHOTO-2024-06-09-22-03-
33.jpg>




                         10:03:33


This is my all cryptocurrency app.
                              10:03:55


                                                    I know so! It’s been amazing so far and so just met!!
                                                                                                  10:04:27


Yes, tell me more about you and your life
                                         10:04:51




                                                                                   COHN0007
                                                                                               Page 8
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                                                                         <attached: 00000056-
                                                                         PHOTO-2024-06-09-22-
                                                                         07-39.jpg>




                                                                                              10:07:39


Wow, that’s cool, you use a Kraken Pro too?
                                       10:08:54


                 There’s much to tell you and share which I would prefer to do so in person. Let’s
                 connect for a phone chat or a video chat ! I’d love to share our stories, hear the
                 voice and feel your beautiful energy.
                                                                                              10:10:44


                                                                lol yes we are indeed kindred spirits
                                                                                              10:11:02


I'm glad to hear that, but I'm so sorry, my daughter is asleep now.
                                                              10:11:14


                   Not tonight- another time this week. So beautiful you have a daughter How old
                   is she?
                                                                                               10:12:11


My daughter Dalia is 12 years old
                            10:12:27


I'm glad you understand, I think I'll call you sometime.
                                                  10:12:42


                What a wonderful age. You are very blessed. Yes I’m here to embrace all that you
                are including your beautiful daughter.
                                                                                              10:13:42


I like text communication very much. I am a relatively reserved person. Text
communication can avoid the awkward shyness when strangers first meet and
can record the wonderful process of our acquaintance very well, so that we can
recall it later. Feel free to go back and browse
                                                                             10:14:22


                                                       Her name is Dalia named after the flower? %
                                                                                              10:14:30


Yes, I can feel it. When chatting with you, your mind is very active. I can hardly
keep up with you. LOL& & &
                                                                            10:15:25


Do you live in Hawaii?                                                          COHN0008
                10:16:13
                                                                                                  Page 9
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                    I do very well with text too. I hope to open you up and learn to trust me so you
                    feel comfortable connecting. I do like phone conversation first without video.
                    Easy to talk this way. It’s the old fashioned way to date someone: '
                                                                                                 10:17:01


                                                          lol no but I do go there often and love it. (
                                                                                                 10:17:49


lol. It's cool, we can text often and call occasionally. I believe our relationship will
become closer and closer as time goes by.
                                                                                 10:18:20


San Diego?
     10:18:42


                                                     Hawaii - I’d love to go there with you one day )
                                                                                                 10:19:13


                   Yes let’s continue to build and nurture our beautiful connection over time. I like
                   your plan and thinking. It aligns with me completely.
                                                                                                 10:20:30




<attached: 00000075-
PHOTO-2024-06-09-22-
20-52.jpg>




                     10:20:52




<attached: 00000076-
PHOTO-2024-06-09-22-20-52.
jpg>




                                10:20:52




                                                                                   COHN0009
                                                                                       Page 10
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<attached: 00000077-
PHOTO-2024-06-09-22-
20-52.jpg>




                10:20:52




<attached: 00000078-
PHOTO-2024-06-09-22-
20-52.jpg>




                10:20:52




<attached: 00000079-
PHOTO-2024-06-09-22-
20-52.jpg>




                10:20:52




                                                                       COHN0010
                                                                                              Page 11
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<attached: 00000080-
PHOTO-2024-06-09-22-20-52.
jpg>




                              10:20:52


My baby girl Dalia.
             10:21:06


Do you have a kid?
             10:21:10


                        What a doll and so precious. Thank you for sharing these photos of her. * +
                                                                                             10:21:50


I like to share everything in my life
                                10:22:38




                                                                           <attached: 00000085-
                                                                           PHOTO-2024-06-09-2
                                                                           2-23-12.jpg>




                                                                                             10:23:12




                                                                           <attached: 00000086-
                                                                           PHOTO-2024-06-09-2
                                                                           2-23-29.jpg>




                                                                               COHN0011
                                                                                             10:23:29
                                                                                                 Page 12
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 17 of 439 PageID #: 228
Your son?
   10:23:29


                                                                                 Yes my son Cameron
                                                                                                 10:23:47


He is very handsome. lol
                     10:23:55


                                                                                  Yep he’s a hottie. Lol
                                                                                                 10:24:21


                                I also want to share everything in my life with you as well. Showing up
                                transparently and authentically with you is how I roll.
                                                                                                 10:25:40


Bruce, I am very happy to talk to you for so long, but it is very late now and I have
to go to bed early because I need to arrange my work in advance tomorrow. After
my observations in the past two days, there will be good data in
cryptocurrencies tomorrow, so I will go home early to check the data and
prepare for short-term transactions in advance. '
                                                                                10:27:04


Me too
10:27:24


                                         Yes I need to get up tomorrow to trade in the stock markets.
                                         Sweet dreams Anna. '
                                                                                                 10:28:19


                                           It’s been a joy. Looking forward to our journey together. ,
                                                                                                 10:29:06


Yes, I can tell you are a positive person and it is a pleasure to talk to you. From
our conversation, I think you are a worthwhile friend and I look forward to more
conversations with you. ! ! ! ! !
                                                                              10:29:39


                                                                              The feeling is mutual -
                                                                                                 10:30:47


sleep tight.
     10:31:08


<attached: 00000099-GIF-2024-06-09-22-31-20.mp4>
                                                        10:31:20


                                                                                 See you in my dreams
                                                                                                 10:32:29


                                               Jun 10, 2024

Good morning, hope you had a good sleep last night. !
                                                       6:59:46


                     Buna dimineata gorgeous! Thank you I did sleep well. What are you excited for
                     today? . % ,
                                                                             COHN0012        7:24:37
                                                                                               Page 13
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 18 of 439 PageID #: 229
Now I'm going to the gym to work out, and then just deal with some simple
business emails. I need to arrange my work in advance today. Go home early to
check the data and prepare for short-term trading in advance./
                                                                             7:27:28




<attached: 00000104-
PHOTO-2024-06-10-07-
28-26.jpg>




                    7:28:26


                                                                                Have a great workout.
                                                                                               7:28:28


And you?
   7:28:39


                I’m on my screens right now making some trades. A couple of my call positions
                are doing well up almost 9% this morning ( $12,000 gain ) - I’m just watching
                them to see if I should book profits or let them run
                After the market closes I will also go the gym and then I need to go to the city of
                Encinitas to drop off some paperwork for the casita I am building out in my home
                to rent out. My rental will bring in some nice cash flow for me.
                                                                                               7:35:26


Wow, that's awesome! Sounds like you're doing well with stock trading. Renting
sounds like a good investment too. Looks like it's going to be a great day. /
                                                                                7:41:37


                   Options trading is where I can make fast money. Yes I’m always looking to add
                   multiple streams of income to my portfolio of assets.

                   It is going to be a great day — and especially having this beautiful connection
                   between us. '
                                                                                               7:46:26


This sounds like a very good idea.
                              7:47:13


Hey Bruce. I just got to the office. Now getting ready to start my day !
                                                                   9:45:13


                                        <attached: 00000112-AUDIO-2024-06-10-09-46-29.opus>
                                                                                               9:46:29


Good morning! Glad to hear you had a great morning. I wish you continued
success and yes, I hope we can text each other when we have time.                COHN0013
                                                                      9:50:38
                                                                                                     Page 14
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Voice call, 8 min
           11:01:31


I'm glad we had a good communication on this call and I hope our relationship
will become stronger and stronger as time goes by !
                                                                                11:21:23


                      Yes I hoe so too and love how we are co-creating a beautiful beginning between
                      us. And I will always strive to bring my best to our relationship to make it
                      stronger and stronger as we continue to journey together.
                                                                                                     11:24:47


                                                                  Hope - not hoe - lol I type too fast m.
                                                                                                     11:25:38


Thank you for your beautiful words. I also believe that our relationship has the
potential to be something truly special.!
                                                                                11:26:38


                                                                                            So do I. , * .
                                                                                                     11:27:21


We have a lot in common and I'm sure we'll get to know each other well. /
                                                                           11:29:00


                  More than you can ever possibly imagine! I have a really good feeling about our
                  potential and how amazing it will become over time as we get to know each other
                  better and better. -
                                                                                                     11:34:03


Wow, that's quite the statement! I'm looking forward to seeing where this
potential takes us. 0
                                                                          11:35:35


                                                                                                    '
                                                                                                     11:37:21


I hope our conversation doesn't bother you from going to Encinitas to file your
paperwork.&
                                                                                11:47:29


                              Not at all. Chatting with you will always be worth the delay in my day. -
                                                                                                     11:49:43


Thanks, I enjoyed chatting with you too. !
                                          11:50:54


I think we'll have a lot to talk about because we have a lot in common. And we're
both investment geeks. lol
                                                                                     11:59:50


                      Yes we will have so much to talk about. You are a fantastic conversationalist and
                      have lots of wisdom to share. Lol Love how we are both investment geeks. So
                      much fun to be able to share this with you. Most people don’t trade crypto. So
                      yes it going to be so fun together.
                                                                                                     12:02:49

                                                                                       COHN0014
                                                                                                  Page 15
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 20 of 439 PageID #: 231
Thank you for your compliment! Cryptocurrency trading is indeed an interesting
topic, and few people know it in depth. I believe we will have many interesting
discussions and exchanges. Thank you for inviting me to participate!1
                                                                                 12:05:20


                                   Haha such a pleasure and look forward to sharing trading tips too.
                                                                                                 12:06:34


Thanks, I'll be happy to share with you when I complete my trade for today.
                                                                          12:08:22


                    I believe that we are still early adopters of crypto and others will follow over the
                    next 2-5 years.

                    1.62b of Bitcoin Shorts sitting at 72.2K 2
                                                                                                 12:08:56


This is definitely an exciting moment.
                                   12:10:36


How much BTC ETH do you own?
                              12:12:06


                            This is going to be the great wealth transfer to those that own BTC, ETH
                            and Solana.
                                                                                                  12:12:08


Yes I agree 3
        12:13:20


There is another secret I want to tell you. Many people in the United States are
now using cryptocurrencies to avoid taxes. People are transferring funds to
cryptocurrency accounts. The government still does not regulate
cryptocurrencies.
                                                                               12:14:45


                   I currently own 4.5 Bitcoin. I used to own 10 but I sold some last year to help
                   finance my house purchase and remodel. I also own 1,000 shares in the IBIT BTC
                   exchange traded fund. It’s a proxy for BTC
                                                                                                  12:14:46


                      Yes this has been happening for a while now. And many are moving to Puerto
                      Rico because they do not tax crypto gains.
                                                                                                  12:16:13


                    If you buy and holdl crypto then you can avoid taxes. Not sell it on an exchange
                    platform. Only exchange it for USDT and use that for payments.
                                                                                                  12:18:16


I don’t hold cryptocurrencies for a long time now, because I am doing short-term
cryptocurrency trading, so I can make a profit regardless of whether the price
goes up or down, but I also need stable data to lock in positions and place
orders.
                                                                                     12:18:29


Yes, it is true and obviously we all know it.
                                         12:20:49
                                                                                      COHN0015
                                                                                               Page 16
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 21 of 439 PageID #: 232
                     You are smart and always trust what trading strategy works for you. I bought a
                     lot of my BTC in 2019 at a low cost basis. And I bought some recently when it
                     dipped below $60k.
                                                                                               12:20:53


Yes, when you hold USDT, you don’t have to worry about the current US
economy or bank failures.
                                                                     12:22:43


                          Exactly. The US dollar will continue to erode over time due to the massive
                          US debt.
                                                                                               12:23:53


                                                                        You are one smart cookie 4
                                                                                               12:24:35


Sorry, I'm glad we talked so much, I need to make a trade in the cryptocurrency
market now, it will take me about ten minutes to complete, I will share it when
I'm done, and share pictures later
                                                                                 12:26:03


Are you willing to wait for me?
                          12:26:15


                             Very cool- thank you *
                             I’ve been waiting my whole lifetime for you! ! So a few more minutes
                             won’t matter.
                                                                                               12:39:56


<attached: 00000150-GIF-2024-06-10-12-42-13.mp4>
                                                      12:42:13




<attached:
00000151-
PHOTO-2024-
06-10-12-42-
36.jpg>




         12:42:36


I finished it. This is what I got. Happy to share.
                                           12:43:09


                    Fabulous that you have 500,000 USDT - so a one dollar move can net you a nice
                    profit!! Thanks for sharing this. Is this in TRUST wallet?
                                                                                               12:44:33


Yes, I use the short-term account of Trust Wallet to trade Bitcoin in short-term.
                                                                                12:45:53

                                                                                    COHN0016
                                                                                                   Page 17
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 22 of 439 PageID #: 233
I commissioned $500,000 in the short-term market of 180 seconds, and my
profit was 16%
                                                                             12:46:19


Because the current Bitcoin market is very volatile, short-term trading is
profitable.
                                                                         12:46:50


In the current market, the profit from long-term holding of Bitcoin is very small,
and the risk is still very high, so I have been doing short-term trading for 3 years.
                                                                                     12:47:53


                    So you essentially borrows the $500,000. I’ve never tried this method before
                    and would love to learn more.
                                                                                                   12:48:12


                  Yes makes sense. I swing trade crypto, but would love to learn more about your
                  short term methods. *
                                                                                                   12:49:06


                  I could send some of my BTC to my trust wallet and convert it to USDT to trade.
                                                                                                   12:51:00


This needs to be done in person. I will tell you my trading process. The Trust
short-term trading account will trade according to the funds I have entrusted. I
observe the Bitcoin market, analyze the market changes and make trading
nodes. When I get the trading nodes based on the analysis, I entrust my funds to
trade in the 180-second market. Trust will complete the transaction based on
the entrusted funds, allowing me to make a profit of 16% of the principal.
                                                                                      12:51:16


You need to create your short-term trading account in Trust first, and then send
your Bitcoin to your short-term account to exchange for USDT. Then I can tell
you the transaction node in the next good transaction, and you can trade
together. After completing the transaction, you can withdraw the profit to your
exchange account
                                                                                     12:52:29


You can open the trust wallet, I will teach you to create your short-term account,
and then complete the security verification of the account. Then you can
proceed to the next step of learning
                                                                                      12:53:11


                                 Will do. How much BTC do you suggest I send to my trust wallet?
                                                                                                   12:53:36


This depends on your own situation. My suggestion is that you can transfer the
Bitcoin you currently hold to a short-term trust account to exchange for USDT.
After completing the short-term transaction, transfer it to the exchange and
exchange it for Bitcoin again. Because I often do this
                                                                                    12:55:34


What exchange do you hold your bitcoins on? Or in a trust wallet?
                                                              12:58:49


                   I never hold crypto on the exchanges. It’s mostly in my cold wallet and some in
                   my exodus hot wallet.
                                                                                                    1:00:01
                                                                                        COHN0017
                                                                                                    Page 18
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 23 of 439 PageID #: 234
You are like me. I only use exchanges to buy Bitcoins and do not store or
hold them.
                                                                           1:00:38


My crypto funds are stored in the trust wallet and trust short-term account
                                                                              1:01:00


                 We are on the same page. I will work on transferring some BTC later today to my
                 trust walle.
                                                                                                     1:03:11


OK, when you are done tell me and I will teach you how to create your own short
term account.
                                                                                        1:04:17


I need to take care of work now, we'll talk later
                                           1:04:30


Today at work. One thing is bothering me 5
                                         2:00:31


                                                               What’s bothering you? I’m here to listen…
                                                                                                    3:01:29


My employee Belinda did not return calls, WhatsApp, texts or come to
work today. 6
                                                                        4:38:43


I've finished my work for the day and I'm home. You?
                                                     4:43:08


                       Sorry to hear that happened. That used to bother me as well when I owned
                       my company.
                                                                                                    4:54:02


Belinda deliberately skipped work today, perhaps because she was dissatisfied
with her performance appraisal. The store manager sent a copy of my work email
to me. I want to express my opinion but also maintain my authority. Do you have
any good suggestions? 6
                                                                                        4:56:03




                                                                                  <attached: 00000179-
                                                                                  PHOTO-2024-06-10-16
                                                                                  -56-15.jpg>




                                                                                                    4:56:15


                                                                                         COHN0018
                                                                                              Page 19
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 24 of 439 PageID #: 235
Wow, that sounds exciting! I can't wait to see the pieces you brought back from
Peru. You can show me the framed artwork.3
                                                                            4:58:48


                  Gosh employee situations are best handled delicately but firmly. I would
                  definitely meet with her and ask her her reason as to why she skipped work?

                  Employees want to be heard even if they made a poor choice or screwed up. I
                  would listen to her explanation and see what she says? Find out her core issue.
                  Then I would directly address her excuse/issue.

                  And of course letting her know that deliberately skipping work isn’t an option.
                  There are better ways to handle grievances/problems than skipping work which
                  affects the company, her coworkers and her future performance reviews and
                  status as an employee of the company.

                  As to action you take if any I’m sure you have the wisdom to know best how to
                  handle this one. Maybe just a reprimand or a warning is enough. You will know
                  best in this situation.

                  Hope this helps. Each situation is unique.
                  You got this!!
                                                                                              5:32:45


                  Like why didn’t she just first come to you directly and express her issue? That’s
                  what I would want to find out.
                                                                                              5:35:55


No. Belinda is a new employee and often makes mistakes, so the old staff trained
and took care of her, but her work attitude was also relatively relaxed. I wanted
to take this opportunity to warn her, but I didn't expect her to be absent from
work like this.



My idea is that last week's performance rating did not meet her expectations.6

I'm considering it. But I still want to give her a chance. 7
                                                                              5:36:11


Because I feel everyone should be able to take constructive criticism. My mantra
is praise loudly and criticize quietly. I always want people to grow from the
experience.
                                                                             5:37:08


                                                                               Yes this is perfect!!!
                                                                                               5:37:34


                                                                    You are an amazing manager!!!
                                                                                              5:38:02


Clothing is an industry that needs to keep up with the latest trends. I am one of
the shareholders of the company and own 30% of the shares. There are store
managers who will handle these issues.
                                                                            5:38:41


<attached: 00000188-GIF-2024-06-10-17-38-54.mp4>                              COHN0019
                                                      5:38:54
                                                                                                  Page 20
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 25 of 439 PageID #: 236
You have time to open the trust wallet now, and I will teach you how to create
your short-term account. This way you can prepare in advance, because I can't
be sure when the next good market will come.
                                                                                 5:40:25


                         Ahh you are an owner!! Well yes thanks for clarifying this for me. I’m not
                         surprised as I find out more and more what an incredible woman you are.
                                                                                                   5:41:14


                                                     I’m driving now and when I get home I will text you
                                                                                                  5:41:37


Yes. Thank you, you are absolutely right. I understand the importance of
addressing her behavior and getting to the root cause. It is important to have an
honest conversation with her to understand what is going on.
                                                                                  5:42:18


Drive safely, we can talk when you get home
                                           5:42:36


                   I’m back home and ready to open my trust wallet. I transferred some BTC into
                   it today.
                                                                                                  5:58:21


OK, you complete the transfer first
                             5:58:45


If you don't understand something, you can take a screenshot and send it to me.
I'll mark the location and tell you.
                                                                                  5:59:08


                                                                          Yes there’s BTC in my wallet.
                                                                                                  5:59:20


Do you need to transfer to a trust wallet?
                                       5:59:54


You can also create a short-term account directly and then transfer to your
short-term account. This is what I usually do.
                                                                            6:00:14


                                                              How do you create a short term account?
                                                                                                  6:00:54


You open the Trust Wallet screenshot, I will teach you how to create a short-
term account
                                                                             6:01:18


Trust short-term accounts need to be linked to and created through the browser
of the trust wallet
                                                                                   6:01:38


                                                     So you are using a laptop and not the iPhone app?
                                                                                                  6:02:19


I did this on my phone. You can also do this on your phone.
                                                           6:02:55

                                                                                       COHN0020
                                                                                          Page 21
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 26 of 439 PageID #: 237
I only observe the market data on the computer and look at the Bitcoin K-
line chart
                                                                   6:03:19


I complete all transactions on my phone.
                                  6:03:28


Because the network of mobile phones is always clean, but the network of
computers may not be clean.
                                                                    6:04:09




                                                                                  <attached:
                                                                                  00000208-
                                                                                  PHOTO-2024-
                                                                                  06-10-18-05-1
                                                                                  5.jpg>




                                                                                           6:05:15




<attached: 00000209-
PHOTO-2024-06-10-18-
06-00.jpg>




                   6:06:00


Return to Trust's homepage
                      6:06:10


                                                                                 Okay. I’m there.
                                                                                           6:06:30


Click Browser in the lower right corner of the home page.
                                                   6:06:59


Then send me a screenshot
                      6:07:03




                                                                              COHN0021
                                                                                         Page 22
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 27 of 439 PageID #: 238




                                                                              <attached:
                                                                              00000214-
                                                                              PHOTO-2024-
                                                                              06-10-18-08-
                                                                              23.jpg>




                                                                                         6:08:23




<attached: 00000215-
PHOTO-2024-06-10-18-08
-46.jpg>




                       6:08:46


https://www.trusthftwallet.com
                          6:08:55


You copy the link and paste it into the place I marked to open it
                                                           6:09:13




                                                                              <attached:
                                                                              00000218-
                                                                              PHOTO-2024-
                                                                              06-10-18-10-3
                                                                              2.jpg>




                                                                                         6:10:32




                                                                         COHN0022
                                                                                             Page 23
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 28 of 439 PageID #: 239




<attached: 00000219-
PHOTO-2024-06-10-18-1
0-46.jpg>




                       6:10:46


Yes
 6:10:49


Enter the homepage of the short-term account
                                           6:10:58




                                                                                     <attached:
                                                                                     00000222-
                                                                                     PHOTO-2024-
                                                                                     06-10-18-12-1
                                                                                     4.jpg>




                                                                                              6:12:14


Have you entered? You can take a screenshot and send it to me, and I will teach
you how to complete the KYC security verification of your account.
                                                                           6:12:17


Yes
 6:12:28


                                                                                Okay what’s next?
                                                                                             6:12:47




                                                                             COHN0023
                                                                                            Page 24
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 29 of 439 PageID #: 240




<attached: 00000226-
PHOTO-2024-06-10-18-12-
48.jpg>




                       6:12:48


                                   Okay I’m there now which menu choice? Account or settings?
                                                                                             6:13:46


Click Settings
        6:13:51


Then click KYC
         6:14:00


Follow the prompts to complete the security verification of your account. You
can use your driver's license to complete it.
                                                                            6:14:14


                                                                                            Got it
                                                                                             6:14:24


Once completed, you can consult customer service to obtain your short-term
account Bitcoin address, and then you can transfer it to your short-term account
                                                                               6:15:06




<attached: 00000233-
PHOTO-2024-06-10-18-20
-43.jpg>




                      6:20:43


Click Customer Service to obtain the Bitcoin address of your short-term
account. You can then transfer Bitcoin to convert it to USDT.
                                                                  6:21:03


The current Bitcoin market is going down, you can reduce your losses by
exchanging it for USDT
                                                                   6:21:25       COHN0024
                                                                                                 Page 25
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 30 of 439 PageID #: 241
Just tell the customer service to give me the Bitcoin address, and then wait for
the customer service to reply.
                                                                                 6:23:03


To transfer Bitcoin addresses, you must copy and paste them. You must pay
attention to this detail and check the address carefully.
                                                                              6:23:52


When I transferred, I got the address wrong, so I must remind you that details
are an important part of success.
                                                                                6:25:29


                                       I have now have the BTC address for my short term account
                                                                                                 6:25:45


Then you can go to your wallet to transfer your Bitcoin to your short-term
account, and then convert it to USDT
                                                                           6:26:20


                                      Yes I learned this early on to always triple check the address.
                                                                                                 6:26:32


                                                                 Where do I paste the new BTC address?
                                                                                                 6:27:05


The transfer is complete. You can take a screenshot so we can check it together.
                                                                                     6:27:05


Open your wallet and transfer your bitcoins to this address
                                                         6:27:27


This address is your trust short-term account Bitcoin address
                                                                6:27:39


Which wallet is your Bitcoin in? Open the wallet, click on Bitcoin transfer, and
then paste the address you obtained.
                                                                               6:28:13


                  Okay got it!!! It’s on the Main account of the trust wallet. I’m about to send it to
                  the short term BTC address
                                                                                                 6:29:31


OK, tell me when it's done, then you can exchange Bitcoin for USDT, wait for a
good market, and withdraw the money to your wallet after the transaction is
completed.
                                                                                6:30:13


Just like I said, you can transfer your Bitcoin holdings, so that your first short-
term trading profit will also be considerable
                                                                                6:30:45


                                                                             It’s underway and pending.
                                                                                                 6:31:22


When I teach you how to make money in the short-term Bitcoin market for the
first time, you will treat me to a feast
                                                                                6:31:30


You can take a screenshot and we can check it together.                               COHN0025
                                                      6:31:42
                                                                                                           Page 26
         Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 31 of 439 PageID #: 242
The transfer of Bitcoin is slow, so you need to wait patiently. Once the transfer is
completed, you can wait for the funds to arrive in your short-term account.
                                                                                           6:33:06


                         I only transferred a small amount for this first setup. Once it’s complete I can
                         transfer more BTC.
                                                                                                            6:33:35


OK, you can wait for the first transfer to arrive in the short-term account before
continuing to transfer the rest
                                                                                          6:34:08


                                                         I will take you out to dinner at an amazing restaurant!!!
                                                                                                             6:34:21


My plan is to plan a $300,000 transaction for you, because the profit is about
$30,000-35,000.
                                                                                       6:34:35


I will eat a lot
         6:34:44


                                                                                                      lol I love it!
                                                                                                            6:35:04


Remember, once the transaction is complete you need to withdraw the funds to
your wallet. This is the safest way to do it.
                                                                                          6:35:21


Will you laugh at me then?
                             6:35:31


                                                            How many bitcoins should I transfer? I have 4 more.
                                                                                                            6:35:49


You can transfer 4 bitcoins, which is about 300,000 US dollars, and withdraw
USDT to your wallet after completing the transaction.
                                                                                        6:36:19


Planned transaction of 300,000 USDT, profit is 30,000-35,000 USD
                                                                             6:36:39


                                                        We will laugh, be joyous and celebrate together!! 8 9
                                                                                                            6:36:58


I like this, celebrating our victory
                                       6:37:21


We can have a drink
                   6:37:27


                                                    Okay now where do I find the short term BTC. It transferred.
                                                                                                            6:39:37


Open your short-term trust account
                                          6:40:21


                                                                                             COHN0026      How?
                                                                                                            6:40:40
                                                                                         Page 27
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 32 of 439 PageID #: 243
Continue to click on the Trust Wallet homepage
                                          6:40:57


Click on the browser
               6:41:06


Then send me a screenshot
                         6:41:11




                                                                                  <attached:
                                                                                  00000274-
                                                                                  PHOTO-2024-
                                                                                  06-10-18-41-
                                                                                  45.jpg>




                                                                                         6:41:45




<attached: 00000275-
PHOTO-2024-06-10-18-42-5
0.jpg>




                            6:42:50


Have you entered?
             6:44:15


The transfer of Bitcoin usually requires waiting. You can click on the account
assets to view
                                                                        6:44:38




                                                                              COHN0027
                                                                                                  Page 28
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 33 of 439 PageID #: 244




                                                                                         <attached:
                                                                                         00000278-
                                                                                         PHOTO-2024-
                                                                                         06-10-18-44-
                                                                                         42.jpg>




                                                                                                   6:44:42




<attached: 00000279-
PHOTO-2024-06-10-18-45-
09.jpg>




                           6:45:09


Click in, click Account
                 6:45:18


If it still doesn't show up, you should wait a few minutes.
                                                         6:46:03


                                            It’s not shown up yet. It’s gone from the main trust account.
                                                                                                   6:46:23


Then just wait a few minutes.
                           6:46:47


Bitcoin transfers are slow
                     6:46:54


How's your drinking capacity?
                             6:47:16


                                                                                           Yes they are.
                                                                                                   6:47:18


What kind of wine do you like to drink?
                                       6:47:24




                                                                                   COHN0028
                                                                                                      Page 29
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 34 of 439 PageID #: 245
                 I don’t drink alcohol anymore. I gave it up 5 years ago for health reasons. I will
                 share my backstory with you next time we talk. However, I would drink a glass of
                 wine with you to celebrate.
                                                                                                       6:49:25


It's great, we can share our stories with each other, so we don't need to rest for
a whole night, because there is so much to talk about.
                                                                                6:50:30


I've been through a lot
                  6:50:44


When I was in the most difficult time, I almost chose to end my life. At that time,
I felt that the world was falling apart.
                                                                                 6:51:17


                                                                           Deal! Looking forward to it.
                                                                                                       6:51:25


                            Wow - We have a lot to share about our dark night if the soul experiences
                                                                                                       6:52:09


Yes, everyone has their own experiences. Sharing with each other is a good
way to
                                                                           6:52:36


do you like travel?
             6:52:44


                                                                                           I love to travel!!!
                                                                                                       6:53:02


I absolutely love traveling. What is your favorite place to go?
                                                           6:53:28


                                                        My heart ❤ is full of sadness when I read this
                                                                                                       6:53:49


Have you checked if the bitcoins have arrived?
                                             6:54:20


I'm a failure in relationships, but I think we should all move on
                                                             6:54:40


If it arrives, you can continue to transfer other funds and then exchange them for
USDT together.
                                                                                 6:55:51


                          No you’re not a failure my dear. It’s just growth and learning on our journey
                          of life.
                                                                                                       6:56:09


I think we should call them experiences as that’s what they are, right? I think we
learn so much about ourselves in a relationship that we can not learn being
alone. I’m a cancer so I love deeply. My love language is touch and quality time
!
                                                                                 6:57:25


What are you doing?                                                                  COHN0029
                7:02:37
                                                                                                     Page 30
            Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 35 of 439 PageID #: 246
                      Yes exactly! Just life experiences that help us become the best version of
                      ourselves. So true that we learn so much about ourselves in a relationship. I have
                      spent a lot of time alone which has been so healthy for me. Who we truly are is
                      constantly being reflected back to us in all our relationships.

                      And I have the same love languages as you!’ Haha not surprised. Touch and
                      quality time ❤
                                                                                                      7:04:17


                                       My BTC arrived!! So do I transfer it back to the main wallet now?
                                                                                                      7:04:51


No, you can continue to transfer other Bitcoins and then convert them to USDT.
                                                                                       7:05:17


Because I will plan tomorrow's market, so I can grasp tomorrow's transactions
                                                                                     7:05:34


Complete short-term transactions and withdraw to your wallet
                                                                7:05:49


                                                                     Got it. I will convey the BYC to USDT
                                                                                                     7:06:03


correct
  7:06:12


You can now proceed to transfer the remaining Bitcoins. I will plan a transaction
of 300,000 USDT in your short-term account.
                                                                                        7:06:35


                                                   I tried to convert the BTC and it says I’m unable to…
                                                                                                     7:08:46


You can send me a screenshot and I'll teach you
                                                7:09:09


                                                                             Oh I did it!! Now I have USDT.
                                                                                                     7:09:38


Yeah, smart.
            7:09:51


                                                     So now transfer the USDT back to the main wallet?
                                                                                                      7:10:11


Now you can send the remaining BTC to your short-term trading account. I'll
take you to trade for 300,000 USDT
                                                                                    7:10:35


                                                                So leave the USDT in the short account?
                                                                                                      7:11:12


No, USDT is a stablecoin and we trade on short-term trading accounts.
                                                                          7:11:27


Yeah, just keep it in your short-term trading account
                                                      7:11:47
                                                                                          COHN0030
                                                                                                         Page 31
         Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 36 of 439 PageID #: 247
                       Okay I will work on transferring the balance of my BTC tonight and then convert
                       it all to USDT. Thank you *
                                                                                                          7:13:00


Yeah, let me know when you're done.
                                         7:13:23


                                                                        I need to go eat some dinner now.
                                                                                                          7:13:31


<attached: 00000325-GIF-2024-06-10-19-14-16.mp4>
                                                            7:14:16


I'll eat a lot
       7:14:22


                       Can’t wait to enjoy food with you! Eating is a wonderful and healthy and can also
                       be very sensual!
                                                                                                          7:20:34


Yeah, you'll see me eating. I'm gonna eat like crazy without any image LOL
                                                                               7:21:06


                                                                                         LMAO ; Your funny.
                                                                                                          7:21:53


I really like food
             7:22:04


                                                                                         Love a foodie like you!
                                                                                                          7:22:32


Of course, when we are in a romantic setting, I also eat gracefully. LOL
                                                                          7:22:33


                                     Glad to know that we won’t need a horse trough for you in a Romantic
                                     setting. Lol
                                                                                                          7:23:52


LOL All you have to do is let go of me and let me eat. You will also fall in love with
delicious food under my infection
                                                                                         7:24:32


<attached: 00000335-GIF-2024-06-10-19-24-44.mp4>
                                                            7:24:44


What's your meal tonight
                           7:27:44


Still enjoying your food
                        8:08:08


                        Yes I just heated up some leftovers along with some steamed veggies. I ate too
                        quickly- sometimes I do this and forgot to slow down and enjoy my food when
                        I’m hungry. I’m cleaning up my dishes now. I’m great at kitchen cleanup!
                                                                                                          8:11:12


                                                                                          COHN0031
                                                                                                 Page 32
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 37 of 439 PageID #: 248
We should enjoy our food slowly. Feel your taste buds jump as the food enters
your mouth.
                                                                               8:12:01


Great. So we can work together, and I can cook for you, and you clean up the
kitchen. LOL
                                                                              8:12:31


                        LOL and visa versa I’m also a very good cook. Better yet we can cook together
                        and co-create a yummy meal. And I love to kiss and cook with my partner. +
                                                                                                  8:15:06


Yeah, that would be great
                         8:15:34


I will be beside you to assist you while you cook
                                                8:16:44


I like it this way
             8:23:36


                          I do too. A playful, loving connection with you and always want to share time
                          together doing the things we both love to do. '
                                                                                                  8:29:19


Yeah, it's so perfect for the two of us. Play together, laugh together. Eat all the
food together
                                                                               8:29:59


                                            LOL as long as you leave some for me to eat. Just kidding.
                                                                                                  8:30:34


LOL Looks like I'll eat less. Or you're gonna eat out of my mouth
                                                                8:31:10


LOL
 8:31:37


                          Hmmm now that could be very sensual if done with some chocolate covered
                          strawberries <
                                                                                                  8:32:21


wow strawberry jam on my lips
                               8:32:47


                       Well there are better parts of the body to use strawberry jam on. Ooh La La. I’m
                       very playful.
                                                                                                  8:35:15


It tastes delicious this way too
                               8:36:22


Now we should finish our business. Send the remaining BTC to the short-term
trading account.
                                                                              8:36:49


                                                                                        Tastes divine!!
                                                                                                 8:36:56
                                                                                    COHN0032
                                                                                                  Page 33
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 38 of 439 PageID #: 249
It's sweet and melts in your mouth
                             8:37:14


                   I sent only 2 bitcoin to my ST wallet for this first trade. I would like to first see
                   how this all works and I might also want to hold some BTC long term. I bought
                   these coins under 10k. You may convert me to sell it all once I see the results.
                   I need to go check my wallet
                                                                                                   8:41:20


Our short-term trading plan is 300,000 USDT trades. You can send the
remaining BTC to your short-term trading account. Then we operate to make
profits on short-term investments
                                                                            8:43:15


Withdraw after completing short-term transactions, this is profitable. The profit
of 300,000 USDT is 30,000-35,000 US dollars
                                                                                8:43:44




                                                                                           <attached:
                                                                                           00000360-
                                                                                           PHOTO-2024-
                                                                                           06-10-20-43-
                                                                                           45.jpg>




                                                                                                  8:43:45


                                                           Are you also trading with 300,000 USDT?
                                                                                                  8:45:00


My account is planned to have 800,000 USDT
                                          8:45:11


My plan today is 500,000 USDT, and I will increase my transaction by 300,000
USDT next time
                                                                              8:45:27


The account planning I gave you is based on 300,000 USDT. Only in this way can
it be profitable.
                                                                                 8:46:20


If you don't increase to 300,000 USDT, I need to re-plan my trading. It doesn't
matter, but the profit will be reduced.
                                                                              8:47:35


You can plan the transaction based on 155,000 USDT, then the profit will be
reduced. The planned profit for trading with 150,000 USDT is about
14,000-16000 USD.
                                                                           8:48:33


                                            Okay I will send the balance. I this is a huge trust issue.
                                                                                 COHN0033         8:51:40
                                                                                                       Page 34
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 39 of 439 PageID #: 250
Believe me, I'm still looking forward to your feast.
                                                   8:52:45


I like good food
          8:53:11


                                                                   I sent enough to make 300,000 USDT
                                                                                                        8:55:27


                                                                                                     I do too!
                                                                                                       8:55:50


Okay, we'll be patient
                    8:56:35


                                      Still waiting for the BTC. Mempool says About another 10 minutes.
                                                                                                        9:19:50


Yeah, well, we just have to be patient
                                      9:20:13


                              The BTC is still unconfirmed. Hope it goes through before I go to sleep. =
                                                                                                       10:13:23


The BTC channel is always crowded, hopefully before you go to bed. Otherwise
I'm afraid you're sleepwalking LOL
                                                                                     10:14:55




                                                                                                <attached:
                                                                                                00000377-
                                                                                                PHOTO-2024-
                                                                                                06-10-22-31-
                                                                                                05.jpg>




                                                                                                       10:31:05


Yeah, it's in your short-term trading account. I thought you were asleep
                                                                        10:31:36


                                 Not yet. So you knowl what time will to be doing your trade tomorrow?
                                                                                                       10:34:47


I'll let you know if there's a good trading node tomorrow. You need to keep an
eye on my news
                                                                                   10:35:16


You know what
         10:35:19


                                                                                         COHN0034     What?
                                                                                                       10:35:42
                                                                                                Page 35
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 40 of 439 PageID #: 251
What I'm saying is you need to keep an eye on me because I'll let you know when
something good happens
                                                                                   10:36:07


Hope you don't miss the trading node
                                10:36:15


                                   Okay what time do you get up in the morning?
                                   And could this trade happen during the night when I’m asleep?
                                                                                                10:38:13


Don't worry, it's late now. We need to go to bed. lol
                                              10:38:33


I usually wake up at 7:30 a.m. to work out and then drive to the office.
                                                                    10:39:11


                                                            Well I don’t want to kiss the trading node.
                                                                                                10:39:15


                                                                   Oops lol I meant Miss not kiss! Lol
                                                                                                10:39:53


Honey, Bruce. Get some sleep and we can talk tomorrow. <This message
was edited>
                                                                        10:41:06


                 As you go to sleep, know that I will be thinking of you and grateful to have you in
                 my life. Thank you for an amazing day and all your help. Sweet dreams
                 Gorgeous. )
                                                                                                10:41:34


<attached: 00000392-GIF-2024-06-10-22-41-57.mp4>
                                                     10:41:57


                                            Jun 11, 2024

When you open your eyes, blessings have come to you with cheerful melodies to
accompany you through the day. I hope you have a good mood today! >
Good morning, dear, Bruce. I wish you a good morning and enjoy your day/
                                                                                   6:56:24


                 May this morning be filled with boundless joy, love, and endless possibilities for
                 you. Good morning my beautiful Anna , ☀ @

                 Thank you for your beautiful message. You are the best!!
                                                                                                 7:13:22


Thanks, I'm ready to start my workout today. You? !
                                                  7:15:34


                         I’m on my trading screen managing positions. The markets are all pulling
                         back today. -
                                                                                                 7:17:02


Do you trade every day?
                   7:20:15
                                                                                     COHN0035
                                                                                                 Page 36
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 41 of 439 PageID #: 252
                 No. There are some days when there is nothing to do but watch the markets fall.
                 No need to be a hero and get chopped up like dish bait trying to put a trade on.
                                                                                                  7:22:16


                                                                             Fish bait not dish bait lol
                                                                                                  7:22:45


You are right, sometimes the best option is to wait and see rather than take
risks. We are conservative investors like me. lol /
                                                                          7:25:00


                  Yes we are the same! I’m what you call a risk manager. I’m always looking at the
                  downside possibility on a position and to cut losses quickly if a trade goes
                  against me.
                                                                                                  7:26:51


Yes, it is definitely important to manage risk effectively in trading. I prefer
conservative investing. All we have to do is protect our capital, make smart
decisions, and think about profits secondarily.!
                                                                          7:29:39


                                 Yep! Capital preservation is key. It’s the bests way to make money.
                                                                                                 7:30:45


Yes, it's true. I'm glad we agree.
                            7:31:56


                                          Me too. Just another reason why we are so simpatico. -
                                                                                                  7:32:53


lol. Yeah, we have so much in common. 1
                                       7:33:17


Now I deal with my work first. Today I need to deal with some financial
statements and the project schedule. You can leave me a message if you miss
me
                                                                            10:13:59


                                                 Have a productive day at work. I miss you already '
                                                                                                 10:15:05


                 I received this email today- there is a possibility of a good set-up for a bitcoin
                 rally and trade tomorrow morning depending on the CPI inflation number.

                 “With the Consumer Price Index (CPI) and Federal Open Market Committee
                 (FOMC) announcements on the horizon tomorrow, there's a possibility for a swift
                 recovery above the 50-day MA, contingent on a favorable market response.
                 Therefore, I suggest maintaining flexibility and considering re-entry (should you
                 opt to sell today), as I remain confident in Solana's long-term prospects and its
                 ability to exceed expectations.”
                                                                                                 11:44:53


wow, you know a thing or two about investing. Today I have also been watching
the market, but cryptocurrency short-term trading we can make short-term
investments. Whether it is up or down, we can profit by trading within the range.
It's also my way of getting ready to take you to trade tonight
                                                                            11:46:50
                                                                              COHN0036
                                                                                                 Page 37
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 42 of 439 PageID #: 253
Do you hold any other investments? When there is good news about Bitcoin, I
add money to my short-term trading account. Let's make profits in short-term
trading together to eat all kinds of delicacies around the world. LOL
                                                                                11:48:13


                  So true which is why you are so successful. You have a plan and a successful
                  strategy that you can implement in both up or down markets. You scalp money
                  with short term trades.
                                                                                                  11:49:14


                                 I’m with you all the way my dear! Can’t wait to celebrate with you!
                                                                                                  11:50:13


Yes, of course, we need to be strategic in everything we do. After all, you have to
know how to make money with money. That's how we can make money work for
us. Instead we have been using time to enjoy life to earn money
                                                                                   11:50:39


Wait patiently. We can not blindly invest, we need to control the risk. That's how
you win
                                                                                   11:51:27


                                                             Pearls of wisdom from a wise and sage lady.
                                                                                                  11:51:45


You're also a smart student.
                      11:52:21


                                                                                                 * +
                                                                                                  11:52:50


I've arranged a deal for you of 300,000 USDT. Just wait patiently for the
transaction node to arrive. You can experience a 60-second transaction and
make a profit of $30,000
                                                                              11:54:22


Do you have a plan for how to use the funds
                                       11:56:12


                          Spoil you! Haha
                          Continue to reinvest ans grow it and also use some to finance my rental
                          property project.
                                                                                                  11:58:03


It's a good plan. What about your other investments?
                                                  11:58:55


                  To live a life of high integrity, play and love with my beloved partner who is
                  aligned with me to share a life together in a blissfully loving and committed
                  relationship. We shall live in financial abundance, we shall laugh, we shall
                  celebrate our many blessings, travel often and feel the beautiful comfort of our
                  love and thankful daily for our good health
                                                                                                  12:02:21


It's just the life I've been chasing. We have so much in common
                                                                12:04:45

                                                                                     COHN0037
                                                                                                  Page 38
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 43 of 439 PageID #: 254
To have the life you want with the person you love. There's a castle house with a
front yard full of flowers and a swimming pool. The back yard is full of
vegetables and fruits. Two loved ones sit in rocking chairs in the front patio,
snuggling against each other's shoulders and watching the sunset
                                                                             12:08:45


It's romantic love, and it's the life of two people. The two men worked together
to make delicious food.
                                                                            12:10:42


                      Wow, Love this! And how we are both such romantics.

                      I have been calling in a sacred partnership for several years now to share a
                      beautiful life with a beloved.
                                                                                                  2:27:48


                You are clearly a highly evolved woman Anna and to realize a true sacred
                partnership with someone like yourself that knows what she wants in a partner
                would be heaven on earth.

                I sense that you are also wanting to manifest this into your own life as well. And
                we also love to cook and kitchen dance. Haha!

                I will share with you what I'm putting out into the universe for this final kick-ass
                chapter in our life.

                A deep connection with a soulmate and playmate - mind, body, soul and spirit.

                To live into this experience of life with an intention for love, kindness, open
                communication, acceptance and honesty.

                A person who wholeheartedly loves themselves and has complete acceptance of
                their present being.

                Someone who is curious and hungry for growth yet with a sense of quiescent
                contentment.

                A travel partner - who looks to adventure although can slow down to pause for
                calm still moments.

                A passionate sensual lover who is willing to be seen, to come out of ego into
                vulnerability - with chemistry that makes the world melt away…

                A companion that wants to laugh and dance at every opportunity.

                Faith, trust, humor, non-judgmental, up lifting, expressing gratitude on a daily
                basis, respect… ❤
                                                                                                  2:27:53


                So tell me ...What are the most crucial thing(s) that are most important to you for
                a healthy relationship? '
                                                                                                  2:34:59


The most important thing I think is the communication between the two people
and complimenting each other. Of course these are all things that can be done in
life. The most important thing I think is sexual harmony                    COHN0038
                                                                               4:37:57
                                                                                              Page 39
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 44 of 439 PageID #: 255
Bruce I think I am a person who likes to learn and sum up experience. I am
always working hard in life. At the same time, I also know how to live in the
moment, enjoy myself every day, maintain my health and beautiful image, and
take care of those around me as much as I can. People who arrive.
                                                                            4:58:14


                 Anna- We are in the same page. I love the items you listed which are vital to me
                 as well as well as the personal foundation for a beautiful relationship to flourish.
                 Seems as usual we both share so much in common.

                 Yes, yes to open communication (so key), along with authenticity, passion and
                 deep intimacy, (sexual harmony) chemistry, and commitment are also keys to a
                 great relationship.
                                                                                               5:05:49


Bruce. I think so. Love is a magical state! It can make two people enter a selfless
and perfect state. It will make your sadness and misfortune become illusory, and
it will make your joy and happiness become real.
                                                                                5:07:52


This requires the joint efforts of two people with highly compatible souls to
achieve this!
                                                                         5:09:08


                  Yes I agree completely. And feel so far we are two highly compatible souls that
                  have reunited in the lifetime again.

                  I feel it is also crucial to a healthy relationship to maintain our individual
                  sovereignty and being interdependent (vs codependent) in a relationship. And
                  like you said there needs to be 100/100% joint effort to make it work in the
                  partnership and to be enduring.
                                                                                                5:13:07


                      I love this about you and it’s one of your greatest strengths and also one of
                      many beautiful qualities that you have inside.
                                                                                               5:14:34


Yes, I totally agree with you. I think having something in common to do together
will help us get to know each other faster, and more common topics will make
our conversation more interesting. I have always felt this way. The establishment
and development of a relationship requires the joint efforts of two people.
                                                                                   5:14:52


                                                                                              Amen!
                                                                                               5:15:35


Yes! resonance! You have hit the point. I hope that my partner and I can fulfill
many of our common dreams in our future lives. We can share joy in success,
and we can feel each other's comfort and support in time of failure. !
                                                                           5:16:49


                   Yes and I’m so ready to be in such a beautiful relationship. You have hit on the
                   core essence of what a scared partnership is, can and will be with two people
                   like us.
                                                                                               5:23:07


                                                                                   COHN0039
                                                                                                Page 40
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 45 of 439 PageID #: 256
My past is a lesson! Future, I don’t know! So let me breath beautiful in the
present! A
                                                                       5:24:08


                                                                                                *
                                                                                                  5:25:11


My requirements for my life partner are sometimes very simple, sometimes very
difficult. I don’t know where to start. Maybe I don’t have a clear concept, but I
know that it is important to suit me. In short, it should be called me. Pay more
attention to the compatibility of two souls.
                                                                                  5:27:06


                              No need to know. Just trust the journey and your heart which has all
                              the answers.
                                                                                                 5:30:53


I think it might be because I am someone who likes a love companion....I like to
share everything and enjoy lots interaction with my loved one....want to do
things together and experience unique things together.....and I am an
affectionate person so I like to hug and kiss my loved one a lot! /
                                                                                5:32:47


Maybe he doesn't need to have some excellent qualities, but he needs to have a
kind heart, or he doesn't need to have a lot, but he needs to be able to give me
the necessary care.
                                                                                 5:33:46


If it's someone I feel close to, I'll enjoy hugs and kisses.
                                                      5:34:27


This is probably the most important thing you just mentioned for a healthy
relationship. 6
                                                                        5:35:29


                 I couldn’t have said it any better myself. I’m calling in the same. Our love
                 languages are physical touch and quality time.

                 My partner will be my queen and I will strive to bring my best and always show
                 up for her so we can co-create together a beautiful, story book love relationship.
                                                                                                  5:39:11


Thank you for your kind words. I really appreciate having a friend like you who
understands and supports me. I agree with you. Let us continue to cherish and
create lasting and meaningful relationships together.
                                                                                5:44:37


                 Agreed and I want my partner and I to be BFF’s - best friends forever , soulmates
                 in time AND amazing lovers ,
                                                                                                 5:48:00


Of course, it takes that 100/100% joint effort just mentioned to make the
partnership work and last. 1
                                                                      5:51:34


                                                                                        And I’m all in!
                                                                                                5:52:18
                                                                                   COHN0040
                                                                                             Page 41
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 46 of 439 PageID #: 257
I'm glad we see eye to eye.
                     6:03:44


                       Me too— but I already had a good feeling we would see things through the
                       same eyes. 2
                                                                                             6:08:17


                                                                           Can’t wait to meet you!!
                                                                                             6:08:53


Yes Great minds think alike! I'm glad we're on the same page.
                                                         6:10:46


Yes! I believe that when we get to know each other well enough, we need a
formal meeting. I will wear what I think is the most beautiful thing (what kind of
clothes do you think I look most beautiful in), and you will dress up as you think
the most gentleman. Dressed up, we will raise our glasses to pay tribute to each
other in a very warm environment! B C
                                                                             6:13:14


Today's cryptocurrency market is very unstable and there are no suitable nodes
for trading. Fortunately, we transferred all our Bitcoins to USDT yesterday. The
price of Bitcoin has fallen so much that if you continue to hold Bitcoin, the loss
will be very large for you.
                                                                             6:19:40


                   Yes I’ve new watching prices fall. You’ve already saved me $$$. Thank you *
                   ,
                                                                                             6:21:31


I will continue to pay attention, and when the right node appears, we will trade
together. This is all in my plan.!
                                                                           6:23:59


                                     <attached: 00000462-AUDIO-2024-06-11-18-34-09.opus>
                                                                                             6:34:09


A lot of times we need to be exposed to new things, and you are excellent
because you are very receptive. I believe you will become an excellent trader to
earn profits in the cryptocurrency market
                                                                            6:51:13


                 Thanks for the compliment! I agree and I’m a very fast learner and great student
                 that learns how to game an investment strategy to make profit.
                                                                                             6:53:17


One more thing as an investment strategy, can you tell me how much you have
invested in stocks? Because the stock market is not as good as you think, money
is easily tied up in the stock market
                                                                             6:54:58




                                                                               COHN0041
                                                                                                  Page 42
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 47 of 439 PageID #: 258




<attached: 00000466-
PHOTO-2024-06-11-19
-39-42.jpg>




                   7:39:42


Tonight's dinner: Shrimp and bacon fried pastaD
                                               7:40:26


                Looks really yummy. I love pasta and make some killer dishes.

                I want to share with you authentically that I gave up eating meat five years ago
                and am mostly plant based now. I do eat fresh fish on occasion. Love wild caught
                salmon E
                I gave up eating meat and dairy five years ago for health reasons. Next time we
                chat I can share my story with you. That being I am an amazing cook and do
                make amazing yummy dishes. And it doesn’t matter to me that you eat meat. My
                son is a huge meat eater and a great chef and we always co-create meals
                together. Just want to check in with you and see it’s important to you that I also
                eat meat.
                                                                                                   7:51:47


Thank you for sharing your dietary preferences with me. I completely respect
your choices. I believe everyone has the right to choose their own diet, and I am
open to trying new plant-based dishes. I would love to hear your story. /
                                                                                7:56:00


                     If I could list all the things I am grateful for today, you will be at the very top.
                     Have a good night beautiful.)
                                                                                                   9:19:18


Good night. I'm in my dream
                       9:32:26


                                             Jun 12, 2024

Not many people have a smooth life. The hardship and fatigue you have
experienced will one day become the reward of your life. Good morning! > I
wish you a good day today
                                                                             6:57:57


                 Good morning Anna ☀
                 Here's to another day filled with joy, adventure, and all the wonderful things life
                 has to offer. . @
                                                                                                    7:01:21


                                                                                   COHN0042
                                                                                               Page 43
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 48 of 439 PageID #: 259
How is your day going? Thankfully, I'm pretty productive. I've made a deal with
another person who used to work for me to have them continue to oversee the
office and train them as needed to lighten my load.
This would be for the best and I think I'll do the same with a few of my
other coworkers
I need the freedom to pursue other areas of my life 1
                                                                              7:05:27


                  Great start to my day. Making some fast money in the market this morning with
                  the action.

                  Sounds like a really positive step for you to hand off tasks that others can
                  handle. Allowing you to have more freedom and time to focus on the big picture
                  of your life. Sounds like a win-win to me! Congrats 9
                                                                                                7:11:27




                                                                         <attached: 00000476-
                                                                         PHOTO-2024-06-12-07-1
                                                                         2-51.jpg>




                                                                                                7:12:51


Thank you! It feels good to be able to delegate and prioritize my time better.
                                                                          7:13:12


Stocks yield modest profits, but hold the risk of getting locked up. You have a
good portfolio. My investments are not that complicated. The main thing is
short-term trading. I believe we have different investment strategies. Can better
combine each other's knowledge to reach consensus on investment
                                                                                7:20:51


                      I want you to know that you are the first woman I have ever shared financial
                      information with. I never tell anyone how much my portfolio is worth. Just
                      wanted you to know this because I trust you.
                                                                                                7:21:36


Thank you for trusting me and I will not betray your trust. I believe I can give you
a better investment strategy in investment, so that you can earn more profits on
investment
                                                                                7:23:15




                                                                                    COHN0043
                                                                                                 Page 44
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 49 of 439 PageID #: 260
                    Over time stocks have delivered incredible growth. It’s holding stocks of great
                    companies over time that deliver the greatest growth. I do trade a small portion
                    of my portfolio short term.

                    I am excited and open to hearing and learning more about your investment
                    strategies. It’s what I love about investing- there are so many different ways to
                    game the system and the markets.
                                                                                                  7:28:37


Long-term ownership of the stock still depends on the long-term development of
the stock. This is important
                                                                                  8:00:29


How much did you make in the stock market? Have you calculated it?
                                                                    8:01:09


We can trade today, let me know when you have time
                                                  9:07:35


I have made a plan for the transaction
                                    9:07:44


                                                                        I have time now and ready to go!
                                                                                                  9:08:23


OK. Then you can open the trust wallet
                                       9:08:37


Access your short-term account
                             9:09:21


                                                                                               I’m there
                                                                                                  9:09:42


Open the Trust Wallet screenshot
                               9:10:52


                                                                                    Which screen shot?
                                                                                                   9:11:51


Trust the wallet, then click the browser in the lower right corner
                                                              9:12:17




<attached:
00000493-
PHOTO-2024-
06-12-09-12-
33.jpg>




          9:12:33
                                                                                   COHN0044
                                                                                          Page 45
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 50 of 439 PageID #: 261
                                                                                  Yes I’m there.
                                                                                           9:12:46


Have you reached this page?
                        9:12:48




<attached: 00000496-
PHOTO-2024-06-12-09-13-06.jpg
>




                                   9:13:06


Click on the location I marked
                         9:13:11


                                                                                          Okay
                                                                                           9:13:36


Clicked the screenshot for me
                         9:13:55


Now you need to take screenshots step by step, I marked the positions so you
know where to click next
                                                                       9:14:49


Because it is the first time to operate, there will be no mistakes
                                                            9:15:00




                                                                                 <attached:
                                                                                 00000502-
                                                                                 PHOTO-2024-
                                                                                 06-12-09-15-
                                                                                 45.jpg>




                                                                                           9:15:45




                                                                           COHN0045
                                                                                            Page 46
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 51 of 439 PageID #: 262




<attached: 00000503-
PHOTO-2024-06-12-09-1
6-04.jpg>




                       9:16:04


Click on the location I marked
                           9:16:46


                                               Yes this is the tab for the short term account. Done
                                                                                             9:16:55


OK, take a screenshot of your current location and send it to me
                                                           9:17:20




                                                                                   <attached:
                                                                                   00000507-
                                                                                   PHOTO-2024-
                                                                                   06-12-09-17-
                                                                                   36.jpg>




                                                                                             9:17:36




<attached:
00000508-
PHOTO-2024-06-12-
09-17-53.jpg>




                 9:17:53


First check if your KYC verification is completed                            COHN0046
                                           9:18:01
                                                                                                    Page 47
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 52 of 439 PageID #: 263




                                                                                           <attached:
                                                                                           00000510-
                                                                                           PHOTO-2024-
                                                                                           06-12-09-18-
                                                                                           24.jpg>




                                                                                                     9:18:24


Did you submit the wrong documents?
                                          9:19:05


KYC verification review is usually completed within 24 hours
                                                               9:19:23


You re-verify KYC
                9:19:34


                          Geez Louise. I submitted my drivers license. I will do it again with my passport.
                                                                                                     9:19:34


OK
 9:24:19


Are you done?
            9:29:01


                            Yes- I did it again work my Drivers license because the passport verification
                            requires a passport photo and also they ask for a photo of the back of the
                            passport which makes no sense to me.
                                                                                                     9:29:52


OK, you are done, just wait for review
                                        9:30:09


Now let's move on to the next step
                                     9:30:18


                                                                                                    Okay
                                                                                                     9:30:38




                                                                                     COHN0047
                                                                                         Page 48
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 53 of 439 PageID #: 264




<attached:
00000521-
PHOTO-2024-
06-12-09-30-
41.jpg>




         9:30:41


Return to homepage and send me a screenshot
                                       9:30:47




                                                                              <attached:
                                                                              00000523-
                                                                              PHOTO-2024-
                                                                              06-12-09-31-
                                                                              28.jpg>




                                                                                          9:31:28




<attached: 00000524-
PHOTO-2024-06-12-09-
31-44.jpg>




                   9:31:44


                                                                                         Yep
                                                                                          9:32:05


Click to enter short-term account
                             9:32:19


                                                                         COHN0048
                                                                                         Page 49
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 54 of 439 PageID #: 265




                                                                              <attached:
                                                                              00000527-
                                                                              PHOTO-2024-
                                                                              06-12-09-33-
                                                                              28.jpg>




                                                                                         9:33:28




<attached: 00000528-
PHOTO-2024-06-12-09-33-45.j
pg>




                           9:33:45


Click on the location I marked to enter the homepage
                                              9:34:07




                                                                              <attached:
                                                                              00000530-
                                                                              PHOTO-2024-
                                                                              06-12-09-34-
                                                                              10.jpg>




                                                                                         9:34:10




                                                                         COHN0049
                                                                                         Page 50
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 55 of 439 PageID #: 266




<attached: 00000531-
PHOTO-2024-06-12-09-34
-26.jpg>




                        9:34:26


Click to enter the Bitcoin short-term trading market
                                              9:34:35




                                                                              <attached:
                                                                              00000533-
                                                                              PHOTO-2024-
                                                                              06-12-09-34-
                                                                              52.jpg>




                                                                                         9:34:52




<attached: 00000534-
PHOTO-2024-06-12-09
-35-08.jpg>




                   9:35:08




                                                                         COHN0050
                                                                                             Page 51
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 56 of 439 PageID #: 267




                                                                                      <attached:
                                                                                      00000535-
                                                                                      PHOTO-2024-
                                                                                      06-12-09-35-
                                                                                      28.jpg>




                                                                                             9:35:28


OK, now I will mark the location and tell you the market time for trading. You can
click on the location I marked to view it.
                                                                            9:35:56




<attached: 00000537-
PHOTO-2024-06-12-09
-36-12.jpg>




                   9:36:12


Click on the 60 seconds area to select the transaction time
                                                      9:36:29


60 seconds of market, profit is 10%
                              9:36:37


                                                                     Yes my settings are the same
                                                                                             9:37:24


You can click in to view the corresponding market profit
                                                   9:37:25


                                                                    Is this the entrust now button?
                                                                                             9:38:04




                                                                              COHN0051
                                                                                         Page 52
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 57 of 439 PageID #: 268




<attached:
00000543-
PHOTO-2024-
06-12-09-38-
06.jpg>




         9:38:06


The market profit in 180 seconds is 16%
                                        9:38:18




<attached: 00000545-
PHOTO-2024-06-12-09-
38-40.jpg>




                    9:38:40


Now enter 145000 where I marked
                              9:38:50


Then take a screenshot and let me check it
                                           9:39:23




                                                                              <attached:
                                                                              00000548-
                                                                              PHOTO-2024-
                                                                              06-12-09-39-
                                                                              25.jpg>




                                                                                         9:39:25



                                                                         COHN0052
                                                                                          Page 53
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 58 of 439 PageID #: 269




<attached: 00000549-
PHOTO-2024-06-12-09
-39-58.jpg>




                   9:39:58


Here, select 60 seconds
                   9:40:03


Your account only has 300,000 yuan of capital and can only trade in the 60-
second market
                                                                     9:40:18




                                                                                   <attached:
                                                                                   00000552-
                                                                                   PHOTO-2024-
                                                                                   06-12-09-40-
                                                                                   30.jpg>




                                                                                          9:40:30




<attached:
00000553-
PHOTO-2024-06-12-
09-40-50.jpg>




                 9:40:50


Click to entrust now
              9:41:04

                                                                               COHN0053
                                                                                         Page 54
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 59 of 439 PageID #: 270
                                                                                    Done ✔
                                                                                          9:41:12


Then take a screenshot
                 9:41:14




                                                                              <attached:
                                                                              00000557-
                                                                              PHOTO-2024-
                                                                              06-12-09-41-
                                                                              35.jpg>




                                                                                         9:41:35




<attached: 00000558-
PHOTO-2024-06-12-09-41-53
.jpg>




                           9:41:53




                                                                              <attached:
                                                                              00000559-
                                                                              PHOTO-2024-
                                                                              06-12-09-42-
                                                                              23.jpg>




                                                                                         9:42:23


We completed the transaction and made money
                                        9:42:27

                                                                         COHN0054
                                                                                                Page 55
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 60 of 439 PageID #: 271




<attached:
00000561-
PHOTO-2024-
06-12-09-42-
46.jpg>




         9:42:46


This is my deal.
          9:42:48


14500USDT profit
             9:43:02


My profit 75500USDT
                    9:43:22




                                                                                         <attached:
                                                                                         00000565-
                                                                                         PHOTO-2024-
                                                                                         06-12-09-43-
                                                                                         23.jpg>




                                                                                                 9:43:23


' ' ' ' ' ' ' '
                     9:43:34


Do you know why you have $300,000 but only use $145,000 to trade?
                                                                 9:43:56


                                                                                            No tell me?
                                                                                                 9:44:26


Only half of the funds can be used for each transaction, and half of the funds
need to be reserved to hedge market risks
                                                                           9:44:29


Because the Bitcoin market changes very quickly, hedging risk is very important.
                                                                               9:44:46




                                                                                COHN0055
                                                                                            Page 56
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 61 of 439 PageID #: 272




<attached: 00000571-
PHOTO-2024-06-12-09-45-
25.jpg>




                        9:45:25


Now click back
         9:45:32


Do you understand what I mean?
                            9:45:45


I planned to invest 1.5 million USD in my account, but I only used 750,000 USD
for trading. I reserved half of the funds for risk hedging.
                                                                          9:46:25


                         Yes makes sense. Gosh I want to get up to your level!! This is incredible!
                                                                                             9:47:11


Now let's continue trading. There is one more trading node.
                                                       9:47:14


                                                                                            Okay
                                                                                             9:47:21


You can, slowly you can reach
                        9:47:28




<attached:
00000579-
PHOTO-2024-
06-12-09-49-
00.jpg>




         9:49:00


Arrived at this page
              9:49:03




                                                                              COHN0056
                                                                                        Page 57
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 62 of 439 PageID #: 273




                                                                             <attached:
                                                                             00000581-
                                                                             PHOTO-2024-
                                                                             06-12-09-49-
                                                                             13.jpg>




                                                                                        9:49:13




<attached: 00000582-
PHOTO-2024-06-12-09
-49-34.jpg>




                 9:49:34


Input 150000
       9:49:42




                                                                             <attached:
                                                                             00000584-
                                                                             PHOTO-2024-
                                                                             06-12-09-50-
                                                                             05.jpg>




                                                                                        9:50:05




                                                                        COHN0057
                                                                                         Page 58
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 63 of 439 PageID #: 274




<attached: 00000585-
PHOTO-2024-06-12-09
-50-29.jpg>




                   9:50:29


                                                                                    Done ✅
                                                                                         9:50:56


View transaction history
                   9:51:28




                                                                              <attached:
                                                                              00000588-
                                                                              PHOTO-2024-
                                                                              06-12-09-52-
                                                                              09.jpg>




                                                                                         9:52:09




<attached:
00000589-
PHOTO-2024-
06-12-09-52-
46.jpg>




         9:52:46


My Trades
    9:52:48


                                                                       COHN0058
                                                                 Wow mind blowing. $85k???
                                                                                         9:53:51
                                                                                            Page 59
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 64 of 439 PageID #: 275
Now that the deal is done, can I show you how to check your total
                                                            9:54:19




                                                                                     <attached:
                                                                                     00000593-
                                                                                     PHOTO-2024-
                                                                                     06-12-09-54-
                                                                                     51.jpg>




                                                                                             9:54:51


                                                                                            Here?
                                                                                             9:55:05




<attached: 00000595-
PHOTO-2024-06-12-09-56-
26.jpg>




                        9:56:26


Yes, this is your total balance
                         9:56:41


                         Now that’s what I call fast money! How often do you put on these trades?
                                                                                             9:57:25


This is determined by the fluctuation of the market, sometimes two or three
times a month. Sometimes it doesn't. Any investment strategy needs to be
controlled according to the fluctuation of the market.
                                                                       9:59:14




                                                                                 COHN0059
                                                                                                Page 60
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 65 of 439 PageID #: 276




<attached:
00000599-
PHOTO-2024-
06-12-09-59-
45.jpg>




         9:59:45


This is my crypto asset.
                   9:59:50


' ' ' ' '
         9:59:54


My profit today is 85000 75500
                             10:00:18


                                 OMG! You are incredible! Did you build all this wealth trading crypto?
                                                                                                 10:01:10


Your profit is 14500 15000
                      10:01:10


60% of the total is accumulated in the short term.
                                                10:01:32


Because in the short-term market of Bitcoin, the principal is directly proportional
to the profit, which means that the more principal, the more profit. There are
many trading modes.
                                                                                10:02:06


For example, today, I exchanged 40 bitcoins, so I can make money from short-
term bitcoin transactions today, and I can also make money by holding bitcoins.
                                                                              10:02:43


Because this is your first time trading, you only have 300,000 USD, I can’t teach
you how to operate in this way
                                                                               10:03:14


                         Yes makes perfect sense. The more the risk the more profit you can make.
                                                                                                10:03:27




                                                                                  COHN0060
                                                                                               Page 61
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 66 of 439 PageID #: 277




<attached:
00000610-
PHOTO-2024-
06-12-10-04-1
4.jpg>




            10:04:14


                                         Well I’d love to learn as much as you’re willing to teach me.
                                                                                               10:04:23


This is the 40 bitcoins I exchanged today. Today’s bitcoin market has been going
up, so the price difference of bitcoin is also my profit.
                                                                                  10:04:42


I will
10:05:04


                                              And I have more capital I can commit to this strategy.
                                                                                               10:05:46


When the Bitcoin market keeps going up, I will continue to exchange Bitcoin, so
that I can quickly make a profit from the price difference in a short period of
time. In the short-term Bitcoin trading market, I can make a profit by trading for
60 seconds or 180 seconds. This is part of my trading model.
                                                                                 10:06:31


                                        <attached: 00000616-AUDIO-2024-06-12-10-07-42.opus>
                                                                                               10:07:42


When your account reaches 5-8 million USD, you can also make money in this
way like me. When the market is unstable, all funds are converted into USDT for
storage. When the market is stable and starts to go up, part of it is converted
into BTC.
                                                                                 10:07:47


                       Does this conversion between the two happen automatically are you manually
                       making the conversions?
                                                                                               10:10:14


Now I will teach you how to withdraw profits to your trust wallet account
                                                                      10:11:12


Yes, this requires observing the market every day.
                                               10:11:26


                                                           Yep- Just like I do with the stock market.
                                                                                               10:11:54

                                                                                    COHN0061
                                                                                         Page 62
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 67 of 439 PageID #: 278
Open your short-term trading account and I'll show you how to withdraw
your profits
                                                                10:12:13




                                                                               <attached:
                                                                               00000623-
                                                                               PHOTO-2024-
                                                                               06-12-10-13-3
                                                                               9.jpg>




                                                                                         10:13:39


                                                                                         Here?
                                                                                         10:13:50


You need to copy the address of your Trust wallet first.
                                                     10:14:57




<attached: 00000626-
PHOTO-2024-06-12-10-15-56.jpg>




                                   10:15:56


Return to the Trust homepage
                        10:16:09


                                                                                      I’m there
                                                                                         10:16:22


Click on what I marked and send me a screenshot
                                              10:16:54




                                                                           COHN0062
                                                                                         Page 63
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 68 of 439 PageID #: 279




                                                                              <attached:
                                                                              00000630-
                                                                              PHOTO-2024-
                                                                              06-12-10-17-2
                                                                              3.jpg>




                                                                                         10:17:23




<attached: 00000631-
PHOTO-2024-06-12-10-18-0
7.jpg>




                       10:18:07


                                                                         Is it the USDT ETHE?
                                                                                         10:18:34


Open it and search for USDT.
                      10:18:42


You can send me a screenshot
                       10:18:53




                                                                              <attached:
                                                                              00000635-
                                                                              PHOTO-2024-
                                                                              06-12-10-19-2
                                                                              6.jpg>




                                                                                         10:19:26


                                                                         COHN0063
                                                                                                  Page 64
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 69 of 439 PageID #: 280




<attached: 00000636-
PHOTO-2024-06-12-10-19-44.jpg
>




                                10:19:44


Then copy the address of USDT and open the short-term trading account to
withdraw the profits
                                                                        10:20:12


                                           Okay I’ve copied the address. Do I only send the 29,500?
                                                                                                  10:21:28


Yeah, we just take the profits. The principal can be stored in a short-term trading
account, and you can better seize the opportunity when there is a trade. Now
open short term trading account screenshot sent to me
                                                                                10:22:35


You can add it to your short-term account, so that you can share the market with
me every day and teach you how to observe market changes. Because the
principal determines whether you can make money quickly. If your account is
only 300,000 US dollars, you can't do what I said. I don't know your financial
situation, or whether your stock funds can be used for short-term transactions.
                                                                              10:23:33




                                                                                           <attached:
                                                                                           00000641-
                                                                                           PHOTO-2024-
                                                                                           06-12-10-23-
                                                                                           53.jpg>




                                                                                                  10:23:53


To follow my plan, you need to increase your funds to 5 million dollars, or 8
million dollars. Then I can teach you other short-term trading methods.
                                                                       10:24:21


OK
10:24:25
                                                                                   COHN0064
                                                                                          Page 65
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 70 of 439 PageID #: 281




<attached:
00000644-
PHOTO-2024-06-1
2-10-25-44.jpg>




                10:25:44


I withdrew 830000
               10:25:50


300,000 USD is stored in a short-term account, ready for trading at any time.
This way, you will not miss any opportunity to make money.
                                                                       10:26:34


                                           Oo I shared my adress with you. Not smart on my part.
                                                                                          10:27:13


It doesn't matter, I can share all my addresses with you.
                                                  10:27:32




<attached: 00000649-
PHOTO-2024-06-12-10-27-49.jp
g>




                            10:27:49


This is our trust
           10:27:52


I trust you
    10:27:56


' ' ' ' '
         10:28:02


                                                                                          +
                                                                                          10:28:05


what do you think?
               10:28:26                                                      COHN0065
                                                                                                   Page 66
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 71 of 439 PageID #: 282
                                                       As I trust you! This is key to our relationship.
                                                                                                   10:29:08


Yes, so I won't let you down.
                       10:29:45


Then I need to make a trading plan for your account. If you make a plan for your
account in advance, you will know what to do next.
                                                                                  10:30:43


This is what I must do in every transaction. A complete trading plan can
determine the success of the transaction.
                                                                       10:31:11


                  Well yes I can sell stock- send the cash to Coinbase to buy USDT and send that
                  to my Trust wallet.
                                                                                                   10:31:30


If it is a large amount of wire transfer, I recommend using strike to complete it. I
don't know if it can do large amount of wire transfer
                                                                                  10:32:02


Because I use strike to complete my large wire transfers.
                                                     10:32:13


Have you ever wired a large amount of funds to your coinbase?
                                                            10:32:29


                                     I have another $22,000 in BTC I am sending to my Trust wallet
                                                                                                   10:32:46


OK, you can send it to the trust wallet first, and then to the short-term account、
                                                                                   10:33:16


                                                           Yes I’ve wired funds to KYC’s many times.
                                                                                                   10:33:22


                                                                              I’m unfamiliar with strike.
                                                                                                   10:33:52


                                                                                              Is it a KYC?
                                                                                                   10:34:04


So can your coinbase wire transfer 3 million dollars, or 5 million dollars? If so,
you can use coinbase to complete it.
                                                                              10:34:03


Strike is also an exchange to buy Bitcoin
                                    10:34:19


                    Can US citizens trade there? You are very lucky to have a Romanian passport.
                                                                                                   10:35:06


You can use coinbase to do it. My plan is that you first go to sort out your funds
and wire them to coinbase.
                                                                                  10:35:16


I will make a trading plan for your account
                                     10:35:30
                                                                                     COHN0066
                                                                                                          Page 67
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 72 of 439 PageID #: 283
OK
10:37:31


                   Okay I will work on it. It will not be 5 million as a large portion of my assets are in
                   retirement accounts. I will move what I can and let you know. I will move another
                   $200k and then work on a plan to slowly increase it.
                                                                                                          10:37:50


Then you can increase the amount to 2 million USD or 3 million USD by wire
transfer, so that I can make a trading plan. Increase the funds slowly.
                                                                                 10:38:32


You can organize your funds and I will plan your trading plan
                                                           10:38:51


                                                                                 * + * + * + * + * +
                                                                                                          10:39:29


Then I will plan a trading plan for your account with 3 million US dollars, and I will
tell you the trading plan. You can tell me after you have sorted out the funds.
                                                                                        10:40:18


You can now send all the remaining bitcoins to the trust wallet and then to the
short-term account.
                                                                                    10:41:18


Then you need to go to the mobile app store to download Strike. Register
an account
                                                                             10:41:57


                                                                                                   I just sent it.
                                                                                                          10:42:06


                                                                                                   Ok I’m on it!
                                                                                                          10:42:17




<attached: 00000683-
PHOTO-2024-06-12-10-42
-37.jpg>




                         10:42:37


Send me the screenshot after downloading and I will mark it for you.
                                                                      10:44:52


I need to deal with my work papers now. Don't forget to send me a screenshot
when you download it. I'll teach you how to use Strike.
                                                                                    11:09:33
                                                                                            COHN0067
                                                                                         Page 68
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 73 of 439 PageID #: 284
                                                                           Will do! Thanks *
                                                                                         11:13:38




                                                                              <attached:
                                                                              00000687-
                                                                              PHOTO-2024-
                                                                              06-12-11-17-0
                                                                              1.jpg>




                                                                                         11:17:01


Okay, I'll show you how to get the wire transfer information
                                                       11:17:46




<attached: 00000689-
PHOTO-2024-06-12-11-17-50.jpg>




                                     11:17:50




                                                                              <attached:
                                                                              00000690-
                                                                              PHOTO-2024-
                                                                              06-12-11-18-2
                                                                              4.jpg>




                                                                                         11:18:24


Wise. This is the wire information for your strike account.
                                                     11:18:59


Then you can go ahead and complete the wire transfer.                    COHN0068
                                                  11:20:21
                                                                                                  Page 69
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 74 of 439 PageID #: 285
                         Have you found that you can get a more favorable rate and fees to convert to
                         USDT at Strike vs Coinbase?
                                                                                                  11:21:00


I didn't pay attention to this. I rarely use Coinbase.
                                                  11:21:30


Coinbase cannot handle large wire transfers, so I don’t use it very often.
                                                                        11:22:01


I will go and finish my work first. Please let me know when you have completed
the wire transfer. Because of the strike, there will be an email when you wire the
money for the first time. You will need to answer a few questions before you can
use it.
                                                                                    11:22:53


What are you doing
               1:09:57


I've finished my work.
                   1:10:02


                          I’m donating blood. H

                          And I liquidated and wired $250k today from one of my spec options trading
                          accounts to Strike. I will be moving more money which will take a few days.
                                                                                                   1:25:46


Voice call, 39 sec
             1:30:29


<attached: 00000701-AUDIO-2024-06-12-13-39-30.opus>
                                                             1:39:30


                          Thank you for your beautiful message to me. I love to give back and to be in
                          service helping others.
                                                                                                   1:45:01


                         I’m finished donating blood now. I hope to talk with you again. Maybe later on
                         today when you have finished your work for the day we can chat?
                                                                                                   1:47:02




                                                                                   <attached: 00000704-
                                                                                   PHOTO-2024-06-12-14
                                                                                   -28-25.jpg>




                                                                                                  2:28:25


                                                                                      COHN0069
                                                                                                     Page 70
              Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 75 of 439 PageID #: 286
                      Hi Anna,
                      I received the email regarding my wire. You mentioned would like to help me with
                      my reply to the email *
                                                                                                      3:37:47


                                                  <attached: 00000706-AUDIO-2024-06-12-15-39-10.opus>
                                                                                                      3:39:10


Yes, please open the email and send me a screenshot.
                                                           4:29:21


I will teach you how to reply. This is how Strike treats new users. You need to
reply seriously before you can continue to use Strike.
                                                                                4:29:48


Very handsome and charming.
                                        4:30:11


OK, wait for me to come home. Let's have a good chat.
                                                            4:31:02


.
    4:47:26




                                                                                              <attached:
                                                                                              00000712-
                                                                                              PHOTO-2024-
                                                                                              06-12-17-26-1
                                                                                              6.jpg>




                                                                                                      5:26:16


OK, I'll teach you how to reply
                                       5:27:22


1 This account was created by me personally (no one guided me to download it)
2 I will send the BTC you are trading through Strike to my private wallet. 3 Wire
the funds to the Strike exchange from my savings account 4 I will transfer the
funds from Strike to my Trust wallet,
                                                                                    5:29:28


5 I have finished reading
                             5:29:42


Just reply like this.
                   5:29:50


Have you completed the wire transfer? How much did you wire to reach
the strike?
                                                                          5:31:25


                                                                                      COHN0070
                                                                                                   Page 71
         Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 76 of 439 PageID #: 287
After replying to the email, you can continue to use Strike to buy Bitcoin, and
then send the Bitcoin to the Trust wallet.
                                                                             5:32:54


Are you occupied?
               5:38:22


                    I just arrived back home from shopping and am putting away my groceries. I’ll be
                    done in a few minutes. !
                                                                                                   6:03:55


Voice call, 8 min
            6:08:00


                                           I made the reply to the Strike email. Thank you so much! *
                                                                                                   6:28:07


OK, I'll drive first.
              6:29:03


                           I wired $250K from one of my options trading accounts. I plan to send more
                           money which will take a few days.
                                                                                                   6:29:52


OK, you can sort your funds and then wire a large amount in a single transaction.
You can sort your funds into a bank account first, and then wire a large amount
in a single transaction.
                                                                                 6:32:08


When the $250,000 reaches the strike, you can buy Bitcoin and transfer it to the
trust wallet first.
                                                                                 6:32:33


I'm home now
          6:47:16


After you complete the email reply to the strike, remember to check the strike
account to see if the money has been received.
                                                                              6:47:40


Regarding my employee Belinda, I have communicated with the store manager
and have been following up on this matter. I have also told the store manager the
advice you gave me to let her know that intentional absence is not an option.
There are better ways to deal with dissatisfaction than absenteeism. I believe
the store manager will do a good job, let's wait and see.
                                                                                 6:52:53


                                                                                           Welcome home!
                                                                                                   6:53:45


                        The money is not in my account yet. Support email said it could take some time
                        for them to process it.
                                                                                                   6:54:55


<attached: 00000732-GIF-2024-06-12-18-55-37.mp4>
                                                        6:55:37


Now just need to wait patiently
                               6:56:04                                            COHN0071
                                                                                                 Page 72
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 77 of 439 PageID #: 288
You need to keep a check on your funds
                                      7:28:55


                                                                          They arrived into my account!
                                                                                                 7:29:23


Already at the strike
                7:29:38


                                                                              Yes in my strike account.
                                                                                                 7:30:01


Can you send me a screenshot and I can teach you how to buy BTC
                                                                7:30:43




                                                                                        <attached:
                                                                                        00000739-
                                                                                        PHOTO-2024-
                                                                                        06-12-19-31-1
                                                                                        5.jpg>




                                                                                                  7:31:15




<attached: 00000740-
PHOTO-2024-06-12-19-31-38.jpg>




                                          7:31:38


                       Yes - Seems pretty straight forward. Should I buy the BTC now? BTC is moving
                       up off of a low.
                                                                                                 7:32:08


Yes, you can buy BTC directly and send it to your short-term trading account
                                                                             7:32:36


You can send me the screenshots step by step
                                                7:32:44


I'll mark it for you                                                               COHN0072
             7:32:49
                                                                                          Page 73
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 78 of 439 PageID #: 289
                     Unfortunately I’m going to lose $1,674 commissions. And then again when I
                     covert to USDT.
                                                                                          7:33:40


We can earn all that. So don't worry about those costs.
                                                 7:34:12




                                                                                   <attached:
                                                                                   00000747-
                                                                                   PHOTO-2024-
                                                                                   06-12-19-35-
                                                                                   34.jpg>




                                                                                          7:35:34


If you don't understand anything, please send me a screenshot. Since this is
your first time using a strike account, I can mark it better for you
                                                                         7:35:38




<attached: 00000749-
PHOTO-2024-06-12-19-35-55.
jpg>




                          7:35:55


Click where I marked is to paste the BTC address of your short-term
trading account
                                                               7:36:15


Just send me a screenshot and I'll check the BTC address for you
                                                           7:36:30




                                                                               COHN0073
                                                                                          Page 74
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 79 of 439 PageID #: 290




                                                                                <attached:
                                                                                00000752-
                                                                                PHOTO-2024-
                                                                                06-12-19-38-
                                                                                43.jpg>




                                                                                          7:38:43


I'll teach you.
        7:38:56




<attached: 00000754-
PHOTO-2024-06-12-19-39-09.jp
g>




                           7:39:09


                                                                                     I’m there.
                                                                                          7:39:42


Send me the screenshots and show you the next steps so you can get familiar
with the process
                                                                      7:40:06




                                                                                <attached:
                                                                                00000757-
                                                                                PHOTO-2024-
                                                                                06-12-19-40-
                                                                                40.jpg>




                                                                                          7:40:40
                                                                          COHN0074
                                                                                                           Page 75
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 80 of 439 PageID #: 291
You need to reopen your strike account and refresh it
                                                       7:41:07




<attached: 00000759-
PHOTO-2024-06-12-19-41-20.jpg>




                                       7:41:20


After refreshing, the places I marked are lit up and click to paste
                                                                 7:41:42


                                                         Closed the app and reopened it and no refresh.
                                                                                                           7:42:36


Yes, now where is the page you are staying on?
                                             7:43:24


                                                                                     Paste is still not available.
                                                                                                           7:43:35




                                                                                                 <attached:
                                                                                                 00000764-
                                                                                                 PHOTO-2024-
                                                                                                 06-12-19-43-
                                                                                                 51.jpg>




                                                                                                            7:43:51


Did you copy your BTC address?
                            7:43:54


                                                                                     Not yet. I will do that now.
                                                                                                            7:44:16


OK, you need to copy it first. If you don't copy it, you can't paste it LOL
                                                                           7:44:37




                                                                                          COHN0075
                                                                                                        Page 76
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 81 of 439 PageID #: 292




                                                                                      <attached: 00000768-
                                                                                      PHOTO-2024-06-12-1
                                                                                      9-45-42.jpg>




                                                                                                         7:45:42


That look is so cute
              7:46:03


                                                                   Do you pay the extra fee to send it quicker?
                                                                                                         7:47:42


Found your BTC address LOL
                          7:47:46


I choose ten minutes
                7:48:04


What page are you on? You can send me a screenshot
                                                         7:48:25


                                                                                       Done! Sent 10 minutes.
                                                                                                         7:49:12


OK, there is no error in the address
                                    7:49:32


                                                                                                        No
                                                                                                         7:49:40


OK then we wait
           7:50:11


It seems better to go on strike, right
                                     7:52:57


                 I notice there is no history to see the transaction number for sending the BTC. Or
                 is there a way to see it? Most apps give you this so you can track the BTC
                                                                                                         7:53:08


It's easier because you can buy BTC directly
                                               7:53:16


If you send me the screenshot and I mark it for you, how can I view it
                                                                            7:53:33




                                                                                         COHN0076
                                                                                             Page 77
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 82 of 439 PageID #: 293




                                                                                   <attached:
                                                                                   00000782-
                                                                                   PHOTO-2024-
                                                                                   06-12-19-54-
                                                                                   05.jpg>




                                                                                              7:54:05




<attached: 00000783-
PHOTO-2024-06-12-19-55-52.jpg>




                                                       7:55:52


                                                                          I found it under activity!
                                                                                              7:55:57


clever
 7:56:14




                                                                 <attached: 00000786-
                                                                 PHOTO-2024-06-12-19-57-14.j
                                                                 pg>




                                                                                              7:57:14


Next time you wire funds to an account strike, we need to send it to the Trust
wallet first. Do you know how to get the BTC address of the Trust wallet
                                                                         7:57:46
                                                                              COHN0077
                                                                                               Page 78
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 83 of 439 PageID #: 294
                                                                                               Yes
                                                                                                7:58:06


Then you need to save well and distinguish your Trust wallet BTC address. And
the BTC address of your short-term trading account
                                                                              8:00:01


                              So I sent my BTC to my short term BTC address. Do we send this to a
                              different address?
                                                                                                8:01:17


                                                                                 Not completely clear
                                                                                                8:01:31


It's okay. I'll teach you the next time you wire to the strike. That makes it clearer
                                                                               8:02:09


                                                                      To the main BTC address right?
                                                                                                8:02:13


Yes.
 8:02:27


clever
 8:02:40


                                                               Got it! Yes that’s easy to get and copy
                                                                                                8:02:42


Yes, so the next time a wire transfer goes to a strike, it can be sent to your Trust
wallet first.
                                                                               8:03:31


                                                                              Yes so it’s more secure
                                                                                                8:03:52


wow, I think you're about to surpass me as a good short-term trader.
                                                                   8:04:35


LOL
 8:05:11




                                                                             <attached: 00000801-
                                                                             PHOTO-2024-06-12-20
                                                                             -06-24.jpg>




                                                                                                8:06:24

                                                                                 COHN0078
                                                                                                       Page 79
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 84 of 439 PageID #: 295
<attached: 00000802-GIF-2024-06-12-20-06-53.mp4>
                                                            8:06:53


LOL
 8:06:56


So you're gonna get ahead of me?
                                   8:10:08


LOL
 8:10:12


                      Boy I have a lot of catching up to do with you!! Your four parallel universes ahead
                      of me!!
                                                                                                       8:13:06


Maybe you can make a list LOL
                               8:13:41




                                                           <attached: 00000808-
                                                           PHOTO-2024-06-12-20-16-46.jpg>




                                                                                                       8:16:46


<attached: 00000809-GIF-2024-06-12-20-20-44.mp4>
                                                            8:20:44


I love that look
            8:36:20


                                         The BTC arrived- but Bitcoin is falling and have already lost 10K.
                                                                                                       8:56:37


Have you converted USDT stablecoins
                                         8:57:13


                                                                                                      No
                                                                                                       8:57:21


                                                                                              Convert it now?
                                                                                                       8:57:48


Now open your short-term trading account to see if it has arrived. It is converted
into USDT stablecoins
                                                                                    8:58:03


                                                                      Yes it’s there just need to convert it
                                                                                      COHN0079       8:58:26
                                                                                                Page 80
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 85 of 439 PageID #: 296
Yes conversion
         8:58:39


it doesn't matter. With good nodes, we can make profits.
                                                    8:59:16


                                    Done ✅
                                    Geez I trust you- cause I’m already lost 11k from this transfer.
                                                                                                 9:01:49


Then I should pull out the whip and start whipping your fingers. LOL
                                                                 9:03:12


The gains in the BTC market are always very volatile. But I don't think we will
lose money, because the time of buying BTC and sending BTC is delayed. But
when we operate the transaction. We will make a profit of 16%.
                                                                           9:04:53




                                                   <attached: 00000822-
                                                   PHOTO-2024-06-12-21-05-20.jpg>




                                                                                                 9:05:20


<attached: 00000823-GIF-2024-06-12-21-06-02.mp4>
                                                    9:06:02


Are you sure you like it? LOL
                       9:07:08


                   A better way is for me to send my cash to Coinbase and covert it directly there
                   for USDT. Then send it to the trust wallet. No risk of loss. I can send $100,000
                   per day
                                                                                                 9:08:26


                     Well we will have to wait and see! Depends on what you whip my hands with!
                                                                                                 9:10:45


                                                                                        Whip cream LOL
                                                                                                 9:11:14


Because the next time you are needing to wire a large amount of money a strike
can be a first
                                                                              9:11:26


LOL Smart students I don't think they'll get their fingers whipped
                                                              9:12:02


                                                                                COHN0080
                                                                                               Page 81
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 86 of 439 PageID #: 297
You need to get your money together in a few days and I'll help you plan a $3
million deal. Are you ready
                                                                           9:14:56


                       I won’t be able to raise that kind of money right now. So for now I’ll have to
                       play smaller.
                                                                                               9:16:25


It's okay. Try your best. I believe you.
                                  9:17:14


                          Yes I’m doing my best my dear. I’ll be able to send more money. Just not
                          3 million.
                                                                                                9:18:10


You can tell me how much so I can help you plan the deal
                                                      9:18:53


                                                                            Another $100k for sure.
                                                                                               9:19:30


Now I need a shower and we can talk later
                                        9:27:16


<attached: 00000837-GIF-2024-06-12-21-27-59.mp4>
                                                      9:27:59


                                                                        I just took one myself. Enjoy
                                                                                               9:28:01


                                            Let me know if you need someone to scrub your back. Lol
                                                                                               9:29:47




                                                                   <attached: 00000840-
                                                                   PHOTO-2024-06-12-22-04-09.j
                                                                   pg>




                                                                                              10:04:09


Thank you for your kind words Bruce, I am glad we had such a long conversation,
hope you have a good sleep tonight, sweet dreams. Good night
                                                                               10:17:21


<attached: 00000842-GIF-2024-06-12-22-17-44.mp4>
                                                      10:17:44


                 The best way to start my day is to tell you good morning. The best way to end my
                 day is by wishing you good night. Sweet dreams +            COHN0081
                                                                                               10:19:57
                                                                                              Page 82
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 87 of 439 PageID #: 298
                                           Jun 13, 2024

Beautiful people don't sell their souls for material things.
Beautiful people love humanity, truth, the world, nature, generosity, sunshine,
smiles and hugs. Last but not least, they love God.
Good morning, Bruce. Hope you have a great day today. >
                                                                              7:01:12


                 Good Morning Anna @ ,
                 May your day begin with a smile and with happiness for your soul to embrace.I
                 * ) .
                                                                                              7:03:26


                                    Gratitude Anna for your beautiful words to start my day * +
                                                                                              7:04:56


Thanks, now it's coffee time. ☕ ☕ Are you ready to start a new day? 0
                                                                    7:05:20


                Coffee time is one of my favorite times of my morning! Yes I’m ready to embrace
                this day. The way you start your day is the way your day will stay. -
                                                                                              7:08:27


I’ll get ready and start my daily workout, then work on my apparel, perfecting
samples and designs. !
                                                                              7:11:13


And you?
    7:11:57




                                                                 <attached: 00000851-
                                                                 PHOTO-2024-06-13-07-12-17.jp
                                                                 g>




                                                                                               7:12:17


                I’m celebrating a trade I put on last night - made $15k and just closed it. 9 K
                I’m meeting with my architect at 8am to discuss my rental project. Then meeting
                a dear friend for lunch today.
                                                                                               7:15:23


Wow, that's really impressive! Congratulations on your deal! It sounds like you'll
have a busy and exciting day. Have a great meeting and lunch with friends! 9 L
                                                                                  7:18:17


                                                             You too! Have an amazing day. ☀ ,
                                                                                              7:22:07
                                                                                   COHN0082
                                                                                                        Page 83
         Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 88 of 439 PageID #: 299
<attached: 00000855-GIF-2024-06-13-07-22-59.mp4>
                                                           7:22:59




                                                                                              <attached:
                                                                                              00000856-
                                                                                              PHOTO-2024-0
                                                                                              6-13-10-12-10.j
                                                                                              pg>




                                                                                                        10:12:10


Yes USDT has been in a stable market. Are you done with your work?
                                                                      10:13:40


                                                                     I’m eating some breakfast right now
                                                                                                        10:14:23


<attached: 00000859-GIF-2024-06-13-10-15-01.mp4>
                                                          10:15:01


Enjoy the food, I believe the delicious food will dance on the tip of your tongue
                                                                                   10:15:34


                                                                                 LOL I loved Winnie the Poo!
                                                                                                        10:16:00


I like it, too
      10:16:59




<attached: 00000863-
PHOTO-2024-06-13-12-48-13.jpg>




                                               12:48:13


This is my lunch today, lobster pasta. D
                                    12:48:24


Bruce, how's your day going so far?
                              12:49:10
                                                                                        COHN0083
                                                                                                    Page 84
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 89 of 439 PageID #: 300




                                                                             <attached: 00000866-
                                                                             PHOTO-2024-06-13-14
                                                                             -09-40.jpg>




                                                                                                    2:09:40


Looks delicious. D
               2:10:34


                  Sorry for my late reply. I just finished lunch my dear friend Karen. She also went
                  to the Amazon Jungle with the same facilitators in 2018 so we had a lot to chat
                  about when I shared my experiences and journey with her.
                                                                                                     2:11:36


That’s okay! It sounds like you had a lot of fun chatting. I’m sure your trip to the
Amazon in 2018 was going to be a memorable one, and I hope you had a great
lunch!
                                                                                2:12:47




                                                                             <attached: 00000870-
                                                                             PHOTO-2024-06-13-14
                                                                             -13-29.jpg>




                                                                                                     2:13:29


                                            Yes always wonderful to catch up with dear soul family.
                                                                                                    2:14:38


                                                                                          How is your day?
                                                                                                    2:14:48


Looks like an exciting experience! It sounds very mysterious and curious to
receive a shamanic ceremony in the Amazon jungle. I think it must be very
interesting.
                                                                          2:15:06


Yes, I agree with you.
                 2:16:06                                                            COHN0084
                                                                                            Page 85
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 90 of 439 PageID #: 301




                                                                  <attached: 00000875-
                                                                  PHOTO-2024-06-13-14-16-25.
                                                                  jpg>




                                                                                             2:16:25


I'm fine, just relaxing now. I plan to take a nap and then continue working.1
                                                                        2:16:48


I think this must be an unforgettable experience
                                            2:17:48


                  It was very powerful. Maybe one day I can share more with you. I had five plant
                  medicine ceremonies there which I’m still integrating.
                                                                                             2:18:18


                                         A nap sounds like a great idea! I just might join you Haha
                                                                                             2:18:57




<attached: 00000880-
PHOTO-2024-06-13-14-1
9-26.jpg>




                     2:19:26


Maybe we'll continue talking in our dreams.1
                                          2:19:54


                    We are already connected. You have already been in my dreams. So yes let’s
                    continue talking in Dreamtime. '
                                                                                             2:21:39


I think you'll find me in my dreams, right? 0
                                        2:22:47


                         You can never bother me Anna. I always welcome your texts and still get
                         butterflies when I hear them arrive.
                                                                          COHN0085        2:23:04
                                                                                                    Page 86
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 91 of 439 PageID #: 302
Wow, I'm so happy to hear that, you're always so sweet and make me feel
cared for./
                                                                           2:23:55


                    Of course! Just ask and hold intension before going to sleep. And we can find
                    each other.
                                                                                                     2:23:58


That's cool and sounds good, let's see what happens next. 1
                                                              2:24:28


                                                                                       And I always will…,
                                                                                                     2:27:03


Good afternoon, I slept well today, I have finished my work for today but still in
the office. Hope you have a great night tonight. /
                                                                                 4:39:33


                 Good afternoon!
                 I also had a short sleep and now have to go to the city office to drop off another
                 signed form. I’m feeling the call to go to the beach and watch the sunset
                 tonight.
                 Hope your evening is special too. '
                                                                                                     4:43:49


Your plans sound great! Hope you get to enjoy the beauty of the sunset at the
beach. My evening will also be special because of friends like you and the
wonderful communication. 1
                                                                                4:45:10


                     Anna,
                     I just want to say that you are a stunningly gorgeous woman both inside and
                     outside. M With words beyond expression.
                                                                                                     5:00:43


Bruce, thank you for the compliment, I'm glad to hear it.
                                                    5:01:24


                            The feeling is mutual for sure and will be thinking of you when I watch
                            the sunset.
                                                                                                     5:01:40


Thanks, Bruce I am a traditional woman. I take relationships seriously and I
prefer to get to know each other one-on-one. I have a good suggestion. Would
you like to hear it?
                                                                                 5:02:33


                                                              Yes I would like to hear your suggestion.
                                                                                                     5:03:06


We can uninstall MM together so that we can slowly get to know each other.
                                                                             5:03:33


To be honest, I uninstalled it from the day we got in touch .lol 8
                                                                 5:04:17


                                                                                       COHN0086
                                                                                              Page 87
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                         I love your suggestion and that would be an honor to do so as a token of
                         commitment to each other.
                                                                                               5:05:23


                                                Wow!!! Love this and feel so blessed to know you.
                                                                                               5:06:11


This is great, we are getting to know each other better and everything is going in
a good direction.!
                                                                             5:06:46


Bruce, I'm so glad you liked my suggestion. It means a lot to our relationship.
                                                                         5:07:27




                                                                                       <attached:
                                                                                       00000903-
                                                                                       PHOTO-2024-
                                                                                       06-13-17-38-1
                                                                                       5.jpg>




                                                                                               5:38:15




                                                                           <attached: 00000904-
                                                                           PHOTO-2024-06-13-1
                                                                           7-38-16.jpg>




                                                                                               5:38:16




                                                                               COHN0087
                                                                                           Page 88
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                                  <attached: 00000905-PHOTO-2024-06-13-17-38-16.jpg>




                                                                                            5:38:16




                       <attached: 00000906-PHOTO-2024-06-13-17-38-17.jpg>




                                                                                            5:38:17




                                                                                    <attached:
                                                                                    00000907-
                                                                                    PHOTO-2024-
                                                                                    06-13-17-38-1
                                                                                    7.jpg>




                                                                                            5:38:17


Wow, Bruce. I never expected that. You actually did that, and so quickly. You
really have great execution skills.
                                                                       5:39:56


<attached: 00000909-GIF-2024-06-13-17-40-28.mp4>
                                                   5:40:28




                                                                                COHN0088
                                                                                               Page 89
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 94 of 439 PageID #: 305
                 I also wrote and said this prayer as I deleted my account:

                 Cord Cutting Prayer ~
                 Spirit, please step forward and cut any and all cords attached to Anna and Bruce
                 from MillionaireMatch that do not serve us for our highest good - past, present,
                 future, mind, body and soul, lower energy, negativity or entity and take them to
                 the light for purification.

                 ‘I release with love what was tied to me, and with love and thanks set us both
                 free NOW. The ties are now released, and so it is.’

                 With much Love and Gratitude, I thank you for helping us in this way. * ,
                                                                                                5:40:45


                   Anna this is how I roll in life. I’m a doer with 40 years of business experience. I
                   get it done!
                                                                                                5:42:30


Thanks for sharing your cord cutting prayer with me, everything is perfect *
                                                                           5:44:30


Great, I've been in the clothing industry for 17 years. I like people who have
execution. Because it makes everything perfect. /
                                                                         5:45:56


                                                                 It does and we are very much alike.
                                                                                                5:47:03


I agree with this because similar people always stay together for a long time.
Attract each other and see the good in each other
                                                                           5:48:27


                   And I feel a lot lighter now after deleting the MM app. Honestly I’m so happy to
                   get off of that app and to have met much an amazing soul. Looking forward to
                   slowly continuing to get to know you. !
                                                                                                5:49:55


Yeah, I'm looking forward to getting to know you, too
                                                  5:50:56


<attached: 00000918-GIF-2024-06-13-17-53-39.mp4>
                                                      5:53:39


                                            <attached: 00000919-GIF-2024-06-13-17-55-21.mp4>
                                                                                                5:55:21


It's so funny. You are a very interesting soul
                                        5:55:59


                    Lol thank you for the compliment!! I am an interesting soul with many sides to
                    me and years of acquired wisdom.
                                                                                                5:58:27


Yes, it's very interesting
                    5:59:08


By the way, how's your funding going?
                                  5:59:51                                          COHN0089
                                                                                              Page 90
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 95 of 439 PageID #: 306
                  I sold some stock positions today and moved $50k to my bank so I can wire it. I
                  plan on moving more tomorrow. !
                                                                                              6:01:42


                                                              It takes time to unwind my positions.
                                                                                               6:02:17


Good investors will be very good at using their money to diversify, if the stock
market does not currently bring huge profits. Then we can sell the shares and
invest in the cryptocurrency market. Make money make more money
                                                                           6:03:27


                 The market profits swing both ways. Right now, pre election with interest rates
                 and inflation stable the market will grind higher.

                 Yes money is like a good employee when you put it to work and it’s doing its job.
                                                                                              6:06:12


Yes, so we can sometimes sell our shares. This is also one of my
investment strategies
                                                            6:07:30


I prefer money to work for me. Instead of me using the time to enjoy life to get
money with labor. You can make more money from your brain
                                                                            6:10:37


                 I’m curious… so where do you sell your shares and convert them to fiat
                 currencies? Do you withdraw the cash for living and not report the gains? Or do
                 you?
                                                                                              6:10:50


                 Amen * We share the exact same philosophy which I have embraced my entire
                 investing career.
                                                                                               6:11:57


I was dealing with it through my agent. My funds are now in my short-term
trading account. I don't like my broker for the simple reason that they sometimes
use the money when it doesn't pass through my hands. I'm not happy about this
                                                                                  6:12:46


                 Yes it’s why I generally don’t uses agents or brokers. Typical that they borrow
                 your money- just like banks do. They pay you nothing and loan out your money
                 or buy short term investments to make money- I want control of my own assets.
                                                                                              6:15:59


Yes because we are all alike, we are meant to live together and have strong
brains. That makes other rich people fearful
                                                                        6:16:21


Yes, they do the same as the bank, sometimes when we wire, the bank will try to
block, and will not release your funds. This really makes people angry. That's
why I put my money in a Trust short-term trading account. I like to have money in
my own hands, at least so that I can move my own money at any time
                                                                                  6:18:45




                                                                                   COHN0090
                                                                                              Page 91
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 96 of 439 PageID #: 307
                   True it can breed fear in others. Especially those in power with a lot of assets.
                   Combining two intelligent brains creates a synergy and energy that is quite
                   incredible.
                                                                                              6:18:50


                This is the whole premise of crypto. Decentralization where we are our own
                central bank and don’t need forced middlemen like banks and the government to
                control our money and wealth!!
                                                                                              6:20:40


                                                                                         I hear you!
                                                                                               6:22:19




                                                                  <attached: 00000939-
                                                                  PHOTO-2024-06-13-18-22-25.j
                                                                  pg>




                                                                                              6:22:25


Wise. Our brains are separate, but we think the same way. This is fascinating.
                                                                          6:22:31


Yeah, I'm sure you'll get ahead of me.
                                6:23:52


                    Okay trust me when I say that we are not separate. We are connected and
                    attracted to each other for a reason. There are no minor chance encounters.
                    Everyone comes into our path for a reason.
                                                                                              6:24:33


<attached: 00000943-GIF-2024-06-13-18-24-40.mp4>
                                                    6:24:40


                We will get to the finish line and promised land together. There is no one getting
                ahead in a beautiful partnership. There’s only us growing, learning and getting
                ahead together. Doesn’t matter where you are on your journey because I’m only
                interested in your inner beauty and the amazing you! ☀
                                                                                              6:28:20


Combine our brains. Let's make profits in the cryptocurrency market. Let the
other rich people be afraid. LOL
                                                                         6:29:24


                                                                         3 3 3 3 3 3 3 3 3
                                                                                              6:29:56


                We will move beyond caring about those people because we will be untouchable.
                                                                                        6:31:03
                                                                        COHN0091
                                                                                                           Page 92
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 97 of 439 PageID #: 308
Yes.
 6:31:44


<attached: 00000949-GIF-2024-06-13-18-36-38.mp4>
                                                                  6:36:38


                                         Yes I feel your joy too! N Let’s celebrate together these moments.
                                                                                                            6:37:57


So you can dance for me
                           6:40:31


                       My beautiful sacred heart ❤ has been dancing C all day because of you. BTW I
                       really do love to dance to great music O
                                                                                                            6:43:33


Waltz or tango
            6:44:00


                                                        Ha! I need a teacher first. I’d love to learn many dances.
                                                                                                            6:45:28


I don't have coordination when it comes to dancing. Maybe we can talk about it
together. Let's see who learns faster
                                                                                          6:46:19


                            Yes let’s chat about it. It’s all about having fun and there are many dances to
                            learn salsa, bachata etc. I’m sure you are a quick study. Would be fun to take
                            lessons together.
                                                                                                            6:48:15


Yes. Look forward to
                      6:49:17


What are you up to now?
                           7:51:30


                                I just finished my dinner and am relaxing now on my comfy couch. Thinking
                                about how deleting the MM app will bring us closer together.
                                                                                                            7:54:39


                                                                                              What are you up to?
                                                                                                            7:55:48


Yeah, I'm glad we did.
                       7:59:23


I finished my dinner and Dalia was eating very slowly. lol
                                                                 8:00:33


I'm really happy. Today is a beautiful day.
                                              8:01:12


                         I am happy to hear you feel this way Anna. I’m feeling some contentment and
                         inner peace right now. Enjoying this moment of connection with you. Today is a
                         beautiful day and so will tomorrow.
                                                                                                            8:04:06

                                                                                             COHN0092
                                                                            Does Dalia live with you full time? %
                                                                                                            8:04:56
                                                                                                Page 93
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 98 of 439 PageID #: 309
Yes, Bruce. You are right. The store manager texted me today to let me know
that Belinda's situation has been handled very well. Everything is fine. In your
advice to me, I see a decision maker who considers all aspects. Please allow me
to express my sincere gratitude to you. You are really great.'
                                                                             8:06:44


Yes, Bruce, Dalia means everything to me. I want the best for her.
                                                                 8:07:22


                P P P P yay!! Glad to hear that was resolved for the good of all.
                Awww you are most welcome and always invite you to share and collaborate on
                biz issues with me. Or anything thst comes up on your journey of life. I’m always
                here to listen.
                                                                                                 8:12:18


Thank you for your support and encouragement! I will remember to invite you to
share and cooperate with me. No matter what I encounter in life, I will cherish
your talk and company. Thank you for always being here to listen to my heart. I
love sharing my life and everything with youQ R
                                                                              8:14:18


                   Thank you for letting me know. My intuition was telling me that her living with
                   you is in Dalia’s highest and best. Maybe one day when you are ready we can
                   share more about our past marriages and experiences.
                                                                                                8:14:45


Yes, everyone has a past, and mine is eventful and hurtful.
                                                       8:15:30


                You just made my heart ❤ melt with your beautiful words Anna. Thank you for
                being open and vulnerable with me. Means a lot that you want to share your
                heart with me.

                Truly I am a man that has done my inner and will always listen to your heart.
                Likewise I love sharing my life with you. It’s very special between us and sacred.
                I don’t take this or you for granted.
                                                                                                 8:22:11


                                                                                        *my Inner work
                                                                                                8:22:45


Thank you for your kind words and for appreciating my openness and
vulnerability with you. I cherish the special connection we have and appreciate
your willingness to listen to me and share with me. ❤
                                                                            8:25:52


Tell me more about you and your life
                               8:26:19


                 Yes indeed. I’m so sorry to hear it was hurtful. As I said we will share our stories
                 all in Divine Timing. And help each other heal the wounds inside.
                                                                                                 8:26:51


I'm glad we have each other's support. *
                                         8:27:30



                                                                               COHN0093
                                                                                             Page 94
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 99 of 439 PageID #: 310
                           I am too. Love your beautiful heart which is so full of love.

                           Support- It’s the foundation for a great relationship that we both have
                           embarked upon.
                                                                                              8:29:23


Thank you. Everyone's life is a journey, but the paths we take are different, the
directions we choose are different, the emotions we give are different, and the
stories that happen are also different. I look forward to us sharing our stories
with each other.
                                                                            8:31:16


                       So true and part of the human experience that our souls we came into this
                       lifetime to learn and grow from.
                                                                                             8:32:54


Exactly, our experiences shape who we are and help us learn important lessons.
It's all part of the journey of life and growth.
                                                                             8:34:22


                I had a powerful spiritual awakening (are any not?) in 2015 when I was in deep,
                deep emotional pain from lost love that walked out of my life and my heart
                cracked wide open. I called for help from the Universe and my life changed
                forever as synchronicities, the perfect teachers, healers and events all appeared
                for me. Along with sages of the ages Abraham Hicks, Deepek Chopra. Ekart Tolle
                and many more.

                So much has transformed for me since that timeline event. I have had a very
                blessed life and an accelerated journey of awakening that led me on the journey
                back to myself. It’s been an amazing journey and magic carpet ride with many
                twists and turns along the way.

                I have traveled a path of doing plenty of my own deep inner excavation to bring
                myself to this moment. That has helped me to step into my greatest potential
                and highest timeline in this lifetime. And once you awaken and are on the path,
                there is no going back to what once was.

                My intuitive wisdom is one of my greatest gifts (along with a few others) in this
                lifetime. I’m a very multidimensional guy with many sides to me. Entrepreneur,
                stock trader, intuitive healer, visionary, soul coach, great Dad, and athletic guy
                that loves the outdoors and to travel abroad.
                                                                                              8:34:51


Your story of enlightenment sounds very powerful and inspiring. Your inner
wisdom and diverse talents will surely enable you to achieve more in life. You will
surely achieve many more amazing things.
                                                                              8:36:52


                Absolutely! There is no doubt that so much more is to come in my life as I step
                into my mission of how I can show up and serve- helping others while bringing
                me joy.

                And of course meeting my beloved partner which will be so joyful, loving, playful
                and fun. BFF’s!!
                                                                                             8:44:34
                                                                               COHN0094
                                                                                                    Page 95
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 100 of 439 PageID #: 311
                                                      I look forward to hearing more about your life?
                                                                                                     8:45:40


That’s great to hear! I have no doubt that you will continue to have a positive
impact on the lives of others.
                                                                              8:48:23


Of course, Bruce. I'm looking forward to sharing everything about me with you,
but right now I need to get Dalia to bed. Can I text you later? * ❤
                                                                                 8:49:36


                                                                 Yes put your beautiful daughter to bed.
                                                                                                     8:50:37


Thanks, we'll continue shortly. Would you wait for me? lol1
                                                           8:51:21


                                                                                        Well yes of course.
                                                                                                     8:52:03


                                                                                             Silly question
                                                                                                     8:52:20


<attached: 00000992-GIF-2024-06-13-20-53-47.mp4>
                                                       8:53:47


Bruce, are you still there?
                     9:42:30




                                                                              <attached: 00000994-
                                                                              PHOTO-2024-06-13-21-
                                                                              43-32.jpg>




                                                                                                     9:43:32


Thank you, I'm glad you were willing to wait for me. I feel cared for and I will
share everything with you next.
                                                                             9:44:45


My ex-husband and I met through a blind date arranged by our parents, who
were friends. He treated me very well in the first few years of our relationship,
and then I got pregnant.
                                                                               9:45:56


                               I’ve been waiting my whole life for you! ) what’s a few more minutes?
                                                                                                     9:46:08


Wow, sweet.                                                                            COHN0095
       9:46:25
                                                                                             Page 96
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 101 of 439 PageID #: 312
But I don't know when it started. He started taking drugs instead of paying
our bills.
                                                                        9:46:49


One day he suddenly asked me to give him $200,000 from my savings because
he needed funds to run his business. I had no doubts.
                                                                             9:48:21


Finally I found out that he was not doing business but taking drugs and
gambling. What was even more terrible was that I found a lot of indecent videos
of girls in his phone. I completely collapsed.
He betrayed me. S T
                                                                              9:50:07


                 OMG! Wow thank you for sharing your story. Which no doubt was a terrible
                 experience of broken trust, lying and betrayal by your ex. Taking money to feed
                 his addictions. Wow - I’m sorry that such a beautiful soul like you had to endure
                 this and suffer an emotional collapse which I’m sure was extremely painful and
                 hurtful. You must have felt a lot of anger towards him for his actions.

                 Were these videos of women he was having sex with? Or just pornography?
                                                                                             9:59:40


It's a video of him having sex with a woman
                                      10:00:21


Every time he came back from drinking, he would touch me and sometimes even
hit me. One time when we were arguing, I fell down and then had a miscarriage.
U
                                                                              10:00:47


Until later, he often didn't come home, and when he came home, he was drunk,
beat me, and recorded a video of me without clothes, and threatened me not to
divorce. Because of long-term depression, after this incident, I finally chose to
call the police. I resolutely divorced him, came to the United States, and left that
sad place. That's why I came to the United States. Because of this incident, I got
depression, saw many psychologists, and it took a long time to recover. U
                                                                              10:02:03


                   Oh Anna… my heart is breaking to hear this happened to you. I’ve heard this
                   story played out many times before of men like your ex that have abused their
                   partners physicality, mentally and emotionally. Your experience is why many
                   women do not trust men.
                                                                                             10:04:52


Thank you for your kindness and understanding, Bruce. It means a lot to me. I
agree that it is common for women to be abused by their partners, but I also
believe that there are kind, respectful men in the world who can restore our
confidence. I will not let one bad experience affect my trust in others.
                                                                           10:09:18


                  You are so brave, resilient and strong to have come though that experience. I
                  bow to you for your courage to leave and come here and heal yourself. So many
                  men are fu*ked up. Make me angry when I hear your story. I’m so glad you are
                  here and your day are safe now
                                                                                             10:10:36

                                                                                  COHN0096
                                                                                              Page 97
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 102 of 439 PageID #: 313
Thank you. I feel that the past is past. I never believe that the sun will shine on
the dark side in every corner. The only thing we can do is to move towards the
sun.
                                                                             10:11:40


                         Yes there are many wonderful men with beautiful hearts with integrity, love
                         and kindness.
                                                                                              10:13:12


Yes, you are right. Now I am financially independent, confident, and
independent, so I am doing well now.
                                                                 10:14:20


                           Thank you for your pearls of wisdom on what you have learned from the
                           experience. Yes- to let go of the past and always move towards the light.
                                                                                              10:15:58


                    You are so much stronger, wiser, confident and of course more discerning from
                    that experience.
                                                                                              10:17:23


Yes, I am very grateful to my good friend Donna and everyone who supported
me. My life became a mess because of a failed marriage. At that time, my good
friend Donna gave me a lot of help, and I am very grateful to her. Later, with the
help of Donna, I learned about the financial investment industry. And I met a
group of friends who are very professional in financial knowledge. In the days
that followed, I achieved my current achievements in short-term cryptocurrency
trading. This makes me grateful.
                                                                               10:17:33


I believe I can do it
              10:18:08


                             Wonderful to hear you had a true friend to step in and help you. Thank
                             you Donna *
                                                                                              10:19:06


                    I’ve certainly know you can because your actions speak for you of how you now
                    show up in life.
                                                                                              10:20:33


Yes, I am very honored to have such a good friend to help me. My good friend
Donna used to be an investment broker at Charles Schwab in San Francisco and
knew many American entrepreneurs and consortiums. At that time, they were
studying short-term trading methods. Only large companies and consortiums in
New York participated in the transactions, which was more confidential. It was
because of her recommendation that I started to enter the world of
cryptocurrency. *
                                                                               10:20:34


                                                  No doubt - Best thing that ever happened for you!’
                                                                                              10:21:35


Thank you for your support, I haven't dated since my divorce 6 years ago. I'm
glad to have met you.
                                                                            10:21:51

                                                                                  COHN0097
                                                                                             Page 98
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 103 of 439 PageID #: 314
Yes, I believe God will never forget anyone.*
                                         10:22:30


                  Thank YOU for choosing me on MM. I’m so happy and joyful that we connected
                  and are coming closer together every day in every way.
                                                                                             10:24:48


Yes, I'm very happy that you are willing to uninstall it with me.
                                                               10:26:13


                   God and the divine is always with us, loves us unconditionally and here to help
                   us. We only need to ask for help.
                                                                                             10:26:17


I believe this too. Knowing that there is such a powerful and loving presence with
us at all times.
                                                                                10:27:32


                  Me too. It’s my way of showing you that I’m here and present with you and care
                  about what is important for you.
                                                                                             10:27:41


Thank you, I believe today is a very memorable day for both of us.
                                                                    10:28:31


                 Yes and there’s a lot more about my own special connection to the universe that
                 I will share more with you in time.
                                                                                             10:29:28


                     It’s been a very special day and for us. A milestone for sure that we can look
                     back on one day and remember this moment.
                                                                                             10:30:28


Bruce, I am very happy to tell you my story over the years. This is the first time I
have ever told anyone about my life.
                                                                               10:30:31


Yes, Bruce, today is a very good day. The time I spend talking to you always
passes very quickly. It is time to go to bed again. I hope I can listen to you share
your story and everything about you with me tomorrow.
                                                                               10:31:55


                   Anna I am so honored and grateful that you trust me to share your story, your
                   pain and your hurt with me. I feel very special right now. Thank you, thank you,
                   thank you
                                                                                             10:33:00


                    Good night Gorgeous
                    I pray that you have a peaceful sleep and that your dreams are filled with love
                    and happiness. * ) . +
                                                                                             10:34:18


Thanks, Bruce. I'm glad I got to share my life with you.
                                                    10:35:09


Bruce, I think we will continue this conversation in our dreams, sleep well and
have sweet dreams. Good night.
                                                                               COHN0098
                                                                         10:35:51
                                                                                               Page 99
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 104 of 439 PageID #: 315
                                                  Awww the feeling is mutual my dear. Big hugs '
                                                                                               10:36:06


<attached: 00001037-GIF-2024-06-13-22-36-12.mp4>
                                                     10:36:12


                                             Jun 14, 2024

Remember, every day is for you, to live it to the fullest, to dream big, to
enjoy life. !
Good morning, Bruce. >
May your days be beautiful and filled with endless joy. /
                                                                     7:00:39


                     Meet a new day,! Good morning Gorgeous! May it be filed with unconditional
                     love, hours of laughter and endless happiness! ,
                                                                                                7:44:25


I planned to go to the gym this morning, then drive to the office for a meeting to
discuss the clothing agency business and design progress with the team.
                                                                                  7:45:24


                   Sounds like a great day ahead for you. After trading this morning I have an eye
                   appointment with my opthomologist and then hopefully a workout.
                   Have an amazing day!
                                                                                                7:49:45


Thank you! Hope your eye exam went well and you enjoyed your time with the
exercise! Have a great day to you too! /
                                                                                7:51:12


What did the eye doctor say?
                        10:49:41


                  I have my appointment at 12pm. She will be just doing a cleaning procedure for
                  my tear duct glands to help my dry eye. !
                                                                                               10:51:49


Bruce That's great to hear! I hope the cleaning procedure goes well and helps
with your dry eye. !
                                                                               10:53:18


                                                                Thank you Anna. I hope it does too!!
                                                                                               10:55:14




                                                                                    COHN0099
                                                                                              Page 100
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<attached: 00001047-
PHOTO-2024-06-14-10
-55-47.jpg>




                   10:55:47


I just made a cup of coffee, and it's all in the shape of ❤ . Do you like drinking
coffee like me?
                                                                            10:56:39


                  Beautiful foam- you are a talented barista!! Is it a Cappuccino? Love coffee and
                  we will sharing this together. ,
                                                                                               10:58:37




                                                         <attached: 00001050-
                                                         PHOTO-2024-06-14-10-59-10.jpg>




                                                                                               10:59:10


Yes, I love cappuccino very much.
                              10:59:25


                                     It’s my favorite and truly the best way to enjoy espresso coffee.
                                                                                                11:00:01


Yeah, that's cool. I think cappuccino is the Cadillac of coffee. V
                                                              11:00:22


                     Yeah- Well the Italians invented it so of course it’s the Cadillac of coffee!! ☕
                                                                                               11:02:59


Wow, I'm so glad we both liked cappuccino, that was awesome.
                                                            11:03:28


                          Yay!!! Me too. If you’re a true coffee lover then you drink espresso drinks.
                                                                                               11:05:09
                                                                                 COHN0100
                                                                                                 Page 101
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 106 of 439 PageID #: 317
Yes, I love it, espresso is so easy to make.
                                       11:06:05




                                                                                <attached: 00001058-
                                                                                PHOTO-2024-06-14-11
                                                                                -07-42.jpg>




                                                                                                  11:07:42


Looks great
      11:08:11




<attached: 00001060-
PHOTO-2024-06-14-11-14-00
.jpg>




                           11:14:00


                 Those are really great machines!! Pull great shots of espresso.
                 My machine is a Breville. I like it because it does a wonderful job of grinding the
                 beans and tamping them into the espresso arm. I used to have a set up like yours
                 with a professional bean grinder.
                                                                                                  11:18:43


                                                      Okay I need to leave now for my appointment. V
                                                                                                   11:19:14


Yes, my machine is the Bezzera coffee machine. I like it, and there are many
reasons why I like this coffee machine. First of all, it is beautiful. I like its design,
it looks modern and textured. Secondly, it is easy to use. I just need to grind the
coffee beans and pour the coffee powder into the coffee machine to make
delicious coffee. Finally, it makes delicious coffee. I like its taste, it is fragrant
and mellow. Overall, I like this coffee machine very much. M
                                                                                   11:22:27


                                                  Yes you are a coffee connoisseur for sure just like me.
                                                                                                  11:23:24
                                                                                     COHN0101
                                                                                                     Page 102
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 107 of 439 PageID #: 318
Ok, hope your eye appointment goes well, I have some day job to take care of as
well. I guess we can chat again soon. 1
                                                                                  11:23:28


                                                                                         We will for sure. M
                                                                                                      11:24:02


This is incredible, we must have a very good chemistry. lol
                                                          11:24:10


                   Haha I think our amazing chemistry has been evident from the very beginning!!
                                                                                                      11:26:01


                       Thank you always for your good wishes and support. You’re the best * ,
                                                                                                      11:26:33


lol, that's really cool. I'm sure our relationship will get stronger as time goes by
                                                                                11:27:16


                                         <attached: 00001071-VIDEO-2024-06-14-11-41-08.mp4>
                                                                                                      11:41:08


Hey Bruce. It's always great to hear from you. Drive safe and I hope your
doctor's appointment goes well and you're feeling well. I'm looking forward to
chatting tonight and hearing about your day. Enjoy the sunshine and have a great
day too! Bye Bye
                                                                                      11:47:07


Hey, I just finished work for the day. How was your eye appointment today?
                                                                            5:17:45


                 Hey Anna!
                 My eye appointment went really well. 3 My eyes feel better after the treatment!
                 I really like my new Opthamologist who is super knowledgeable.

                 How was your day at work?
                                                                                                       5:25:02


That’s great to hear, Bruce! I’m so glad your eye appointment went well and that
you’re feeling better after treatment. It’s great to have a knowledgeable eye
doctor taking care of you. Take care of your eyes! 2 3 I had a really good day
at work, just doing some discussions about apparel agency business and new
product design. Everything is going great./
                                                                                      5:28:46


                 Awesome to hear Anna that things are going well for you business wise. Nothing
                 better than than a great day at work. 3 !
                                                                                                       5:33:00


Yes, it's a beautiful day. How about you?
                                     5:33:24


                                                    Well every day is beautiful having you in my life. ,
                                                                                                       5:34:27


Wow. Bruce. You always make me feel warm.
                                          5:34:50
                                                                                       COHN0102
                                                                                               Page 103
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 108 of 439 PageID #: 319
                                          <attached: 00001080-GIF-2024-06-14-17-36-19.mp4>
                                                                                                 5:36:19


<attached: 00001081-GIF-2024-06-14-17-36-50.mp4>
                                                     5:36:50


Yes, you are the drummer. Let's dance together. 1
                                                5:37:31


                                          <attached: 00001083-GIF-2024-06-14-17-38-24.mp4>
                                                                                                 5:38:24


Have you sorted out your funds? I will make a trading plan for your account at
the weekend. The current Bitcoin market cannot be traded, but my experience
tells me that there will be a good market next week, so we can go to the 180-
second market to trade.
                                                                             5:39:29


In the 180-second market, you can make a profit of 450,000 USD by investing 3
million USD in capital. You can withdraw the profit after completing the
transaction.
                                                                               5:40:22


I also need to teach you how to observe the market. I need to do a lot of
preparation to teach you how to use a computer to observe the K-line chart of
Bitcoin.
                                                                            5:40:59


                   Yes I sent $25k cash to my trust wallet today and $50k to my Coinbase wallet.
                                                                                                 5:41:10


You can sort out your funds, because Strike is an exchange for large-amount
wire transfers, and you can wire 1 million to 2 million US dollars. For small
amounts of funds, you can wire to Coinbase and then transfer to the Trust
wallet.
                                                                           5:42:06


                                                    Yes I’d love to learn how you set up your trades.
                                                                                                 5:42:11


Arrange funds reasonably, so that you can follow up the plan in the next week
and reach the 180-second market
                                                                            5:42:29


                                                                                              Wow W
                                                                                                 5:42:39


I need to teach you slowly.
                     5:42:44


The profit of short-term trading is considerable, and the principal is also very
important. If you don’t have enough principal, you can’t plan in the 180-second
market.
                                                                              5:43:48


                 I’ve been waiting for a window of opportunity to buy BTC with my cash and then
                 sending it to the trust wallet to convert without losing a lot in the process.
                                                                                 COHN0103       5:44:29
                                                                                               Page 104
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 109 of 439 PageID #: 320
You can wire large amounts of money to Strike and complete your
Bitcoin purchase
                                                                5:45:06


You can wire 1-3 million USD to Strike in the next week, and then buy Bitcoin and
transfer it to the Trust wallet.
                                                                                5:47:09


                 Unfortunately I will not be able to participate in this market. My goal is to get to 1
                 million. My issue is that my rental project is starting and I need a lot of cash on
                 hand to fund all the work that needs to be done. Plus, a lot of my capital is
                 invested in stocks and bonds that pay my monthly expenses. If I sell those
                 securities, I will not have enough money to live on and fund my lifestyle.
                                                                                                 5:48:11


There is no need to worry about the handling fees for these losses, because our
short-term profits can make up for these losses. So what we have to do is to
prepare funds in advance so as not to miss a good market. You must know that
missing a good market will result in a lot of lost profits.
                                                                               5:49:05


                                                                I’m working on it and doing my best.
                                                                                                 5:49:48


You forget that you can withdraw your profits to support your life.
                                                               5:49:54


If it were me, I would use the project funds to conduct 1-3 transactions, and
withdraw them immediately after completing these transactions. Because this
will not affect the progress of the project at all, and you can also make a quick
profit.
                                                                              5:51:00


                    Yes I’m sure I can. Do you report your gains and pay taxes on all those profits
                    you withdraw? I mean it can be substantial profit subject to tax.
                                                                                                 5:52:54


Let me analyze it for you. 1 million dollars can also be traded in a 180-second
market. But what is the difference in profit from 3 million dollars? 1 million
dollars traded in a 180-second market uses 500,000 dollars, so the profit is
16%, which is 80,000 dollars. 3 million dollars traded in a 180-second market
uses 1.5 million dollars, so the profit is 240,000 dollars. The difference is
160,000 dollars in profit. This is just the difference in one transaction.
                                                                             5:53:14


That is why I withdraw profits after each transaction. These profits are my living
expenses and also my funds for paying taxes.
                                                                                5:53:51


We cannot evade taxes, so we should use funds rationally and let profits pay
taxes, because profits are enough to pay any taxes we have.
                                                                           5:54:35


Every year I have a lot of taxes. I use all my profits to pay taxes. My principal
is always
                                                                           5:55:55


                                                                                    COHN0104
                                                                                             Page 105
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 110 of 439 PageID #: 321
                     Yes I wish this was possible. Unfortunately I don’t have 3 million available to
                     trade. As I shared more than 5 million is in my retirement account.
                                                                                               5:57:01


Can you withdraw funds from your retirement account? If you can, I think you
should do it.
                                                                           5:57:30


IRA accounts can be withdrawn through 60 days of free use, and put back into
the IRA within 60 days without paying taxes or penalties. However, you can only
withdraw once in 12 months
                                                                              5:58:26


If you cannot withdraw the funds, you can only wire your other funds first to
make your account reach 1 million US dollars. I will change your account
planning and re-plan your trading plan according to 1 million US dollars.
                                                                          5:59:41


                I can and do take withdrawals from my IRA. But it is all taxable income and I have
                a plan to manage the federal and state income taxes so I don’t get pushed into
                too high a bracket.
                                                                                              5:59:49


Then you can withdraw your IRA funds and let them make money. This can
increase your passive income. You just need to manage the funds well and
withdraw the profits from each completed transaction to store your living
expenses.
                                                                        6:01:59


                Yes I have done this before. This is a great idea and will look into doing
                this again.
                I have an investment advisor managing my IRA which I’m considering firing. They
                are not doing a good job and don’t like having them control my IRA money.
                                                                                              6:02:07


You can operate your IRA yourself, and you can withdraw IRA funds for 60 days
for free. Then you can easily use this money to make money
                                                                              6:03:16


First of all, you need to clearly arrange your IRA account and let the money roll
over so that it can make money.
                                                                             6:04:14


It seems that it will take some time for your account to reach 3 million or 5
million US dollars. Now I can only plan a transaction of 1 million US dollars for
you. You can withdraw the funds from your IRA first.
                                                                           6:05:49


Do you think this is ok?
                  6:05:58


                Yes I did for my whole life until last year and wanted to see if someone else could
                do the job. But I am a much better trader and not so conservative. Everything
                you say I understand. It’s finding the balance that works for me.
                                                                                              6:06:08


We need a clear plan to get things done.
                                    6:07:00                                       COHN0105
                                                                                                    Page 106
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 111 of 439 PageID #: 322
                                              I won’t need to withdraw from my IRA to get 1 million.
                                                                                                     6:07:16


I mean you can withdraw your IRA funds, $3 million or $5 million.
                                                                6:07:58


Then, while you are waiting to withdraw your IRA funds, first raise your short-
term trust account to $1 million so that you can use the $1 million to make money
while you are waiting.
                                                                                        6:08:32


                 Thank you, Anna for all your suggestions. It is not that simple for me at this
                 moment to raise $3 million. Overtime, I will need to rearrange my portfolio in
                 order to have access to it again. And also feel comfortable, taking all my money
                 out of its current investments, and placing it in the trust wallet. This goes
                 against di versification, and that has served me very well throughout my journey
                 of investing. I have no doubt that your strategy is successful but trust that I just
                 need time to make the transition for myself slowly comfortably so I can have, a
                 clear plan too. Thank you for understanding. I will work on it. Trust me. I want to
                 make this happen. I’m very excited to take this journey with you but just need to
                 take my time getting to where I feel Uber comfortable.
                                                                                                      6:11:19


I understand that you can do it your way first. Maybe it's better this way
                                                                          6:12:42


Because what I'm saying are things I've experienced, I'm just telling you my way
                                                                                       6:13:04


So now you can complete it in terms of funding and reach your goal of 1 million
US dollars first.
                                                                                      6:15:16


                  Yes I appreciate you so much! Thank you for understanding.

                  I will get there - I just need to get control of my IRA first and then I can do
                  whatever I want. This may take a few weeks to transition the money back under
                  my control.
                                                                                                     6:15:42


I believe you can do it. Because you are an excellent man.
                                                      6:16:19


                                           Yes this best for now. Just need some time to get there.
                                                                                                      6:17:10


                         + Thank you for your reflection and compliment. Yes I can and will do it!
                                                                                                     6:18:43


Yes, I trust you, so you can set a time for yourself and plan how long it will be
completed. Strong people always execute well
                                                                                    6:19:53


                     Yes once I get control of my IRA I can withdraw 2 or 3 million for 60 days and
                     then return it.
                                                                                                     6:21:52


Yes, I hope you can take control of your IRA as soon as possible.                        COHN0106
                                                                6:24:01
                                                                                                     Page 107
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 112 of 439 PageID #: 323
<attached: 00001134-GIF-2024-06-14-18-24-43.mp4>
                                                    6:24:43


                                                                                                   I’m on it!
                                                                                                      6:24:50


Yes, allocate your money wisely and make your money work for you.
                                                                        6:25:46


                                                                    I’m going to make some dinner now.
                                                                                                      6:26:48


You can let me know if you have any questions. That way I can help you, too.
Give you a reasonable plan to follow
                                                                                  6:27:19


Are you the royal chef at night?
                             6:27:37


<attached: 00001140-GIF-2024-06-14-18-28-24.mp4>
                                                    6:28:24


                    Yes it might be good to chat with you and discuss a plan. I will be doing some
                    homework tonight and look at my portfolio to make a plan.
                                                                                                      6:28:41


That sounds like a good idea. You can make a list of your plans and share them
with me. I'll discuss it with you.
                                                                                    6:29:39


                Haha! I do love to cook but didn’t plan a meal tonight. So I will wing it with what I
                have on hand.
                                                                                                      6:29:59


<attached: 00001144-GIF-2024-06-14-18-31-00.mp4>
                                                    6:31:00


LOL Now you prepare your dinner first. We'll be in touch later.
                                                              6:31:27


                                                                                        Loved Sesame Street
                                                                                                      6:31:36


Is the delicious food ready?
                         7:09:22


                                         <attached: 00001148-GIF-2024-06-14-19-26-02.mp4>
                                                                                                      7:26:02


Wow, so cute. Love it
               7:26:29


                                                                                                    Me too!
                                                                                                      7:26:47


My dinner is ready too. /
                     7:27:40
                                                                                        COHN0107
                                                                                             Page 108
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<attached: 00001152-
PHOTO-2024-06-14-19
-29-00.jpg>




                  7:29:00


Cucumber and Shrimp Salad
                        7:29:14




<attached: 00001154-
PHOTO-2024-06-14-19
-30-01.jpg>




                   7:30:01




<attached: 00001155-
PHOTO-2024-06-14-19
-30-13.jpg>




                   7:30:13


Low-calorie, low-fat, high-protein dinner, easy to make! D
                                                       7:31:32


                 Looks delicious and full of protein. I made a salad too but I already ate it cause I
                 was hangry ; Plus I’m really amped up inside thinking about a plan to move
                 money.
                                                                                               7:33:06
                                                                               COHN0108
                                                                                                        Page 109
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 114 of 439 PageID #: 325
Your salad sounds yummy! Hangry is a real struggle ; what's the plan?6
                                                                                  7:35:47


                  My plan:
                  1. Sell all my lowest performing dividend stocks and move this cash to trust
                  wallet. I do have many call positions that are making me fantastic profit which I
                  do not want to sell.
                  2. contact my investment advisor on Monday and let them know my
                  dissatisfaction with their performance of my IRA and take back control of my
                  portfolio.
                  3. Unwind their investment portfolio which may take time.
                  4. Transfer as much cash to Strike by Tuesday or Wednesday latest.
                                                                                                         7:45:35


Okay, let me break down your three plans for you
1: You sell the worst stocks this is feasible, in addition to the stocks you are
bullish, you can compare the profit. Do stocks give you more money or do short-
term trades give you more money?
2: You contact your advisor on Monday, and if they say no to you, then you can
withdraw the IRA funds first and get them to agree. This is also a viable
approach.
3: Approximate amount of funds you can wire on Tuesday or Wednesday. You run
the numbers so I can help you plan better
                                                                                            7:52:25


                 Yes this is the homework I’m doing this weekend. So I can calculate how much I
                 will wire on Tuesday. Plus I have to send more than $1 million to account for the
                 possible BTC slippage, exchange fees and transaction fees.

                 From your experience, do have an idea of how much more I will need to cover
                 these costs?
                                                                                                         7:58:10


Because the market is always changing, it is impossible to calculate how much
the price will pay
                                                                                      8:01:25


We can calculate that based on the price you paid for bitcoin that day
                                                                        8:01:52


                     Yes true - Probably at least an extra 1.5% - 2% is needed to cover the costs.
                                                                                                         8:01:59


That's not a lot, because we make 16% on a 180-second trade.
                                                              8:03:03


                  I’m just wanting to be sure I have at least $1 million USDT in my Trust wallet.
                  Sending $1 million cash with 2 exchanges will not net $1 million USDT. Have to
                  send more - like at least $1.2 million to be sure.
                                                                                                         8:06:18


Now that you have a plan, you can move forward with it. I believe you can finish
it. And accomplish more than you planned
                                                                                       8:09:48


<attached: 00001168-GIF-2024-06-14-20-13-44.mp4>
                                                    8:13:44                                  COHN0109
                                                                                                 Page 110
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 115 of 439 PageID #: 326
                Wish I could use Kucoin to wire money- but they do not allow US Citizens to
                deposit dollars. As I said your having a Romanian passport is awesome for crypto
                because you have an access to most KYC’s worldwide. Due to our government
                wanting to control the crypto exchanges we don’t have access to them. Most
                don’t want to comply with the rules and regulations.
                                                                                                   8:16:11


Don't get frustrated. We always have a lot of ways. There may be some
difficulties. But success is the reward of persistence.
                                                                      8:18:40


                Yes thanks for the reminder to be strategic and keep a cool head. I can game
                this. I’m about saving money in the process of converting my cash to USDT. Best
                to just buy USDT directly and then transfer it to the Trust wallet.
                                                                                                  8:21:03


Yes this is a viable way because USDT is a stablecoin. You can send small
amounts via coinbase. But big money can still choose to strike.
                                                                         8:22:47


                 You a cannot buy USDT on Coinbase. Only USDC. Coinbase is in alliance with
                 USDC stable coin which is a US company. You can send your USDT to Coinbase
                 and trade it for BTC.
                                                                                                  8:25:29


One more thing. Don't hold back from selling stocks because you're bullish on
them right now. Diversify your investments. A small amount of money can be
invested in the stock market, with 80% of the money invested in short-term
trading. This kind of income can lead to unexpected results.
                                                                                8:25:53


                           Yes I’m learning this strategy from you and taking the time to analyze
                           my portfolio.
                                                                                                  8:27:24


I mean, not a lot of money. You can send it on coinbase. The amount of money is
large, you can use a strike
                                                                                   8:28:08


                                                               Yes they only allow $250,000 per day.
                                                                                                  8:30:28


I can quite understand the fact that banks are very opposed to people moving
money. I used a way of international telegraphic transfer with very low
commission before, but the bank is very resistant, and even refuses to give you
any reason.
                                                                                   8:34:38


Do you remember what I told you? You'll surpass me.
                                                 8:36:21


<attached: 00001180-GIF-2024-06-14-20-37-02.mp4>
                                                     8:37:02


                Well we shall see. I can see that you are very competitive which makes for a
                great entrepreneur. I say this as a positive!! I like this side of you that is also like
                myself.                                                          COHN0110
                                                                                                  8:39:35
                                                                                                     Page 111
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 116 of 439 PageID #: 327
We all have powerful brains. Two people together will be invincible. Makes other
rich people shiver LOL
                                                                                     8:40:30


                 Okay Anna I need to chill. I’m going to go take a bath and relax. I’m really wound
                 up now from the crypto. !
                                                                                                      8:41:09


I already figured you'd take me everywhere dressed up. LOL
                                                            8:41:32


                                                                              The sky is limitless for us.
                                                                                                      8:41:42


<attached: 00001186-GIF-2024-06-14-20-41-52.mp4>
                                                       8:41:52


                                               That would be a joy and look forward to that day. '
                                                                                                      8:42:52


Yes. The sky is boundless, and we are free to display it in the air.
                                                                 8:42:53


                                                                 So you want to remarry again one day?
                                                                                                      8:43:35


LOL looking forward to & M
                        8:44:39


You take a shower first. We can contact you later
                                             8:44:56


                                          <attached: 00001192-GIF-2024-06-14-20-47-56.mp4>
                                                                                                      8:47:56


                                                                                               Yes please *
                                                                                                      8:48:05


Yes, I do.
   8:48:29


Bruce, hope you have a good sleep tonight and sweet dreams. Good night.
                                                                           9:47:46


<attached: 00001196-GIF-2024-06-14-21-47-53.mp4>
                                                       9:47:53


                    Anna,
                    Before I fall asleep, I think about how you make life so much more meaningful
                    and how lucky I am to have you. Hope to see you in my dreams.+
                                                                                                      9:51:52


                                             Jun 15, 2024

Good morning!
It's time to start a new day again, let's have a cup of morning coffee together☕
Wish you a fulfilling day!
                                                                               COHN0111
                                                                             7:20:12
                                                                                               Page 112
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 117 of 439 PageID #: 328
                 Good morning Gorgeous @ I
                 I hope the universe once again conspires in your favor and you have a day just as
                 beautiful as you are * )
                                                                                                 7:21:38


Thank you, Bruce! Your words always bring a smile to my face. Wishing you a day
as wonderful as you are! X ,
                                                                                7:23:20


                                                                                               +
                                                                                                7:23:46


Any plans for today?
                7:24:29


I'll be doing my usual exercise routine this morning, and then I'm planning on
taking Dalia on a yacht trip to Long Beach today. I think we can text each other
later when we're free./
                                                                              7:34:11


                 Enjoy your day with Dailia!
                 I’m meeting a friend today to either go for a hike or to the beach.(

                 Yes let’s catch up later. I will text you when I’m back home and ready to connect.
                 !
                                                                                                9:24:59


Have a great day to you too, I'm home now! Hopefully we can talk again soon.1
                                                                               4:23:58


                                         <attached: 00001206-AUDIO-2024-06-15-16-31-19.opus>
                                                                                                 4:31:19


Drive safely, I'll be waiting for you here
                                    4:32:26


                    Hi Beautiful!
                    OMG that was quite the drive I just made and I am very happy to be back home
                    now. How was your day? ☀
                                                                                                5:35:48


Hi Bruce. I'm glad to hear you got home safe and sound. You may need some
time to relax. I had a great day with Dalia today. /
                                                                           5:44:09


                      Wonderful to hear! Yes I’m tired from grinding through traffic for hours. I just
                      listened to some soothing music Y during my drive.
                      You were in my thoughts…,
                                                                                                5:46:13


Take a good rest! Driving in traffic jams is really tiring. Listening to soothing
music can really help relieve stress. I'm glad you thought of me too! Maybe you
need a cup of coffee now.☕ ☕
                                                                              5:48:03




                                                                                 COHN0112
                                                                                              Page 113
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 118 of 439 PageID #: 329




<attached: 00001212-
PHOTO-2024-06-15-19
-01-43.jpg>




                   7:01:43


Enjoy your dinner today. D
                       7:02:18


Eggs, shrimp, avocado, broccoli, cherry tomatoes, cucumber, sesame
salad dressing
                                                                     7:03:23


Delicious and low-calorie vegetable salad. 1
                                            7:04:20


                   Thank you! Ooo I had most of the same ingredients you had tonight— avocado
                   Z , tomato, cucumber and tomato [
                   I made a high protein veggie burger with all the fixings.
                                                                                               7:04:55


                                                      Would love the recipe for your sesame dressing.
                                                                                               7:05:31


These are my favorites. M
                     7:06:34


Sesame salad dressing is very simple to make
 Sesame paste: 2 tablespoons
Soy sauce: 1 tablespoon
Lemon juice: 1 tablespoon
Garlic: 1 clove, chopped
Honey: 1 teaspoon Chili sauce: appropriate amount (add according to
personal taste)
 Salt: appropriate amount
 Water: appropriate amount (adjust the consistency as needed, it will be difficult
the first time. lol)6 8 <This message was edited>
                                                                               7:09:24


                                                                                          Me too! D
                                                                                               7:44:47


                     Sounds yummy and I’m always looking for new recipes. I eat a lot of salads.
                     Thank you *
                                                                                               7:45:43


Maybe you can try it. Very delicious. /
                                  7:46:33
                                                                                COHN0113
                                                                                                Page 114
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 119 of 439 PageID #: 330
                                        Garlic, lemon, honey and soy also pair nicely in many recipes.
                                                                                                 7:46:47


                                                                  Maybe? I WILL!!!! Like tomorrow. Haha
                                                                                                  7:47:30


Cool, I like this
          7:49:04


Wow, that sounds good.
                     7:49:22




                                                                               <attached: 00001227-
                                                                               PHOTO-2024-06-15-19
                                                                               -52-29.jpg>




                                                                                                 7:52:29


That sounds absolutely delicious! Your peach, strawberry and blueberry fruit
salad looks amazing! With the cashew vanilla cream, it’s just perfection! You are
such an amazing cook! \
                                                                                 7:53:59


                               My culinary genius is currently marinating. Ask me again once it’s fully
                               baked. LOL
                                                                                                  8:00:31


I'm sure you'll be successful, you look great cooking. /
                                                        8:01:19


                      Well you’re pretty amazing cook yourself. I’ve seen you elevating the culinary
                      arts to heights i can’t even fathom.
                                                                                                 8:03:54


Thank you for the compliment! I just try my best to use my cooking skills to make
some interesting and delicious food. Your support really makes me happy! 1
                                                                                  8:06:29


                    You are one special, amazing lady and supporting you brings me joy and want to
                    you to feel happy. This is how I show up in a relationship.
                                                                                                 8:46:30


Wow you always warm my heart. ❤ I hope we can all be happy and support each
other. C B
                                                                                  8:48:13


                        We can and will. We both deserve the best and to be joyful and happy as we
                                                                               COHN0114
                        grow together and support each other !
                                                                                                 8:50:39
                                                                                            Page 115
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 120 of 439 PageID #: 331
I used to think that I didn’t need a reason to like someone, but after meeting you,
I changed.
                                                                             8:52:50


You make me feel the need for a reason, even though we are not together now,
but now when we type and chat on WhatsApp, I can still feel your presence. /
                                                                            8:53:51


Bruce, time flies by fast, now I need to go get Dalia to sleep. /
                                                            8:56:21


                 Thank you for sharing your feelings with me. I feel a beautiful connection to you
                 too Anna and feel our connection deepening with time even though we have not
                 met yet in person.
                                                                                              8:56:41


                              Yes of course. Tuck her in for me too. I wish her a beautiful sleep =
                                                                                              8:57:19


Thanks, I'll do that. /
                  8:58:23


                   Good night gorgeous Anna,
                   Your smile and inner essence is the most beautiful in the world. Now you know
                   what I’m dreaming of tonight! ,
                                                                                              9:10:39




                                                             <attached: 00001243-
                                                             PHOTO-2024-06-15-22-43-46.jpg>




                                                                                             10:43:46


                                            Jun 16, 2024

Good morning, Bruce. When you wake up and feel the warm sunshine on your
face, I hope it fills you with peace and joy. >
                                                                          8:06:23


                                                                                            * )
                                                                                              8:09:40


                  Good morning Anna!☀
                   Sending you a day full of sunshine, a heaven filled with rainbows, and a pocket
                  full of dreams. May the future ahead of you be as wonderful as you are. , %
                                                                                              8:10:34


It's coffee time. ☕ ☕                                                          COHN0115
                 8:11:56
                                                                                                     Page 116
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 121 of 439 PageID #: 332
                                            <attached: 00001248-GIF-2024-06-16-08-19-28.mp4>
                                                                                                      8:19:28


I'm ready to start my daily exercise today. /
                                           8:20:15


                     https://www.instagram.com/reel/C8R3i6QuXFY/?igsh=MTc4MmM1YmI2Ng==
                                                                                                      8:22:52


                  Just want to share with you a fun reel I co-created with my son Cameron for his
                  sandwich review channel.
                                                                                                      8:24:34


Wow, that's cool! I bet it's hilarious. You and Cameron have such a dynamic.
                                                                              8:28:35


                                It was cool and we have an awesome relationship I feel so blessed ]
                                                                                                      8:30:58




                                                                                 <attached: 00001254-
                                                                                 PHOTO-2024-06-16-08
                                                                                 -31-59.jpg>




                                                                                                      8:31:59




                                                                                 <attached: 00001255-
                                                                                 PHOTO-2024-06-16-08
                                                                                 -32-32.jpg>




                                                                                                      8:32:32


Yes, this looks really fun. ^
                        8:32:35


Wow, this is the most special gift for a father.
                                           8:33:16


                                                     Yes it truly is and better than any gift in the world.
                                                                                     COHN0116         8:34:10
                                                                                                 Page 117
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 122 of 439 PageID #: 333
Yeah, that's cool.
                8:34:36


OK, Bruce. I'm going to go work out now. I think we'll talk again soon.
                                                                        8:36:45


                                                                                                Enjoy
                                                                                                  8:37:07


I will stay home today and spend a relaxing Sunday with Dalia.
                                                              9:47:55


                      Sounds like a wonderful way to spend your Sunday with your beautiful daughter.
                                                                                                  9:50:08


Yes, today is going to be a good day. And you?
                                              9:50:42


                     My day is going to be relaxing as well. I’m going to go to the Farmers market this
                     morning and then later this afternoon to the beach ams catch some rays _ It’s a
                     glorious sunny summer day here.
                                                                                                  9:53:42


Sounds like a perfect day! Enjoy the farmers market and the beach.
                                                                    9:54:59


                                                 It will be a good day. The only thing missing is you '
                                                                                                  9:56:00


Thank you, glad to hear that /
                                    9:57:07




<attached: 00001269-
PHOTO-2024-06-16-13
-47-08.jpg>




                          1:47:08


Enjoy lunch
      1:47:11


Pan-fried salmon, fried egg and shrimp, avocado
                                                 1:47:28


                     Seafood delight!! I’m learning your favorite foods! Avocado and eggs go together
                     so well.
                     I’m about to make my lunch.
                                                                                                1:50:29
                                                                                  COHN0117
                                                                                                  Page 118
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 123 of 439 PageID #: 334
Very simple lunch. 1
                 1:56:49




                                                                                      <attached:
                                                                                      00001274-
                                                                                      PHOTO-2024-06-
                                                                                      16-14-08-34.jpg>




                                                                                                    2:08:34


Wow, that looks absolutely delicious. \
                                               2:09:22


                                                            It is and so simple. High protein and low fat.
                                                                                                    2:10:12


I like high protein, low fat food. 1
                                     2:11:52


<attached: 00001278-GIF-2024-06-16-18-41-09.mp4>
                                                         6:41:09


                                                                                    Cute ☺
                                                                                    Do you have a kitty?
                                                                                                    6:42:26


Yes, my cat's name is Missy
                           6:43:14


How was the beach this afternoon?
                                     6:43:32


                                                                                           I love cats a
                                                                                                    6:43:42


                             Lovely- very relaxing listening to the waves and digging my toes into the
                             warm sand.
                                                                                                    6:45:04


                                                                          How was your day with Dalia?
                                                                                                    6:45:22




                                                                                    COHN0118
                                                                                        Page 119
     Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 124 of 439 PageID #: 335




<attached: 00001285-
PHOTO-2024-06-16-18-45-41.j
pg>




                            6:45:41




<attached: 00001286-
PHOTO-2024-06-16-18-
45-41.jpg>




                  6:45:41




<attached: 00001287-
PHOTO-2024-06-16-18-
45-41.jpg>




                  6:45:41




                                                                       COHN0119
                                                                                                Page 120
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 125 of 439 PageID #: 336




<attached: 00001288-
PHOTO-2024-06-16-18-
45-42.jpg>




                     6:45:42


My cat Missy and my dog Lisa
                         6:46:32


Thank you for your concern. Dalia and I had a relaxing Sunday.
                                                                6:47:16


Sounds so relaxing! It's great to enjoy the sound of the waves and the
warm sand!
                                                                          6:48:15


                               Wonderful to meet more of the family! Very cute pets you have!! Great
                               lap animals.
                                                                                                 6:52:52


Thanks. Great to hear that, Dalia really enjoyed them. lol
                                                      6:53:33


                     Gosh I’m sure she does. I grew up with both cats and dogs and always loved
                     having them to play with and cuddle with.
                                                                                                 7:28:52


Yes, Dalia loves animals very much.
                                   7:29:26


                  Again you are such an amazing Mother to Dalia providing her with so much love
                  in your home. ,
                                                                                                 7:33:55




                                                                                <attached: 00001297-
                                                                                PHOTO-2024-06-16-19-3
                                                                                5-40.jpg>




                                                                                     COHN0120
                                                                                                 7:35:40
                                                                                                  Page 121
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 126 of 439 PageID #: 337
Thank you for the compliment. Dalia is the treasure of our family. I enjoy creating
a warm and loving environment for her at home./
                                                                                    7:38:06


Wow, this reminds me of the gift Dalia gave me last year. It meant a lot to me.
                                                                               7:38:48


                                                                 I love special gifts from my son too.
                                                                                                    7:41:02


I will find the gift Dalia gave me last year and share the picture with you
                                                                     7:41:37


                                                                                I would love to see it! )
                                                                                                    7:42:15




<attached: 00001303-
PHOTO-2024-06-16-19-
45-51.jpg>




                     7:45:51


Last year on my birthday, Dalia gave me a very special gift. My heart melted.❤
                                                                                 7:46:50


                   Well I don’t speak Romanian but it’s easy to know the translation is Mami I love
                   you ❤
                   I can see why your heart melted. Plus she is so precious and sweet looking.
                                                                                                    7:49:55


                                                                  Thank you for showing me this *
                                                                                                    7:51:00


Yes, she means I love you, Mom. I like this gift very much.
                                                       7:51:19


You're welcome, I'm a person who likes to share my life.
                                                     7:53:12


                  I love and appreciate that you like to share your life. It means a lot to me. I hope
                  to do the same work you.
                                                                                                    7:54:37


Thank you for your encouragement and support! I am so happy to share my life
with you.
                                                                                 7:56:00


We encourage each other. Let's be the best of each other
                                                      7:57:14
                                                                                     COHN0121
                                                                                                    Page 122
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 127 of 439 PageID #: 338
                It is also a joy to share my life with you Anna and agree that we support and
                encourage each other and bring out the best of each other. And it’s been so easy
                to open up with you.
                                                                                                     8:08:18


Yes. We depend on each other and of course learn from each other to improve
ourselves. Because what I teach you, you always absorb quickly and execute
well
                                                                                 8:11:00


You can organize your funds on Monday. In this way, we can capture the
market well.
                                                                       8:14:55


                        Yes I will be working on this tomorrow. Very excited to take this next step.
                                                                                                      8:15:59


Yeah, I'm expecting you to let me know Monday when you get the money sorted
out. It'll be easier for me to help you plan
                                                                                   8:18:12


                                                                                                   Will do!
                                                                                                      8:18:37


Glad to hear you say that /
                       8:20:05


                                                                                             I’m on it!!! ☺
                                                                                                      8:21:37


Are you liquidating your funds? LOL
                                 8:22:30


                        This is a big shift for me!!! Yes I will be liquidating positions to raise cash.
                                                                                                      8:23:41


Yes, we all need to break through ourselves. That's how you become a better
version of yourself. People can't always be in their comfort zone. Once you are
not willing to break through their own words, it is easy to be eliminated by
society
                                                                                 8:25:57


                Anna,
                It was a wonderful day with you. -I hope you dream beautiful dreams tonight.
                You deserve happiness when you’re asleep and awake. Sweet dreams Gorgeous.
                , ' .
                                                                                                      9:01:07


Thank you, Bruce. Hope you have a good dream too. Good night. ' b
                                                                     9:43:31


<attached: 00001325-GIF-2024-06-16-21-43-45.mp4>
                                                     9:43:45


                                            Jun 17, 2024

                                                                                     COHN0122
                                                                                                Page 123
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 128 of 439 PageID #: 339
Good morning, Bruce. I hope from the bottom of my heart that today is a good
day! May everyone have a happy day, good morning, may you be in a good mood,
full of confidence and vitality. Let us happily welcome a new beginning,
everything will become better!
                                                                               8:02:55


                   Good morning, Beautiful Anna!
                   Wow thank you for your beautiful morning words to me. So uplifting and full of
                   optimism. You truly are such a special soul and a sweetheart. '
                   May this morning overflow with happiness, love, and boundless opportunities
                   for you. ,
                                                                                                  8:11:01


Bruce. Thank you for your kind words and best wishes. Now it's time for coffee.
☕ ☕
                                                                              8:13:13


How's the schedule for today?
                          11:04:57


                  Not too busy today. Well I’ve been busy this morning closing stock positions to
                  raise cash to wire. FYI: It will take a day or two for the stock positions to settle
                  before the money is in my account to wire.

                  Otherwise, I’m helping a friend later on this afternoon with her stock portfolio.
                  She asked me to review her portfolio and give her some feedback.
                                                                                                 11:25:24


                                          What about you? How’s your schedule? Are you at work?
                                                                                                 11:26:02


How much did you raise?
                   11:26:08


                                                                                        So far $550,000
                                                                                                 11:26:30


Yeah, but it's my break now. Enjoy a cup of coffee LOL
                                                     11:26:33


So the $550,000 will be in your bank account by the time the stock is liquidated
                                                                             11:27:12


                    When you sell stock it takes 1 business day for the cash to be available to
                    withdraw. So hopefully it will be available by tomorrow to wire to Strike. If not
                    then I will have to wait until Thursday because the stock market is closed on
                    Wednesday for a holiday.
                                                                                                 11:30:29


I believe it should be OK.
                   11:30:51


Did you liquidate your retirement account, too?
                                          11:31:04


                                                                    BTW BTC Is having a huge rally.
                                                                                                 11:35:21
                                                                                COHN0123
                                                                                                Page 124
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 129 of 439 PageID #: 340
                       No I cannot until I meet with my advisors. I sent them an email requesting
                       a meeting.
                                                                                                 11:36:04


We should seize the opportunity. Maybe this is a turning point. Just be patient
while you wait for the money
                                                                            11:36:04


OK probably wants you to communicate with them positively. Asking why you're
extracting it. Are they not doing well LOL
                                                                              11:37:09


                  Since I’m on my laptop screen watching BTC price rip higher I made several
                  small test trades. Using the 60s short term market and made a quick $10,500
                  profit!! I can now see why your trading strategy is so successful!! Hugs, kisses
                  and gratitude to you for showing me this. + *
                  I’m excited to move the money so we can trade!!
                  Oh and BTC is selling off now. It was just an oversold rally.
                                                                                                  11:44:51


Yeah, and now it's just waiting for your funds to arrive. Then you can complete
the wire transfer and we can proceed with the transaction. Smart students don't
need to be taught how to learn.
                                                                               11:47:24


                Okay I may need some help navigating back to my short term trading account in
                Trust. I cleared all the tabs so there is no clear path back to my short term
                trading account. It’s one of the things I don’t feel is done particularly well in this
                wallet.

                Lmk when you have some time to help.
                                                                                                 11:52:52


You can send me a screenshot
                        11:53:57




                                                                                          <attached:
                                                                                          00001347-
                                                                                          PHOTO-2024-
                                                                                          06-17-11-54-2
                                                                                          3.jpg>




                                                                                                 11:54:23




                                                                                 COHN0124
                                                                                           Page 125
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 130 of 439 PageID #: 341




                                                                                    <attached:
                                                                                    00001348-
                                                                                    PHOTO-2024-
                                                                                    06-17-11-54-4
                                                                                    0.jpg>




                                                                                            11:54:40


Send me a screenshot when you go to the top and the search bar comes up
                                                                    11:55:11




                                                                                   <attached:
                                                                                   00001350-
                                                                                   PHOTO-2024-
                                                                                   06-17-11-55-4
                                                                                   9.jpg>




                                                                                            11:55:49




<attached: 00001351-PHOTO-2024-06-17-11-56-17.jpg>




                                                                        11:56:17


Click in
 11:56:19


                                                                                   Okay then what?
                                                                                            11:56:45


Send me the screenshot                                                         COHN0125
                  11:56:55
                                                                                             Page 126
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                                                                         <attached: 00001355-
                                                                         PHOTO-2024-06-17-11-
                                                                         57-29.jpg>




                                                                                              11:57:29




<attached: 00001356-PHOTO-2024-06-17-11-57-53.jpg>




                                                             11:57:53


Are you logged in
               11:58:32


                                                                              That’s it!! Thank you!
                                                                                              11:58:35


OK
11:59:00


Because you are not yet familiar with this operation, there will be some things
you do not understand
                                                                         12:06:16


                                                                              Yes I’m still learning.
                                                                                              12:07:33


But you have learned the ability to be happy
                                        12:08:02


                                            <attached: 00001363-GIF-2024-06-17-12-10-03.mp4>
                                                                                              12:10:03


You are so funny LOL
                   12:30:30


                                                                             COHN0126
                                                           We both are funny and enjoy our banter.
                                                                                              12:31:25
                                                                                                     Page 127
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 132 of 439 PageID #: 343
Yes, it's a tacit understanding
                            12:36:16


<attached: 00001367-GIF-2024-06-17-17-07-46.mp4>
                                                             5:07:46


                                                            Are you doing a happy dance? Have a good day?
                                                                                                      5:09:49


                                                                                     Done with work now?
                                                                                                      5:10:28


I feel like a little girl dancing.
                            5:10:50


                                                                                            And why is that?
                                                                                                       5:11:12


Yes, I did a good job. How about you? Did anything happy happen to you today
                                                                                  5:11:13


A tired day's work will finally be finished. LOL
                                                 5:11:45


                      Yes of course..
                      let’s see..
                      * Booked some fast money trading in the Trust wallet.
                      * Helped a friend with her stock portfolio that was being managed by an adviser
                      who lost her money
                      * And best knowing the amazing you which makes me very happy c
                                                                                                      5:17:45


So you've been busy with all this stuff today?
                                                 5:19:34


And you're good because you have a big brain
                                                  5:19:51


                                                  <attached: 00001377-GIF-2024-06-17-17-21-00.mp4>
                                                                                                      5:21:00


LOL You're already keeping up with me
                                       5:21:19


                                           Would you like to have a chat? I’d love to hear your voice. ,
                                                                                                      5:23:52


Sure am. I'm driving now, when I get home
                                           5:25:18


Voice call, 6 min
            6:15:28




                                                                                      COHN0127
                                                                                     Page 128
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 133 of 439 PageID #: 344




<attached: 00001382-
PHOTO-2024-06-17-18
-40-59.jpg>




                  6:40:59




<attached: 00001383-
PHOTO-2024-06-17-18
-41-04.jpg>




                  6:41:04


Getting ready to start making dinner./
                                 6:41:22




<attached: 00001385-
PHOTO-2024-06-17-18
-50-43.jpg>




                  6:50:43


                                                                       Looks great. Enjoy !
                                                                                         6:51:31




                                                                        COHN0128
                                                                                                  Page 129
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 134 of 439 PageID #: 345




<attached: 00001387-
PHOTO-2024-06-17-18
-51-43.jpg>




                    6:51:43


Yes, tonight's beef pasta dinner is done.
                                        6:52:09


                                                                                  Quick and easy dinner.
                                                                                                    6:52:38


Yes, I like simplicity./
                   6:53:15


You have a meeting with your agent on Wednesday. Are you going to fire them
                                                                                7:49:43


                              Sorry my phone was off and didn’t hear your message come in. Yes I’m
                              considering firing them.
                                                                                                    9:04:07


What are you having for dinner?
                              9:04:34


I thought you were in bed. I almost became a coffee cat while I waited for you to
hear from me
                                                                                   9:07:16


                  I didn’t feel like doing a fancy meal so I just steamed some broccoli with an aioli
                  sauce and had a veggie burger with hummus.
                                                                                                    9:07:21


Broccoli is delicious. The royal chef sometimes wants to be lazy
                                                                   9:08:39


                                                  <attached: 00001397-GIF-2024-06-17-21-08-44.mp4>
                                                                                                    9:08:44


Yes, it is.
    9:09:14


                                                        lol ; yes indeed the royal chef had the night off!
                                                                                                    9:09:36


Will the royal chef be lazy when I want to eat delicious food
                                                              9:11:01

                                                                                     COHN0129
                                                                                               Page 130
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 135 of 439 PageID #: 346
                                                        Not likely- because I love please my partner.
                                                                                                 9:13:15


<attached: 00001402-GIF-2024-06-17-21-13-46.mp4>
                                                     9:13:46


                                                                                  Oooo I love to share.
                                                                                                 9:14:19


I'm sure I'll be impressed by your food.
                                   9:14:22


                                                      Well I aim to please when it comes to cooking.
                                                                                                 9:14:50


I think so too. When the food is eaten by the people who like it. I will be
very happy.
                                                                     9:16:56


                       It’s always brings me joy to see people appreciating the food I prepare. It’s
                       always made with a lot of love ❤
                                                                                                 9:35:50


Yes, we have similar feelings. Even if being a royal chef can be tough. But good
food is happy when it's on the tongue
                                                                               9:37:07


                 Beautiful Anna,
                 I hope you had a fab day filled with joy. Close your eyes, clear your mind, and
                 listen closely as the stars climb the night sky to hang above your beautiful inner
                 being. Sweet dreams @ ) '
                                                                                                10:06:27


If we could hug you at night, I think we would sleep very well. Now we meet and
hug in our dreams
                                                                               10:07:41


                             I will dream about that moment when we can hug each other at night.
                                                                                                10:48:14


                                             Jun 18, 2024

Good morning! Bruce. Today is another new day. I hope you are full of energy
and vitality. When you wake up in the morning and see the morning sunshine
shining on the windowsill, do you feel warm? The first ray of sunshine in the
morning always brings infinite hope and beauty. I hope you can keep smiling all
day and stay optimistic when encountering difficulties. Every morning is a brand
new beginning. Let us meet new challenges together and become a better self.
                                                                                 7:54:02


                  Good morning Gorgeous '
                  May today bring you boundless hope and a vision of new possibilities to unfold.
                  Where everything works out exactly as it needs to for your energetic evolution.
                  . d , @ %
                                                                                                 7:56:29

                                                                                  COHN0130
                                                                                               Page 131
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 136 of 439 PageID #: 347
Thank you, Bruce! Your kind words always brighten my day. Wishing you a day
filled with love and positivity as well! > R
                                                                             7:59:07


                 I love this and you made my day! And I feel warm and full of hope from your text.
                 Let’s meet the challenges together. ❤ '
                                                                                                7:59:42


What are you doing today?
                      8:00:08


                  Well, I’m thinking about you of course ! M

                  Otherwise a lot of small things. I have a workman coming to repair some
                  windows in my home this morning. Then I’m bringing my car into the dealership
                  for an oil change and tire rotation. After that I’ll see what the day brings.
                                                                                                8:05:33


                                                                                  What about your day?
                                                                                                 8:06:12


This morning I will do my daily exercise and then drive to the office. In the
afternoon I will continue to proofread my fashion design work.
                                                                        8:09:23


                                                  I also will be working on my rental casita project.
                                                                                                 8:14:46


Bruce. Text me when you are free. I will be here when you have time to talk. e
                                                                             8:15:48


Now it's coffee time. ☕ ☕
                      8:17:06


                                                                                              Enjoy ☕
                                                                                                 8:18:31


<attached: 00001424-GIF-2024-06-18-08-20-35.mp4>
                                                     8:20:35


                                                   Now this is the way life should be enjoyed ☕ ,
                                                                                                 8:21:53


                                                                         And I love your cute emoji’s
                                                                                                8:22:32


Thanks We each have a cup of coffee, this is our morning coffee☕ ☕
                                                                   8:25:34




                                                                                   COHN0131
                                                                                               Page 132
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 137 of 439 PageID #: 348




<attached: 00001428-
PHOTO-2024-06-18-08-
37-23.jpg>




                      8:37:23


                                           <attached: 00001429-GIF-2024-06-18-08-40-47.mp4>
                                                                                                 8:40:47


                                                                 I’m smiling!! You look so gorgeous. '
                                                                                                 8:43:26


<attached: 00001431-GIF-2024-06-18-08-50-28.mp4>
                                                       8:50:28


I'm glad you like my smile, I'll text you when I'm free in the office./
                                                                    8:54:33


                                            Look forward to your text. Have a fabulous day at work.
                                                                                                 8:56:01


I just arrived at the office
                     9:40:28


                                           <attached: 00001435-GIF-2024-06-18-09-42-01.mp4>
                                                                                                 9:42:01


Yes, you made me laugh.
                     9:42:43


<attached: 00001437-GIF-2024-06-18-10-26-49.mp4>
                                                      10:26:49


                    Oh gosh Anna I am laughing so hard!! Thank yo for always making my day a joy
                    to know you! ; * +
                                                                                                10:28:46


I guess that's you, working like crazy right now
                                           10:29:12


We're always funny. I'm really happy
                                10:30:08


                                     Yes busy making stock and option trades at the speed of light!!
                                                                                                10:30:19


                                                                                                Me too
                                                                                                10:30:27
                                                                                  COHN0132
                                                                                                       Page 133
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 138 of 439 PageID #: 349
Did you sell shares again today
                                   10:30:47


<attached: 00001444-GIF-2024-06-18-10-32-04.mp4>
                                                                10:32:04


Are they
  10:32:12


                                                                                           I wired funds today.
                                                                                                         11:10:47


                                              I think I need to hire these cats to help me trade faster! LOL ;
                                                                                                         11:12:28


Wire to the strike
             11:14:51


I believe it's a lucky cat
                        11:15:07


                                                         <attached: 00001450-GIF-2024-06-18-11-19-11.mp4>
                                                                                                         11:19:11


Yes, it’s true! In many cultures, cats are seen as a symbol of good luck. I’ve
heard of similar beliefs in other Asian countries. It’s always fascinating to learn
about different cultural beliefs and superstitions.
                                                                                      11:21:04


<attached: 00001452-GIF-2024-06-18-11-30-30.mp4>
                                                                11:30:30


                        We are very much alike in this way of always be fascinated to learn about other
                        cultures. Including your culture- Romanian culture!!
                                                                                                        11:33:27


In fact, having more skills is a good thing
                                              11:37:27


We're all the same. Like I said, we have to keep moving. We can't stay where we
are. Once it stays where it is, it will soon be eliminated
                                                                                      11:38:05


However, there are still many countries that are lagging behind and cannot keep
up with science and technology. Without access to a wealth of knowledge
                                                                                       11:38:43


Are you done with your work?
                                   1:26:41


                   Trading yes the markets are closed. Now I need to go pick up my car from the
                   dealership. The work is done. I’m still working on my rental project picking out
                   doors and windows for the unit. And getting my contractor synced up to start his
                   work.
                                                                                                         1:37:03


                                                                                       How’s your day going?
                                                                                                         1:37:23

                                                                                          COHN0133
                                                                                                Page 134
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 139 of 439 PageID #: 350
Drive safely
      1:37:30


I had a great day at work. And beat the clock on my work
                                                         1:38:12


You should always check your strike account if you wire it today. Maybe it's
already on the bill
                                                                           1:39:57


                                                <attached: 00001463-GIF-2024-06-18-13-40-23.mp4>
                                                                                                 1:40:23


<attached: 00001464-GIF-2024-06-18-13-41-05.mp4>
                                                         1:41:05


I think I'm gonna break the computer
                                      1:41:18


                The wire was sent late because it was a large amount and the brokerage only
                called me a little before 1pm to verify it for security reasons. So it’s not there yet.
                                                                                                 1:42:08


How much money did you wire
                            1:42:38


                                                        LOL yes I’m with you on breaking the computer
                                                                                                 1:42:43


If it has already been sent, the bank has deducted the money. Then it'll be there
soon. Strike. Are you familiar with the operation? I'm not familiar with it. Send
me the screenshots when it arrives. I'll still teach you. Smart man
                                                                                  1:43:48


                   Thank you * Yes I’m already familiar with Strike because you helped me last
                   time. Yes I’m a smart man.
                                                                                                 1:45:22


Yes, but just to be safe, you can send me a screenshot. I'll help you along
                                                                        1:46:09


                 I split the money up. I sent $100k to kraken Pro and converted that to $99,786
                 USDT. I saved a lot by buying the USDT directly avoiding the BTC conversion.
                 And I sent another $330K to Strike. This I will have to be strategic to not lose a
                 lot doing the conversions. BTC price has fallen down to $64,800. It’s been
                 volatile.

                 Plus I have another almost 50K USDT at Coinbase. Coinbase has placed a hold
                 on the funds since I sent them via ACH and not a wire. They hold the funds for 2
                 business days so they should be cleared tomorrow to transfer.
                                                                                                 1:56:37


Yes, you have a plan. That's great.
                                1:58:00


So you wired $480,000
                  1:58:36
                                                                                     COHN0134
                                                                                                  Page 135
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 140 of 439 PageID #: 351
The time to use telegraphic transfer to the account is faster. Bank card
purchases need to wait 5-7 days for bank settlement
                                                                        2:00:10


Did you get the $550,000 from the stock liquidation
                                                     2:01:10


                                            <attached: 00001477-AUDIO-2024-06-18-14-04-14.opus>
                                                                                                    2:04:14


We make money is to do strategy, can not blindly to operate. Because we're
playing it safe with our investments. It's good for us. I'm sure you can handle it
and succeed. When we succeed we can raise the red glass and dance tango LOL
                                                                                  2:11:22


<attached: 00001479-GIF-2024-06-18-14-14-36.mp4>
                                                          2:14:36


                    Yes we think alike for sure. Investing is my passion and have a lot of experience
                    handing issues. I’m really good at solving problems and looking at ways to make
                    money.
                                                                                                    2:22:47


                                 Okay the wire arrived and strike is asking for more documents from me.
                                                                                                    2:23:32


                                               <attached: 00001482-GIF-2024-06-18-14-23-46.mp4>
                                                                                                    2:23:46


Send me the screenshots
                       2:25:26


I can teach you.
          2:27:00




                                                                                            <attached:
                                                                                            00001485-
                                                                                            PHOTO-2024-
                                                                                            06-18-14-27-1
                                                                                            5.jpg>




                                                                                                    2:27:15




                                                                                   COHN0135
                                                                                               Page 136
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 141 of 439 PageID #: 352




                                                                                         <attached:
                                                                                         00001486-
                                                                                         PHOTO-2024-
                                                                                         06-18-14-27-
                                                                                         35.jpg>




                                                                                                2:27:35


                  Ah I do not have to send them my tax return. I can say I’m retired and the funds
                  came from savings.
                                                                                                2:29:27


Wait a minute. This is the source of your funds
                                              2:29:34


                                   The funds were mot generated through employment. That’s the key.
                                                                                                2:30:29


Reply to this email first: you need to provide the source of your funds and reply
to the question
                                                                              2:34:36


The first is a payroll the second is a client's employee contract and the third is a
tax statement
                                                                               2:34:52


Don't reply to emails in error.
                         2:35:08


                                                                             I will send you my replys
                                                                                                2:35:35


Hello, I don't use a DAPP, I just transfer funds to my private wallet (Trust) wallet
to store long-term investments
                                                                               2:36:36


But you are using stock funds to make the wire transfer, so you can send back
the stock list, or the bank's list.
                                                                             2:37:32


You respond to the strike email in accordance with the content. Just reply as my
editor sent you
                                                                               2:39:03


Once you file your tax returns, the funds will arrive quickly
                                                         2:41:04


                                                So do you feel I should provide my tax return to them?
                                                                                                2:42:09


                                                                                 COHN0136
                                                                                                     Page 137
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 142 of 439 PageID #: 353
The first is a payroll the second is a client's employee contract and the third is a
tax statement any one of them will do
                                                                                     2:42:38


In order for the funds to reach your account faster, you can submit tax
statements if you have them
                                                                      2:43:09


                 Yes but only IF they funds came from Employment which they did not. I will send
                 you my reply
                                                                                                      2:43:47


                                                                                Here is what I have so far:
                                                                                                      2:43:56


                 Hello Jonathan,

                 1 No. I am NOT using a DAPP (Decentralized Application) within the external
                 Trust wallet .I just transfer funds to my private wallet (Trust) wallet to store long
                 term investments.

                 2.The wired funds to the Strike exchange are from my personal brokerage
                 account. They were NOT generated through employment. I am retired.

                 Thank you
                 Bruce Cohn
                                                                                                      2:44:02


Give me a second to read it
                      2:44:31


You can respond to strike emails separately
                                          2:47:03


If you get two emails, reply to two
                                2:47:40


                                               Yes I will reply with two emails. To each one separately.
                                                                                                      2:48:17


This response is not very problematic. At best, you will need to provide your
tax proof.
                                                                                2:48:23


Providing a tax certificate can prove to the strike that the source of funds is
legitimate income
                                                                                2:49:12


                   Actually I have read the email again and yes I do have to provide them with my
                   tax return. The email states in addition, please provide any of the following.
                                                                                                      2:51:40


Yes provide your tax certificate
                           2:52:30




                                                                                          COHN0137
                                                                                                Page 138
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 143 of 439 PageID #: 354
                I have replied again asking them to confirm if I need to send them any
                documents. I don’t have a tax certificate. That’s usually issued for a business.

                I don’t believe they will ask for any documents since I’m “not self employed” and
                not gainfully employed by a company. And if they do I will provide it. They doubt
                they want my tax return.
                                                                                                  3:01:31


You need to issue tax proof of this, at least to prove that the income is
legitimate. This must be sent, only if you send the strike will speed up the
processing of funds for you
                                                                       3:03:24


                                                                                  Okay I’m doing it now
                                                                                                 3:05:14


Yeah, let me know when you're done
                                 3:05:35


                                                                                              Done ✅
                                                                                                 3:08:47


Now just be patient and wait for the strike to reply to your email.
                                                             3:09:28


                                                    Thank you so much Gorgeous for all your help!
                                                    * ) * ) * ) * ) * )
                                                                                                 3:13:27


                                                                           I’m off to pick up my car.
                                                                                                 3:13:47


Okay, I'm gonna take a break, too
                              3:19:12


Did you get the car back?
                    4:41:40


                Yes I did!! I just arrived back home. So she’s all ready to go for another 3k miles.
                !
                                                                                                 4:43:52


Can we check the strike response to your email now? The funds have not arrived
                                                                                 4:45:40


                  I don’t see the funds in my account yet and there is no email from Strike. Looks
                  like I will still have to wait longer.
                                                                                                 4:47:34


Are you ready for dinner?
                    4:48:30


                  Haha I’m always ready for dinner but I’m working on an email to my investment
                  advisor with a list of my issues. I need to finish this so he can see it tonight.
                                                                                                 4:49:49



                                                                                   COHN0138
                                                                                                 Page 139
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 144 of 439 PageID #: 355
Okay, what's the problem you can tell me, and we can use our big brains to
figure it out
                                                                          4:50:34


                 Thank you for your offer to help. I will explain my issues to you next time we
                 chat. There’s a huge difference in their passive management style which goes
                 against the grain of all my 40 years of trading experience I’ve accumulated. Okay
                 gotta finish this.
                                                                                                   5:09:04


Okay, you finish your job first. We can contact you later
                                                     5:09:39


                                                 I’m done working today. Okay time for dinner!! Haha
                                                                                                   7:27:01


What's for dinner tonight?
                        7:28:25


                                                                  I’m feeling like a pasta dish tonight.
                                                                                                   7:28:54


That sounds good. My salmon is almost done.
                                           7:29:41


                                                               Yum - I love fresh, wild caught salmon.
                                                                                                   7:30:29


                                                                                                Enjoy !
                                                                                                   7:30:38


Yes, I like fresh wild salmon too
                                 7:31:05


Thanks
  7:31:20




<attached: 00001538-
PHOTO-2024-06-18-19
-31-31.jpg>




                       7:31:31


Pan-fried salmon.
             7:31:47


                                                                                       Looks delicious.
                                                                                                  7:32:12
                                                                                    COHN0139
                                                                                                 Page 140
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 145 of 439 PageID #: 356
Yes, I love salmon very much 1
                               7:32:40


Have the funds reached strike?
                              7:35:24


                                                     No not yet. They must be doing a security review?
                                                                                                   7:36:36


                                         Did you have to wait when you wired Strike big sums of money?
                                                                                                   7:38:00


And no reply to your email?
                         7:38:08


Yes, you have to wait. But they send mail to the strike. Re: I have submitted my
tax statement and the bank has deducted the money wired to the strike funds.
Please process my funds release into my strike account
                                                                                7:39:30


                                                No none yet. I will send them this email after my dinner.
                                                                                                   7:40:11


Yes.
 7:40:34


Enjoy your meal. I bet it's delicious
                                   7:40:55


<attached: 00001550-GIF-2024-06-18-19-41-43.mp4>
                                                         7:41:43


Good night, Bruce. It's late at night, and the busy day is coming to an end. In this
beautiful night, I hope you can gently close your eyes and let your tired heart be
comforted and soothed. I hope you can have a sweet dream, forget the worries
and fatigue of the day, and let your heart get a moment of peace and relief in the
dreamland. I wish you a good night, a happy mood, and a good dream.b ⭐ ⭐
                                                                                  9:53:24


<attached: 00001552-GIF-2024-06-18-21-53-43.mp4>
                                                         9:53:43


                       Good night Anna
                       Before I fall asleep, I think about how you make life so much more meaningful
                       and how lucky I am to have you. Hope to see you in my dreams.+ )
                                                                                                   9:55:25


                                                 Jun 19, 2024

                     Good morning Anna,
                     May this morning overflow with happiness, love, and endless prospects for you
                     ☀ )
                                                                                                   7:42:49


Good morning, Bruce. At the beginning of this beautiful day, I hope you have a
pleasant day. The morning sun shines on the earth, making you feel infinite
warmth and beauty. May you have a day full of vitality and hope.
                                                                               8:00:20
                                                                                   COHN0140
                                                                                                   Page 141
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 146 of 439 PageID #: 357
<attached: 00001556-GIF-2024-06-19-08-00-53.mp4>
                                                          8:00:53


                                    Isn’t this a wonderful way to wake up to each other each morning?
                                                                                                    8:08:36


Yes, this is the best way to wake up every morning/
                                                      8:10:00


                                The wired money was credited to my Strike account. So all is good. !
                                                                                                    8:10:45


Then you need to open your trust wallet and copy the BTC address
                                                                    8:12:10


We need to transfer the funds to the trust wallet first
                                                     8:12:32


You can send me the screenshots step by step. So I can check for you, too
                                                                              8:13:48


                                Dearest Anna,
                                We will deal with the transfer later on. I have a couple of meetings in a
                                few minutes.
                                                                                                    8:14:39


Good meeting went well
                   8:15:04


<attached: 00001565-GIF-2024-06-19-10-08-27.mp4>
                                                         10:08:27


Is your meeting complete?
                     11:24:43


                                  Hey Beautiful,
                                  Yes I’m finished with my meetings. How is work going for you today?
                                                                                                   12:20:34


I finished work for the day. I had two cups of coffee. I should share one with you
                                                                                    12:21:20




                                                          <attached: 00001569-
                                                          PHOTO-2024-06-19-12-23-35.jpg>




                                                                                                   12:23:35

                                                                                        COHN0141
                                                                                                         Page 142
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 147 of 439 PageID #: 358
<attached: 00001570-GIF-2024-06-19-12-24-25.mp4>
                                                           12:24:25


Did your meeting go well?
                     12:24:50


                           Yes it went well thanks * Now I headed to over my hairdresser soon for
                           a haircut.
                                                                                                          12:26:31


                                What are you doing for the rest of your day? Drinking more coffee? ;
                                                                                                          12:28:06


wow, that makes you even more handsome. I thought you were done and taught
you to get the BTC address in the Trust wallet. We're gonna have a deal today.
It'll make a little more profit
                                                                                    12:28:20


                  Yes you have been the best, most amazing, incredible, intelligent and of course
                  absolutely beautiful inside and out teacher!! Yes I have the TRUST BTC address.
                  BUT!!
                  My Trust wallet is still frozen and won’t be released until tomorrow. So I don’t
                  want to send any crypto to this wallet until it is unfrozen. I can’t do anything in
                  that wallet for now. Support told me I had to wait 48 hours.
                                                                                                          12:33:11


                                                <attached: 00001576-GIF-2024-06-19-12-35-19.mp4>
                                                                                                          12:35:19


What happened to your short-term trust account? Frozen for 48 hours?
                                                                         12:35:48


                                                                                                Yes it’s Frozen!!
                                                                                                          12:36:24


Have you triggered the account security? My account has also triggered the
security verification. This means that I cannot withdraw money for 48 hours. But
it does not affect other operations.
                                                                                     12:37:00


You can transfer it to the trust wallet first
                                         12:37:18


Transferring from wallet to short-term account
                                                12:37:28


                                I tried to see if I could do other operations and I cannot. It won’t let me.
                                                                                                          12:37:45


Because I planned the transaction at night, I would not miss it. You triggered the
48-hour withdrawal security.
                                                                                    12:37:52


You can trade and top up. But you can't withdraw money for 48 hours. I have
encountered this before. You can submit your ID for review and it will be fine.
                                                                                12:39:09


You can take a photo of your driver's license and send it to the customer service
for verification.                                                            COHN0142
                                                                                    12:39:59
                                                                                               Page 143
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 148 of 439 PageID #: 359
                  don’t want to send BTC to my Trust wallet and not be able to convert it to USDT
                  right away. I could lose a lot of money. BTC has been in a downward trend.
                                                                                                12:40:06


Then transfer to a short-term account. Now take a photo of your driver's license
and submit it to customer service for review to lift the 48-hour restriction.
                                                                               12:40:56


                    I already did this and submitted my passport as well. It’s their security policy
                    and I’m stuck. I texted them this morning and told me I had to wait.
                                                                                                12:41:42


I remember submitting it and it was done in about 2 hours. But you have to wait
48 hours to withdraw money from your account. This will not affect our trading
and making money.
                                                                              12:44:47


Just wait 48 hours for withdrawal. No other impact
                                               12:45:36


                 I already tried to place a trade and it would not let me. I received a message that
                 my account is frozen. Trust me I cannot do anything. I wish I could.
                                                                                                12:46:25


You can recheck your account, it may have been unlocked. This is a security
restriction
                                                                          12:46:52


Trust has recently upgraded its 2FA. I remember that the customer service said
that this security upgrade needs to be the same as crypto. After the upgrade is
completed, the security issue of withdrawal will not be triggered.
                                                                              12:47:49


Because crypto's 2FA is the most secure so far. Trust is also upgrading their 2FA
                                                                               12:48:17


                 I will check again after my hair appointment. And text support and see if they will
                 reinstate trading for me.

                 Yes I tried to put into place the 2FA but support told me I had to wait until their
                 upgrade is completed. I don’t like not having that in place. Okay gotta go. +
                                                                                                12:52:40


Yes, 2FA upgrade is a good thing for us, because I consulted the customer
service, and the customer service said that we need to cooperate with crypto's
2FA to upgrade to crypto's 2FA. This is very safe for us
                                                                              12:53:50


OK, you go get a haircut first.
                        12:53:57




                                                                                 COHN0143
                                                                                                     Page 144
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 149 of 439 PageID #: 360




                                                                                             <attached:
                                                                                             00001598-
                                                                                             PHOTO-2024-
                                                                                             06-19-13-03-1
                                                                                             4.jpg>




                                                                                                       1:03:14


This is a 48-hour withdrawal. It does not affect any other operations.
                                                                        1:04:14


                                                                                  You deleted this message.
                                                                                                       3:50:27




                                                                        <attached: 00001601-
                                                                        PHOTO-2024-06-19-15-51-08.j
                                                                        pg>




                                                                                                       3:51:08


                                        <attached: 00001602-AUDIO-2024-06-19-15-59-42.opus>
                                                                                                       3:59:42


I have finished my work for today/
                              4:40:02


Text me when you're home. I hope you have a good time tonight
                                                              5:09:02


<attached: 00001605-GIF-2024-06-19-20-31-51.mp4>
                                                    8:31:51


                                           <attached: 00001606-GIF-2024-06-19-20-52-16.mp4>
                                                                                                       8:52:16


Are you home already?
                 8:52:31


                                                                                         Yes I just got back!
                                                                                                       8:52:50
                                                                                       COHN0144
                                                                                      Page 145
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 150 of 439 PageID #: 361
                                                                              I missed you ,
                                                                                         8:53:33


Just get home. Let me get ready. Because there will be good short-term
trading nodes
                                                                 8:54:40


Now open your short-term trading account and send me the screenshot
                                                                8:55:58




                                                                               <attached:
                                                                               00001612-
                                                                               PHOTO-2024-
                                                                               06-19-20-56-
                                                                               48.jpg>




                                                                                         8:56:48




<attached: 00001613-
PHOTO-2024-06-19-20-57-14.jpg>




                                  8:57:14


Return to the trading page home page
                               8:57:22




                                                                           COHN0145
                                                                                    Page 146
     Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 151 of 439 PageID #: 362




                                                                             <attached:
                                                                             00001615-
                                                                             PHOTO-2024-
                                                                             06-19-20-57-
                                                                             52.jpg>




                                                                                        8:57:52




<attached: 00001616-
PHOTO-2024-06-19-20-58-10.j
pg>




                        8:58:10




                                                                             <attached:
                                                                             00001617-
                                                                             PHOTO-2024-
                                                                             06-19-20-58-
                                                                             44.jpg>




                                                                                        8:58:44




                                                                       COHN0146
                                                                                          Page 147
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 152 of 439 PageID #: 363




<attached: 00001618-
PHOTO-2024-06-19-20-59-04.jpg>




                                   8:59:04


                                                       BTC IS spiking. Are you sure we want down?
                                                                                           8:59:46


Then we need to enter the amount: 480,000 USD
                                             8:59:53


Yes, believe me. I know BTC is soaring
                                9:00:14




                                                                                  <attached:
                                                                                  00001622-
                                                                                  PHOTO-2024-
                                                                                  06-19-21-00-
                                                                                  41.jpg>




                                                                                           9:00:41




<attached: 00001623-
PHOTO-2024-06-19-21-01-03.jpg>




                                  9:01:03


We wait                                                                      COHN0147
  9:01:52
                                                                                      Page 148
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 153 of 439 PageID #: 364




                                                                               <attached:
                                                                               00001625-
                                                                               PHOTO-2024-
                                                                               06-19-21-02-
                                                                               33.jpg>




                                                                                          9:02:33


Yes, and now it's $48,000 in profit
                             9:03:03


That's the advantage of having more capital
                                       9:03:15


                                                                 + + + + + + + + + +
                                                                                          9:03:20


Now back to the trading homepage and then I need to take you through
another trade
                                                               9:03:37


                                                                               Okay I’m ready
                                                                                          9:04:02


Send me the screenshot
                   9:04:18




                                                                               <attached:
                                                                               00001632-
                                                                               PHOTO-2024-
                                                                               06-19-21-04-
                                                                               38.jpg>




                                                                                          9:04:38




                                                                         COHN0148
                                                                                     Page 149
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 154 of 439 PageID #: 365




<attached: 00001633-
PHOTO-2024-06-19-21-05-03.jpg
>




                             9:05:03


BTC's numbers are good
                   9:05:10




                                                                              <attached:
                                                                              00001635-
                                                                              PHOTO-2024-
                                                                              06-19-21-05-
                                                                              27.jpg>




                                                                                         9:05:27


We choose to enter the UP amount this time: $365,000
                                              9:05:49


And then hit delegate
               9:06:00


                                                                   Where is delegate button?
                                                                                         9:06:43


Send me the screenshot
                  9:07:22




                                                                        COHN0149
                                                                                          Page 150
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 155 of 439 PageID #: 366




                                                                                   <attached:
                                                                                   00001640-
                                                                                   PHOTO-2024-
                                                                                   06-19-21-07-
                                                                                   42.jpg>




                                                                                              9:07:42




<attached: 00001641-
PHOTO-2024-06-19-21-07-58.jpg>




                                      9:07:58


                                                                                              Now?
                                                                                              9:08:22


Yes.
 9:08:27


Come on, honey.
              9:08:36




                                                                                   <attached:
                                                                                   00001645-
                                                                                   PHOTO-2024-
                                                                                   06-19-21-09-
                                                                                   45.jpg>




                                                                                              9:09:45


pretty                                                                       COHN0150
 9:09:58
                                                                                                  Page 151
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 156 of 439 PageID #: 367
                                                                     Sorry for not acting immediately
                                                                                                    9:10:11


                                                                                             Yes pretty!!!
                                                                                                    9:10:34


Now do you see why I asked you to increase your funding?
                                                           9:11:09


                    Yes I see clearly and I still have another $150k that will come into the account!
                                                                                                    9:12:15


We can make over $80,000 just by doing a 60-second operation on a short-term
trade. That's why I keep telling you not to worry about handling fees. Because
we can make it back
                                                                                   9:12:18


Did you send it to your short-term trading account
                                                 9:12:40


                                                     I can’t do any transfers yet according to support.
                                                                                                    9:13:47


Today's transaction is complete. We have another 180-second run next week. I
hope you can trade 180 seconds of operation to earn 16% profit
                                                                               9:14:03


                                                                                         Maybe I will try?
                                                                                                    9:14:03


You can send me a screenshot of the exchange where the transfer cannot
be made
                                                                         9:14:22


The principal I planned for you is $3 million. There are two ways for you to do
this. Make more profit. Compare that to stocks. Short-term operation is more
suitable for you
                                                                             9:15:24


Maybe I can help you
                9:19:37


                 should just leave the profits in my short term account to grow it or move them to
                 my wallet?
                                                                                                    9:24:10


Stay in your short-term trading account
                                     9:25:09


This will make it easier for us to operate next time
                                                9:25:52


Open a screenshot of your short-term trading account and send it to me. There's
another portfolio that works for you that we can arbitrage.
                                                                                   9:26:55


                          It looks like there are some whales trading the BTC market right now. A lot
                          volatility happening. Big price swings up and down.
                                                                                COHN0151        9:27:31
                                                                                           Page 152
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 157 of 439 PageID #: 368




                                                                                     <attached:
                                                                                     00001664-
                                                                                     PHOTO-2024-
                                                                                     06-19-21-28-
                                                                                     01.jpg>




                                                                                            9:28:01


Yes, markets always do. We need to pay more attention to investment strategy to
maximize our own interests. Instead of storing money in a personal account, or
in the stock market. Rather than wait to hold for the long term, to be honest, my
investment strategy is to play the short term, which is better
                                                                           9:28:54




<attached: 00001666-
PHOTO-2024-06-19-21-29-09.jpg>




                                     9:29:09


Back to Trading home
                9:29:15


                                                                                          Okay ✅
                                                                                             9:29:41


                                                               Any more trades to make tonight?
                                                                                            9:30:55


Our short-term deal has been completed.
                                    9:31:35


Wait for next week's node
                     9:31:43


Now I need to teach you how to arbitrage, okay
                                              9:32:17


                                                                                I’m working on it!
                                                                                            9:32:29
                                                                            COHN0152
                                                                                                 Page 153
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 158 of 439 PageID #: 369
How much of your stock has been sold. Did your agent get back to you? darling
                                                                                9:33:18


                    I’m not able to move my IRA money right away. Best I can do is raise a few more
                    hundred thousand. I’m doing the best I can as fast as I can. It will take time to
                    transition.
                                                                                                  9:35:28


I understand. I was just confirming your funds. So I can better help you plan.
                                                                            9:36:04


By the way, why you couldn't transfer $150,000. $150,000 was not sent to your
short-term trading account which would have left you $15,000 short
                                                                                9:39:24


                     Kraken froze my account until I did more verification. I did it and am working on
                     transferring the USDT.
                                                                                                  9:41:23


Don't transfer the address wrong, dear.
                                     9:42:09


                    I am doing a test transfer of only $100 to be sure it is the correct address. Once
                    it arrives then I will know it is the correct address.
                                                                                                  9:43:42


OK
 9:44:02


clever
 9:44:07


If you do, then you can go ahead and send $150,000
                                                    9:45:21


                                               The $100 arrived safely. So I’m cleared to send the rest.
                                                                                                  9:47:23


                                  I always do this test with new addresses for large crypto amounts.
                                                                                                  9:48:02


OK you can go ahead and get to your short-term trading account
                                                                 9:49:28




                                                                                          <attached:
                                                                                          00001687-
                                                                                          PHOTO-2024-
                                                                                          06-19-21-50-
                                                                                          28.jpg>




                                                                                      COHN0153
                                                                                                  9:50:28
                                                                                                          Page 154
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 159 of 439 PageID #: 370
Now we have passed the time of the trading node, so we cannot proceed. You
know what?
                                                                                        9:51:11


                                                                                                          What?
                                                                                                            9:51:20


                                                                                          Or did you mean why?
                                                                                                            9:51:56


I thought you were doing a short trade
                                     9:51:56


                 No. You told me to go to my short term trading account and assumed you wanted
                 to put on another trade. So I’m confused.
                                                                                                            9:52:45


No, we got it all wrong. I thought you were going to make a trade.
                                                                   9:53:10


<attached: 00001694-GIF-2024-06-19-21-53-41.mp4>
                                                         9:53:41


                      Well this is why I went to my trading screen when I read your text. Anyways it
                      doesn’t matter now.
                                                                                                            9:55:02


Yes. Did you have a good day?
                           9:55:23


                                                 <attached: 00001697-GIF-2024-06-19-21-57-37.mp4>
                                                                                                            9:57:37


Are you a premium user of kraken Exchange?
                                               9:59:02


                                                                                          Not sure if I am or not.
                                                                                                            9:59:25


it doesn't matter.
           10:02:30


Has it been sent successfully?
                          10:02:43


Honey, I don't know how much more money you can raise. I'm trying to figure out
the right investment strategy for you.
                                                                                          10:04:55


                                                                                  Yes it arrived successfully!
                                                                                                           10:04:59


I will try to observe the node this Sunday. That way we can still do short-
term trading
                                                                             10:05:45




                                                                                            COHN0154
                                                                                                 Page 155
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 160 of 439 PageID #: 371
                 Gorgeous, I want you to know how much I truly appreciate you ) And I say this
                 from my heart )

                 I need to find the balance of money that works for me in my accounts. I plan to
                 continue to liquidate more stock positions and raise more capital for the short
                 term trading account.
                                                                                                  10:10:29


Yes you can do that. You don't really need to thank me. Because we all have
something similar in common. I just gave you the right investment strategy. To
maximize your own interests.
                                                                            10:11:39


How much money do you hold in stocks? If we can close them all. Then I can
teach you how to arbitrage. The daily profit rate is 3.8%
                                                                         10:12:40




                                                                                         <attached:
                                                                                         00001708-
                                                                                         PHOTO-2024-
                                                                                         06-19-22-13-
                                                                                         27.jpg>




                                                                                                  10:13:27


                                                             I will look tomorrow morning and see.
                                                                                                  10:14:20


                                                                          It’s time to go to bed now.
                                                                                                  10:14:39


60 seconds of market earn 10% profit. If we're at $3 million. Trade 180 seconds
of operation to earn 16% profit. Wise man, I believe you have already calculated
the amount of profit difference of 6%
                                                                             10:15:42


We slept in each other's arms. LOL
                            10:16:29


<attached: 00001713-GIF-2024-06-19-22-16-47.mp4>
                                                  10:16:47


                                                                                    I dream of that day…
                                                                                                  10:16:54


                             Sweet dreams, Gorgeous. I'll be thinking of you all night long. ) '
                                                                                                 10:45:48


                                          Jun 20, 2024

                                                                                COHN0155
Good morning dear. Bruce, hope you had a good sleep last night. >
                                                               7:42:56
                                                                                                     Page 156
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 161 of 439 PageID #: 372
                                 Good morning my beautiful Anna, ☀ , May this morning overflow with
                                 happiness, love, and boundless opportunities.
                                                                                                       7:43:35


Now I need to hit the gym, I guess we'll chat soon /
                                                       7:44:46


                                                                                  Have a great workout g
                                                                                                       7:45:05


I'll text you later when I get to the office.
                                           7:45:28


<attached: 00001721-GIF-2024-06-20-09-21-43.mp4>
                                                           9:21:43


Have you received my love?
                          9:24:28


                                                  <attached: 00001723-GIF-2024-06-20-09-25-07.mp4>
                                                                                                       9:25:07


LOL is so funny
          9:25:30


What are you up to now?
                       9:30:12


                              I’m making a smoothie for my breakfast. And selling more stock positions.
                                                                                                       9:32:23


You can put some blueberries or strawberries in the smoothie.
                                                                     9:33:22


How much money did you sell in stock
                                        9:33:44


                                                                 Yum! I am adding them to my smoothie. 3
                                                                                                       9:35:13


                                                                                               I sold $200k
                                                                                                       9:35:32


A nutritious breakfast.
                    9:35:45


                                                      And I had a scoop of vanilla protein powder as well.
                                                                                                      9:36:30


                                                                                     And I add - not had lol
                                                                                                      9:38:00


$200,000. Then you need to keep selling. Because the daily return on arbitrage
is 3.8%, as opposed to stocks. I think this one suits you better. $2 million in
arbitrage. 3.8% a day.
                                                                                    9:39:08


                                                           I would like to better understand this strategy.
                                                                                      COHN0156        9:40:27
                                                                                                Page 157
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 162 of 439 PageID #: 373
                                     I’m a person that needs information to be able to make sound
                                     investment decisions.
                                                                                                 9:41:58


Of course you can open your short-term trading account and I will tell you how to
find out. You read it and calculate it yourself
                                                                                    9:42:52


                                                                 I found it thanks * I’m reading. h
                                                                                                 9:44:40


We can do arbitrage and short-term operations at the same time. I have $2
million in arbitrage for 30 days. Part of the funds remain in the short-term
trading account for short-term operations 180 seconds of trading to earn 16%
profit
                                                                                 9:45:51


                            What are the risks? Can you lose money with this arbitrage strategy? I
                                                                                                 9:47:20


                                                      Hmm it says zero risk to your investment funds.
                                                                                                 9:48:14


You don't lose money on arbitrage. We use the stablecoin USDT. I'm sure you
saw it
                                                                                9:48:35


The rise of the USDT market does not fluctuate much.
                                                    9:50:42


Is that why we buy BTC to convert to USDT
                                       9:51:18


                                                 Have you ever lost money on your short term trades?
                                                                                                 9:51:44


When I first started, no one taught me. I lost $3,000. But as I became more and
more interested in investing, I kept learning and studying investment strategies
and market trends. I'm not losing money right now. Because I only do it when I'm
sure of it. I am a person with an extremely powerful brain. I know what kind of
way is right for me
                                                                                    9:54:04


Only love, will put time and energy into learning. It's important for us to
have skills.
                                                                      9:55:07


                  That’s great to hear. Because as you know if the price of BTC goes against your
                  short term contract price you lose 100% of what you put onto the trade.
                                                                                                 9:56:53


That's why I love talking to you, because your brain holds a lot of knowledge. We
learn from each other to improve each other.
                                                                                    9:58:29


                                          <attached: 00001750-GIF-2024-06-20-09-58-39.mp4>
                                                                                                 9:58:39
                                                                                     COHN0157
                                                                                                     Page 158
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 163 of 439 PageID #: 374
LOL So you can calculate how much profit your current stock is making in a day.
If the investment plan is not right for you. So you can use arbitrage. Portfolio is
important, but so is maximizing your own interests.
                                                                                  10:00:26


                 I agree that we are both highly intelligent and have a lot of combined experience,
                 knowledge and wisdom. I also love learning from each other! )
                                                                                                     10:00:47


                                                                            I beginning to see the light.
                                                                                                      10:01:27


<attached: 00001754-GIF-2024-06-20-10-01-31.mp4>
                                                      10:01:31


You can sell your shares today. I'm sure you can sell more.
                                                        10:02:11


                                                                            Yes there is more I can sell.
                                                                                                     10:03:29


Yes, you can tell me how much to sell because we have good nodes on Sunday
and also need to make short-term investment transactions.
                                                                                10:04:17


                 On Sunday I’m going to an all day men’s workshop. I will have breaks throughout
                 the day to make a trade. But I won’t be back home until around 6pm. Not sure if I
                 will miss the nodes.
                                                                                                      10:14:09


                                                                                           I’m raising $500k
                                                                                                      10:14:35


Yes, I hope to make the wire transfer by Friday
                                           10:15:53


How'd it go with your broker on Wednesday and did you get your personal
account back
                                                                           10:17:14


                                                      No problem. I will make the wire by Wednesday.
                                                                                                      10:27:30


Next Wednesday?
            10:27:58


                                                                   In two days. This coming Wednesday.
                                                                                                     10:34:20


OK, you can sell as many shares as you can during this time.
                                                          10:35:24


What's your itinerary today
                       10:35:32


                             I’m meeting with my designer who is helping me with my rental project.
                                                                                                     10:38:25

                                                                                      COHN0158
                                                                                                    Page 159
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 164 of 439 PageID #: 375
cool
10:38:41




                                                                            <attached: 00001769-
                                                                            PHOTO-2024-06-20-10-40-4
                                                                            5.jpg>




                                                                                                     10:40:45


A cold coke, please
                  10:44:32


<attached: 00001771-GIF-2024-06-20-10-46-37.mp4>
                                                        10:46:37


                                                                   What part of Los Angeles do you live in?
                                                                                                     10:48:24


Beverly Hills
       10:48:49


                                                                                         Yes it’s hot there.
                                                                                                     10:49:27




                                                                                           <attached:
                                                                                           00001775-
                                                                                           PHOTO-2024-
                                                                                           06-20-10-50-
                                                                                           45.jpg>




                                                                                                     10:50:45


Yes, today's weather temperature is 74 degrees. It is not usually so hot./
                                                                              10:51:15


70 degrees is my favorite temperature
                                      10:51:34


                       Mine too. Since I live next to the ocean the temperatures here rarely get hot. i
                                                                                                  10:52:38
                                                                                   COHN0159
                                                                                                         Page 160
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 165 of 439 PageID #: 376
Sounds great, the temperature is most comfortable at the seaside. /
                                                                        10:53:30


                                                     Yes I live in Encinitas which is a next to the seaside.
                                                                                                         10:54:27


That sounds great! Encinitas is considered an affluent community. It must be so
relaxing and nice to live by the sea.
                                                                                        10:56:52


I've heard of it but I haven't been there, what's it like?
                                                      10:57:48


                 It’s a small seaside surfing j town. Very low key and chill. And there are several
                 other beaches and communities nearby to enjoy including Carlsbad, Del Mar,
                 Cardiff by the sea and La Jolla. Weather is always great and it’s an easy 30
                 minutes drive into downtown San Diego for big city experiences.
                                                                                                          11:03:51


                                 People here are really friendly and it’s very safe place to live here.
                                                                                                          11:04:31


Wow, this sounds like the perfect place to relax and enjoy the beach life. I love
surfing and exploring nearby beaches and neighborhoods.
                                                                                      11:05:09


Sounds great, I'm sure you'll enjoy it here
                                      11:05:32


                                                       Wow you surf? Very cool. I’m interested to learn.
                                                                                                          11:07:48


                           Yes you would love it here. Many people come here for the very reasons
                           you listed.
                                                                                                          11:08:55


Thanks! Surfing is a great sport and it's always fun to learn new things. 1
                                                                              11:09:41


It's true, people always say it's nice here 3
                                          11:10:14


                                                                      Do you enjoy living in Beverly Hills?
                                                                                                          11:24:01


of course
   11:24:33


Beverly Hills is a vibrant and luxurious city with a wide variety of options for
shopping, fine dining and cultural activities.
                                                                                   11:26:35


I like here
    11:26:55


Of course, California is my first stop in the United States, and it means a lot
to me.
                                                                               11:27:29

                                                                                              COHN0160
                                                                                               Page 161
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 166 of 439 PageID #: 377
                      Well you chose well and have done well for yourself!!
                      It’s my home state. I was born and raised here and it has always held a special
                      place in my heart. ❤ I’m so glad I moved back here last year.
                                                                                               11:30:34


                                                                          Anna,
                                                                          May I know your last name?
                                                                                                11:31:38


Thank you! I know how you feel and I'm glad you moved back to where you
grew up.
                                                                         11:32:59


Of course, Anna Popescu
                      11:33:36


                                                                                           Thank you!
                                                                                               11:34:39


You're welcome, glad to hear that !
                                    11:36:29


                                                                      Nice to meet you Anna Popescu!
                                                                                                11:37:10


<attached: 00001803-GIF-2024-06-20-11-43-58.mp4>
                                                          11:43:58


Received my love
           12:35:15


                                               <attached: 00001805-GIF-2024-06-20-12-39-28.mp4>
                                                                                               12:39:28


It makes me feel very happy
                         12:40:20


Royal Kitchen May I order? I'd like a steak LOL
                                               12:41:14




                                                             <attached: 00001808-
                                                             PHOTO-2024-06-20-12-45-39.jpg>




                                                                                               12:45:39


<attached: 00001809-GIF-2024-06-20-12-48-19.mp4>
                                                          12:48:19
                                                                                    COHN0161
                                                                                                      Page 162
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 167 of 439 PageID #: 378
                                                                Yes you love to eat a lot of food! Haha ;
                                                                                                       12:49:38


Yeah, so are you scared
                   12:49:55


I'll eat a lot of delicious food and let you cook it for me
                                                    12:50:09


                                                                       Nah… I can handle a hungry woman!
                                                                                                       12:51:58


LOL makes me laugh.
                12:52:23


Dessert staple. Seafood, steak
                              12:52:47


<attached: 00001816-GIF-2024-06-20-12-53-07.mp4>
                                                         12:53:07


                                                                    In this order? Desert first of course. Lol
                                                                                                       12:55:26


Yes, I like strawberry desserts
                              12:55:45


                                            <attached: 00001819-GIF-2024-06-20-12-57-38.mp4>
                                                                                                       12:57:38


wow The hot summer days freeze these desserts
                                              12:59:31




                                          <attached: 00001821-
                                          PHOTO-2024-06-20-13-01-22.jpg>




                                                                                                        1:01:22


<attached: 00001822-GIF-2024-06-20-13-03-08.mp4>
                                                          1:03:08


<attached: 00001823-GIF-2024-06-20-16-33-47.mp4>
                                                          4:33:47


                                                                         Are you done working for the day?
                                                                                                        4:38:29

                                                                                       COHN0162
                                                                                                 Page 163
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 168 of 439 PageID #: 379
Yes, my work is about to be finished
                                   4:38:51


How about you today?
                    4:38:58


                       Guess so because my designer texted me earlier that she wasn’t able to meet
                       with me today.
                                                                                                   4:41:20


Why?
 4:42:29


                    Because her meeting with the cabinet maker (that is making my cabinets for my
                    rental) was pushed back because of them being stuck in terrible traffic. She
                    needs to meet with him before she can meet with me as it’s a priority to get the
                    cabinets straightened out.
                                                                                                   5:07:54


I see. This is an emergency, too.
                              5:08:27


You can make an appointment some other time.
                                                       5:08:39


What style do you want your house to be?
                                             5:13:16


                     Yep- we will meet next week. Good news my cabinets will be finished in 6-8
                     weeks which gives me plenty of time to do all the other work. Remodel projects
                     take a lot of patience and time.
                                                                                                   5:13:20


Yes, I totally understand. Engineering takes time. As long as we end up with what
we want. It was worth the wait.
                                                                                  5:14:46


Didn't you hire fortune Cat to play keyboard for you?
                                                             5:15:10


LOL
 5:15:13


                              I tried to hire fortune cat, but he’s so popular that he’s fully booked! ;
                                                                                                   5:17:18


<attached: 00001838-GIF-2024-06-20-17-18-05.mp4>
                                                                  5:18:05


I'm not a lucky cat, but I'm your lucky lady
                                             5:18:25


When we have passive income, we should free up enough time to enjoy life. To
explore the wonders of nature
                                                                               5:19:25


                                                                                 You are indeed. * )
                                                                                                   5:20:56
                                                                                   COHN0163
                                                                                               Page 164
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                                    It would be wonderful to explore the wonders of nature together!
                                                                                                 5:21:46




                                             <attached: 00001843-
                                             PHOTO-2024-06-20-17-22-04.jpg>




                                                                                                5:22:04




                                                         <attached: 00001844-
                                                         PHOTO-2024-06-20-17-22-19.jpg>




                                                                                                 5:22:19


Wow. Looks great.
             5:22:45


                                                        I’ll take more pictures and send them to you.
                                                                                                5:23:43


That's cool. I'm looking forward to it.
                                   5:24:31


                       It’s a really cool home. And with the extra money I will make from our trades I
                       plan to do more remodeling work.
                                                                                                5:25:02


That's great, sounds like a good plan.
                                   5:28:43




                                                                                 COHN0164
                                                                                              Page 165
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<attached: 00001850-
PHOTO-2024-06-20-17-
30-06.jpg>




                     5:30:06




<attached: 00001851-
PHOTO-2024-06-20-17-
30-06.jpg>




                     5:30:06


My Home
    5:30:12


                                                                         Wow W Spectacular home.
                                                                                               5:33:25


                                                       Looks really private and quiet where you live.
                                                                                               5:33:58


<attached: 00001855-GIF-2024-06-20-17-34-20.mp4>
                                                      5:34:20


I'm glad to hear you say that.
                         5:35:19


Bruce, you don't seem to have told me much about your past. Tell me more
about you and your life, if you don't mind.!
                                                                         5:37:54


                               I’m out running errands. After I back home I will share more with you.
                                                                                               5:41:47


All right, get out there and be safe
                               5:42:15




                                                                                   COHN0165
                                                                                      Page 166
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        Hi Anna -
        Here's more about my past life. There is always more to my story which I will
        share with you as we continue to journey together.

        I’m from the San Francisco Bay Area – Born in the city but grew up in the
        suburbs of Marin County in San Rafael (on the sunny side of the Golden Gate
        Bridge). I had a pretty nice childhood and comfy upbringing as my parents were
        solid middle class. I still consider San Francisco my second hometown after
        Seattle since much of my life revolved around the city. My Dad owned an old
        fashioned hardware store in the city where I worked helping out through my
        childhood years. This is where is where I got my early exposure to business. My
        sister Terri (only sibling) still lives in the city. Both my parents have passed away
        and I still miss them.

        I received my BS degree from UC Berkeley or otherwise called in my time
        “Berzerkely”. I learned as much about life watching the three-ring circus of life
        out on the campus Sproul Plaza as I did in the classroom. Getting to and from
        class each day meant circumventing Chanting Hare Krishna’s, Born again
        Christians, political groups and someone always trying to sell you property on
        the moon. After Berkeley – no doubt I was Summa Cum Laude the “School of
        Life”.

        The fact that you run your own business and that biz runs through your veins - is
        a side of you that is clearly attractive to me. Yes, I definitely have a good rag to
        riches success story to tell you about my business. It’s one with quite a few
        twists and turns that deserves to be told over a great beverage. Going from
        being a poor pauper sleeping on the church floor in Ashland, Oregon to selling a
        successful multi-million dollar sheepskin business in 2008. The biz was multi-
        channel selling all genuine sheepskin products – footwear, rugs, car seat covers
        and accessories. I used to call it my soft-wear business (ha!). It’s what brought
        me up to Seattle in 1984 – the big apple of the Northwest -- A great livable city
        with a much larger market, and higher disposable income to sell my sheepskin
        products.

        In the beginning I quickly learned, that since it was a seasonal product I only
        needed to work six months out of the year. This afforded the time to take off and
        go travel the world the rest of the year. For 10 years I did a lot of adventure travel
        through Asia, Africa, South America and the Middle East and a some of Europe.
        So most likely you have seen lot more of Europe than I have seen. I definitely
        want to hear about your experience of living in Europe. I plan to spend more time
        there in the future.

        I finally sold my company to a former Microsoft employee and his brother –
        closing the deal in Feb 2008 – right before the financial crisis hit. I top ticked the
        sale of the biz, which was the best trade I ever made. Consequently, I became
        officially “retired”. A true misnomer – because I just moved on to my second
        love, which was trading securities on Wall Street. Being competitive by nature,
        trading stocks came naturally to me. I have always held a fascination for Wall
        Street because it is all about business and the American success story. Wall
        Street is a true Ayn Rand world where many creators and builders made their
        fortunes. (And a few destroyers as well I’m sure). My Mom was the one that
        introduced me to stocks and securities at an early age. She owned stocks and
        had a fascination for Wall Street that rubbed off on me.

        Being well capitalized after the sale, I decided to run my ownCOHN0166
                                                                       money and help a
        few friends portfolios as well. I do pretty much what ever I want to do now. I
                                                                                           Page 167
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 172 of 439 PageID #: 383
<attached: 00001861-GIF-2024-06-20-19-24-22.mp4>
                                                      7:24:22


I'm glad you told me about yourself. I want to give you a hug after reading it.
Because we had similar experiences.
                                                                            7:25:07


I have experienced bad things, but I believe that life will open another window for
me. We've all come from nothing and know that life has hit us hard, but we still
treat everyone with tenderness.
                                                                                 7:26:26


I am glad to have met you and look forward to better results with you. So I will
look forward to contacting you every day, I know you are very capable, but we
have a lot of work to do. We encourage each other in this relationship. Help each
other. Make us better people,



We have experienced the life without money, so we will also want to have money,
so it is a good thing for us. At least when we have money, we can enjoy life
better.


I like yachts, and I like to have a yacht, and when we are free to sail a yacht, this
kind of life is what I want.

My character in the eyes of others, is a competitive person, but do not know
what I have been through. I know exactly what I want out of my life. And try to
move forward
                                                                                 7:30:38


                 Beautifully said Anna. We are the same - learning from our past experiences,
                 mistakes and hardships . And from these experiences new doors and paths open
                 up for us to move forward stronger, wiser and a better version of ourselves.

                 But no matter our past we always treat others with kindness.
                                                                                            7:32:15


No matter how much money we make, we actually help others. This is a very
meaningful thing. I'm sure you'll support my idea. I'm more looking forward to
the two of us doing this. Two people to try
                                                                              7:36:01


                     Helping and encouraging each other is the foundation for the best kind of
                     partnership. One of support and encouragement for each other.

                     Yes money gives us options and freedoms that make us appreciate and have
                     gratitude- we remember our past when we had nothing.
                                                                                            7:36:39


In fact, I like your character very much, because your execution is very good.
And you know exactly what you want out of life. I'm just giving you a suggestion,
so you can do it. It takes time, but it's good. From a small matter can be drawn a
conclusion: human character can not be bad. Is a very good person. With such a
person, it will infect the people around you to move forward.
                                                                               COHN0167
                                                                              7:41:19
                                                                                             Page 168
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 173 of 439 PageID #: 384
                  I love your words and look forward to helping others together. It is my dream to
                  share a beautiful journey with you of having a common mission to help others
                  and give back in some way.
                                                                                               7:41:27


Be gentle with others. I believe others will treat me in the same way.
                                                                    7:43:16


                  Yes who we are and how we show up in the world affects others. When we show
                  up with love and joy in our hearts, we elevate others around us. This in itself is
                  powerful and can lead to making our communities and planet a better place.
                                                                                               7:44:00


I believe you.
        7:44:41


Sure, maybe I'll talk a lot. But just worried you'd forget. LOL
                                                          7:45:48


                  I’m always learning and growing Anna. I’m also very curious about many things
                  in life. I also see you - how your character and your inner essence is beautiful
                  and special.
                                                                                               7:46:24


                    As long as we can laugh together and at ourselves- life will be joyous and fun.
                                                                                               7:47:26


<attached: 00001876-GIF-2024-06-20-19-47-32.mp4>
                                                       7:47:32


                  Haha well this just love! That you want to best for me- and me wanting the best
                  for you.
                                                                                               7:48:32


Yes, we depend on each other. Learn from each other. And laugh at each other.
Of course, we both know that this is to promote our relationship.
                                                                              7:48:34


Have you gone home now? Or outside?
                                    7:49:19


                                                             I am making quick dinner. I’m hungry. D
                                                                                               7:50:52


                                              <attached: 00001881-GIF-2024-06-20-19-50-59.mp4>
                                                                                               7:50:59


wow, you're starting to feel hungry
                               7:51:08


<attached: 00001883-GIF-2024-06-20-19-51-32.mp4>
                                                       7:51:32


That's not how you enjoy your food
                               7:51:43


                                                       All this typing is work!! And made me hungry.
                                                                                               7:51:51
                                                                                 COHN0168
                                                                                                    Page 169
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 174 of 439 PageID #: 385
LOL is okay. Start your meal.
                                  7:52:19


<attached: 00001887-GIF-2024-06-20-19-52-43.mp4>
                                                            7:52:43


                                                                                                    Cute
                                                                                                      7:53:08


Let me see if your stomach is getting bigger after you eat
                                                            8:08:42


                                                 <attached: 00001890-GIF-2024-06-20-21-02-36.mp4>
                                                                                                     9:02:36


LOL
 9:02:59


Looks like a lot of food
                        9:03:10


                                                 <attached: 00001893-GIF-2024-06-20-21-03-53.mp4>
                                                                                                     9:03:53


When will your stock sale be settled today? There's a good wave of data
next week
                                                                            9:04:10


                         Tomorrow I will have more money to send. I already wired another $100k today.
                                                                                                     9:05:23


How much do you plan to wire tomorrow?
                                            9:05:51


Has it been settled? The $200,000 you told me about today
                                                               9:06:12


                                                           I hope to have another $450- $500k tomorrow
                                                                                                      9:07:49


I'm sure you can
              9:08:05


                         Hey Gorgeous,
                         Another great day of fun and connection with you. I feel closer to you after our
                         share this evening. We are such kindred spirits.

                         Tonight, It felt special to share my stories and life experiences with you. Thank
                         you for being you. ,
                                                                                                     9:58:32


                             The night sky is a canvas, and you’re the brightest star in it. Good night, my
                             shining star k Sweet dreams '
                                                                                                     10:00:05


Bruce, today is another beautiful day. Although the busy daytime makes us a
little tired, now is the time to rest and relax. I hope you can let go of the fatigue
of the day and have a good rest. Good night, may you have a sweet dream.b COHN0169  ⭐
                                                                                      10:03:21
                                                                                                Page 170
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 175 of 439 PageID #: 386
<attached: 00001903-GIF-2024-06-20-22-04-04.mp4>
                                                         10:04:04


                                                 Jun 21, 2024

                     Good morning Anna!
                     WOW Kraken has closed my account for security reasons. No doubt wiring
                     $100k cash two times, converting it to USDT and pulling it all of the platform
                     must have triggered something to close it permanently. Maybe they think I’m
                     laundering dirty money?

                     It’s unfortunate because now I can’t use their platform to convert the USDT back
                     into dollars to pay for my expenses and lifestyle. I was counting on using their
                     exchange to do this and now I’ve lost one of the few remaining exchanges for
                     USA citizens to do crypto exchanges. This is not good that this happened to me.
                     It concerns me.

                     What exchange do you use to convert your USDT to dollars and withdraw them
                     for expenses?
                                                                                                 7:53:06




                                                                                       <attached:
                                                                                       00001905-
                                                                                       PHOTO-2024-
                                                                                       06-21-07-53-
                                                                                       20.jpg>




                                                                                                 7:53:20


coinbase is fine
           7:58:56


                                                                                Do you use Coinbase?
                                                                                                 7:59:36


Because the strike only restricts the use of BTC， to convert to USDT
coinbase can
                                                                     8:00:19


I rarely use coinbase. I use strikes a lot.
                                       8:01:12


                      Yes I know this. But you have not answered my question. Where do you convert
                      your USDT back into dollars?
                                                                                                 8:02:12


The US policy is such that if we make mistakes, we will be forced to restrict our
use of cryptocurrencies. Do you have any funds in your kraken?
                                                                            8:02:24
                                                                               COHN0170
                                                                                             Page 171
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 176 of 439 PageID #: 387
I will sell USDT on coinbase
                       8:03:04


Now your kraken cannot be used if there is USDT in it then you need to sell USDT
first and then extract it. darling
                                                                               8:04:56


                            What are the mistakes you are speaking about that will restrict our use
                            of crypto?
                                                                                              8:05:11


                                                            I have no more money or USDT on Kraken
                                                                                              8:05:38


Because America will think we're laundering money. Maybe you do a lot of work
in kraken, converting to USDT
                                                                              8:06:07


                 Yes this is why this happened.since. I moved too much money quickly and left no
                 money on their exchange. Big red flag. .

                 I didn’t expect this and had I known this I would have not used them for moving
                 my assets to the Trust wallet.
                                                                                              8:10:00


It doesn't matter if you use coinbase, you can set aside some money in coinbase
next time. Leave them some money.
                                                                                8:11:09


                     Anna,
                     Yes Coinbase is fine and I have had an account there for many years. I was a
                     brand new customer to Kraken which is why this happened.
                                                                                              8:13:21


Just like when we make a wire transfer at the bank, the bank will also use many
reasons to stop us. Well, we all know that's because banks don't get bonuses.
                                                                              8:13:44


I thought you were using kraken for years
                                      8:14:09


                                                                I must have confused it with Kucoin.
                                                                                              8:15:41


Generally, in the bank wire transfer, I tell the bank that it is for the purchase of
my personal supplies and company supplies. If it's an investment, the bank will
stop you. Because banks don't want you to move your money out, so they don't
get a dividend
                                                                              8:16:34


                                                                                             Smart
                                                                                              8:17:13


I'm sure you can figure it out now. Because you have a powerful brain
                                                                   8:17:20


<attached: 00001926-GIF-2024-06-21-08-17-56.mp4>
                                                      8:17:56                   COHN0171
                                                                                               Page 172
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 177 of 439 PageID #: 388
                      Yes I need to have a plan because I am converting the majority my personal
                      assets into crypto.
                                                                                                 8:24:27


What's on your schedule today
                          8:24:37


What's the amount? Maybe I can help you with that
                                                  8:25:15


                I only have approximately $2 million in assets available to me other than my
                retirement accounts. By the end of today I will have sent $1.8 million to the trust
                wallet. I need to keep back some to fund living expenses and my rental unit
                project which is underway now.

                So know that while I’m excited for trading larger amounts to make more profit,
                the risks go way up. I trust you Anna since it’s clear you have had tremendous
                success!! I trust you because you are knowing me as a man and potential partner
                in life and trust you that you have my highest and best interest.

                But know I cannot afford to lose on these trades we are making. I made some
                small trades and found out you lose 100% of your USDT if the trade does not
                work out in 60s.
                It would set me back in my life if this happened.
                I’m just expressing to you that I know that the risk/ reward curve is very high on
                these trades. And it does concern me if anything went wrong.
                                                                                                 8:47:18


I understand your concern. That's why I need to be confident in short-term
trading. So I'll let you know when there's a good one. Another way that works for
you is to use the 30-day arbitrage method. The daily profit rate is 3.8%. So it will
suit you. Because we put $2 million in arbitrage. That's a 3.8 percent gain in one
day.
                                                                                8:49:44


Do you need to send $1.8 million today?
                                    8:50:05


                I will only send $500,000. That’s all I can afford to send. So total in the trust
                wallet will be approximately $1.8 million after sending this amount.
                Note that I have liquidated all my holdings that I lived on. That paid me dividends
                and interest. So they are gone now and will no longer have enough to support me
                from my stock account. I am placing all my eggs in this USDT basket.
                                                                                                 8:54:54


Honey, don't worry. Because we're all going through the same thing. I
understand you. So for the life we want. I prefer to use investment strategies to
make deals. It's not like gambling. What we need to do is use an investment
strategy to maximize our interests. So I'm not gonna let you lose your money. In
the same way, I prefer that we can make profits in short-term investment
transactions to help more people. And our own lives.
                                                                               8:54:59


Has your $500,000 been sent yet?
                              8:56:58


                                                                                COHN0172
                                        Thank you for saying this. We hold a beautiful vision together.
                                                                                                 8:57:03
                                                                                              Page 173
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 178 of 439 PageID #: 389
                                                                                              No
                                                                                                8:57:09


I remember the last time you showed me your account. Are you holding your IRA
funds or stock holdings in your account?
                                                                                 8:58:04


We can put it in a 30-day arbitrage. This would also yield a steady profit of 3.8%
per day.
                                                                                  9:00:13


                I have several accounts at Charles Schwab. Total they added up to over 7 million.
                The majority of my assets are in retirement accounts that I withdraw money from
                each year.

                But the 2 million outside of the retirement accounts is what is used to trade to
                make profits and pay dividends to support a comfortable lifestyle for myself.
                                                                                                9:02:17


You can let me know when you send it to your short-term trading account. I need
to go to the company first, there is a cooperation meeting to be held today.
When it's done, we can communicate
                                                                                  9:02:41


Last time I gave you advice, you can actually withdraw money from your
retirement account. I don't know if you've thought about it
                                                                       9:04:01


                That sounds like a great investment but it’s locked up for 30 days and cannot get
                to the profit to fund my lifestyle and expenses.
                                                                                                9:04:09


Honey, there are two ways we can do this. You can arbitrage $2 million for 30
days. We can also do short-term transactions of $3 million. $3 million for a 180-
second operation earns 16%. This will not delay you from paying your living
expenses
                                                                                 9:06:13


                 Yes you did and know this- but before I blow up my entire portfolio I first want to
                 see success with my personal assets. Then down the road I can make the
                 decision to use my IRA money. One step at a time
                                                                                                9:06:28


Yeah, I'm just giving you a piece of advice. Of course I trust you.
                                                             9:07:17


                                                            I don’t have 3 million to trade right now.
                                                                                                9:07:27


it doesn't matter. Because you need time to access your personal account right
now. If your account reaches $2 million. Then we can do a 60-second operation
and make a 10% profit. It's just a 6% difference in earnings.
                                                                                 9:09:42


I'm sure you've seen how arbitrage works. You can proceed in the appropriate
way according to your funds. I chose a 30-day arbitrage
                                                                       9:10:53
                                                                            COHN0173
                                                                                                   Page 174
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 179 of 439 PageID #: 390
                    Okay we can talk more later after your work. I will be wiring the $500k money
                    today to the Strike wallet.
                                                                                                     9:12:40


Yes. Now the wire transfer is complete, as long as the bank deducts. Then it will
reach your strike account this afternoon.
                                                                                     9:15:21


<attached: 00001952-GIF-2024-06-21-10-20-20.mp4>
                                                          10:20:20


Honey, what are you up to?
                     10:32:30


                 I initiated the wire and sent $500k to the strike wallet. Just feeling some
                 butterflies l at the moment. I don’t really have much capital to make stock and
                 options trades anymore. First time in 40 years.
                                                                                                    10:37:28


Don't worry. I believe you will become a better self in the new field.
                                                                     10:38:14


How much do you have left in your stock?
                                    10:38:40


<attached: 00001957-GIF-2024-06-21-10-39-02.mp4>
                                                          10:39:02


                                                                                Cash and stock only $220k.
                                                                                                    10:39:47


You initiated a wire transfer of $500,000, and you have $1.8 million in your short-
term trading account. I thought you were gonna raise it to $2 million. But you
need $220,000 in reserve, right?
                                                                                     10:41:11


$220,000 for a 60-second operation makes more than $20,000 profit
                                                                        10:41:35


Cryptocurrency will usher in a new breakthrough
                                               10:42:28




<attached: 00001962-PHOTO-2024-06-21-10-45-16.jpg>



                                                                                     10:45:16


                  Yes I know this. My intuition is telling me to be cautious and hold back some
                  reserves to pay for living expenses and my rental ADU project. And I can’t have
                  zero cash in my brokerage account. I would want at least $100k right now to
                  have immediate liquidity for property taxes, some unforeseen event and the
                  expenses I listed.
                                                                                                    10:48:32

                                                                                      COHN0174
                                                                                                      Page 175
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 180 of 439 PageID #: 391
it doesn't matter. I'm sure you can do very well. It's only recommended that you
wire $600,000, and you have $1.9 million in your account. And a little more profit
                                                                                     10:50:44


                                    I will have to wait until Monday since I will need to sell more stock.
                                                                                                      10:52:03


Yes, how many shares you plan to sell on Monday. Because cryptocurrency is
going to usher in a new breakthrough. We can better increase our funds to
maximize our own interests
                                                                                 10:53:05


                                               I just sold enough stock to wire another $100k on Monday.
                                                                                                      10:58:23


                                                        Actually I have enough to wire $200k on Monday
                                                                                                       11:01:23


Yes, I believe you can sell your shares
                                    11:05:15


                                                                Yes I will get my Trust wallet to $2 million.
                                                                                                       11:07:47


I trust you as a smart investor
                         11:08:09


<attached: 00001972-GIF-2024-06-21-11-26-22.mp4>
                                                         11:26:22


You need to check your bank account for your $500,000. The deduction will
soon reach your strike account
                                                                                11:29:10


                     The wire has not been sent yet. I’m expecting a security call from Schwab to
                     verify the wire. Any wire over $100k usually requires a phone verification.
                                                                                                       11:39:01


OK, I see. Wait patiently
                  11:39:25


If you call back, don't mention investment. Or they won't release your funds
                                                                               11:40:26


<attached: 00001977-GIF-2024-06-21-12-22-15.mp4>
                                                         12:22:15


                                         Schwab called me to verify the wire. So hope they send it out.
                                                                                                       12:24:19


Have you been called already? So it should be working on it
                                                             12:24:47


                                                             Yes they called and are processing the wire.
                                                                                                      12:34:26


Wait patiently, expect 2-3 hours
                             12:34:49
                                                                                           COHN0175
                                                                                            Page 176
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 181 of 439 PageID #: 392
                Hi Anna!
                Okay my wire for $500k was canceled and the funds did not leave my account. I
                called Schwab there as no reason listed as to why they canceled the wire.
                Unfortunately the wire department is closed until Monday. So I will call them first
                thing on Monday.

                My hunch is the wire was big and they were suspicious when I talked to them
                that I was sending a second wire to the same bank for such a large amount. So
                they canceled it. I am not happy at all that this happened. So I will have to wait
                and see. Moving large amounts of money by an individual is a trigger for the
                government. I’ve never had a reason before to move large amounts of money by
                myself. Other than buying a house.
                                                                                             4:18:35


                                              So I will not have more money in my wallet to trades
                                                                                             4:19:57


You can wire it to your coinbase on Monday. Maybe because you are a new user
of the strike, you can wire to your coinbase, and then when you initiate the wire
transfer you have to be tough with the bank to release your funds.


You can tell me what you told them when they called.
                                                                            4:35:31


Banks don't work because it's close to the weekend. Then we'll just have to wait
for Monday. I'll spend some time on the weekend watching the market. You can
rest assured of that.


On Monday, when you sell more stock and you can wire it, you can wire
somewhere between $700,000 and $1 million. The most important thing is that
you get tough with the banks. Because banks always do. That's what I'm most
unhappy about. The bank thinks the money is theirs.
                                                                            4:37:54


Another way is to transfer the Schwab money first into your own bank account.
You move money out, and Schwab assumes you want to invest it in a different
way, so it won't release your money
                                                                           4:41:25


They have too many reasons to control our money. But I trust you to always work
it out. Because you're good
                                                                             4:44:02


                                                                        You deleted this message.
                                                                                             4:56:49


                                      <attached: 00001989-AUDIO-2024-06-21-17-01-50.opus>
                                                                                             5:01:50


I hope you're having a good time tonight, and you can send me a message when
you're done
                                                                            5:08:35


<attached: 00001991-GIF-2024-06-21-17-08-53.mp4>
                                                   5:08:53
                                                                              COHN0176
                                                                                                              Page 177
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 182 of 439 PageID #: 393
I need to drive home
                5:08:59


                                                                               Drive safe! No popping wheelies!! ;
                                                                                                               5:09:41


Female drivers are not very friendly. LOL
                                               5:37:16


Royal Cook. Did you have dinner
                                  7:13:27


                                                         <attached: 00001996-GIF-2024-06-21-19-16-21.mp4>
                                                                                                                7:16:21


<attached: 00001997-GIF-2024-06-21-19-16-45.mp4>
                                                                    7:16:45


                                                                              Oh gosh you always make me laugh ;
                                                                                                                7:17:18


LOL I hope the kitchen stays intact
                                     7:17:44


                                                     <attached: 00002000-GIF-2024-06-21-19-20-36.mp4>
                                                                                                               7:20:36


<attached: 00002001-GIF-2024-06-21-19-21-58.mp4>
                                                                    7:21:58




<attached: 00002002-
PHOTO-2024-06-21-19
-26-09.jpg>




                        7:26:09


Tonight's dinner is salmon and vegetable rice.D
                                                          7:26:50


                                                                                                That looks amazing!!!
                                                                                                               7:26:52


Yes, it's delicious.
              7:27:37


Salmon, avocado, corn, rice, eggs, peas, spinach, carrots, wasabi, sushi
soy sauce
                                                                                      7:28:25
                                                                                                COHN0177
                                                                                                         Page 178
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 183 of 439 PageID #: 394
Very nutritious and delicious!
                           7:28:54


                                                                     With a Japanese twist. Yes I love wasabi.
                                                                                                           7:29:13


Yes, what's your dinner tonight?
                              7:29:44


                   I just made a Mediterranean salad with hummus and falafel, Tomato, cucumber
                   and apple over arugula.
                                                                                                           7:36:02


Wow, that sounds awesome.
                          7:36:32


                   Yes it hit the spot tonight. I made a tahini dressing for it. Simple, healthy, full of
                   protein and flavor. Just like how you cook!
                                                                                                          8:03:34


Thank you! I'm glad you like my cooking style.
                                                  8:05:45


                                                                              I like a lot of things about you M
                                                                                                           8:07:58


Wow, you always warm my heart. ❤
                                     8:08:53


                                                   <attached: 00002016-GIF-2024-06-21-20-11-21.mp4>
                                                                                                           8:11:21


                                                            That makes my heart sing to hear you say this ❤
                                                                                                           8:12:07


We do have a lot in common. My main weakness is sweets1
                                                                    8:13:15


                                                                                         Are you a chocoholic?
                                                                                                           8:13:46


Yes, I like chocolate.
                8:14:19


                                                                                    So do I. Dark chocolate m
                                                                                                           8:14:51


For example, chocolate milkshake/
                                     8:15:19


Dalia and I both love milkshakes. lol1
                                        8:16:21


                 Ha of course! Like mother, like daughter. The Apple doesn’t fall far from the tree.
                                                                                                           8:19:03


<attached: 00002025-GIF-2024-06-21-20-19-44.mp4>
                                                               8:19:44                    COHN0178
                                                                                                  Page 179
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 184 of 439 PageID #: 395
Yes, we get along very well and Dalia never complains about the food I give her
/
                                                                                8:20:26


                                                  I used to love Shirley Temple movies when I was a kid.
                                                                                                   8:21:04


She is very cute. lol
               8:21:27


                                      She sounds like an ideal daughter to have. You are very lucky n
                                                                                                   8:21:54


Yes, it's true. I'm sure you and Cameron get along very well.
                                                             8:23:30


                           We have the best relationship. I couldn’t ask for a better relationship than I
                           currently have with Cameron.
                                                                                                   8:26:42


Wow, that's really cool. You taught him well.
                                            8:27:38


                         Well our relationship is great because of how I show up in my heart with Cam.
                                                                                                   8:33:14


It's cool, like me and Dalia
                         8:34:49


                 Love that you do too Anna. I’m not at all surprised to hear this.
                 Our kids can read our energy and intentions. Both positive and negative. There’s
                 no faking it with them. When we show up with love, supportive, listening and
                 always encouraging them then they feel so loved and seen.
                                                                                                   8:39:46


Thank you, I completely agree. It's so important to show up for our kids with
genuine love and support. They can always tell when our intentions are genuine
and it makes such a difference in their lives.
                                                                                  8:41:15


                            How we show up for our kids is no different than how will show up for our
                            beloved life partner. This is why I feel we are such a great match.
                                                                                                   8:46:30


Yes, I totally agree. We should behave the same way with our children and
partners because they are the most important people in our lives. We have a lot
in common.
                                                                                 8:48:03


Bruce. I've enjoyed every conversation we've had, now I need to get Dalia to bed.
I hope you get a good night's sleep tonight./
                                                                                   8:50:19


                                                                                    Sweet dreams Anna.
                                                                                                    8:51:13


<attached: 00002041-GIF-2024-06-21-20-51-37.mp4>                                    COHN0179
                                                         8:51:37
                                                                                                Page 180
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 185 of 439 PageID #: 396
                       https://www.instagram.com/reel/C7DleMBuMtg/?igsh=MzRlODBiNWFlZA==
                                                                                                 10:39:35


                                            Jun 22, 2024

                                              Good morning Beautiful Anna!
                                              I hope today brings you closer to your dreams.@ o
                                                                                                 8:03:32


Good morning, Bruce. A new day has begun. May you have a day full of energy
and sunshine on this beautiful day. No matter how the outside world changes, I
hope your heart will always remain peaceful and calm. In this ever-changing
world, busy life always makes us busy, but it is easy to ignore the beauty around
us. May you stop and feel all the beauty and happiness around you, and feel the
warmth and care that life brings you. No matter what difficulties and challenges
you face, please remember to be strong and brave, because you have unlimited
potential and strength. May you harvest full of joy and happiness on this day,
and find the true peace and tranquility in your heart. May you feel my sincere
blessings and care in every good morning greeting. May you have a wonderful
day.,
                                                                              9:01:10


                                                                          Wow so beautiful Anna!!
                                                                          You made my day. * +
                                                                                                  9:13:28


Thank you, it's nice to hear you say that, I like our good morning greetings to
each other
                                                                         10:33:16


                             I love us!! I’m on a break from my men’s group now. Eating some lunch
                                                                                                 12:19:46


                                  We are going to go to the beach for the second half of our men’s
                                  group immersion.
                                                                                                 12:24:58


                                                                                        How’s your day?
                                                                                                 12:25:07




                                                                          <attached: 00002050-
                                                                          PHOTO-2024-06-22-12
                                                                          -27-21.jpg>




                                                                                                 12:27:21


Wow. You look amazing.
                   4:30:55
                                                                               COHN0180
                                                                                             Page 181
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 186 of 439 PageID #: 397
I am doing well today, thank you for your concern. Today I went to the pet shelter
with my friends.
                                                                                4:34:43


<attached: 00002053-GIF-2024-06-22-20-05-56.mp4>
                                                      8:05:56


                     Hey Anna!
                     That kitty looks to be playing peak a boo! I’m back home and physically tired
                     after a powerful day with my men’s group.

                     I’d love to share more about my personal experiences next time we chat. We
                     start again early tomorrow morning.

                     Did you pick out a new pet or did your friend?
                                                                                               8:13:17


Bruce. Thank you, it's great that we get to share our lives and experiences every
time, I look forward to this. We didn't pick new pets, we helped clean the
kennels, fed the cats and dogs, and played with them. I feel happy to help these
lovely animals. 1
                                                                                8:18:35


                  Anna, yes it’s so wonderful to share our lives and journeys with each other. It’s
                  very special.

                  Wow, So beautiful that you volunteer to help animals in a shelter. Just another
                  shining example of your amazing, giving heart and how you show up with
                  kindness snd compassion.
                                                                                              8:24:59


Thank you so much for the kind words, it means so much to me. Volunteering at
an animal shelter brings me so much joy and fulfillment, and I am grateful for the
opportunity to make a difference in the lives of those in need. It is truly special.
                                                                                8:26:58


                    Anna,
                    Every night, I fall asleep with a smile on my face, knowing that you’re the last
                    thought on my mind. Good night, my beautiful dream ' l .
                                                                                              10:01:44


Bruce. Hope you have a good sleep tonight. Sweet dreams. Good night.
                                                                   10:07:59


<attached: 00002060-GIF-2024-06-22-22-08-13.mp4>
                                                     10:08:13


                                            Jun 23, 2024

Good morning, Bruce. I hope you can enjoy this wonderful time. Whether you
sleep in, go out for fun, or hang out with family and friends, remember to relax
and enjoy the happiness and joy around you. Don't forget to give yourself a
beautiful smile to make your mood even happier. May your weekend be filled
with sunshine and happiness.'
                                                                              8:03:29


                                                                                  COHN0181
                                                                                           Page 182
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 187 of 439 PageID #: 398
                   Good morning Anna,
                   Sending you a day full of sunshine, a heaven filled with rainbows, and a pocket
                   full of dreams. May today and the future ahead of you be as wonderful as you
                   are.
                                                                                             8:17:37


<attached: 00002063-GIF-2024-06-23-08-19-09.mp4>
                                                    8:19:09


Bruce, what are your plans for today?
                                8:25:32


                                          <attached: 00002065-GIF-2024-06-23-08-48-04.mp4>
                                                                                            8:48:04


                                    Today is the second day of my all day men’s group immersion.
                                                                                             8:49:10


Wow, that sounds great, I might just stay home today and have a
relaxing Sunday.
                                                               8:49:45


<attached: 00002068-GIF-2024-06-23-08-49-59.mp4>
                                                     8:49:59


                         Well it’s going to be a warm one today. So wishing you an enjoyable day,
                         relaxing , being with your beautiful daughter and by your swimming pool.
                                                                                            8:53:08


Wow, thank you. Great to hear that. Hope you have a great day too.
                                                                 8:53:51




                                                                           <attached: 00002071-
                                                                           PHOTO-2024-06-23-10
                                                                           -25-17.jpg>




                                                                                            10:25:17


Wow. Looks great.
            10:25:51




                                                                              COHN0182
                                                                                            Page 183
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 188 of 439 PageID #: 399




<attached: 00002073-
PHOTO-2024-06-23-12
-27-34.jpg>




                  12:27:34


Today's lunch: Chicken breast and shrimp salad
                                           12:27:58


<attached: 00002075-GIF-2024-06-23-16-52-44.mp4>
                                                        4:52:44


<attached: 00002076-GIF-2024-06-23-16-53-30.mp4>
                                                        4:53:30


What are you up to? darling
                      6:28:39


                Hi Gorgeous ,
                I just got back home from my men’s group retreat. Now I’m taking an Epsom salt
                bath to soak away the day. Long day., but glad for the experience and
                opportunity to not only do my work, but to be a a support for the other guys to
                do their work.
                                                                                             6:35:40


                                                      You were in my thoughts throughout my day. '
                                                                                             6:36:24


Don't you feel a pain in your ass? LOL
                                6:39:31


                                                                                          I do!! ;
                                                                                             6:39:57


LOL Today is a happy day.
                    6:42:13


                                          <attached: 00002083-GIF-2024-06-23-18-44-30.mp4>
                                                                                             6:44:30


Enjoy your Epsom salt bath and take a moment to relax.
                                                      6:49:37


<attached: 00002085-GIF-2024-06-23-18-50-19.mp4>
                                                        6:50:19


                                          <attached: 00002086-GIF-2024-06-23-18-53-06.mp4>
                                                                                             6:53:06
                                                                               COHN0183
                                                                                         Page 184
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 189 of 439 PageID #: 400
I'm sure you'll wash your skin very smooth
                                         6:53:59




                                                                         <attached: 00002088-
                                                                         PHOTO-2024-06-23-18
                                                                         -54-21.jpg>




                                                                                           6:54:21


What happened to your thigh? Why does it look hurt
                                                   6:55:01


                                  ??? Everything is fine. Maybe you’re seeing some sun exposure?
                                                                                          6:56:25


Just be fine. Because it looks to me like your thighs are sunburned
                                                               6:57:08


What's the royal chef eating tonight
                               7:20:54


                I just got out of my bath and was thinking about making something chilled. After
                being on the heat all day I’m not in the mood for cooked food right now.
                Plus I’m not that all that hungry because I’m tired from the long day of
                physical activity.
                                                                                           7:24:05


Ice cream is a good choice.
                     7:24:29


When physical activity is too much, pay attention to rehydration.
                                                             7:24:56


Enjoy the weekend, and Monday is the time to start making money again. Are
you ready? darling
                                                                         7:25:39


                 I’m ready darling. Now that so much of my money in Trust wallet -I hope we can
                 make some crypto trades together this week!!!
                                                                                           7:28:16


Yes, I'll let you know when I have a good one on Monday. Of course, if you have
time, you can transfer the Schwab funds to your bank account first, and you can
wire them on Monday.
                                                                             7:29:26


I've been busy enjoying my weekend today. So I didn't look at the market. If the
time is too rushed, it is not a sure investment strategy                      COHN0184
                                                                           7:30:26
                                                                                                     Page 185
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 190 of 439 PageID #: 401
Stay tuned for any messages I send you tomorrow. Not like today. Or I told you
there was a good deal, and you didn't see my message
                                                                                 7:40:35


                                                          I’m available all day tomorrow! I’m ready!!
                                                                                                       7:41:13


<attached: 00002102-GIF-2024-06-23-19-41-46.mp4>
                                                     7:41:46




                                                                           <attached: 00002103-
                                                                           PHOTO-2024-06-23-20-
                                                                           03-42.jpg>




                                                                                                      8:03:42


Do you have $50,000 in your main wallet Trust? wow. I'm sure you'll do a
great job
                                                                       8:04:44


                Yes - plus I left all my profits from our last trade stay in the short term wallet. I’d
                like to build up my portfolio to $2 million.
                                                                                                      8:06:36


Your $50,000 is in the Trust wallet and you need to convert it into stablecoin
USDT. Or you send it to your short-term trading account. In this way, having
good nodes tomorrow is also a little more profit
                                                                            8:07:10


Yes, to $2 million. You can do a 30-day arbitrage. We can make profits in
two ways
                                                                       8:07:56


                  Yes everything on Trust is in USDT. I shouldn’t be using the $ sign since it’s not
                  dollars - it’s stablecoins.
                                                                                                      8:09:25


Yes, we look forward to the good news tomorrow. It would be best if your funds
reached $2 million by tomorrow. If you want to get to $2 million, do you need
$700,000 to $800,000 tomorrow?
                                                                                  8:10:47


                                                                                            I need $700,000.
                                                                                                       8:11:45


Yes. Your $500,000 at Schwab needs to be transferred to your personal bank
account and wired. So you need to sell some shares on Monday             COHN0185
                                                                             8:12:44
                                                                                              Page 186
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 191 of 439 PageID #: 402
Is that right?
        8:12:53


                           I already have $700k cash in my Schwab account. I sold shares on Friday.
                                                                                                8:13:42


OK, so wait for the wire transfer on Monday
                                         8:14:16


                       Yep- we shall see shall see what happens tomorrow with the wire department.
                                                                                                8:15:21


The last time you made a wire transfer Schwab canceled, maybe you could wire
it to your coinbase
                                                                              8:15:59


                                                                     Yes I will do my best tomorrow.
                                                                                                8:17:46


I'm sure you can
             8:18:11


<attached: 00002119-GIF-2024-06-23-20-18-52.mp4>
                                                       8:18:52


Sleep well and have sweet dreams. Good night
                                            9:46:12


<attached: 00002121-GIF-2024-06-23-21-46-24.mp4>
                                                       9:46:24


                       Before I fall asleep, I think about how you make life so much more meaningful
                       and how lucky I am to have you. Hope to see you in my dreams Anna. ,
                                                                                               9:47:30


                                               Jun 24, 2024

Good morning, Bruce. I hope you will be full of energy and good mood today to
greet the new day! The morning sun shines on the windowsill, and the warm light
makes people feel peaceful and comfortable. In this beautiful morning, may your
day be filled with sunshine and happiness.>
                                                                               7:58:56


                           Good morning Beautiful! '
                           Just like the sun lights up the earth, your morning texts brighten my day.
                           Sending you a big hug to help you kickstart your day with energy and
                           passion. . d ,
                                                                                                8:10:22


Thank you, let's start a good day together. >
                                            8:13:32


                                                                 Yes let’s! Together hand in hand !
                                                                                                8:15:21




                                                                                COHN0186
                                                                                                 Page 187
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 192 of 439 PageID #: 403




                                                                        <attached: 00002127-
                                                                        PHOTO-2024-06-24-08-18-55
                                                                        .jpg>




                                                                                                  8:18:55


I plan to go to the company this morning to discuss the work priorities and goals
for this week. I will work on clothing design in the morning and participate in
clothing agency-related meetings and business negotiations in the afternoon.
You?
                                                                                  8:19:02


Wow. That's cool.
            8:19:39




                                                                        <attached: 00002130-
                                                                        PHOTO-2024-06-24-08-22-03.
                                                                        jpg>




                                                                                                  8:22:03


Wow. Looks like you had a great weekend. Glad you have such great friends.
                                                                            8:24:01


                      I’ll be working on wiring out money to my Trust wallet. Making some day trades
                      in my account for fast profits. Printing off a large copy the architectural plans
                      for my rental casita project. Working on concepts for the entry way for the
                      casita.
                                                                                                  8:26:37


Has the wire transfer arrived?
                            8:27:06


                                                                             Yes met some great guys.
                                                                                                  8:27:12


Great. Then you can send it to your short-term trading account                        COHN0187
                                                              8:27:32
                                                                                            Page 188
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 193 of 439 PageID #: 404
                                                                              No still working on it
                                                                                              8:27:52


OK expectation
           8:28:17


$50,000 from your main wallet can be sent to your short-term trading account
                                                                          8:28:49


Will you plant flowers in your villa
                              9:47:37


                         Yes/ The casita will have an outdoor patio and will be having some potted
                         flowering plants and a succulent wall on the enclosed patio wall.
                                                                                              9:50:18


I like to plant flowers all over my yard.
                                   9:50:47


                                        <attached: 00002142-AUDIO-2024-06-24-09-54-08.opus>
                                                                                             9:54:08




                                                                            <attached:
                                                                            00002143-
                                                                            PHOTO-2024-06-24-
                                                                            09-58-36.jpg>




                                                                                             9:58:36




                                                                            <attached:
                                                                            00002144-
                                                                            PHOTO-2024-06-24-
                                                                            09-58-36.jpg>




                                                                                             9:58:36




                                                                              COHN0188
                                                                                                Page 189
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                                                                                  <attached:
                                                                                  00002145-
                                                                                  PHOTO-2024-06-24-
                                                                                  09-58-36.jpg>




                                                                                                 9:58:36




                                                                                <attached: 00002146-
                                                                                PHOTO-2024-06-24-0
                                                                                9-58-36.jpg>




                                                                                                 9:58:36


                                                                                          Yes me too!!!
                                                                                                 9:59:01


You wired $500,000 today. The bank is already processing it. Has it
been deducted?
                                                                 10:01:37


The flowers are really beautiful. It is always pleasant to look at the beautiful
flowers. It would be even better if there were colorful tulips. LOL
                                                                             10:02:22


We can be gardeners. Create a garden for the yard. I would come home every
day surrounded by flowers
                                                                              10:03:44


                 No the money has not left my account yet. Since the $500k wire was canceled
                 on Friday they had to recreate the wire again. I just received notification that the
                 wire has been initiated which means it will go out before 1pm today. I’ll let you
                 know when it leaves.
                                                                                                 10:05:14


                                                                            That would be very amazing!
                                                                                                 10:06:01


So you need to keep up with the progress and see if the bank has deducted the
money. Did you wire it to coinbase?
                                                                            COHN0189
                                                                        10:07:47
                                                                                                       Page 190
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 195 of 439 PageID #: 406
<attached: 00002154-GIF-2024-06-24-10-08-14.mp4>
                                                             10:08:14


                                                                                I wired it to the Strike bank
                                                                                                        10:08:26


                                                                                            So you love tulips?
                                                                                                        10:08:49


OK, if you send a wire transfer to the strike, as long as the bank deducts the
money, it will arrive soon. If you have received an email from the strike, you can
take a screenshot and send it to me.
                                                                                    10:09:31


Yes, I like tulips very much. Yellow, red. It's pink. It's beautiful when you look
at them
                                                                                 10:10:03


                         There is an annual tulip festival outside of Seattle that you would love. It’s the
                         Skagit Valley Tulip p festival. It’s in April when the Tulips are in full bloom.
                                                                                                        10:15:09




                                                          <attached: 00002160-
                                                          PHOTO-2024-06-24-10-15-15.jpg>




                                                                                                         10:15:15


It's really beautiful
              10:17:49


Our house will be full of tulips and we'll all be happy
                                                       10:18:13


                                                                        You would have a tulip orgasm!! LOL
                                                                                                        10:18:30


Yes, but I'd rather you planted tulips for me
                                            10:19:59




                                                                                       COHN0190
                                                                                                  Page 191
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 196 of 439 PageID #: 407




                                                                                        <attached:
                                                                                        00002165-
                                                                                        PHOTO-2024-06-
                                                                                        24-10-21-12.jpg>




                                                                                                   10:21:12


Will you get a call back?
                  10:22:09


                                                  No- it’s been cleared to go by the security team
                                                                                                  10:22:48


OK, we've wired $500,000. So there's still $200,000 that hasn't been wired
                                                                            10:23:18


                As I shared in my voice text I sent via ach $100k to my Chase account. I can only
                send via ACH $100k per day. So I will send another $100k tomorrow. Then I will
                wire to the Strike Bank out of my Chase account the $200k.
                So this next step will take a few days more.
                                                                                                  10:26:13


Then you can wire the remaining 200,000 to your coinbase
                                                      10:27:51


                      I want to for now avoid sending more large wires out of my Schwab account.
                                                                                                  10:27:56


Charles Schwab is not good. Because there's too much interference
                                                                 10:28:15


Schwab is scared of you moving your money out. Then they have less money to
pay dividends
                                                                                 10:29:17


                  I need to check if I can send $200k to Coinbase. Many of these exchanges have
                  a $100k per day limit.
                                                                                                  10:29:58


Yes. But you can try. If $100,000 arrives today, you can wire it to coinbase first.
Then the 100,000 will be transferred to coinbase again tomorrow. The separation
won't be a big problem
                                                                                   10:31:44




                                                                                       COHN0191
                                                                                                 Page 192
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 197 of 439 PageID #: 408
                  Schwab security told me they are watching for fraud, illegal activity and scams.
                  Moving large amounts of money like this triggers scrutiny by the security team.

                  I have learned the best way is to move large amounts of money is to do it in
                  smaller amounts over time. This way it doesn’t raise red flags q
                  It’s always best to fly under the radar with authorities.
                                                                                                  10:33:55


Yes. Otherwise they have more reason to stop
                                         10:34:44


                   The $100k should arrive at Chase Bank tomorrow. I moved the funds via ACH -
                   automated clearing house which is bank to bank transfers- which is best case
                   next day and not same day like a wire.
                                                                                                  10:38:50


                                                                                             Yes exactly
                                                                                                  10:39:14


ACH may be slow. Because it takes time to settle. About five to seven days
                                                                           10:39:23


                 Not that slow. Once it arrives at my bank it’s cleared. No time to settle since it’s
                 bank to bank.

                 But yes, If I do ACH to
                 Move money into my Coinbase trading account they put a hold on the funds for 2
                 business days. If you do this on a Friday you money is not cleared for 5 days
                 because the weekend days don’t count as “business days”
                                                                                                  10:45:12


Yes. Let's hope. Right now we're tracking the progress of the $500,000 to the
strike. We'll follow up with coinbase tomorrow
                                                                                10:46:19


<attached: 00002183-GIF-2024-06-24-11-27-17.mp4>
                                                         11:27:17


                                           <attached: 00002184-GIF-2024-06-24-11-31-28.mp4>
                                                                                                   11:31:28


                                                     You have such a beautiful, inner shining light Anna.
                                                                                                   11:32:27


                   Wire was sent and the money was deducted from my account. ✅ Now waiting
                   for the Strike email to arrive.
                                                                                                  11:34:47


Yes, now wait for the arrival strike
                              11:35:20


Is it in your strike account yet
                         11:57:04


                                                                                           Nope not yet
                                                                                                  11:57:42


Check to see if any emails have been received                                         COHN0192
                                          11:58:15
                                                                                                     Page 193
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 198 of 439 PageID #: 409
                                               Not yet- I’m watching for it. Thanks gorgeous * ,
                                                                                                       11:59:16


And you need to be ready to plant tulips for me
                                         11:59:56


                                         <attached: 00002193-GIF-2024-06-24-12-01-53.mp4>
                                                                                                       12:01:53


<attached: 00002194-GIF-2024-06-24-12-02-14.mp4>
                                                    12:02:14


I have just finished my work, now I have a rest. Have a cup of coffee
                                                                    12:34:20


You have one, too
           12:40:36


<attached: 00002197-GIF-2024-06-24-12-40-51.mp4>
                                                    12:40:51




                                                          <attached: 00002198-
                                                          PHOTO-2024-06-24-12-43-22.jpg>




                                                                                                      12:43:22


<attached: 00002199-GIF-2024-06-24-12-43-42.mp4>
                                                    12:43:42


I'm looking at the BTC market
                        12:49:07


                                                                               It’s been falling all morning.
                                                                                                      12:50:23


it doesn't matter
           12:57:41


As long as your half a million dollars arrives, we can make a profit on short-term
trading. It's also equivalent to bottom-fishing
                                                                                    12:58:14


                                                                   It just arrived!! It’s in the strike wallet
                                                                                                      12:58:49


OK, then you can send it to your short-term trading account
                                                        12:59:12
                                                                                      COHN0193
                                                                                                       Page 194
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 199 of 439 PageID #: 410
                                                                                                    I’ll work it
                                                                                                        12:59:25


Now you can do it
            12:59:49


                                                                   Okay it’s on its way to the Trust wallet
                                                                                                         1:02:33


If we can trade short-term operations today, we'll grab the bottom and make
more profits.
                                                                                   1:09:13


When we can buy the bottom in BTC, it is actually easy to earn money.
                                                                         1:24:20


                   It may take a while for the BTC to arrive. I’m watching on Meme pool and I don’t
                   have any confirmations yet. Busy time of day.
                                                                                                         1:26:04


The $50,000 in your main wallet could actually be put to use. Earn as much as
you can for yourself. Because today was really good
                                                                                    1:26:23


                                                       Okay I just received 1 confirmation. 5 more to go.
                                                                                                         1:28:32


                       But BTC is still falling really quickly so I’m going to lose a lot on this transaction
                                                                                                         1:30:38


There are some regrets that the 200,000 needs to wait two days for the wire
transfer. If not, I'll keep an eye on the market. And I'll let you know when I can
make a deal
                                                                                   1:30:45


Because the process of sending will cost. But we can make more money when
we do short-term trading. Because the investment strategy I helped you develop
is a good fit for you
                                                                                        1:31:36


                                                                            2 confirmations. 4 more to go.
                                                                                                         1:42:53


Wait patiently. BTC seems to be crowded
                                          1:43:48


                                                                 Yes the network is congested right now.
                                                                                                         1:44:15


Yes, wait patiently. USDT stablecoins will be faster
                                                    1:44:46


Check to see if it has arrived. need to convert to USDT. I need a nap right now
                                                                                   2:27:58


                       It’s not there yet. Go take your nap beautiful. I’ll text you when it’s in my wallet.
                                                                                                         2:30:15

                                                                                         COHN0194
                                                                                               Page 195
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 200 of 439 PageID #: 411




                                                                       <attached: 00002223-
                                                                       PHOTO-2024-06-24-14-50-
                                                                       18.jpg>




                                                                                                2:50:18


We're $200,000 to $2 million short
                              4:34:38


                       In a few days it will be $2 million. Why do we have to wait until $2 million to
                       make trades??
                                                                                                4:36:50


The more money there is, the less risk there is. But tonight I will set you up with
a $1.8 million deal
                                                                              4:40:20


                                                                 Yes you want to do arbitrage right?
                                                                                                4:41:05


Yes. It'll be good for you. We can spread our money around and make a profit
                                                                           4:41:39


Because arbitrage is also using the stablecoin USDT
                                                      4:41:53


                 I’m going as fast as I can and doing the best I can. This has been a huge shift for
                 me in my investment strategy, unwinding all my stock and bond positions and
                 moving the money.
                                                                                                4:45:44


Don't you have any money in your stock now?
                                            4:46:07


                                                                  Yes I still have some money there.
                                                                                                4:46:51


But this is also the time to expose yourself to more investment knowledge. We're
always pushing ourselves
                                                                               4:46:56


Let's improve ourselves
                   4:47:04


How much do you have left in stocks?
                                  4:47:21


                                                                                 COHN0195
                                                                                                   Page 196
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 201 of 439 PageID #: 412
                         Yes I’m always improving myself, growing and open to learning new skills
                         and knowledge.
                                                                                                     4:50:06


Each stage will let us realize the different self. In the past we all faced a fear of
the unknown. The age of not knowing what to do when things happen. But now
we are getting braver. We can act as stable adults in the face of difficulties. To
steadily choose the life you want
                                                                                  4:51:47


                  Yes leaning into fear of the unknown takes courage. To have the strength and
                  vision to see what’s ahead. I’m not a stranger to doing any of this in my life. I’ve
                  been down this road many times.

                  Having more knowledge and understanding of how you set up the trades and
                  your strategy will give me more confidence. Knowledge is power.
                                                                                                     5:01:18


We are all similar people with similar souls. So we know each other's minds
better now. Even if sometimes you do not reply to my message in time, I will feel
very safe. Because I know you're busy. Even if you have a few lucky cats to help
you with the keyboard. But you prefer to do it yourself. LOL
                                                                                    5:03:31


                 Sometimes I need some time to reply back to you. There are times when I am
                 busy and it’s not the right moment to pick up my phone reply your texts. Know
                 that my heart skips does skip a beat when I receive your text messages and I am
                 excited to get them. That you are always on my mind and in my thoughts even if I
                 can’t get back to you right away.
                                                                                                     5:12:50


I can quite understand you. I'm looking forward to you planting tulips for me.
                                                                               5:13:34


                                                                            I need to check my grammar.
                                                                                                     5:14:02


Is there a problem?
               5:16:19


                  Also something else I want to share with you. That I sometimes take some time
                  to think about my reply back to you. What I want to say to you and how I express
                  it best with text is important to me.
                                                                                                     5:16:24


                 No problem. I’m a bit of a perfectionist when it comes to writing and when I
                 quickly type I don’t always catch grammar errors or spelling errors in my texts. It
                 just my thing.
                                                                                                     5:18:17


When we get each other's messages, our hearts beat faster
                                                           5:19:09


                                                                 I look forward to planting tulips for you.
                                                                                                     5:19:18


<attached: 00002248-GIF-2024-06-24-17-21-11.mp4>                                     COHN0196
                                                       5:21:11
                                                                                                            Page 197
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 202 of 439 PageID #: 413
                            Yes my heart always beats faster when your texts arrive. I feel like a teenager
                                                                                                              5:21:13


Yes.
 5:22:51


I will personally plant the seeds of love for you. We watched them take root
                                                                                       5:24:20


                                      We are planting the seeds of love together right now beloved Anna. ,
                                                                                                              5:25:50


Is your lucky cat off duty already?
                                        5:26:48


                                          Yes I gave him the night off. It’s just me and my two thumbs now ;
                                                                                                              5:27:48


<attached: 00002255-GIF-2024-06-24-17-33-01.mp4>
                                                                     5:33:01


This one?
      5:33:05


                                                                                           Those are index fingers.
                                                                                                              5:35:56


                                                            <attached: 00002258-GIF-2024-06-24-17-36-01.mp4>
                                                                                                              5:36:01


LOL
 5:39:44


I need to drive home now. Contact later
                                              5:40:35


                                                                               Drive safe! I need to go shopping r
                                                                                                              5:41:05


I have already got home
                          6:54:11


                                                                                                 I’m on my way home
                                                                                                              6:57:28


OK. Drive safely.
                6:57:49


I'm waiting for you here
                          6:57:55


                                                                               I’m home and starting my dinner. !
                                                                                                              7:06:57


OK. Glad you got home safely.
                                    7:07:35


What kind of food did you buy for home
                                                  7:17:06                                        COHN0197
                                                                                                    Page 198
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 203 of 439 PageID #: 414
                                              I’m trying a new recipe tonight and needed a couple of items.
                                                                                                      7:17:54


                       https://www.instagram.com/reel/C8j4pX6KdSW/?igsh=MzRlODBiNWFlZA==
                                                                                                      7:18:10


Looks absolutely delicious.
                        7:27:31


I believe you will succeed D
                          7:27:49


                                                                           Yep looking forward to trying it!
                                                                                                      7:28:00




                                                                    <attached: 00002274-
                                                                    PHOTO-2024-06-24-19-46-07.jpg>




                                                                                                      7:46:07


Why does it look different?i
                           7:47:07


                    It didn’t turn out like his photo. I’m missing the black sesame seeds and green
                    onions. Plus I didn’t plate it. I put it in a bowl.
                                                                                                      7:49:33


It looks like this, how does it taste?
                                    7:50:08


                                                                  Very yummy with the Korean BBQ sauce.
                                                                                                      7:50:53


Wow. That sounds great.
                     7:51:14


                                                                            What did you make for dinner?
                                                                                                      8:10:05


Steak Pasta
       8:12:10




                                                                                      COHN0198
                                                                                                    Page 199
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 204 of 439 PageID #: 415




<attached: 00002282-
PHOTO-2024-06-24-2
0-15-35.jpg>




                    8:15:35


Steak, broccoli, pasta, tomatoes
                              8:16:19


                                                          We both had broccoli and pasta tonight !
                                                                                                      8:17:31


But yours will look better. lol
                         8:18:04


                                        Next time I make it I will make it perfect just like the IG reel.
                                                                                                      8:18:49


Yes, I believe you can do it, because you have succeeded very well the first time.
                                                                                    8:19:23


Have you finished your meal?
                          8:20:36


                                                                              Yes I’m cleaning up now
                                                                                                      8:20:49


There's a 180-second transaction in ten minutes.
                                              8:21:20


                                                                                          Okay I’ll be ready
                                                                                                      8:21:53


I need to finish my meal first
                        8:22:08


                 That’s a much longer time. 3 minutes. I want to be sure I commit to the trade at
                 the same exact second you do. I don’t want to be late. Every second counts with
                 these trades.

                 Do you think we should be on a call together when we make the trade?
                                                                                                      8:27:10


This will delay the operation. The network environment is unstable and the
delay occurs
                                                                          8:27:53


                                                                                     COHN0199
                                                                                        Okay I trust you.
                                                                                                      8:28:26
                                                                                               Page 200
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 205 of 439 PageID #: 416
We trade in 180 seconds of operation. In 180 seconds the money will be bought
and sold. The method of selling and buying. The profit will reach 16%. It will
close the trade and make a profit.
                                                                              8:29:31


BTC was up $0.001. We can all make a profit
                                         8:30:01


                               Yes I know. It just needs to close above the buy price of the contract.
                                                                                                8:30:48


Now open a screenshot of your short-term investment trading account and send
it to me
                                                                               8:31:12




                                                                                         <attached:
                                                                                         00002300-
                                                                                         PHOTO-2024-
                                                                                         06-24-20-32-
                                                                                         05.jpg>




                                                                                                8:32:05


Amount input 900,000 USD. Select 180 seconds. UP
                                                   8:34:14


Then send me a screenshot
                     8:34:30




                                                                                         <attached:
                                                                                         00002303-
                                                                                         PHOTO-2024-
                                                                                         06-24-20-34-
                                                                                         48.jpg>




                                                                                                8:34:48




                                                                                COHN0200
                                                                                             Page 201
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 206 of 439 PageID #: 417




<attached: 00002304-
PHOTO-2024-06-24-20-35-15.jpg
>




                               8:35:15


                                                                                             Done
                                                                                               8:35:30


ok, because today's BTC market is not very stable. You still have too little
money. In order to earn profits steadily, we can only make one transaction today.
darling
                                                                              8:36:24


We can't be like gamblers.
                    8:38:05


                                     I totally agree. This is not about gambling. It’s about strategy
                                                                                               8:39:19




                                                                       <attached: 00002309-
                                                                       PHOTO-2024-06-24-20-41-3
                                                                       1.jpg>




                                                                                               8:41:31


Yes. I keep waiting for the market to trade for 600 seconds. Because I have more
than 6 million dollars in my account, I have been waiting, and the profit is 25%.
But it takes time
                                                                              8:41:59


                                                   I hope one day to have 6 million in my account!!
                                                                                               8:42:44


Honey, I'm actually happy, too. Because today's BTC is too crazy.
                                                             8:43:07


                                                                               COHN0201
                                                                                                    Page 202
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 207 of 439 PageID #: 418
LOL, honey. Six million dollars isn't too far away for you. It's just that you do
have too little money right now. Because of the arbitrage I planned for you, this
already requires $1 million. So you only have $1 million to make short-term
investments.
                                                                                   8:44:31


                25% is a lot of profit!!! Timing the market for 600 second trade would be so key.
                It would be catching an up trend or down trend for 10 minutes
                                                                                                     8:45:16


The principal I traded today was $3.8 million. Made $608,000
                                                         8:45:39


Yes. I've been waiting. Tomorrow I'll have more time to observe the
day's market.
                                                                   8:46:25


                                       OMG. That’s incredible compared to my tiny $14,500 profit
                                                                                                     8:46:43


                    So for now I’m just letting my profits ride so I can grow the principal in my ST
                    trading account. Do you agree?
                                                                                                     8:48:17


Honey, because I have more capital than you do. So they make more profit.
That's why I said I needed to help you plan a $3 million deal. I don't know how
long your fund call will take.
                                                                                  8:48:23


                                         What is a fund call? Don’t understand your last sentence.
                                                                                                     8:49:13


As long as we operate the transaction, the profit will change more with the
capital investment.
                                                                              8:49:22


I mean, I don't know how long it takes for you to need to call funds in your
personal account.
                                                                             8:49:53


Your personal account doesn't seem to have allowed you to handle it personally,
does it
                                                                                        8:50:14


                       Okay. Well I will continue to work on moving money into my account ASAP.
                                                                                                     8:51:43


                               Do you mean because Schwab is being a gatekeeper for the wires?
                                                                                                     8:52:33


Yes. You must tell me how much you can use to send into your short-term
trading account. In this way, I can better look at the market in advance and
formulate a verified investment strategy based on the amount
                                                                              8:52:58


Your retirement account. Can you withdraw funds from your retirement account?
                                                                                        8:53:31

                                                                                         COHN0202
                                                                                                 Page 203
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 208 of 439 PageID #: 419
                  I can send another approximately $400k in addition to the $100k I sent to Chase
                  bank today. I’m trying to get to $2.5 million.

                  For now dearest Anna i prefer to leave my retirement money for a later time on
                  this journey of building wealth. I did not fire my advisor after our discussions. I
                  want to learn more about this strategy before I liquidate my IRA investments and
                  borrow against it. Eventually I will make the move. Just need more time to feel
                  ready to make the changes. Thanks for understanding. * )
                                                                                                   9:08:20


I understand. If it's a plan to get $2.5 million. You know, you can plan for $3
million. Because the difference in earnings of half a million dollars is a very large
profit.
                                                                                  9:10:16


Of course, this requires you to mobilize the available funds as much as possible.
What do you think?
                                                                                  9:11:07


                                 My goal is to get to $3 million by not taking the profits off the table.
                                                                                                    9:11:50


                                                                                            Yes I’m on it.
                                                                                                    9:12:08


Yes. So I expect you to wire $1 million tomorrow. There will also be more trading
opportunities, and with more capital, the risk factor will be lower
                                                                                 9:13:10


                                     It won’t take long to get to $3 million. I made $144,400 tonight.
                                                                                                    9:13:47


Yes, I expect that to happen this week. Then I need to prepare a trading strategy
for you in advance
                                                                                 9:14:47


                  I think you misunderstood me. I won’t be wiring $1 million tomorrow. I only have
                  another $500k and I need to sell a big bond position and let it settle before I can
                  wire. Best case is by Thursday or Friday .
                                                                                                    9:16:34


OK, I understand
            9:17:06


<attached: 00002338-GIF-2024-06-24-21-17-18.mp4>
                                                        9:17:18


                      Okay I’m tired and off the bed now. Good night my dearest Anna. May your
                      dreams be as sweet as your smile, and your sleep as peaceful as your heart. )
                      . +
                                                                                                    9:27:19


<attached: 00002340-GIF-2024-06-24-21-28-01.mp4>
                                                        9:28:01


                                                                                                  +
                                                                                                   10:05:31
                                                                                   COHN0203
                                                                                         Page 204
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 209 of 439 PageID #: 420
                                           Jun 25, 2024

Good morning, Bruce. I hope you will be full of energy and vigor in this beautiful
day. The morning sun shines into the room through the window, making us feel
the beginning of the day and feeling particularly happy. Let us greet the new day
with a smile.>
                                                                             8:04:18


                   Good morning Anna,
                   Each day is a blessing and an opportunity to get out there and do the most we
                   can. Here's to another beautiful morning and being connected to you. '
                                                                                           8:09:37


Yes, I love greeting each other in the morning.
                                         8:12:13


                  I do too it’s the best. And receiving your message each morning makes my day!
                                                                                           8:14:20


Yes, I'm glad to hear that. I will do some simple daily exercise this morning and
continue my clothing design work in the afternoon, preparing new samples and
design plans.
                                                                            8:15:28


                                           One day I would love to see your samples and designs!!
                                                                                            8:19:11


lol. I don't usually design now but I manage the design department
                                                              8:21:05




<attached: 00002349-
PHOTO-2024-06-25-08
-23-05.jpg>




                    8:23:05




                                                                              COHN0204
                                                                                     Page 205
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 210 of 439 PageID #: 421




<attached: 00002350-
PHOTO-2024-06-25-08
-23-06.jpg>




                   8:23:06




<attached: 00002351-
PHOTO-2024-06-25-08-
23-07.jpg>




                   8:23:07




<attached: 00002352-
PHOTO-2024-06-25-08
-23-07.jpg>




                  8:23:07


I usually proofread the design drawings and discuss the design of new samples.
                                                                        8:24:08




                                                                          COHN0205
                                                                                                      Page 206
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 211 of 439 PageID #: 422




<attached: 00002354-
PHOTO-2024-06-25-08-
24-21.jpg>




                      8:24:21




<attached: 00002355-
PHOTO-2024-06-25-08-
24-26.jpg>




                     8:24:26


                                            Awesome! These are very elegant dresses! Thanks for sharing.
                                                                                                        8:53:08


Thank you, I'm glad to have your recognition
                                                    8:53:33


What are you going to do today?
                                8:53:37


                 I meeting my arborist to remove some dead trees in my yard. And discuss
                 planting new ones. I have to go pick up my copy of the architectural plans for my
                 casita at the printer. I have a team meeting with 7 of the people on Thursday that
                 will be building it.
                                                                                                        8:57:12


OK. Sounds like a very busy schedule.
                                          8:57:55


I need to drive to the office now, I guess we'll talk soon
                                                               8:58:13


                                                              Have an amazing day! You will be in my thoughts.
                                                                                                        8:58:48


<attached: 00002363-GIF-2024-06-25-09-47-12.mp4>
                                                                  9:47:12                COHN0206
                                                                                                     Page 207
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 212 of 439 PageID #: 423
What trees do you need to plant?
                                9:47:59


                     My yard has a lot of tropical s trees. So to keep to the same theme I will look to
                     plant another palm tree - maybe a Canary Islands Palm tree. I also love more
                     exotic flowering trees. I’ll send some photos
                                                                                                      9:54:36


Did your Chase bank funds arrive?
                                 9:55:02




                                                                                  <attached: 00002367-
                                                                                  PHOTO-2024-06-25-0
                                                                                  9-55-21.jpg>




                                                                                                       9:55:21


I like that style.
           9:55:27


What a tree this is. The flowers are beautiful
                                                9:56:01




                                                             <attached: 00002370-
                                                             PHOTO-2024-06-25-09-56-30.jpg>




                                                                                                      9:56:30


Does the garden have a swimming pool?
                                           9:57:07


                                                             I don’t know the name of it and will find out.
                                                                                                       9:57:10


                                                          No pool. I want to put in a hot tub and a fire pit.
                                                                                                      9:57:46
                                                                                      COHN0207
                                                                                              Page 208
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 213 of 439 PageID #: 424
A pleasant life. We can talk here later, snuggling on each other's shoulders
                                                                            9:58:04




                                                                                <attached: 00002375-
                                                                                PHOTO-2024-06-25-0
                                                                                9-59-10.jpg>




                                                                                                9:59:10


Is it for me? Maybe I'll spend all day in the hot tub when you're done
                                                                  9:58:45


It's really nice. I just don't know what kind of flower it is
                                                      10:00:00


<attached: 00002378-GIF-2024-06-25-10-01-24.mp4>
                                                       10:01:24


                      Yes it’s for you of course!! And we can spend the day together in the hot tub
                      pampering each other.
                                                                                               10:01:50


When I'm in the bathtub, you can treat me like a baby and put some toys in
it. LOL
                                                                            10:01:51


                                                  Hey you gotta have some bathtub and hot tub toys!
                                                                                               10:03:12


Oh, that's right. Honey, how much money did you sell in the stock market today.
Has it been transferred to your bank account?
                                                                                  10:03:20


Yes. Maybe have a back rub. You can rub my back while we're in there
                                                                   10:04:07


                 Yes the money is at Chase. BUT I have to go to the branch to wire a large amount
                 of money. Their online daily limit is only $25k. I really dislike banks. t
                                                                                               10:05:12


When you go to the bank, you can ask the staff to increase your online transfer
limit. I don't like Chase bank, though. There are always many reasons to prevent
the release of funds.
                                                                                   10:06:27


                       I wired another $200k to strike from my Schwab account. And have another
                       $200k that I will wire tomorrow
                                                                            COHN0208      10:06:49
                                                                                                           Page 209
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 214 of 439 PageID #: 425
Will you be far from the Chase branch
                                 10:07:14


In the morning, did the bank charge you?
                                     10:07:48


                        Yes I can ask - but for personal accounts vs business accounts it’s always
                        very limited.
                                                                                                            10:08:05


                                                                                       Schwab wires are free
                                                                                                            10:08:24


                                                                             Chase charges $25 per wire
                                                                                                            10:08:47


                                                                   My branch is really close to my house.
                                                                                                            10:09:13


Yes. So when you go to Chase Bank to make a wire transfer, be firm and tell the
bank that you need to purchase personal items. You can't bring up the subject of
investment with the bank. Honey, I bet you know
                                                                                       10:09:39


So if you make a wire transfer to Chase Bank today. Done. So, $300,000 is going
into your short-term trading account today
                                                                                       10:10:53


                                                       If I can get Chase to wire today then yes $300k.
                                                                                                            10:12:50


Funds from an OK Chase bank account can be wired to coinbase. Because
there's not a lot of money at Chase
                                                                            10:13:27


                 I might wire the chase bank $100k funds directly to Coinbase. There will be less
                 scrutiny by the bank because their business name is in the wire. Zap solutions
                 from Strike wallet sounds more like a scam name.
                                                                                                            10:16:04


Less than half a million dollars. I think it can be wired to coinbase. Because a
strike is a big money transfer. It is much easier to buy BTC directly.
                                                                               10:17:37


That means you can actually raise $1 million this week and $300,000 today. The
rest of Thursday or Friday can be done, right
                                                                                   10:19:40


                                                                               Total I’m raising is $500k.
                                                                                                            10:20:33


<attached: 00002401-GIF-2024-06-25-10-22-04.mp4>
                                                        10:22:04


                                                                                                  Is that your cat?
                                                                                                            10:22:29


No, this is you. Because I'm pinching your face
                                            10:22:53
                                                                                         COHN0209
                                                                                               Page 210
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 215 of 439 PageID #: 426
                                                                                         Your silly. u
                                                                                                10:23:25


<attached: 00002405-GIF-2024-06-25-10-23-49.mp4>
                                                       10:23:49


I thought you were gonna get $1 million this week.
                                            10:24:22


                                                                                      No not possible.
                                                                                                10:24:50


<attached: 00002408-GIF-2024-06-25-10-25-38.mp4>
                                                       10:25:38


Well, let me know when you're done. And keep your garden nice. I like to stare in
the garden and drink coffee
                                                                           10:27:16


                                                                             Will do gorgeous '
                                                                                                10:28:02


Waiting for the tulip season.
                      10:28:25


<attached: 00002412-GIF-2024-06-25-11-10-58.mp4>
                                                       11:10:58


Did the arborist buy a new tree
                         12:09:53


                   He no showed on me this morning. Not sure why because he is always reliable
                   and on times
                                                                                                12:10:59


                      FYI: $200k in BTC is on its way to my TRUST account. Sent out $100k from
                      Chase to Coinbase just now. Making progress. Yay v
                                                                                                12:13:26


                                                                        How was coffee ☕ time?
                                                                                                12:13:46


Has Chase deducted the money
                           12:17:35


Coffee time is for buffering the body and typing
                                          12:21:21


<attached: 00002419-GIF-2024-06-25-12-21-33.mp4>
                                                       12:21:33


                                      <attached: 00002420-AUDIO-2024-06-25-12-24-30.opus>
                                                                                                12:24:30


Maybe something was delayed, so it wasn't on time
                                              12:27:08




                                                                             COHN0210
                                                                                                  Page 211
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 216 of 439 PageID #: 427
Because of the rise of cryptocurrencies, BTC has spawned many copycat
currencies. Copycats have long tried to imitate BTC. But that's not possible. I
can see what you mean. Banking governments do not have a soft spot for
cryptocurrencies. Because of the rise of this currency, many people will move
their money, banks will never pay dividends. So they have something to worry
about
                                                                            12:34:34


That's why Chase didn't release your funds. Is that
                                                   12:35:07


I wish I could be a kitten. So you can be happy every day
                                                              1:07:17


                            Ah dearest Anna you already are my kitten and you make me very happy
                            every day. )
                                                                                                    1:09:09


What have you been up to today?
                               1:09:45


<attached: 00002427-GIF-2024-06-25-13-10-03.mp4>
                                                              1:10:03


                   Bottom line, these banks are just covering their butts and protecting themselves
                   from getting into trouble with the bank regulators. And any legal recourse from
                   consumers that might sue them for improper disclosure. They tell is they are
                   protecting us from scams - which is total BS. They are only watching out for
                   themselves.
                                                                                                    1:12:51


Yes. So when Chase finally asked you, they released your money anyway, right?
                                                                               1:14:09


                    Well dealing with the banks and moving funds takes a lot of work and time. I had
                    to go to 2 branches to send out the wire.

                    I did stop at Home Depot and bought more flowers for my garden. I need to
                    replace some that are finished for the season.
                                                                                                    1:15:42


                    Yes I already arrived at Coinbase and I converted it to USDT. I’m about to send it
                    to my Trust wallet.
                                                                                                    1:17:02


                                                                                       *it already arrived
                                                                                                    1:17:16


OK
 1:17:38


Then you send it to your short-term trading account
                                                      1:19:12


                                                                                              On its way!
                                                                                                    1:24:17


Looks like Chase is moving fast after all                                        COHN0211
                                         1:41:34
                                                                                                          Page 212
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 217 of 439 PageID #: 428
It's just that the process can be frustrating. Because there's always a delay in
wire transfers
                                                                                    1:42:58


                         Yeah nice to see considering I had to jump through hoops to get the wire
                         sent out!
                                                                                                            1:43:51


                                                                                                          3
                                                                                                            1:44:07


Just this once. The next word tells Chase to release the funds. Just like your
Schwab rejected your wire transfer. It's going well, too
                                                                                   1:45:17


For tomorrow's $300,000, honey, the wire transfer was using Charles
Schwab, right
                                                                         1:47:04


                      Once a financial institution approves wires, then repeating wires go quicker
                                                                                                            1:47:14


                                                                                                          Yes 3
                                                                                                            1:47:43


                                                                                                Yes gorgeous ,
                                                                                                            1:48:15


Yes. So, honey, you sold your shares again today
                                             1:52:31


<attached: 00002446-GIF-2024-06-25-13-59-11.mp4>
                                                       1:59:11


                                                                                               Yes I did Beautiful
                                                                                                            2:04:17


Sold $300,000 worth of stock today?
                                2:06:40


                     Yep! Actually if was a California tax free bond fund. Pays 7.5% tax free state
                     and federal.
                                                                                                            2:08:10


That's why I always believed you could make $1 million this week. If the wire is
sent to your short-term trading account then there is a $3 million trading plan.
                                                                                     2:08:31


So you can easily sell stocks without losing too much money
                                                           2:09:05


                 Well that depends on if I have a capital gain in the position or not. Selling stocks
                 is free. No cost to trade buying or selling.
                                                                                                            2:10:35


Then you can use the investment strategy to your best advantage.
                                                                     2:11:08


                                                                                         COHN0212
                                                                                                 Page 213
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 218 of 439 PageID #: 429
Just see if the stock goes up to earn dividends. If this is the calculation, how
much profit you make on the stock in a day
                                                                            2:13:02


I'm planning that if you can sell all of your shares, then you'll have $6 million in
your short-term trading account for 600 seconds. Let's see how many shares
you can sell. If not, around Friday. I can top you up $1.5 million
                                                                               2:15:42


                                                                                 Well maybe 2% to 5%
                                                                                                   2:15:52


Too few. This is still determined by the market
                                           2:17:16




                                                                                           <attached:
                                                                                           00002458-
                                                                                           PHOTO-2024-
                                                                                           06-25-14-18-
                                                                                           08.jpg>




                                                                                                  2:18:08


Yes. Close to three million
                     2:18:49


                 Anna,
                 Wow what a beautiful offer to top me up $1.5 million. I’m standing here feeling so
                 blessed to know you and to have met you. I’m just taking all this in right now and
                 feel like I’m the luckiest man on the planet. * ,
                                                                                                  2:22:24


So are you confident that your account will reach $6 million? Now you have
$300,000 wired into your account tomorrow. That's 2.6 million dollars. We're
trading 600 seconds of planning for a 25% profit
                                                                             2:24:21


You bring your short-term trading account up to $3 million. I'll help you with $1.5
million. It's only $4.5 million. Still $150 short of a 600-second plan for a $6
million transaction
                                                                                 2:25:24


So you can sell your shares
                       2:26:06


                 $6 million is my goal. We need to make some more short term trades to build the
                 account value up.
                                                                                                   2:26:21


Get as much money as you can. Get ready for the week                              COHN0213
                                                     2:26:27
                                                                                                   Page 214
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 219 of 439 PageID #: 430
                                                                                                Okay I will
                                                                                                     2:26:43


So you can still sell some shares today. We can sell some shares tomorrow.
Together, we do a short 600-second operation at $6 million. Make 25% profit.
You can also make your garden more beautiful
                                                                                 2:27:57


You can think about it. I need a break now. darling
                                                2:28:29


<attached: 00002469-GIF-2024-06-25-14-28-53.mp4>
                                                          2:28:53


                                                          I’m off to buy some more food. We’ll talk later.
                                                                                                     2:29:03


OK
 2:29:11


I have finished my work for today
                              5:24:12


                                                                       Yay v I just finished my day too!
                                                                                                     5:45:13




                                                                       <attached: 00002474-
                                                                       PHOTO-2024-06-25-17-45-20.j
                                                                       pg>




                                                                                                     5:45:20


I'm driving right now, I'll text you later when I get home. /
                                                             5:45:52


I'm back
     6:18:35


                                                                             Welcome back home Anna!
                                                                                                      6:19:17


Thank you, I'm glad you were waiting for me.
                                          6:19:38


<attached: 00002479-GIF-2024-06-25-18-19-51.mp4>
                                                          6:19:51


                                                                            I’ll always wait for you ) '
                                                                                     COHN0214        6:21:19
                                                                                              Page 215
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 220 of 439 PageID #: 431
Thanks, maybe we can have a cup of coffee and relax together ☕ ☕
                                                                 6:21:53


                                                                             Yes let’s relax together.
                                                                                                6:22:27


Yes, what's for dinner tonight?
                             6:23:13


                 It’s been a long day so I’m going to make a grilled burger with all the trimmings.
                 Easy, simple meal.
                                                                                                6:24:45


                                                                                     How about you?
                                                                                                6:25:01


I want to make seafood pasta 1
                               6:25:26


                                                                           Ahhh one of your favorites
                                                                                                6:25:47


Yes, simple and delicious /
                        6:26:18




<attached: 00002489-
PHOTO-2024-06-25-18
-46-19.jpg>




                   6:46:19


Tonight's dinner seafood pasta D
                                  6:46:37


                                                                       You are quite the chef! Enjoy
                                                                                                6:47:15


Thanks, 1
     6:47:36


What are you having for dinner tonight
                                         7:23:56


                  I forgot that I had a lot of leftovers from last nights dinner so I ended up eating
                  it tonight.
                                                                                                7:25:20


Leftovers are bad for your health. Nutrition should be properly supplementedCOHN0215
                                                                           7:26:36
                                                                                                     Page 216
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 221 of 439 PageID #: 432
Did you sleep? darling
                      9:34:30


                               Hey gorgeous! , Gosh, I feel asleep on the couch listening to music while
                               thinking sweet thoughts about you.
                                                                                                       9:37:06


                                                                                                *fell not feel
                                                                                                       9:37:24


I can't see you haven't texted me back. So you were asleep
                                                                 9:38:43


                                                                                                      Yes
                                                                                                       9:39:15


<attached: 00002501-GIF-2024-06-25-21-40-12.mp4>
                                                               9:40:12


                                                                                 Wow very romantic. ' Us?
                                                                                                       9:41:34


I thought you were working
                               9:41:35


Yes, this is us
         9:41:48


                       Kind of working - I was filling out some paperwork forms and then I lay down on
                       the couch and fell asleep.
                                                                                                       9:43:46


Thanks a lot. This is when you need a massage
                                                     9:45:30


<attached: 00002507-GIF-2024-06-25-21-45-42.mp4>
                                                               9:45:42


                                         Yes I love to receive massage. And then give an amazing one to you!
                                                                                                       9:47:00


What kind of surprise
                     9:47:14


                                         I give a really good foot massage. Also neck and shoulder massage.
                                                                                                       9:48:40


I love shoulder and neck massages
                                         9:49:08


                                                   Good to know and I have strong hands with a loving touch.
                                                                                                       9:49:56


And a brilliant brain
                   9:50:20


                                                                                   As do you, as do you too!
                                                                                       COHN0216       9:50:43
                                                                                          Page 217
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 222 of 439 PageID #: 433
Yes. Let's look forward to tomorrow. darling
                                       9:52:21


                    Always look forward to another good day in our lives. Being connected to the
                    most beautiful woman.
                                                                                           9:54:21


When two brilliant minds come together, there are always many
wonderful miracles
                                                           9:55:06


Now we can cuddle to sleep. See you in my dream.
                                                 9:57:40


                                                                       Sweet dreams beautiful. ,
                                                                                           9:59:20


                                            Jun 26, 2024

                Good morning Gorgeous Anna. >
                The world is waiting to see your sweet smile and hear your cheerful laughter. You
                are a gift to everyone around you. May your day be as wonderful as the impact
                you have on my life. l p ,
                                                                                           7:54:44


Thank you so much, Bruce! Your words always brighten my day. Have a great
day, too. Let's enjoy! w ! R
                                                                         8:00:38


Bruce Don't forget to leave yourself some time and space in your busy work to
appreciate the beauty of life and feel the warmth of people around you. Have a
good mood and a happy mood.>
May you always maintain an optimistic attitude, a positive spirit, love and hope in
the new day. !,
                                                                             8:03:30


                Thank you Anna for your positive, uplifting morning greeting that made my heart
                smile. And for your reminder to take time in my day to stop and appreciate with
                gratitude the beauty that surrounds us all . You are such a gem and full of
                wisdom x l
                Have an amazing day. )
                                                                                            8:10:12


I need to proofread some design drawings and some simple business emails this
morning, and attend a meeting about clothing in the afternoon. Today will be a
relaxing day.
                                                                             8:26:38


And you?
   8:26:53


Are you still at home gardening today? darling
                                         8:53:42




                                                                              COHN0217
                                                                                               Page 218
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 223 of 439 PageID #: 434
                 Hey Beautiful,
                 Sounds like you have a good day today.
                 I was on the phone with my son Cameron for last hour. He called me and was on
                 the phone helping him make a life decision. It’s a big one he’s trying to make
                 about moving to a new job within Alaska Airlines.
                 Today I have a doctors appointment this afternoon. Otherwise I’m still working
                 on my rental project. I also need to book some travel plans for a family wedding
                 I’m attending in August.
                                                                                                9:16:42


Are you not feeling well about your doctor's appointment?
It's a good thing for son to discuss this with you
                                                      9:25:07


It sounds like you've managed your trip pretty well. This is a man of execution
and self-discipline
                                                                             9:26:18


Did you finish the $300,000 Schwab wire transfer today? darling
                                                                9:27:18


                                            I’m only going to see my doctor for a routine check up.
                                                                                                9:28:03


I thought you weren't feeling well. I'm worried about you
                                                    9:28:47


                                                                              Nothing to worry about.
                                                                                                9:29:10


<attached: 00002534-GIF-2024-06-26-09-30-00.mp4>
                                                     9:30:00


                I sold a position and have another $60k to wire. So I will send tomorrow after the
                position settles $360,000 in one wire. Not two wires. Fewer wires are best.
                                                                                                9:34:05


So we don't wire it today?
                    9:34:53


I thought you were wiring $300,000 today. And then I helped you plan your
investment strategy
                                                                          9:35:49


It's up to you. Whatever's convenient for you. Because you always need to look
at and sell some stocks.
                                                                               9:37:19


<attached: 00002539-GIF-2024-06-26-10-04-45.mp4>
                                                    10:04:45


                 Sorry busy morning. Meeting with some roof and window cleaners this morning.
                                                                                                10:11:23


Don't worry, we can talk when you're done.
                                     10:14:37


<attached: 00002542-GIF-2024-06-26-12-15-58.mp4>                                    COHN0218
                                                    12:15:58
                                                                                            Page 219
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 224 of 439 PageID #: 435
                                                                           Hi gorgeous,,
                                                                           How is your day going?
                                                                                              1:02:02


I'm fine and have finished my light proofreading work for the morning. Thanks
for your concern, you are really thoughtful. '
                                                                          1:04:17


And you?
   1:04:25


                   Well you’re always on my mind ' I’ve finished my work for the morning as well.
                   Now for a bite of lunch. y
                                                                                              1:06:07


That sounds great, what's for lunch today?
                                       1:06:27


                                                                                    A healthy salad.
                                                                                              1:06:52


Sounds delicious
             1:07:22




<attached: 00002550-
PHOTO-2024-06-26-13
-23-41.jpg>




                       1:23:41




<attached: 00002551-
PHOTO-2024-06-26-13
-23-47.jpg>




                       1:23:47


My lunch today was steak and potatoes at Otium
                                                 1:24:41
                                                                              COHN0219
                                                                                                   Page 220
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 225 of 439 PageID #: 436
                                                                    Looks like an amazing piece of steak z
                                                                                                     1:32:39


Yes.
 1:35:38


How are the roofs and Windows cleaned
                                          1:39:09


Otium is right next to The Broad. ! What’s special about Otium is that they have
an open kitchen that you can walk into and see.^ The waiter was very
enthusiastic and kept inviting me to walk in and watch them prepare the food!
We happened to be sitting closest to the kitchen, so we could eat while watching
them prepare the food, which was quite interesting.1
                                                                                     1:43:36


                        I was only getting a bid to do the work. Their window cleaning inside and out
                        plus screen repair was really good.
                        Their roof cleaning bid was on the high side
                                                                                                     1:43:53


                                                                            Sounds like a fun spot to lunch
                                                                                                     1:44:23


Have you explained to them clearly about the high quote for their roof cleaning?
6
                                                                                    1:45:38


Yeah, very interesting. lol
                       1:45:54


                          No need. I have another roof cleaner that is outstanding and does more for
                          less money.
                                                                                                     1:47:39


Wow, that sounds really cool. You did a great job.
                                                    1:48:18


                    The best place to find really good and cheap pressure washing services is on
                    Craigslist. I found an outstanding irrigation company on Craigslist that installed
                    a drip irrigation system on my property.
                                                                                                     1:50:19


Glad to hear you were successful in finding an irrigation company there, yes you
found great service at a very low price which is great. Sounds great.
                                                                                     1:52:55


<attached: 00002565-GIF-2024-06-26-16-34-54.mp4>
                                                              4:34:54


                                                <attached: 00002566-GIF-2024-06-26-16-36-25.mp4>
                                                                                                     4:36:25


Drive safe, crazy cat driver. lol
                                4:37:22


Are you back home yet?
                      6:19:38
                                                                                      COHN0220
                                                                                              Page 221
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 226 of 439 PageID #: 437
                                  Hello Gorgeous ,
                                  Yep I just got back home. Crazy cat driver took a detour! LOL ;
                                                                                               6:39:21


<attached: 00002570-GIF-2024-06-26-18-39-40.mp4>
                                                    6:39:40


Glad to hear you're home. /
                        6:40:02


                                               As always I’m so happy to be connected to you. !
                                                                                               6:40:46


Thank you, I enjoyed our conversation as well. It put me at ease.
                                                              6:41:46


Text me when you get home
                       7:21:43


                                                                                     I am home babe.
                                                                                               7:33:45


I thought you were busy. !
                      7:35:30


                                                       Kind of …Just preparing and eating dinner.
                                                                                               7:36:14


                                                                        What are you doing right now?
                                                                                               7:36:53




                                                                             <attached: 00002579-
                                                                             PHOTO-2024-06-26-19
                                                                             -37-14.jpg>




                                                                                                7:37:14


I guess we're doing the same thing. 1
                                  7:37:15




                                                                                 COHN0221
                                                                                      Page 222
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 227 of 439 PageID #: 438




<attached: 00002581-
PHOTO-2024-06-26-19
-38-56.jpg>




                   7:38:56




<attached: 00002582-
PHOTO-2024-06-26-19
-39-13.jpg>




                   7:39:13


I'm going to make Italian Risotto
                             7:40:00




<attached: 00002584-
PHOTO-2024-06-26-19
-54-55.jpg>




                   7:54:55


Today's dinner
         7:55:00




                                                                         COHN0222
                                                                                               Page 223
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<attached: 00002586-
PHOTO-2024-06-26-19
-55-42.jpg>




                     7:55:42




<attached: 00002587-
PHOTO-2024-06-26-19
-56-05.jpg>




                     7:56:05


                               Amazing!! Looks to me like you could have a second career as an Italian
                               chef!! Haha 8
                                                                                                 7:56:51


Yes, it's true, I love to cook. 1
                               7:57:34


                                                                                              It shows
                                                                                                 7:57:55


<attached: 00002591-GIF-2024-06-26-19-58-20.mp4>
                                                        7:58:20


What are you having for dinner tonight
                                         8:33:34


Is that all for dinner
               8:34:22


                                                                               Yes that was my dinner.
                                                                                                8:34:53


You can eat some meat to replenish your strength. A healthy diet is a
combination
                                                                     8:35:43

                                                                                 COHN0223
                                                                                                   Page 224
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 229 of 439 PageID #: 440
Looks like I need to lose some weight. I'm going to start eating a diet tonight to
get my body fat down
                                                                                  8:36:12


                                           There’s a high protein black bean burger under the greens.
                                                                                                     8:37:02


Yes. It's a delicacy for you. Maybe I'll pay more attention to my
body management
                                                                     8:37:52


<attached: 00002599-GIF-2024-06-26-20-38-09.mp4>
                                                           8:38:09


                   Listen to your body and your intuition which will always help you make the best
                   food choices for you.
                                                                                                     8:39:17


Yes. You're gonna eat what I eat. LOL
                                 8:39:46


How was your day
             8:39:53


                                  My day was a good one. Always learning and growing every day.
                                                                                                     8:41:29


                                                                                         How was your day?
                                                                                                     8:41:36


Can you share with me what you learned today
                                             8:42:54


<attached: 00002606-GIF-2024-06-26-20-43-11.mp4>
                                                           8:43:11


                  I learned that I’m an amazing man that is still working on showing up as the best
                  version of myself.
                                                                                                     8:46:33


I'm sure you're an amazing person. There must have been more than enough
work done today. So there is a good feeling
                                                                               8:47:42


                                 Yes thanks! I always have a productive days to feel good about it.
                                                                                                     8:54:03


I'm happy for you. You're getting better and better
                                                 8:59:27


                                                                                            And so are you.
                                                                                                     9:00:35


I'm a dazzling goddess
                   9:00:57


                                             <attached: 00002613-GIF-2024-06-26-21-02-49.mp4>
                                                                            COHN0224     9:02:49
                                                                                                       Page 225
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 230 of 439 PageID #: 441
I won't be busy at work tomorrow
                                  9:14:37


What about you
              9:15:14


                        Sounds good- a relaxing day for you.
                        Tomorrow I have a very big meeting with my entire team of 7 people that will be
                        working on my ADU. We will be planning out the timeline for the construction of
                        my rental. Electrician, plumber, contractor, designers, cabinet maker etc.
                                                                                                        10:16:32


Sounds like a busy day.
Seven fortune cats frantically typing keyboards to work for you. You'll have more
time to do the things you want to do.
I'm not busy at work tomorrow, so I'll spend more time studying investment
strategies.
                                                                                        10:18:11


Will you supervise the work of the seven lucky cats tomorrow?
                                                                    10:19:35


                            Yes and I’ll be making my final wire of $350k tomorrow to trust. I’m excited
                            because I’m going to need $$ to fund the project
                                                                                                        10:20:21


                                                                                  lol ; yes seven busy cats!
                                                                                                        10:20:52


Well. You can let me know when you're done. So I can plan ahead for you, too.
                                                                                    10:21:14


                          I will be leading the meeting. And having refreshments to keep the cats happy
                                                                                                        10:21:51


We use money to make money. Make more money
                                                  10:22:05


                                                                 Yes I will text you tomorrow when it’s done.
                                                                                                        10:22:17


Feed the cat food that the cat likes
                                   10:22:29


LOL
10:22:31


                                                                                                 * ) * ) * )
                                                                                                        10:22:42


                                                                               Yes so the cats will type faster
                                                                                                        10:23:35


So when you have time, you can also sell some of the poor returns of the stock.
Cut your losses in time. Put your eggs into more profitable investments
                                                                                      10:23:46


<attached: 00002630-GIF-2024-06-26-22-24-11.mp4>
                                                             10:24:11
                                                                                          COHN0225
                                                                                                    Page 226
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 231 of 439 PageID #: 442
I hope so
   10:24:19


                                                                                                 Yes!!!!!!!!!!
                                                                                                      10:24:21


But pray it doesn't look like this after feeding cat food. It's slow
                                                                   10:24:47


<attached: 00002634-GIF-2024-06-26-22-25-02.mp4>
                                                            10:25:02


                                                     Good night Anna, I’m off to sleep now.
                                                     Wishing you a restful night and wonderful dreams.+
                                                                                                      10:25:21


Yes. Good night
              10:25:34


There is me in the dream
                           10:25:41


                                                                       Yes there is always you in my dreams.
                                                                                                      10:26:14


<attached: 00002639-GIF-2024-06-26-22-26-23.mp4>
                                                            10:26:23


                                                                       You’re the best. You make me happy.
                                                                                                      10:26:47


                                                   Jun 27, 2024

Love is not in others, but in ourselves. We are the ones who wake it up. But for
that to happen, we need the other. The universe only makes sense when we have
someone to share our emotions with.
Good morning Bruce
It's coffee time ☕ ☕
                                                                                       7:58:34


                         Good morning
                         Beautiful Anna @ ☀
                         Just wanted to thank you for being in my life and making every day feel like I won
                         the lottery. , ' {
                                                                                                       8:01:41


Thank you, glad to hear that 1
                                      8:02:40


My work today will be very simple. I will make samples and modify the design
plan in the office later.
                                                                                   8:17:38




                                                                                        COHN0226
                                                                                                   Page 227
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 232 of 439 PageID #: 443




<attached: 00002645-
PHOTO-2024-06-27-08-
20-19.jpg>




                      8:20:19


Bruce. What are you going to do today?
                                        8:20:45


                      You look stunning Anna. ,
                      I have my meeting today with my team for my rental unit. Wiring and moving
                      funds to my trust wallet and working out at the gym.
                                                                                                     8:26:00


Well, I'm sure your lucky cat will work very hard.
                                                    8:27:12


Has the money you wired arrived yet?
                                      8:27:32


                                                  <attached: 00002650-GIF-2024-06-27-08-28-37.mp4>
                                                                                                     8:28:37


                                                   The money hasn’t left my account yet. It’s under review
                                                                                                     8:29:15


OK, just wait
       8:29:32


Has the bank deducted the money
                                  9:55:55


                                            Yes they just deducted the money. Wire is on its way to Strike.
                                                                                                    10:09:47


OK, that'll be here soon
                  10:10:10


<attached: 00002656-GIF-2024-06-27-10-11-01.mp4>
                                                              10:11:01


Are your seven lucky cats like this now
                                       10:11:11


                                                                               LOL you made me laugh 8
                                                                                                    10:25:13


Glad to make you happy. 1
                       10:31:42                                                      COHN0227
                                                                                              Page 228
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 233 of 439 PageID #: 444
What did you feed the seven lucky cats
                                   11:12:30


                                              <attached: 00002661-GIF-2024-06-27-11-13-54.mp4>
                                                                                               11:13:54


He seems to like it. /
                  11:17:14




<attached: 00002663-PHOTO-2024-06-27-11-37-59.jpg>




                                                                               11:37:59




<attached: 00002664-
PHOTO-2024-06-27-11-38-26.jpg>




                                                11:38:26


                                                                                    That’s good news!
                                                                                               11:39:41


Yes, that's good news
                 11:40:12


This will be a turning point in time for cryptocurrencies. As long as you can seize
the opportunity, you can truly realize wealth freedom
                                                                               11:41:58


Wait for my funds to come back next week. I'll need to wire $4.5 million. Increase
the capital, five million dollars can be put in arbitrage, and the rest of the capital
can be short-term trading to earn profits. This is a tuyere.
                                                                               11:43:34




                                                                                 COHN0228
                                                                                             Page 229
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 234 of 439 PageID #: 445
There are pros and cons. Because of this news, anyone with a long-term
investment vision will put a lot of money into cryptocurrencies. When the market
people started to participate in cryptocurrencies. Then we will have a dividend
extinction period in the cryptocurrency market. The profit is not so much.
                                                                             11:46:16


We're gonna be the first ones to eat the crab
                                       11:46:31


                                                                          Sounds like a great plan.
                                                                                              11:59:05


Yes. So stay close to my steps.
                          11:59:44


                                                                  Is this for the arbitrage strategy?
                                                                                              11:59:52


                   Okay the money arrived I’m Strike- bought BTC and sent it to my Trust wallet.
                   Now we wait for it to get there over the blockchain.
                                                                                              12:01:18


The strategy of arbitrage is a steady return. Maintain a gain of 3.8% per day. We
put $5 million in arbitrage.
                                                                             12:01:32


                                      Then not sure I understand your dividend extinction period?
                                                                                              12:02:30


That's a 30-day arbitrage. After 30 days, the profit and principal will be returned
to your short-term trading account.
                                                                             12:04:15


If 30 days are not completed, there will be a redemption penalty for
early redemption
                                                               12:04:45


                                                                                             Okay.
                                                                                              12:05:15


Does that make sense now?
                      12:05:25


Arbitrage is also a type of compound interest investment. $5 million a day yields
3.8%. The next day will be the principal and income to earn a profit
                                                                             12:06:39


                 Yes I understand Arbitrage. I’m not understanding the connection to your
                 comment- why will the profit be less if more people come into the crypto space?
                                                                                              12:08:16


An investment if we don't have that much money up front. Then all we make is a
small profit. There are many rich people.
                                                                            12:09:28


Am I making myself clear
                   12:26:03

                                                                               COHN0229
                                                                                               Page 230
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 235 of 439 PageID #: 446
                                                                            Yes clear now. Thanks *
                                                                                                 12:56:12


Yes, I'm glad you understood./
                              1:08:17


So what you need to do is sell your stocks and withdraw your IRA funds. I get my
money back next week. I'll help you with $1.5 million
                                                                                 1:16:44


                     My Dearest Anna,
                     I already shared with you that I will not be tapping my IRA for now. Only my
                     personal money is what I can invest with now and I
                     have sent all that I can send to to my trust wallet. I now have $2.6 million in my
                     trust Account. This include all my profit from the trades as well. So I am maxed
                     out.
                                                                                                  1:36:10


I see
 1:36:45


<attached: 00002690-GIF-2024-06-27-13-37-04.mp4>
                                                        1:37:04


I'm not asking you to take it all out at once. It depends on how you think about it.
Because I'm also gonna help you with $1.5 million
                                                                                 1:38:59


I have finished my work for today, how was your day?
                                                   4:58:04


                      Hi gorgeous!!
                      My day was excellent! I have the most amazing team of people doing my ADU
                      rental project. And it is going to look so cool when it is done. It will have a
                      Mediterranean feel and colors to the look.
                      One of my main designers is also my project manager and she will be handing
                      everything!!
                                                                                                 5:02:02


                                                                                    How was your day?
                                                                                                  5:02:12


Sounds cool, I'm done with today's work. Today is a great day. /
                                                                  5:02:55




                                                                                  COHN0230
                                                                                           Page 231
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                                                                                 <attached:
                                                                                 00002696-
                                                                                 PHOTO-2024-06-
                                                                                 27-17-03-57.jpg>




                                                                                            5:03:57


Which option did you choose? 6
                            5:04:51


                Nothing yet. These are just ideas my designer has run past me and is working on
                with my realtor who has done some amazing projects. My realtor sold over $85
                million dollars worth of property last year in San Diego County.
                                                                                            5:07:46


Wow, that's really impressive! Your designer and realtor seem to be a great
team. I can't wait to see the final results of their collaboration.
                                                                      5:10:07


                                                                                           Me too!
                                                                                             5:13:53




                                                                         <attached: 00002701-
                                                                         PHOTO-2024-06-27-17
                                                                         -14-50.jpg>




                                                                                             5:14:50




                                                                                COHN0231
                                                                                                Page 232
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                                                                              <attached: 00002702-
                                                                              PHOTO-2024-06-27-17
                                                                              -15-08.jpg>




                                                                                                  5:15:08


Wow, very beautiful design
                        5:15:14




                                                                              <attached: 00002704-
                                                                              PHOTO-2024-06-27-17
                                                                              -16-15.jpg>




                                                                                                  5:16:15


Yes, very nice and simple design
                                  5:17:16


I need to drive home now and I'll text you when I get home
                                                         5:31:23


                                                                          Drive home safely beautiful!
                                                                                                  5:32:27


There should be some plants next to the fireplace
                                               5:59:31


                                                                                  Yes I agree with you.
                                                                                                  6:01:21


                                                           There will definitely be plants on the patio.
                                                                                                  6:02:30


It'll be comfortable
              6:02:49


It would look nice if the fireplace were in a different pattern
                                                          6:03:18
                                                                                  COHN0232
                                                                                               Page 233
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 238 of 439 PageID #: 449
                 Right now these are only ideas sent to me by my realtor Elizabeth and not the
                 actual design. Yes I agree that a different design than this one would look nicer.
                                                                                                 6:11:05


Yes, you can give more suggestions based on her design ideas.
                                                                 6:14:01


Was today a productive day
                      6:38:43


                                               Yes very productive day! Always feels good too. !

                                               Was your day productive?
                                                                                                 6:43:55


Yes. I'm happy today, too
                   6:44:22


I can feel that you are in a very happy mood today
                                             6:44:46


<attached: 00002719-GIF-2024-06-27-18-45-46.mp4>
                                                       6:45:46


                                                             And you always put me in a happy mood.
                                                                                                 6:47:00




                                                                           <attached: 00002721-
                                                                           STICKER-2024-06-27-18-47-0
                                                                           8.webp>




                                                                                                 6:47:08


Yes, you always make me happy, too.
                                   6:47:47


How was your stock return today
                              6:48:00


                                             It was fine. When I trade options I make great money.
                                                                                                 6:49:58


How much money did you earn?
                             6:50:12


You were always so good
                   6:51:00


                                                                                    COHN0233
                                                                                                 Page 234
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 239 of 439 PageID #: 450
                   I didn’t check. But I’ve my account is so small now because I sent all my money
                   to the trust wallet. As you said, so small capital small profit!
                                                                                                   6:51:52


Because short-term trading allows you to earn more profit
                                                          6:52:18


                                                                                              Yes it does
                                                                                                   6:52:34


How much dollars do you have in your short-term trading account
                                                                    6:52:53


2.6 million dollars
             6:53:05




                                                                                 <attached: 00002732-
                                                                                 PHOTO-2024-06-27-1
                                                                                 8-53-30.jpg>




                                                                                                   6:53:30


                                                                                                 Yes! 3
                                                                                                   6:53:57


OK, I'll help you plan a $3 million deal tomorrow
                                           6:54:31


Did you sell any shares today? I'll have $170,000 deposited into your account
tomorrow. We can put $3 million in the account.
                                                                               6:56:08


That leaves you with $2.77 million in your account.
                                              6:56:37


                  No - my account is so small now and i need the money to pay for upcoming large
                  expenses for my rental property.
                                                                                                   6:59:15


                                                                                         Thank you * +
                                                                                                   6:59:31


We can do our best. Of course I believe you can do it
                                                6:59:58


                                                                              Yes we always do our best!
                                                                                                   7:01:26


<attached: 00002741-GIF-2024-06-27-19-07-16.mp4>                                    COHN0234
                                                        7:07:16
                                                                                      Page 235
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                                                             <attached: 00002742-
                                                             PHOTO-2024-06-27-19-12-53.j
                                                             pg>




                                                                                          7:12:53




<attached: 00002743-
PHOTO-2024-06-27-1
9-58-46.jpg>




                      7:58:46


Today's dinner
         7:58:58




                                                                      <attached: 00002745-
                                                                      PHOTO-2024-06-27-20
                                                                      -00-00.jpg>




                                                                                          8:00:00


It looks very tasty
             8:02:17


                                                                         Thank you * it was.
                                                                                          8:10:50


You did very well                                                        COHN0235
            8:11:19
                                                                                           Page 236
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 241 of 439 PageID #: 452
                           Thank you babe! Your words of affirmation are always appreciated. )
                                                                                            8:53:48


                  Before I fall asleep Anna, I just wanted to tell you one more time how much you
                  mean to me. Thank you for making every day a special day. Sweet dreams ,
                                                                                            10:10:08


I'm so sorry, Bruce. I just fell asleep, I hope you have a good sleep and sweet
dreams. Good night
                                                                         10:25:39


<attached: 00002752-GIF-2024-06-27-22-25-57.mp4>
                                                    10:25:57


                                            Jun 28, 2024

Good morning! I hope you are full of energy and welcome the new day with
vitality. The morning sun is warm and bright, which makes us feel happy and
hopeful. I hope you can find many beautiful things in this day and feel the beauty
and happiness of life. The fresh air in the morning makes our mood become
refreshed and happy.,
                                                                               8:04:18


                Anna- May your day be painted with the vivid colors of laughter and the radiance
                of your smile. Good morning, my canvas of love.,
                                                                                            8:08:01


I will attend the clothing agency's meeting today and report on this week's work
progress and results.
                                                                              8:09:40


And you?
   8:10:08


                 And I have a meeting with my men’s coach to chat about my recent experiences
                 in the Amazon jungle. My arborist is coming to look at my dead trees to be
                 removed.
                                                                                             8:12:07


Wow, that sounds like a busy day! I'd love to hear more about your experiences
in the Amazon jungle and what your arborist recommends for your trees. /
                                                                             8:13:41


                                             Hello Gorgeous ,
                                             I hope you’re having a great day. Thinking about you.
                                                                                            11:21:42


Thanks, Bruce. Did the arborist give you any good advice?
                                                     11:22:48


                  I’m meeting him at 12:30pm. So I will find out soon.

                  I just met online with my former men’s coach and dear brother who has helped
                  me a lot in my life.
                                                                                            11:24:35


That sounds great, you guys seem to be having a great time.                     COHN0236
                                                         11:25:26
                                                                                                   Page 237
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 242 of 439 PageID #: 453




<attached: 00002763-
PHOTO-2024-06-28-12
-37-40.jpg>




                   12:37:40


                                                                                                  Sushi E
                                                                                                    12:38:27


Today's lunch, a salad of sashimi, lettuce, carrots and other vegetables.D
                                                                            12:38:49


What are you having for lunch today?
                                   12:42:18


                 I don’t know yet. I’m waiting for my tree guy to show up who is running late. So l
                 might have to grab something quick before I go to my Mani-Pedi appointment at
                 2pm
                                                                                                    12:44:00


No problem, hope you can catch up and enjoy your manicure and pedicure. All
the best /
                                                                                12:45:49


I have finished my work for today
                               4:45:38


                  Yay! v I’m happy your work is done for the day. Now you can go relax and look
                  forward to the weekend. Was it a good day for you?
                                                                                                     5:13:41


Yes, I'm still in the office. Have you finished your work for today? !
                                                                  5:14:21


                  Yes I’m finished for the day. It’s lovely outside and planning to go outside catch
                  some sunshine rays. ☀
                                                                                                     5:17:20


That sounds good, Bruce. What would you like me to call you? Honey?
                                                                    5:18:16


                              Ah lm so glad to asked me this question Anna. Love being called Honey
                              or sweetie.
                              What would you like me to call you?
                                                                                                     5:22:18


Baby? 6 1
       5:23:39                                                                         COHN0237
                                                                                                         Page 238
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 243 of 439 PageID #: 454
<attached: 00002776-GIF-2024-06-28-17-23-56.mp4>
                                                               5:23:56


                                                                  Do you like being called just Babe or Baby?
                                                                                                           5:24:43


Of course only close people can do it. lol1
                                           5:25:38


                             Well I feel we are close now and love calling each other endearing names.

                             And are you okay if I still call you Gorgeous or Beautiful sometimes?
                                                                                                           5:29:58


Of course, no problem. It's like Honey or darling1
                                                     5:31:01


                                                                                      I also like darling as well.
                                                                                                            5:31:39


Yes
 5:32:18


                                          <attached: 00002783-AUDIO-2024-06-28-17-33-54.opus>
                                                                                                           5:33:54


Hi! I'm so glad you appreciate using nicknames in our relationship. I feel the
same way and it definitely helps bring us closer. I'm totally fine with using any
nickname and I'm glad you've started doing the same. I look forward to
continuing this journey with you and building more intimacy between us. 1
                                                                                      5:42:59


Let's do this together
                   5:43:33


                                                                         Yes together as couple is always best.
                                                                                                           5:44:42


Yes, I think it will bring us closer together.
                                          5:45:20


                                                                                            I agree sweetie! ,
                                                                                                           5:45:54


Yes honey, this will be the most meaningful thing we can do. lol!
                                                                          5:46:40


                        lol ; I’d this is the most meaningful thing we can do than everything else is
                        going to be easy.
                                                                                                           5:47:50


I feel that having something in common that we can do together will help us get
to know each other faster, and more topics in common will make our
conversations more interesting. I've always felt that way. The establishment and
development of a relationship requires the joint efforts of two people. ,
                                                                                         5:48:58

                                                                                          COHN0238
                                                                                                    Page 239
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 244 of 439 PageID #: 455
                                                           Gosh I dislike spell check as I type. *IF not I’d
                                                                                                      5:48:59


Me too i
    5:49:39


                        I completely agree with you! And continuing to find more topics in common is
                        awesome. Like music. I love music and would love to hear what kinds of music do
                        you enjoy listening to?
                        You don’t need to answer me now-just one more thing to explore between us.
                                                                                                      5:52:10


Dear, thank you for your recognition and passion for finding common topics! I
love music, too. Let's continue to explore and find more of what we have in
common! /
                                                                                5:56:04


                        Thank you babe for this wonderful conversation. I love our openness and sharing
                        between us. I look forward for us to grow closer together.
                                                                                                      6:08:55


                                                                                          Drive home safely.
                                                                                                      6:10:13


Thanks, honey. I'll text you when I get home.
                                               6:10:50


                                                                                                     +
                                                                                                       6:11:12


Honey, I'm back
              6:27:44


                                                                              I’m glad you’re home babe.
                                                                                                      6:34:29


Yes, I am relaxing on the sofa now. And you?
                                              6:34:59


                                                                                          Preparing dinner .
                                                                                                      6:35:24


Sounds good, what's for dinner tonight?
                                          6:35:40


                                                         Wish I was relaxing in the couch next to you '
                                                                                                      6:36:10


<attached: 00002806-GIF-2024-06-28-18-38-08.mp4>
                                                          6:38:08


Yes, falling in love with someone is like moving into a house. At first, you will fall
in love with everything new and revel in every morning with it. But over the years,
the exterior of the house begins to look old, and you will gradually love it less
because of its imperfections when it should be perfect. Then you gradually
become familiar with all the flaws and blemishes, and these are the little secrets
that give you a sense of belonging.'                                              COHN0239
                                                                                    6:40:18
                                                                                           Page 240
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 245 of 439 PageID #: 456
                   Well I’m ready to be in love with someone where the exterior of the house never
                   gets old. Because we keep repainting house with our passion, excitement,
                   playfulness and deep physical intimacy and making sex. And accept, love and
                   laugh at ourselves for who we truly are imperfections and all.
                                                                                             7:04:53


                                                                          Amazing not making sex.
                                                                                             7:05:22


That sounds like a beautiful and fulfilling way to approach love and relationships.
I believe that true love is about constantly working on the foundation of a
relationship and seeing the beauty in imperfections. Here's to finding that kind
of love that never gets old. 0
                                                                             7:07:22


Honey, I'm cooking dinner. Today's dinner is fried salmon
                                                     7:08:27




<attached: 00002812-
PHOTO-2024-06-28-19
-19-05.jpg>




                       7:19:05




<attached: 00002813-
PHOTO-2024-06-28-19
-19-09.jpg>




                       7:19:09


Pan-Fried Salmon and Fried Potatoes
                                 7:19:34


                                                                                          Yum D
                                                                                             7:19:48


Yes, it's delicious.
             7:20:48
                                                                              COHN0240
                                                                                             Page 241
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 246 of 439 PageID #: 457




                                                                      <attached: 00002817-
                                                                      PHOTO-2024-06-28-19-23-
                                                                      36.jpg>




                                                                                               7:23:36


Wow, this is so well written.
                       7:24:18


                  Yes it is and I have more like this one. Yung Pueblo is one of my favorite writers.
                                                                                               7:25:23


So dear, what do you think is the most important thing in love?
                                                          7:26:07


                Well its hard to pick one thing that is most important since love is many things in
                a relationship. If I had name just one thing, it would be just Love.
                True love is sacred. It removes ego, brings joy and brings us closer to our real
                selves. True love frees us of fear and attachment. True love is freedom. True love
                is forgiveness. When we are in true love, we are closer to each other, our Divine,
                Spirit or God.
                I did write up what
                                                                                               7:45:23


I think it's loyalty, trust, mutual understanding, and of course the same hobbies
and goals. What do you think? 6
                                                                             7:46:48




                                                                               COHN0241
                                                                                    Page 242
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 247 of 439 PageID #: 458
        I did write up something I will share with you that was a homework assignment
        when I was with a dating coach.



        Effortless and Eternal Attraction (Passion)
        When we are truly in love with someone, we discover moments of love and
        affection in the most normal of situations. We never have to "try" to spice things
        up. Everything seems fun and effortless just the way it is. We never have to try to
        go out of our way to please the person. Love exists in the simplest things we do
        together. There is no need to convince or force anything on each other.

        Love
        True love is sacred. It removes ego, brings joy and brings us closer to our real
        selves. True love frees us of fear and attachment. True love is freedom. True love
        is forgiveness. When we are in true love, we are closer to our Divine, Spirit or
        God.

        Intimacy
        Sexual and emotional intimacy is the bright and shiny star of the relationship.
        You build intimacy over time. Intimacy is the feeling of belonging and being
        loved. It’s the feeling of being known and understood. It’s the feeling of being
        accepted and appreciated.

        Trust
        Trust is the most basic foundation of true love. While it is crucial to trust the
        person with whom we are in love, it is equally important to trust ourselves. True
        love makes us feel vulnerable without being fearful or defensive. When two
        people live with love and unity, there is no fear of getting hurt. In unity, love
        grows and strengthens with time.

        Growth
        True love always favors personal and spiritual growth. It's a natural process that
        is essential for our happiness and freedom. Everything needs to grow to survive:
        plants, animals and all living cells on this planet.

        Acceptance
        When we are in true love, we naturally accept the person for their positives, as
        well as for their negatives. It opens up our perspectives, and we see and learn
        things we wouldn’t have otherwise experienced. True love changes us and how
        we think. It harmonizes all differences. There is no judgment, and we become
        open to receiving and accepting love, exactly the way it is.

        Communication
        Making yourself understood and understanding your partner is the foundation of
        true love. When we speak our hearts and are open and truthful about our
        feelings, it shows courage and generosity. True love will always recognize that
        and respect you for letting him or her inside your secret, sacred space.

        Companionship/Friendship (Best friends)
        When it comes to love, we look for someone who will be by our side through
        thick and thin, through our entire lives. We need someone with whom we can
        experience the wonders of life. Someone with whom we can travel, share our
        secrets, discuss world events, fool around and grow old. True love means paying
        attention to the one you love. True love is there to celebrate in good times and to
                                                                       COHN0242
        cry in bad times.
                                                                                               Page 243
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 248 of 439 PageID #: 459
                   As I said love is not just one thing. It is many things that make for a great love
                   relationship.
                                                                                                 7:50:22


Wow dear, this is a really great article! Every point makes sense and is very
accurate about the definition and elements of true love. Thank you for sharing
this assignment, I feel like I learned a lot from it. What you learned from your
dating coaching is really valuable and I appreciate you sharing this experience
and knowledge with me. !
                                                                            7:50:54


Yes, it does require many factors and commonalities.
                                                 7:51:24


                 You’re most welcome Gorgeous. I’m glad you liked it and took away some pearls
                 of wisdom from what I wrote.
                                                                                                 7:54:10


Yes, you write very well.
                   7:54:55


                                                                                                * +
                                                                                                 7:55:12


                 I especially like effortless and eternal attraction (passion). When this is present
                 every flows easily and naturally.
                                                                                                 7:56:48


Yes we would be best friends. lol1
                               7:57:37


                                                               For sure! Also so important and fun.
                                                                                                 8:00:05


Yes, I'm glad to hear you say that.
                             8:01:00


Love is a magical state! It can bring two people into a perfect state of
selflessness. It will make your sadness and misfortune become illusory, and it
will make your joy and happiness become real.
                                                                           8:08:15




                                                                                      <attached:
                                                                                      00002835-
                                                                                      PHOTO-2024-06
                                                                                      -28-20-10-20.jpg
                                                                                      >




                                                                                                 8:10:20
                                                                                COHN0243
                                                                                                       Page 244
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 249 of 439 PageID #: 460
Wow, this article is very well written
                                8:22:03


Yea focusing on the two souls in the relationship is absolutely crucial. But given
long life a plan to consistently explore life's unique qualities is key and often met
by traveling a lot and living in more than one location to experience different
cultures and ways of life. ,
                                                                                           8:24:06


                 Love what you wrote! We are on the same page babe. Traveling and experiencing
                 culture are right up my alley.
                                                                                                        8:28:53


Yes The world is a book, and those who do not travel read only one page.
Stephen Hawkins
One of my favorite quotes
                                                                               8:31:17


Sleep well darling, sweet dreams. Good night
                                             9:37:48


<attached: 00002841-GIF-2024-06-28-21-38-12.mp4>
                                                           9:38:12


                                          Sweet dreams, gorgeous. I'll be thinking of you all night long.
                                                                                                        9:39:35


                                                Jun 29, 2024

Good morning, dear. I hope you slept well last night and had a great weekend.
                                                                                    8:42:11


                           Good morning, sweetheart.
                           May this morning overflow with happiness, love, and endless prospects.
                                                                                                        9:08:37


                 Hi Gorgeous,
                 Hope you’re doing something fun today! Are you planning on making any BTC
                 trades this weekend?
                 I sure hope so because I have some big payments I have with make next week for
                 my project.
                                                                                                        11:00:16


Hey honey. I had a great day with Dalia. Hope you have a great day.
                                                                     5:02:02


BTC is now floating too much. For the safety of our funds, we must trade when
we are sure.
                                                                                         5:04:26


Honey, are you busy?
                7:29:03


                                                       Hi sweetie,
                                                       Not at the moment. I’m just relaxing on the couch.
                                                                                                        7:32:33


Honey, how was your day?                                                                    COHN0244
                      8:00:35
                                                                                                 Page 245
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 250 of 439 PageID #: 461
Honey, you look busy today. I have to take care of Dalia and put her to bed. I
hope you can sleep well tonight. Good night.
                                                                            9:06:16


                   Good night sweetie,
                   Sorry my phone sound was turned off.
                   The night holds a special place in my heart because it’s a time when I can send
                   you all my positive thoughts, and wishes for you as you peacefully rest. Sleep
                   well.
                                                                                                  9:44:48


                                             Jun 30, 2024

                 Good morning, Sweetie!
                 The morning sun rises with a promise to light up the world, just like your
                 presence in my life lights up my soul. You are the melody that plays softly in my
                 heart, the sweet refrain that sets my world into a beautiful rhythm. Each day with
                 you is a beautiful journey into the heart, a voyage that unveils the beauty of our
                 togetherness. Have a beautiful day filled with joy and all you desire in life.
                                                                                                  7:57:30


Good morning. Honey, every morning is a new beginning, and every day is a new
hope. May you be in a good mood, full of confidence and courage in the new day,
overcome all difficulties, and welcome a better future!>
                                                                                 8:02:34


I'll go to the gym later. You?
                        8:08:20


                 Wish I was going to the gym today. I’m driving up to the city of Orange to clear
                 out my son’s storage locker for him. I meeting a family friend who will be helping
                 me. It will be an all day project with the drive both ways.
                                                                                                   8:10:57


Wow, this looks like it's going to be a busy day.
                                            8:11:25


                                                            Yes it is. He’s lucky to have me as his Dad.
                                                                                                   8:11:59


Yeah you'll spoil him rotten. lol8
                                  8:12:42




<attached: 00002860-
PHOTO-2024-06-30-0
9-51-44.jpg>




                                                                                      COHN0245
                    9:51:44
                                                                                             Page 246
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 251 of 439 PageID #: 462
Honey, I just finished my workout today and now I'm going home to take a
hot bath
                                                                        9:52:03


Are you driving to Orange now?
                           9:53:21


Have you reached the place
                      11:28:12


                                 Hey babe,
                                 I’m here and working on loading and donating the items to Salvation
                                 Army center.
                                                                                              11:29:38


Wow, Honey,you're such a kind and generous soul! Your commitment to helping
others is truly admirable. I'm glad we both like to help people.,
                                                                              11:32:42


                   Thank you sweetie for your kind words. Yes it’s wonderful that we both like to
                   help and serve others. Huge value we share )
                                                                                              11:51:29


Thank you too, Honey It's truly a blessing to have a shared value of wanting to
help and serve others. Let's continue to support and uplift each other as we
strive to make a positive impact in the world. ,
                                                                             11:53:22


I'm glad we share the same values '
                                     11:53:40


                                                         Me too beautiful. You’re simply amazing '
                                                                                              11:54:18


<attached: 00002870-GIF-2024-06-30-11-55-48.mp4>
                                                      11:55:48


Thank you, I'm glad to hear that 1
                                 11:56:02


                 Well better get used to hearing what a beautiful soul you are. Because I’m going
                 to remind you how special you truly are as a woman and soul that walks this
                 earth. |
                                                                                              12:00:51


Honey, thank you for your beautiful wishes, I really appreciate people like you. I
feel really lucky to have such kind people like you around me.
                                                                              12:02:56




                                                                                  COHN0246
                                                                                                   Page 247
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 252 of 439 PageID #: 463




<attached: 00002874-
PHOTO-2024-06-30-12-41-07.jpg
>




                              12:41:07


Today's lunch: Black pepper chicken salad
                                         12:41:21


                   Likewise I always want to surround myself with people that elevate me and are
                   uplifting like you sweetie!!
                                                                                                    12:43:18


<attached: 00002877-GIF-2024-06-30-12-43-41.mp4>
                                                     12:43:41


I'm glad to hear you say that.
                       12:43:48


                                                    Hi Sweetie,
                                                    I’m back home. Hope your gym time was great.
                                                                                                     4:15:20


Dear, I'm glad to hear you're home. I'm fine. I had a relaxing day today.
                                                                          4:37:35


I think your son Cameron must be very happy to see you today.
                                                                4:48:57


                Ha! I really wish he was there today. He is up in Seattle. He texted me a couple of
                times thanking me for doing this. It was costing him around $250/month rent for
                the storage unit.
                                                                                                    4:53:46


Wow that sounds amazing, yes I am sure you had a very fulfilling day !
                                                                            4:55:15


                                                                   Yes fulfilling just being his great Dad.
                                                                                                     4:56:32


Yes, I understand how you feel, because we are all parents of children. ❤
                                                                              4:58:27


                Yes and as you can see Cameron is 25 years old and my role as showing up in his
                life as his Dad never changes and never will. I will always be there for him. It’s
                something my Dad did not do for me and it’s why I care so deeply to change this
                pattern of Fatherhood by being there for him in his life.
                                                                               COHN0247         5:03:11
                                                                                                        Page 248
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 253 of 439 PageID #: 464
That's really admirable and it's clear that you have a strong commitment to
being a supportive and present father for Cameron. It's great to see you
breaking the cycle and being there for him in a way that you didn't have growing
up.3
                                                                                         5:05:15


Honey, what are you doing?
                              6:21:47




<attached: 00002889-
PHOTO-2024-06-30-19
-40-05.jpg>




                          7:40:05


Today's dinner !
                7:40:14


                            Hey Sweetie,
                            As always your dinners look amazing. I see you like your steak medium rare?
                                                                                                          7:45:11


Yes, medium rare. It tasted great.
                                        7:46:31


                                                                                          With baby bok choy?
                                                                                                          7:47:04


No
 7:49:57


Do you like eating bok choy?
                               7:50:12


                                                                              Sometimes if it is prepared right.
                                                                                                          7:53:52


Yes, that sounds good. I'm sure your steak will be delicious. D
                                                                    7:54:29


                                                  Yes well my plant based steak will be amazing. LOL ;
                                                                                                          7:57:26


<attached: 00002899-GIF-2024-06-30-19-58-05.mp4>
                                                          7:58:05


Yes, I think it will be delicious.
                                    7:58:20
                                                                                          COHN0248
                                                                                          Page 249
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 254 of 439 PageID #: 465
Hope you have a good sleep tonight, dear. Good night.
                                                 9:41:56


<attached: 00002902-GIF-2024-06-30-21-42-04.mp4>
                                                    9:42:04


                                              Good night, gorgeous . I'll see you in my dreams.'
                                                                                           9:43:25


                                            Jul 1, 2024

                Good morning to the most incredible woman. You are such a gift in my life, and
                every morning knowing you is a blessing. May your day be bright, your coffee be
                strong, and your heart be filled with joy. , l
                                                                                            7:02:17


                                                                        You deleted this message.
                                                                                           7:04:06


Good morning! Honey hopes you are in a good mood and full of energy today. A
new day has begun. I hope you can face the day's work and life with energy. The
morning sunshine will take away yesterday's tiredness and usher in new hope
and opportunities. Remember to keep smiling and wish you a smooth and happy
day!,
                                                                             8:02:11


Honey, I plan to have a meeting today to discuss the priorities and goals for this
week. I will be working on the clothing design in the morning and participating in
the clothing agency-related meetings and business talks in the afternoon. <This
message was edited>
                                                                            8:08:50


                                                           Have a productive day at work gorgeous
                                                                                            9:30:41


Honey, what are your plans for today?
                                 9:38:41


                 My contractor is coming over today to discuss the work he will begin on my
                 rental project tomorrow. Setting up the schedule for the work. Going to the gym
                 and doing sone food shopping for the week.
                                                                                            9:41:24


Sounds good, you look like you'll be busy today, good luck with your work e
                                                                        9:42:45




                                                                              COHN0249
                                                                                               Page 250
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 255 of 439 PageID #: 466




<attached: 00002912-
PHOTO-2024-07-01-11-10-35.j
pg>




                             11:10:35


Honey, I'm reviewing the design drawings, what are you doing?
                                                         11:10:45


                  Hey gorgeous,
                  Wow there’s a lot of designs you are reviewing! Plus color swatch’s, fabric etc.
                  You are so talented!!

                  I’m finishing up answering my emails from the weekend and getting ready to
                  head out for the day.
                                                                                                11:19:01


Thank you so much for the kind words! It's been a busy but exciting time
reviewing all these designs and getting everything ready. Enjoy your day out,
We'll talk again soon!1 <This message was edited>
                                                                              11:20:48


Are you back from food shopping
                             12:42:04


                   Hey Babe )
                   Not yet- I’m going up to the recycling depot to drop off some items. Hope you
                   day is flowing.
                                                                                                 1:25:20


OK honey. No problem, I hope you have a great day too! Text me when
you're done. )
                                                                    1:32:46




<attached: 00002919-
PHOTO-2024-07-01-13
-39-55.jpg>




                                                                                    COHN0250
                   1:39:55
                                                                                          Page 251
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 256 of 439 PageID #: 467




<attached: 00002920-
PHOTO-2024-07-01-13
-40-36.jpg>




                   1:40:36


Today's lunch is a simple work meal. Coffee, eggs, bacon, bread and salad
                                                                     1:41:00




                                                                                    <attached:
                                                                                    00002922-
                                                                                    PHOTO-2024-
                                                                                    07-01-16-07-2
                                                                                    2.jpg>




                                                                                            4:07:22




                                                                                    <attached:
                                                                                    00002923-
                                                                                    PHOTO-2024-
                                                                                    07-01-16-07-3
                                                                                    9.jpg>




                                                                                            4:07:39


Is that why I suggest you increase your funding
                                          4:39:34


BTC will always break. So all we can do now is wait for the opportunity to make
profits in short-term trading
                                                                          4:42:59


I put $3 million in my arbitrage. $120,000 a day in revenue                    COHN0251
                                                     4:55:29
                                                                                             Page 252
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 257 of 439 PageID #: 468
My funds don't arrive until tomorrow. I will make a wire transfer as soon as the
account arrives
                                                                            4:59:19


When my money arrives, I'll give you $1.5 million
                                             5:05:36


                 First off I want to say that I am so grateful for you and that you will loan me $1.5
                 million. I care for you gorgeous and feel so blessed to have you in my life my life.
                                                                                               5:18:51


                 I also want to share with you my financial situation and be completely
                 transparent with you. I hope we can start making some income on the USDT.
                 Geez $120,000 per day would be amazing!!!

                 Now that my rental project is starting up I have some huge bills to pay and may
                 run through my remaining cash fairly soon and have to start withdrawing USDT
                 from my trust account to pay for living expenses and my rental project. It’s the
                 rental project that is needing large amounts of cash right now to buy materials,
                 cabinets, appliances, labor, design fees etc. I’m outlying nearly $50,000 this
                 week.

                 My stock account was throwing off $20,000 per month before I liquidated it.
                 Now it is making zero income . I am totally reliant on you now to generate profits
                 and income since I do not know your strategy.
                 Do you have some thoughts on how best to proceed?
                                                                                               5:21:06


Yes. I do, because you're worth believing in. I'm sure you'll try, too. We will work
together to be important to each other. I don't know what's going on with your
retirement account. But you know very well that now is the time for BTC to make
money. I don't want you to miss it. I hope you can do 600 seconds of operation
like me and make 25% profit
                                                                               5:22:00


How much money you still have in your stock
                                         5:22:53


                                            I have approximately $79,000 left in my stock account.
                                                                                               5:24:04


I've been telling you about my investment strategy. But you're telling me right
now that you're not tapping into your retirement accounts
                                                                            5:24:07


Stock funds you can settle. There's no need to own stocks. Because the returns
on stocks are really too small.
                                                                              5:24:47


                            This is mostly cash Anna for me to pay my bills. Not much stock at all.
                                                                                               5:26:02


Yes, I mean the money from your stock is liquidated to pay your bills. Because
you know the money in our short-term trading account is waiting for an
opportunity to make a profit
                                                                            5:31:31

                                                                                COHN0252
                                                                                           Page 253
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 258 of 439 PageID #: 469
                Yes you have been telling me about your strategy thank you. I meant what I don’t
                know is how you set up your trades using data, charts etc.
                                                                                             5:31:49


You can always look at candlesticks when you first start learning. Short-term
trading accounts we can all see the candlestick chart, and at the same time we
can see the market's rise. BTC data is always volatile, so don't just watch the
market in recent days. More international news based on market economics.
There is also a comparison with the previous BTC increase situation to infer.
                                                                            5:35:59


There are many ways to do it. I would spend a lot of time building a diagram. The
market is observed and recorded every day. But it takes a lot of time. Watching
BTC is not just watching BTC. Also need to observe ETH at the same time, these
are comparative. And being able to provide more data to control
                                                                              5:37:42


                                                                  Yes ETH and BTC are correlated.
                                                                                            5:39:40


It's not like stocks. Only when the stock goes up can we make profits. It's a
lottery. If the market plunges, money is easily tied up. But what makes short-
term trading different is that it can work both ways. As long as we keep control
of the data. The market for coins has always been huge. People do it every day.
Of course, that happens as I told you last week. International news. No one
doesn't like to make money. More people are simply saving more money until
they get the chance
                                                                            5:40:16


According to the current trend, constantly establish new classifications and set
new boundary conditions, and then see the trend automatically grow out of the
trading point according to the classification, which is' see ', according to the
level and type of the trading point, set the appropriate position to participate in
the market trading, which is' dry '. Rather than you predict that the trend will
rise, and then the trend has indeed risen a lost, and then you dry, do not know,
the market is full of traps, according to your forecast expectations to do, sooner
or later fall into the market trap
                                                                             5:44:37


                       Well there are other strategies using stock options to increase profits and
                       reduce risk. I use them all the time.
                                                                                            5:45:24


Ether (ETH) is the native cryptocurrency of the Ethereum network and is the
second most popular digital token after Bitcoin (BTC). As the second largest
cryptocurrency by market cap (market capitalization), the comparison between
Ether and Bitcoin is only natural
They are all digital currencies that are traded through online exchanges and
stored in various types of cryptocurrency wallets. However, there are a number
of significant differences. Bitcoin aims to provide an alternative to physical or
fiat money; Ethereum is suitable for complex smart contracts and decentralized
applications
                                                                             5:46:06


                                                                 Not sure I understand your words.
                                                                                            5:46:43
                                                                               COHN0253
                                                                                                       Page 254
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 259 of 439 PageID #: 470
Use your brilliant brain. You can think.
                                     5:47:10


                                                            Yes I already know this information. Thanks
                                                                                                         5:47:18


                                                                             Okay I will. I get the gist of it.
                                                                                                         5:48:00


Yeah, I hope you don't find out too late. Because you still have time to get the
money together.
                                                                                  5:49:19


                                                                                    Find out what too late?
                                                                                                         5:49:55


I told you. Use your brain to think about what I just told you. As long as you are
good at finding, you can find opportunities. Many times you don't need to say
anything when you find an opportunity. It will be ready in advance.
                                                                                   5:51:24


<attached: 00002953-GIF-2024-07-01-17-51-38.mp4>
                                                         5:51:38


                             Maybe we should talk on the phone? It might be easier to explain things.
                                                                                                         5:53:14


Now that you need money to pay your bills, you can sell the stock. My advice is
to try not to dip into short-term trading accounts. We wait for our chance.
                                                                                    5:54:12


What do you think?
              5:54:19


I need to drive now, honey. By the time I get home maybe we can
                                                                   5:55:30


                        Yes it’s what I’m doing right now Anna. I will wait until I run out of cash and if
                        there are no profits then I will start drawing the USDT
                                                                                                         5:56:27


                                                                                              Okay drive safely
                                                                                                         5:56:42


<attached: 00002960-GIF-2024-07-01-17-58-11.mp4>
                                                         5:58:11


Voice call, 9 min
           6:59:57


Honey, what are you doing? I'm preparing dinner now !
                                                         7:27:09


                        I’m on my laptop paying a toll violation for using a toll road in Orange County
                        because I did not have an account set up beforehand. I do now!
                                                                                                         7:29:32


Oh no, that’s a bummer! But at least now you have an account set up so you
won’t have to worry about it in the future. Stay on top of those toll violations!COHN0254
                                                                                 7:31:07
                                                                                          Page 255
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 260 of 439 PageID #: 471




<attached: 00002965-
PHOTO-2024-07-01-19
-35-43.jpg>




                        7:35:43


Today's dinner D
              7:35:54


                                                     Chef Anna making another amazing dinner!!
                                                                                            7:38:53


lol, this is so true. 1
                  7:39:11




                                                                  <attached: 00002969-
                                                                  PHOTO-2024-07-01-19-41-25.
                                                                  jpg>




                                                                                            7:41:25


<attached: 00002970-GIF-2024-07-01-19-41-59.mp4>
                                                   7:41:59


This looks amazing &
                   7:42:20


We're waiting for tomorrow's deal
                                  7:51:48


Of course, I hope you can make more profit. You can do what I did. Put some in
short-term trading accounts for arbitrage. Profit in part
                                                                          7:52:40


                                            Sure sounds like a good plan to diversify the account.
                                                                                            7:53:45


Yes. It's a way of spreading money around. But a strategy that maximizes profits
                                                                            COHN0255
                                                                          7:54:16
                                                                                            Page 256
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 261 of 439 PageID #: 472
                                 Well with at the helm I’m sure we can make more profit together!
                                                                                             7:54:57


If the funds in your account are pooled, the returns are not ideal. Then you need
to diversify your previous portfolio.
                                                                               7:54:59


I know you have concerns. You think your current portfolio is good. But it was
not properly used to maximize the funds. Then you will miss an opportunity. Life
is like this, opportunities don't always wait for us. It's about getting everything
ready, seeing opportunities and jumping in
                                                                                7:57:07


One thing I need to confirm with you is that your retirement account said last
time it was $5 million. But you know it's gonna take time for us to get those
funds out
                                                                            7:59:33


                                               Yes it takes time. Not as simple as personal money.
                                                                                             8:03:46


Yes, so you'll need to withdraw funds from your retirement account in advance.
That way, when there is a good offer, you can make the wire transfer in time.
Without losing time
                                                                               8:08:33


Thursday is Independence Day. Banks are closed.
                                             8:09:48


Hope you have a good sleep tonight, sweet dreams, dear. Good night.
                                                                  9:42:22


<attached: 00002984-GIF-2024-07-01-21-42-34.mp4>
                                                       9:42:34




                                                                  <attached: 00002985-
                                                                  PHOTO-2024-07-01-21-53-15.j
                                                                  pg>




                                                                                             9:53:15


                                            Jul 2, 2024




                                                                                 COHN0256
                                                                                               Page 257
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 262 of 439 PageID #: 473




                                                            <attached: 00002986-
                                                            PHOTO-2024-07-02-07-18-53.jpg>




                                                                                                 7:18:53


Good morning, Honey, I hope your day is full of sunshine and positive energy.
The warm sunshine shines into the room through the window, and the morning
breeze caresses your face, making you feel peaceful and comfortable. In this
beautiful morning, I send you my most sincere greetings and blessings. May you
have a day full of joy and happiness, every smile is the expectation of others,
and every effort is for a better self. Let the beginning of the day be full of
sunshine, let troubles and worries stay away from us, and let happiness and
happiness accompany us all day long.,
                                                                                 8:01:56


I'm going to go to the gym to work out, and then continue my fashion design
work in the afternoon, preparing new samples and design plans. What are your
plans for today?
                                                                             8:40:56


                    I have workmen here today to manage. And still lots of follow through on my
                    ADU project.
                                                                                                 9:19:36


You've got a lot on your plate! Good luck with managing the workmen and
following through on your ADU project.
                                                                       9:37:42


You can send me a message when you are free
                                        9:38:02


                                                                                    Will do sweetie! ,
                                                                                                 9:45:12


Honey, I have finished my morning work now, are you still busy?!
                                                            11:13:28


                  Hey sweetie,
                  Yeah I’m still busy with my project. Lucky you thst you’re finished for the day!
                  Big hugs '
                                                                                                11:42:53


Hey Honey,
Don't worry, I know how busy the project is. Take your time and do your best!
Sending you a big hug e . I'll be here for you
                                                                       11:45:28
                                                                              COHN0257
                                                                                               Page 258
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 263 of 439 PageID #: 474
<attached: 00002996-GIF-2024-07-02-11-46-08.mp4>
                                                     11:46:08




<attached: 00002997-
PHOTO-2024-07-02-13
-16-59.jpg>




                           1:16:59


Today's lunch vegetable salad !
                                     1:17:14




                                                                                <attached: 00002999-
                                                                                PHOTO-2024-07-02-13
                                                                                -25-47.jpg>




                                                                                                 1:25:47


Looks delicious D
                 1:26:22


I've finished my work for today. !
                                     4:41:37


I'm getting ready to go home now. I'll watch the market when I get home
                                                                      5:06:50


                                                         Drive safe gorgeous! , We’ll chat later on.
                                                                                                 5:23:56


OK
 5:24:11


Honey, what are you up to right now
                                       5:35:35


                                                          Hi sweetie,
                                                          I’m just relaxing right now. Are you home?
                                                                                 COHN0258       5:36:37
                                                                                             Page 259
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 264 of 439 PageID #: 475
Just arrived at the door
                     5:36:54


I need a glass of water first. Then it takes 20 minutes to watch the
cryptocurrency market
                                                              5:44:27


                                                                 Take your sweetie! Self care first!
                                                                                              5:45:04


You ready, honey
           6:06:23


                                                                                        Yes sweetie!
                                                                                              6:06:44


Open a screenshot of your short-term trading account and send it to me
                                                                        6:07:01




                                                                                      <attached:
                                                                                      00003013-
                                                                                      PHOTO-2024-
                                                                                      07-02-18-07-
                                                                                      38.jpg>




                                                                                              6:07:38


Back to Trading home
                 6:07:51




<attached: 00003015-
PHOTO-2024-07-02-18-08-06.jpg>




                                         6:08:06


                                                                                             3
                                                                                              6:08:25


                                                                                  COHN0259
                                                                                     Page 260
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 265 of 439 PageID #: 476




                                                                              <attached:
                                                                              00003017-
                                                                              PHOTO-2024-
                                                                              07-02-18-08-
                                                                              43.jpg>




                                                                                         6:08:43




<attached: 00003018-
PHOTO-2024-07-02-18-09-09.jpg>




                                6:09:09


Select 180 seconds
                6:09:13


Select Down
      6:09:27


                                                                                         3
                                                                                         6:09:28




                                                                              <attached:
                                                                              00003022-
                                                                              PHOTO-2024-
                                                                              07-02-18-09-
                                                                              41.jpg>




                                                                                         6:09:41



                                                                        COHN0260
                                                                                       Page 261
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 266 of 439 PageID #: 477




<attached: 00003023-
PHOTO-2024-07-02-18-10-14.jp
g>




                                 6:10:14


Amount entered $1.3 million
                       6:10:20




                                                                                <attached:
                                                                                00003025-
                                                                                PHOTO-2024-
                                                                                07-02-18-10-
                                                                                57.jpg>




                                                                                            6:10:57




                                                                                <attached:
                                                                                00003026-
                                                                                PHOTO-2024-
                                                                                07-02-18-11-4
                                                                                0.jpg>




                                                                                            6:11:40


1300000
    6:11:10


Yes, we can only trade once for a 180-second transaction
                                                   6:12:08



                                                                          COHN0261         Now
                                                                                            6:12:17
                                                                                              Page 262
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 267 of 439 PageID #: 478




<attached: 00003030-
PHOTO-2024-07-02-18-12-22.jpg>




                                      6:12:22


                                                                                               Done
                                                                                                6:12:39


OK Wait for settlement income
                         6:12:52


My account is relatively large so I trade 600 second operations
                                                              6:13:10


The bank rejected my wire transfer today.
                                     6:13:28


<attached: 00003035-GIF-2024-07-02-18-13-45.mp4>
                                                    6:13:45


                                                                             BTC is going up not down!
                                                                                                6:14:58


Don't worry about it. Because I took the time to study the strategy.
                                                                   6:15:29




                                                                                       <attached:
                                                                                       00003038-
                                                                                       PHOTO-2024-
                                                                                       07-02-18-15-
                                                                                       52.jpg>




                                                                                                6:15:52


                         So I was watching the Coinbase screen. What screen are you trading on?
                                                                                                6:16:55


Short-term trading is not about how much the market rises. Our 180-second
operation is to buy, sell, sell and buy through the trading market
                                                                                   COHN0262
                                                                             6:17:07
                                                                                              Page 263
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 268 of 439 PageID #: 479
                                                                                               Yay v
                                                                                                 6:17:07


Reach our profit in 180 seconds. Smart contracts will help us settle accounts
automatically. That's why I've been spending time observing the market. Do it
only when you are sure of it
                                                                             6:18:11


                     Yes makes sense to me. Maybe one day you can share with me what you are
                     looking for to know it’s the right time to place a trade. I find this fascinating
                                                                                                6:19:46


I will not play with your funds. Because you trust me, so I will not betray your
trust. Instead, I'd rather you earn money. So we can all have a better life. Buy a
yacht and watch dolphins and whales in the ocean
                                                                             6:19:57


Yes, the 180-second transaction is over. You can see how much profit you made
                                                                              6:20:26




                                                    <attached: 00003046-
                                                    PHOTO-2024-07-02-18-21-23.jpg>




                                                                                                6:21:23




<attached:
00003047-
PHOTO-2024-
07-02-18-21-
45.jpg>




          6:21:45


This is my profit
           6:21:51


                                                                                        Wooo-hooo!!
                                                                                                6:22:16
                                                                                 COHN0263
                                                                                              Page 264
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 269 of 439 PageID #: 480
I've got $3 million in arbitrage. I made $110,000 in arbitrage today
                                                              6:22:42


So I made a total profit of $835,000 on my short-term trades and
arbitrage today
                                                              6:23:14


                                                       Wow! Amazing } It’s like Monopoly Money.
                                                                                                6:23:31


You can now put $2 million in your short-term trading account into arbitrage.
Choose a 30-day option
                                                                            6:24:07


It's time for you to take action. Can't just wait.
                                            6:24:31




                                                                                      <attached:
                                                                                      00003055-
                                                                                      PHOTO-2024-
                                                                                      07-02-18-26-
                                                                                      19.jpg>




                                                                                                6:26:19


                                                                                             Correct?
                                                                                                6:26:34


Yes.
 6:26:42


                                                                  Where do I see if it’s in arbitrage?
                                                                                                6:27:36


After you click OK. Then return to the arbitrage page. There will be money
                                                                        6:28:07




                                                                                  COHN0264
                                                                                                    Page 265
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 270 of 439 PageID #: 481




                                                                                              <attached:
                                                                                              00003060-
                                                                                              PHOTO-2024-
                                                                                              07-02-18-28-
                                                                                              14.jpg>




                                                                                                     6:28:14


Yes.
 6:28:27


clever
 6:28:30


                                             So is $2 million now unavailable for short term trades?
                                                                                                     6:29:07


Yes, $2 million is now in arbitrage. That's a 3.8 percent gain per day
                                                                6:29:43


                                                                                                   Okay ✅
                                                                                                     6:30:04


We don't do short-term trading every day. So when we have money, we can
arbitrage first
                                                                          6:30:20


                                                                           That’s an incredible return
                                                                                                     6:30:22


I compared the returns on your IRA. This investment strategy I helped you plan is
worth it
                                                                                    6:30:57


Have you withdrawn funds from your retirement account?
                                                      6:32:12


                                             No sweetie. I have not. We talked about this last night.
                                                                                                     6:33:26


You can withdraw some of your funds without being affected. It's good for
you, too
                                                                          6:34:12


My dear. I want you to go where you want to go.
                                            6:37:20


                                                                                                    +
                                                                                                     6:38:14

                                                                                     COHN0265
                                                                                                  Page 266
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 271 of 439 PageID #: 482
So, while your retirement account is not affected, you can withdraw $2 million to
$3 million. So your return is 25%. You can also trade 600 second operations
                                                                                      6:39:36


What do you think. darling
                       6:43:41


                      Yes I want to do it. But right now I suddenly don’t feel well and I need to make
                      some food and then lay down.
                                                                                                   6:45:29


Your stomach is protesting because you are not feeding it on time
                                                                  6:47:21


Already asleep?
          9:44:14


                     Good night my sweetie,
                     I don’t feel well and am going to sleep now. You will be in my dreams. Wishing
                     you a wonderful sleep tonight. Sending you good vibes, hugs and kisses ,
                                                                                                   9:49:03


Good night Honey. Take care and rest well. I hope you feel better soon. Sweet
dreams and lots of love to you too. ,
                                                                               9:51:52


<attached: 00003081-GIF-2024-07-02-21-52-16.mp4>
                                                        9:52:16


                                              Jul 3, 2024

                    Good morning, my favorite. Just thinking about you makes me smile from ear to
                    ear. Your positivity is my daily inspiration. Hope you have a fabulous day! +
                                                                                                   8:00:00


Good morning! Honey, I wish you a good mood in the new day. I hope you can
feel the call of happiness and the warm sunshine every time you wake up. I hope
you are full of energy and smile endlessly, and you can move forward
unswervingly no matter what difficulties and challenges you encounter. I hope
you can feel the beauty and happiness of life every morning, and I hope you will
always be in a good mood and spend every day smoothly.,
                                                                                      8:04:15


                         Thank you sweetie for your morning greeting. You make my heart smile no
                         matter how I feel. I appreciate you so much. +
                                                                                                   8:06:04


Thank you dear, what are you going to do today?
                                              8:07:10


                           I have a dentist appointment today to fix a tooth that is cracking from an
                           older filling.
                                                                                                   8:09:29


I need to attend a meeting with the clothing agency today to discuss sales
strategies and marketing plans.
                                                                            8:11:21
                                                                                       COHN0266
                                                                                          Page 267
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 272 of 439 PageID #: 483
                 Okay Gorgeous,
                 I going to share with you my testimonial I gave for my recent Amazon jungle
                 experience. The leader Christof just sent me the link this morning asking for my
                 approval.

                 This will give you a really good overview of what I came through and
                 experienced there.
                                                                                            8:12:50


Good luck, Honey! Hope all goes well and your tooth is restored successfully. Let
me know how it goes.
                                                                            8:13:07


                                          https://youtu.be/7bL1ClsnQ8c?si=M26MBOhV671ePsj_
                                                                                            8:13:24


Wow, I’m so glad you shared with me your recent experience in the Amazon
jungle! Your experience in the Amazon jungle with Kristoff sounds amazing. I’m
sure it will be a great experience to share.
                                                                          8:17:26


Wow, honey, this is so cool.
                      8:23:36


                                                                           Thanks Sweetie * +
                                                                                           9:06:34


When do you go to the dentist
                             9:39:21


                                                                  I go at 1pm for my appointment.
                                                                                           9:39:50


Nice, I'm in the office now, hope your dentist appointment goes well.
                                                               9:43:04


                                                                          Thank you sweetie’ ,
                                                                                           9:43:28




<attached: 00003098-
PHOTO-2024-07-03-09
-46-02.jpg>




                   9:46:02


Love the morning coffee D
                       9:46:32
                                                                            COHN0267
                                                                                               Page 268
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 273 of 439 PageID #: 484
                                                           You are such an artist! That’s so beautiful.
                                                                                                 9:46:46


Thanks, dear. Let's have a cup of coffee together. ☕ ☕ 1
                                                         9:48:13




<attached: 00003102-
PHOTO-2024-07-03-09-
55-36.jpg>




                    9:55:36


                                                   My beautiful Anna looking amazingly gorgeous.
                                                                                                 9:57:29


Dear, thank you for your compliment. It's nice to hear you say that 1
                                                                    9:58:40


As a person working in an office, I face the computer every day and deal with
various documents and data. Although the work is very busy, I still take time to
move my body and relax my eyes. Everything is fine, I love my job/
                                                                              10:00:45


Honey, are you busy? I hope I didn't disturb you. 1
                                              10:02:02


                                              Yes I’m busy but you can never disturb me sweetie.
                                                                                                10:24:28


<attached: 00003108-GIF-2024-07-03-10-26-30.mp4>
                                                    10:26:30


OK, text me when you're done.
                             10:26:49


<attached: 00003110-GIF-2024-07-03-11-27-17.mp4>
                                                   11:27:17


Are you ready to go now
                  11:28:01


                LOL this is so cute ' I leave in one hour sweetie. Just completing some online
                paperwork to add checking account features to my brokerage account. I’m going
                to ditch Chase bank. Don’t need them or their high fees.
                                                                                                11:38:56


That sounds like a great plan! I agree with you on the banking side of things.
Hopefully the new brokerage accounts will offer lower fees and better benefits.
!                                                                              COHN0268
                                                                              11:41:05
                                                                                              Page 269
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 274 of 439 PageID #: 485
                  Also I made $20k in my stock account this week which is a 25% return in just 3
                  days. I used only stock options and my account which was $79k is now $99k!
                  Pretty darn good. If I can push it higher I will take some of it out and send it to
                  my Trust wallet for short term trades.
                                                                                               11:48:28


Have you yet to withdraw funds from your IRA
                                         11:49:11


Chase Bank doesn't have to. Now all you need to do is increase your capital. I'm
sure you can do a good job.
                                                                               11:50:33


                 Sweetie- no I have not and cannot until I fire my advisors, take back my account
                 and unwind/ sell stock positions.
                                                                                               11:51:38


Honey, it's your own money. You have the right to control. If you don't have
access to your own funds, your personal account funds won't bring you much
                                                                            11:53:45


What you need is to seize the opportunity, in the opportunity to make money, to
allow yourself to make greater profits. Since it's your own personal account, I
can only advise you.
                                                                               11:55:03


When opportunities arise, I take them as well, and find ways to make more of
my profits
                                                                            11:55:52


Now there is a chance to make money, then I hope your decision will be very
good. I don't want you to miss the deal.
                                                                           12:00:27


<attached: 00003122-GIF-2024-07-03-12-21-38.mp4>
                                                     12:21:38


How are your teeth now
                  4:41:18


                    Other than my mouth and tongue are still numb which feels weird - my tooth
                    is fixed!
                                                                                               4:58:20


LOL Because the doctor put an anesthetic in your mouth
                                                      4:59:07


<attached: 00003126-GIF-2024-07-03-16-59-57.mp4>
                                                      4:59:57


Are you on your way home now? Still in the hospital
                                                5:00:25


                                                                Haha! Hospital? I’m home now sweetie.
                                                                                               5:03:40


OK. Then you can't eat good food tonight. Because your tongue is still in its
drug phase
                                                                           5:04:20 COHN0269
                                                                                                     Page 270
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 275 of 439 PageID #: 486
                                           <attached: 00003130-GIF-2024-07-03-17-07-08.mp4>
                                                                                                      5:07:08


Laugh me to death. You're so cute.
                               5:08:24


<attached: 00003132-GIF-2024-07-03-17-09-28.mp4>
                                                      5:09:28


How is the home decoration design recently? Has it been finished?
                                                                  5:10:29


                                                                                 You deleted this message.
                                                                                                      5:10:58


LOL You can't do that. Or I'm afraid your belly will hurt when you laugh.
Otherwise you will cover your tongue and your stomach
                                                                            5:11:51


                                           <attached: 00003136-GIF-2024-07-03-17-11-54.mp4>
                                                                                                       5:11:54


I'm already imagining us living together. Every day will have a different happy.
Make each other happy
                                                                                      5:13:23


                         Yes we would laugh, be silly and playful and be very happy and loving. '
                                                                                                      5:14:43


Yes. It's a romantic thing. Of course, I will love your family as my family. I hope
we can all live in one big loving family. I know the road ahead will be difficult. But
we will hold hands and move forward together.
                                                                                         5:16:02


We're gonna be who we are. Follow in each other's footsteps. I'd like to wait for
you. But, honey, I want you to take the leap.
                                                                                        5:17:38


                 Do you mean to come up to LA to meet you? I’ve been going slow getting to know
                 you as you requested of me in the very beginning. So what does take the leap
                 mean for you?
                                                                                                      5:26:47


We all have each other in our hearts. I'm well aware of that
                                                        5:33:27


I have been dealing with my work and I have a holiday in October. Early
retirement, if you like
                                                                       5:34:02


Because now passive income can totally cover my living expenses and bills. And
even in the meantime we can earn the money to buy the yacht we want
                                                                                        5:36:39




                                                                                          COHN0270
                                                                                                    Page 271
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 276 of 439 PageID #: 487
                    Wow!!! That’s wonderful that you will reach an amazing financial milestone in
                    your life and a well deserved break from work. Yes you have been so smart and
                    worked hard to get to this point.

                    Yes there is lots to look forward to and many wonderful opportunities to live the
                    life you want for yourself and your daughter.
                                                                                                     5:39:42


We're gonna be a family
                      5:40:16


                                                                               Yes we’re gonna be a family.
                                                                                                     5:40:39


I want to know what kind of person I am in your heart
                                                    5:41:48


                     Anna you have a very special spot in my heart and I have been developing deep
                     feelings for you. You are a very special woman to me.

                     But our current relationship has only mostly been through texting in WhatsApp
                     and a couple of quick phone conversations. We have never actually met each
                     other in person or even on a video chat. So spending time together is the next
                     logical step for us to continue to grow closer together and to see if we are
                     soulmates in time and the right match for each other.
                                                                                                     5:58:31


I know. I was thinking the same thing. So I will try to finish my work
                                                                   5:59:18


                      Everything in Divine Timing my dear. It will all unfold as it should be. No hurry.
                      Meanwhile let’s continue our wonderful journey together which has
                      been amazing.
                                                                                                      6:01:14


Yes.
 6:03:40


We will gradually discover each other, cherish each other
                                                         6:16:49


What are you working on now
                                6:48:16


                     I’m eating some dinner right now. I’m just having some soup since my mouth is
                     still numb . What are you doing sweetie?
                                                                                                     6:57:52


I hope you'll recover soon. Otherwise you won't be able to enjoy the food
                                                                             6:58:35


                                                                                            lol yes so do I.
                                                                                                     6:59:13


I'm not in the best mood today
                                 7:00:01

                                                                                       COHN0271
                                                                                                        Page 272
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 277 of 439 PageID #: 488
                                      I’m sorry to hear this sweetie. Is there anything I can do to help?
                                                                                                          7:20:15


                                                                                                   Support you?
                                                                                                          7:21:09


The bank said no because of the wire transfer.
                                              7:21:38


                                                                                          Why did they say no?
                                                                                                          7:22:23


Because of the amount of money. And then give me some reason why it's for my
own safety
                                                                                         7:23:02


Also Chase Bank
               7:23:09


<attached: 00003165-GIF-2024-07-03-19-23-23.mp4>
                                                              7:23:23


I hope I become rich. If I could be a director of Chase Bank. I'm gonna bash the
banks and fire them. LOL
                                                                                    7:24:06


                                                                        Sounds like a familiar story to me!!
                                                                                                          7:24:37


Then I hired some fortune cats back to work for me
                                                    7:25:08


LOL
 7:25:10


                     You will have the last laugh as you are moving your wealth into crypto and out of
                     the banking system.
                                                                                                          7:26:41


                     I have no doubt they you will find another way to get your money out of the bank.
                     There’s always a way.
                                                                                                          7:28:30


Yes, I believe I have the ability. It's just a matter of time. Just want to do it.
There's always a way
                                                                               7:30:46


                                              <attached: 00003173-GIF-2024-07-03-19-33-26.mp4>
                                                                                                          7:33:26


Is this you?
       7:35:16


LOL
 7:35:20


You gotta guard your money. So cute
                                    7:35:30

                                                                                          COHN0272
<attached: 00003177-GIF-2024-07-03-19-35-41.mp4>
                                                          7:35:41
                                                                                                  Page 273
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 278 of 439 PageID #: 489
                    lol this is the bank swatting you if you try to take your money out. Look at the
                    bank symbol on top of the kitty’s head
                                                                                                    7:37:23


But it's my money. I have the right to control
                                        7:38:06


                    Yes I agree with you completely gorgeous. We are on the same page!! I mean
                    who are they to decide what we should do with our money? Both Chase and
                    Schwab were playing the same game with me!
                                                                                                   7:40:50


So you need to be tough and tell the bank
                                     7:41:13


Or one day your funds will not be yours. They took it for themselves
                                                                       8:15:54


                  Gosh I hope that day never comes. But yes the government can seize the banks
                  and take your money. This is why crypto is so amazing because it is
                  decentralized and they can’t take your crypto away. Especially if you keep it in
                  your own wallet. I know you already know all of this.
                                                                                                    8:21:46


Yes. That's why I've been asking you to withdraw your funds. It will be
more reassuring
                                                                          8:22:55


Now, honey, you can tell me how much money you've raised
                                                             8:54:45


                 Goodnight Sweetie! I hope your dreams are as bright as the night stars ⭐ I’ll be
                 dreaming about you. ,
                                                                                                   10:00:57


Good night darling, sleep well.
                         10:02:12


                                               Jul 4, 2024

At the end of the day, what really matters is that the ones you love are okay and
you give your best, and you are great full for what you have. And let's hope that
today will be better than yesterday and hope is silent pryer for every heart, may
this day bring peace to your soul and to your loved ones.
Good morning, Honey , today is a holiday, so let's us relax and enjoy our coffee
☕ ☕
I am looking forward to talking with you today !
                                                                                        8:01:43


                 May this morning be filled with boundless joy, love, and endless possibilities for
                 you. Good morning my beautiful Anna
                                                                                                   8:29:27


                                          <attached: 00003190-GIF-2024-07-04-08-29-41.mp4>
                                                                                                    8:29:41


Thanks, I'll get my morning workout in later. You? <This message was edited>
                                                                           COHN0273
                                                                                    8:30:40
                                                                                                     Page 274
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 279 of 439 PageID #: 490
                                Today is a relaxing day for household chores and going to the beach _
                                                                                                      8:46:26


Wow, that sounds great. It's going to be a great day.
                                                        8:48:40


Is your tongue better now?
                          8:50:22


                                                   <attached: 00003195-GIF-2024-07-04-09-10-28.mp4>
                                                                                                      9:10:28


Glad you're feeling better.1
                             9:37:24


Honey, I just finished my exercise today. What are you doing?
                                                                   9:51:35


<attached: 00003198-GIF-2024-07-04-11-27-43.mp4>
                                                            11:27:43


                                                                        Hi Sweetie,,
                                                                        I’m doing house cleaning and chores.
                                                                                                      11:40:00


A diligent gentleman
               11:41:50


                                                                                                     +
                                                                                                      11:50:47


Now I just read at home !
                          11:51:51


<attached: 00003203-GIF-2024-07-04-16-38-53.mp4>
                                                              4:38:53


                                                   <attached: 00003204-GIF-2024-07-04-16-47-50.mp4>
                                                                                                      4:47:50


<attached: 00003205-GIF-2024-07-04-16-48-55.mp4>
                                                              4:48:55


You look busy even on your days off 8
                                         4:49:21


                   LOL well I’m an active guy. Even on my days off. I’m going to go for a walk now.
                   It’s lovely outdoors.
                                                                                                      4:51:35


lol. Sounds great, I just read at home today and took a nap. I just woke up now.
8 8 8
                                                                                    4:53:23


Did you take pictures of the outdoors
                                       5:20:18


<attached: 00003210-GIF-2024-07-04-18-02-46.mp4>
                                                             6:02:46                    COHN0274
                                                                                                          Page 275
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 280 of 439 PageID #: 491
Have you been taken by aliens
                             6:02:52


                LOL no aliens have abducted me yet!! I’m just taking a more technology free day
                today. I like to be unplugged at times. But sweetie you’re always in my heart. ❤
                                                                                                            6:14:35


Know that you are in contact with nature today
                                                      6:16:46


Although technology products can help us kill the boring time. But it's not very
friendly to our eyes. Proper contact with nature is a good thing
                                                                                         6:17:24


What are you working on now
                         6:57:30


                       Hey Sweetie,
                       I’m just eating some dinner. A little late but enjoying it. What are you dokg
                       now gorgeous?
                                                                                                            7:32:33




<attached: 00003217-
PHOTO-2024-07-04-19
-35-13.jpg>




                   7:35:13


I just made dinner tonight.
                     7:35:44


                                                                                          Simple dinner for you.
                                                                                                            7:35:57


Yes, I like simple dinners, steak, red beans, cucumber, corn, cherry tomatoes,
cauliflower
                                                                                        7:39:52


What are you having for dinner today?
                                         7:40:52


                                                            I had a veggie stir fry with marinated tofu over rice.
                                                                                                            7:42:06


Yes, it's a simple dinner, why no meat? 8
                                                 7:43:41


Have you been watching BTC lately?
                                       7:49:04
                                                                                            COHN0275
                                                                                                     Page 276
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 281 of 439 PageID #: 492
                  Well I already told you sweetie that I’m plant based and don’t eat meat. Except I
                  do eat fish occasionally. It’s for health reasons only.
                                                                                                       7:49:12


                                                                          No I’ve not been watching BTC
                                                                                                       7:49:27


Add some fat once in a while
                        7:49:46


                                                                                        Wow BTC fell to $56k
                                                                                                       7:50:15


Now BTC has started to slide. It's already $56,000 a piece
                                                          7:50:18


                                                                         I do add healthy fats to my diet.
                                                                                                       7:50:59


Suitable for buying at the bottom
                              7:51:03


Yes, I like salmon once in a while.
                              7:51:30


                                                                                                 Yes I agree
                                                                                                       7:51:47


                                                                            I love wild caught salmon E
                                                                                                       7:52:15


                                                               We will have to watch for a bottom on BTC.
                                                                                                       7:52:50


The current market conditions are not friendly to long-term BTC holders.
                                                                           7:52:55


It's delicious. Eat the salmon raw. I don't like it cooked
                                                     7:53:29


                                           Yes and the BTC halving isn’t making any difference yet.
                                                                                                       7:53:57


Focus on the bottom. But it should also be used to buy
                                                     7:54:02


                                                                                          You like sushi then
                                                                                                       7:54:24


So we were both smart and converted BTC to USDT. In this way, we will not
lose money
                                                                              7:54:36


                                                                                             Sashimi I mean
                                                                                                       7:54:39


Yes, I like to eat. It's even better with mustard
                                           7:54:55
                                                                                        COHN0276
                                                                                                     Page 277
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 282 of 439 PageID #: 493
                                             Yes I would be down a lot on my BTC if I still owned it.
                                                                                                       7:55:19


I like the sensation of irritating my nose when mustard goes into my mouth. And
tears will come out of my eyes
                                                                                   7:55:38


                                                                                        Me too! I like wasabi
                                                                                                       7:55:59


Good thing I taught you how to convert to USDT.
                                            7:56:03


Salmon in mustard. Into the mouth. I especially like the wild ones. If you can
catch salmon and eat it on the spot. This is extremely fresh
                                                                              7:57:07


                                            Yes I’m very happy you taught me to trade with USDT.
                                                                                                       7:57:10


Honey, how much money do you have ready now
                                            7:57:40


Mustard goes well with many dishes. Some people don't like it. Some people
love it.
                                                                              7:58:45


<attached: 00003252-GIF-2024-07-04-20-00-05.mp4>
                                                       8:00:05


                   $ 758,635. I had more but accidentally committed an additional $50k without
                   realizing it to arbitrage the first time I did it.
                                                                                                       8:00:51


Is this the money in your short-term trading account
                                                 8:01:28


                                                                                                     Yes
                                                                                                       8:01:36


Then you don't have enough money for short-term trading.
                                                           8:02:03




                                                                     <attached: 00003257-
                                                                     PHOTO-2024-07-04-20-02-04.jpg>




                                                                                        COHN0277       8:02:04
                                                                                             Page 278
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 283 of 439 PageID #: 494
How much money was made from arbitrage
                                         8:02:22




                                                                        <attached: 00003259-
                                                                        PHOTO-2024-07-04-20-
                                                                        03-07.jpg>




                                                                                              8:03:07


This is very substantial
                  8:03:27


But you don't know what I'm saying. I mean how much money you have prepared
for wire transfer on Friday
                                                                              8:04:23


                  It is!! So why don’t I have enough for short term trading? I’ve made trades with
                  only $50k
                                                                                              8:04:42


Your short-term trading account is now around $700,000. We need to trade for
180 seconds. Or 600 seconds of operation. If trading 60 seconds operation. The
risk factor is too high
                                                                              8:05:51


Do you understand what I mean
                               8:06:54


                     I don’t have any money prepared to wire transfer. As I told you I need a lot of
                     cash for my rental project so u can’t send it all and have no cash
                                                                                              8:07:04


I understand. You need money for your current project. So you need to be
prepared. So you haven't thought through whether or not you should withdraw
money from your retirement account.
                                                                            8:08:05


I think your house looks nice
                            8:11:01


How much does your current rental program cost
                                                   8:18:27




                                                                               COHN0278
                                                                                             Page 279
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 284 of 439 PageID #: 495
                 Well why can’t I trade with the funds I have for 180s or 600s? Yes I profits are
                 small but still profit. You told me to put $2 million in arbitrage and I did.

                 Anna- I feel you are pressuring and pressing me on withdrawing my IRA and are
                 not respecting my wishes on the timing on how best to use it and withdraw it.
                 While I get the profit potential of using IRA money withdrawing $2 million will be
                 difficult and I’m doing homework on how to approach this. Let me handle it
                 please.
                                                                                               8:19:59


                                                         In expecting at least $100k for the project.
                                                                                               8:21:04


it doesn't matter. You can seek out the lessons that suit you.
                                                         8:21:29


                      I don’t understand your comment, please help me to better understand the
                      lessons that suit me?
                                                                                               8:22:52


It's not about profit. It's a question of risk. All the money we trade is that we
need to set aside half of the capital to hedge the risk. But 60-second trading is
not stable. So I'm responsible for you. I'm not kidding with your funds. I will of
course take you with me when there is a suitable trade. I'll give you $2 million for
arbitrage. And so that you can make a profit every day.
                                                                              8:23:30


I mean the way you can handle withdrawing money from your retirement account
is very good. You can do it your way. I'm not putting any pressure on you
                                                                              8:24:38


So you don't have to feel like I'm pressuring you. I'm just checking a student's
work like a teacher. LOL
                                                                            8:25:21


But you know, you're like a student who didn't finish his homework. You need a
teacher to whip your fingers with a board. LOL
                                                                            8:27:25


<attached: 00003277-GIF-2024-07-04-20-29-14.mp4>
                                                     8:29:14


                   I’d be happy to trade with $350,000 for 180s. I don’t see they have a minimum
                   amount required to trade 180s or 600s
                                                                                               8:29:35


The amount is not required. When we trade, we trade according to the nodes of
the market. I'm not putting any money at risk. It's my responsibility.
                                                                             8:30:52


                   Yes I agree and want to trade at the right moment. Not just to trade. We are on
                   the same page.
                                                                                               8:32:12


                                                         Time for fireworks ~ I hear some nearby.
                                                                                               8:34:11



                                                                                COHN0279
                                                                                                Page 280
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 285 of 439 PageID #: 496
I told you that before. The BTC market changes very quickly and hedging risks
is important.
                                                                                 8:36:04


You should share it with me now.
                                8:36:34


Enjoy fireworks together
                    8:36:49


<attached: 00003285-GIF-2024-07-04-20-40-27.mp4>
                                                      8:40:27


Sleep well, dear. Good night.
                        10:25:06


                      The night sky is a canvas, and you’re the brightest star in it. Good night, my
                      shining love.
                                                                                                 10:27:27


                                             Jul 5, 2024

Good morning, dear. May your day be filled with sunshine, smiles and happiness.
May your mood always be bright and your heart always be filled with kindness
and beauty. There may be some difficulties and challenges today, but don't be
afraid. We will work together and face them together, and we will definitely
overcome all difficulties. Because a new day means new hope and a new
beginning.>
                                                                                   8:00:40


                  Good Morning Beautiful,
                  Wishing for you today and every day forward to feel nourished, loved and cared
                  for in the ways you deeply desire. Sending you a big hug to help you kickstart
                  your day ,
                                                                                                  8:07:11


Honey, I will be doing my daily exercise and costume design work today,
perfecting samples and designs.
                                                                       8:11:28


What are your plans for today?
                              8:11:36


<attached: 00003292-GIF-2024-07-05-08-32-28.mp4>
                                                      8:32:28


                  Hey sweetie ,
                  I have a session this morning with my men’s coach. Then I have to go visit a
                  nursery to pick out replacement trees for the ones that recently died in my yard.
                                                                                                 8:45:43


It doesn't sound like today will be too stressful for you, dear. Hope it's a
nice day.
                                                                      8:47:13


How long is a class? What do you mainly study?
                                            8:49:03


                                                                                     COHN0280
                                                                                                Page 281
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 286 of 439 PageID #: 497
Pick out the saplings and start decorating your yard. Of course, you can also
pick some flower seeds. Cultivate when seeds can be sown. When it sprouts, I'm
sure the yard will be full of life
                                                                                      8:50:35


                     It’s not a class. This is a one on one session with Voy that works with me on
                     anything I need help with in my life. Emotional, physical, mental and spiritual
                                                                                                 8:50:36


Maybe you could call it counseling. Is it because you're stressed
about everything
                                                                  8:51:18


Maybe I can help you. To keep you happy. When I feel bad physically or
emotionally. I will do some aerobic exercise. Let yourself release stress.
                                                                            8:52:52


                Kind of but he’s not a counselor or therapist in the traditional sense. He’s a
                men’s coach that works exclusively with men to help us achieve growth in all
                areas of our life. Stress doesn’t need to be a reason for the session. It could be
                important business or personal decisions I’m needing more clarity in my life. Any
                topic is game.
                                                                                                 8:56:21


I kind of get it. You probably have a lot going on right now. So you need to have a
clear plan. How do you go about this project and feel relaxed
                                                                                      8:58:07


                 Thank you sweetie for your offer. You keep me happy and help me by continuing
                 to show up as your loving self with me.
                                                                                                 8:58:13


Don't be so polite. Because we're family. So I hope we can talk to each other
whenever we have anything. Heal each other. Because each of us lives
differently, the environment we are exposed to is also different. If we need to live
together, I know it's all about running-in. So I wouldn't mind being your listening
ear. Give you encouragement.
                                                                                      9:00:16


We can talk when you're not busy
                               10:06:37


Are you resting now, dear
                    12:38:15


<attached: 00003306-GIF-2024-07-05-13-09-55.mp4>
                                                        1:09:55


My work is done. Now enjoy food time
                                     1:10:24


                 Hi Sweetie!
                 Happy TGIF! So glad you’re done for the day. I’m finished with my morning work
                 and eating a little food now and resting until I go to the tree nursery s
                                                                                                  1:29:11


                                               <attached: 00003309-GIF-2024-07-05-13-29-17.mp4>
                                                                                           1:29:17
                                                                             COHN0281
                                                                                                     Page 282
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 287 of 439 PageID #: 498
Always remember to replenish your energy. So the body will be healthy
                                                                     1:30:22


I thought you were back from nursery shopping. And I hope you can send me
what kind of tree is it
                                                                               1:30:53


                                                                                           I will gorgeous '
                                                                                                       1:31:42


Yes. be strong. So you can pick me up with one hand LOL
                                                       1:32:17


<attached: 00003314-GIF-2024-07-05-13-34-11.mp4>
                                                      1:34:11


                                                         A one arm pick up when I hug you everyday.
                                                                                                       1:35:24


How you feeling today. Are you feeling any better? After talking to your coach
                                                                                1:35:32


Yes. Take your other hand and hang it around your neck. You can pick me up with
one arm and spin me around
                                                                                    1:36:10


                   Yes it was a great session and we talked about what working together will look
                   like going forward.
                                                                                                       1:37:13


What was the end result?
                     1:37:38


Working together requires people who are on the same page. Have the same
goal. It will be easy for the two of you to get along.
                                                                               1:38:25


I sometimes at work, people who don't know me, always think I'm an iceberg.
Because you don't talk much. But after the team at the bottom spent time with
me. They always liked me. Always said wanted to learn from me
                                                                                 1:40:50


I wish to pass on my good fortune to you.
                                     1:41:49


<attached: 00003323-GIF-2024-07-05-13-43-39.mp4>
                                                      1:43:39


                    Yes you do have a lot of insight Anna and feel your life experiences are potent
                    wisdom you can share with others.
                                                                                                       1:44:30


                                                                                 Thank you Gorgeous ❤
                                                                                                       1:45:21


My dear. I hope you have a lot of joy in your life, too. I know you believe me.
That's why you should be true to yourself in front of me. I'll share it with you.
                                                                               1:45:44

                                                                                     COHN0282
                                                                                              Page 283
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 288 of 439 PageID #: 499
                 Saying this means a lot to me and I always strive to show up with you as my true
                 authentic self and will share my feelings, joys and pain with you. I hope we can
                 do this together
                                                                                                1:48:28


I'm sure the kids will support us together. Because we're all responsible adults. I
always think about the kids
                                                                               1:48:35


                 I do too. Of course because they are a high priority in our life. And always will be.
                 We both have amazing relationships with our kids.
                                                                                                1:51:28


I've always felt a sadness in you. Seems to have been living for others. Forget
what you need. I know you're a wonderful man. We both had similar experiences.
So I understand you. But I also like that you'll be a better person when you meet
me.
                                                                                1:51:28


Yes. We think the same thing. So I plan my life for the kids, too. Just like you
leave money for the kids. But the difference between us is that I will use the
opportunity to make money to set aside more funds for my children. So that
children in the future want to do anything, can be bold to achieve. We can be a
strong support for our children
                                                                             1:53:16


                   Yes we are very much alike. I have been helping my son achieve more financial
                   abundance in his life for his whole life.
                                                                                                1:55:32


Yes. Your child will be my child. I'll love him as much as you do.
                                                            1:56:07


                                                            And I will love Dalia as my own child. ,
                                                                                                1:57:49


But in its current form, we all want to save our money. We don't talk about what
will happen in the future. It's just that it's been inflation for the last two years.
Plus many times the funds are in our retirement accounts though. But every time
they needed to use the funds, they were refused. Slowly it became clear that
this was no longer our money.
                                                                               1:58:02


I have created short-term trading accounts for my children. Put money into
arbitrage. It was the best thing I ever did. Because it pays off every day. It can
also get more wealth for the children. It protects our children. And when they
want to do anything. Have sufficient funds. I don't want our kids to start from
scratch like we did
                                                                            1:59:45


                    We are both strong and smart and will always be able to create more financial
                    abundance into our lives to beat inflation and taxes.
                                                                                                1:59:52


                    Do you have more than one child Anna? Because you just mentioned children
                    which is more than 1 child.
                                                                                         2:01:32
                                                                          COHN0283
                                                                                           Page 284
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 289 of 439 PageID #: 500
Your children are my children.
                          2:02:03


We need to communicate our ideas well. I believe we are more than just love. We
all have a strong sense of responsibility. I hope to give my children a good life
                                                                               2:04:45


<attached: 00003341-GIF-2024-07-05-14-06-14.mp4>
                                                   2:06:14


                                                                   And I have no doubt you Anna.
                                                                                             2:06:15


I trust you, too. And I understand what you're going through. Although there are
good opportunities to make money. But your account doesn't draw funds that
way. Maybe it's the consultant. But, honey, the reason I'm giving you advice. I
want you to be able to manage your money. Instead of not being in your hands,
or even ending up not being yours
                                                                               2:08:10


                                                                  I need to go to the nursery now.
                                                                                             2:15:20


OK, hope it goes well. Look forward to your home decorated very beautiful
                                                                     2:20:39


Are you home already
                4:45:34


                Hi Sweetie!
                Yep I’m home now. I had to drive kind of far to get to the nursery. What’s cool is
                the manager offered to come over to my home tomorrow to help me pick out the
                best trees for my backyard.
                                                                                            5:30:32




                                                                         <attached: 00003348-
                                                                         PHOTO-2024-07-05-17
                                                                         -32-19.jpg>




                                                                                             5:32:19




                                                                                COHN0284
                                                                                      Page 285
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                                                                      <attached: 00003349-
                                                                      PHOTO-2024-07-05-17
                                                                      -32-19.jpg>




                                                                                          5:32:19




                                                                      <attached: 00003350-
                                                                      PHOTO-2024-07-05-17
                                                                      -32-19.jpg>




                                                                                          5:32:19




                                                                      <attached: 00003351-
                                                                      PHOTO-2024-07-05-17
                                                                      -32-19.jpg>




                                                                                          5:32:19


It's totally different. It's gonna look good
                                      5:33:15




                                                                         COHN0285
                                                                                                Page 286
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                                                                            <attached: 00003353-
                                                                            PHOTO-2024-07-05-17-35-09
                                                                            .jpg>




                                                                                                 5:35:09


These are things that need to be managed well. Love with your heart
                                                                        5:37:34




                                                                              <attached: 00003355-
                                                                              PHOTO-2024-07-05-17-42-
                                                                              01.jpg>




                                                                                                  5:42:01


Wow honey, you always warm my heart ❤
                                      5:45:08


Plants are like lovers. You can always feel it when you care for it
                                                                  6:36:32


I plan to do my daily exercise tomorrow and then go to Rodeo Drive to shop for
some things. We can leave messages for each other when we are free.
                                                                                  8:52:11


Hope you can sleep well tonight. Good night
                                        8:52:23


<attached: 00003360-GIF-2024-07-05-20-52-36.mp4>
                                                        8:52:36


                  The night holds a special place in my heart, sweetie , because it’s a time when I
                  can send you all my love, thoughts, and wishes as you peacefully rest. Sweet
                  dreams =
                                                                                                  9:03:01


                                                Jul 6, 2024
                                                                                     COHN0286
                                                                                          Page 287
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 292 of 439 PageID #: 503
Good morning, dear, hope you had a good sleep and today will be a great day. I
will text you when I am free.
                                                                            5:43:03


                 Good morning Beautiful, @ ☀ You are the rainbow who fills my life with color. I
                 wish for you to have a wonderful day today.
                                                                                           6:17:06




                                                                        <attached: 00003364-
                                                                        PHOTO-2024-07-06-15-16-
                                                                        30.jpg>




                                                                                           3:16:30


Hey honey, yes, Dalia and I had a great day. Hope you had the same.
                                                              4:38:14


I went shopping today with my daughter Dalia.
                                             5:01:28




<attached: 00003367-
PHOTO-2024-07-06-17
-03-04.jpg>




                   5:03:04


I have always liked this brand of bags
                                   5:03:29


                 Yes yves saint laurent are such classic handbags. My mom had one just like this
                 one that she loved. She was a big fan of designer clothes, handbags and shoes.
                                                                                           5:47:45


Yes, LV makes really good bags!
                             5:48:39


What brand of bags do you like?
                             5:48:46
                                                                               COHN0287
                                                                                               Page 288
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 293 of 439 PageID #: 504
                                          Wonderful to hear you had a great day with beautiful Dalia.
                                                                                                5:48:50


<attached: 00003373-GIF-2024-07-06-17-49-21.mp4>
                                                      5:49:21


How was your day today?
                    5:49:29


                Gosh there are many great and popular handbag designer labels and it’s such an
                individual choice as to what feels right and looks good for a lady.
                                                                                                 5:51:36


Yes. Maybe it's because designers are good at understanding what women want
in the marketplace
                                                                                 5:52:32


                                         <attached: 00003377-AUDIO-2024-07-06-17-54-06.opus>
                                                                                                5:54:06


It sounds like you had a busy but productive day. I'm glad the people from the
nursery came to give you some estimates and the follow-up call from the retreat
was insightful. It's always good to hear how others are doing. Shopping for
yourself sounds like a fun way to treat yourself. Enjoy your relaxing time. /
                                                                                 6:01:09




<attached: 00003379-
PHOTO-2024-07-06-19
-15-42.jpg>




                   7:15:42


Today's dinner, vegetable salad. !
                               7:15:52


                Hi Sweetie,
                Beautiful combination of food this evening! Thanks for sharing as always. I’m
                getting a good idea of what you like to eat. Hope one day we can cook something
                together. It would be so fun to kiss and cook together. '
                                                                                                8:35:48


Thank you for your compliment, dear. Yes, it sounds like a great idea, I think
maybe one day we will plan every day of our future together.
                                                                          8:44:46


What are you doing? I hope you are relaxing in your air-conditioned room.
                                                                       8:46:11

                                                                                    COHN0288
                                                                                              Page 289
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 294 of 439 PageID #: 505
Have a good sleep. Good night
                          9:38:59


                                                                         Sweet dreams sweetie ❤
                                                                                               10:17:00


                                             Jul 7, 2024

Good morning! At the beginning of a new day, I would like to send you my most
sincere greetings and blessings. May you be full of energy, happy mood and
smooth work today. No matter what challenges you face, you can move forward
firmly, keep your original intention in mind and forge ahead. I hope that every
day of yours will be filled with sunshine and smiles.>
                                                                                8:04:44


                  Good morning, Gorgeous. You have a way of making every day feel special, but
                  today feels extra special because it’s another opportunity to cherish and adore
                  you. I hope your day is as amazing as you are.
                                                                                               8:34:44


Thank you dear. Hope your day is as wonderful as you are. Let's have morning
coffee together ☕ ☕
                                                                            8:38:30


                                         <attached: 00003389-GIF-2024-07-07-08-40-26.mp4>
                                                                                               8:40:26


<attached: 00003390-GIF-2024-07-07-08-43-54.mp4>
                                                     8:43:54


Honey, I have finished my daily exercise for today. What are you going to
do today?
                                                                     9:41:09


                                        <attached: 00003392-VIDEO-2024-07-07-12-51-27.mov>
                                                                                               12:51:27


Hey there! Honey， That sounds like a lovely day at the farmers market. Fresh
produce and a vibrant atmosphere always make for a great time. Enjoy your
yummy finds !!
                                                                               1:03:15


                                                                                              +
                                                                                                1:04:57


<attached: 00003395-GIF-2024-07-07-13-11-49.mp4>
                                                     1:11:49


What did you buy?
             1:12:31


                       A variety of Fresh vegetables, some green juice, salad dressing, honey, and
                       fresh micro greens.
                                                                                                1:39:38




                                                                                   COHN0289
                                                                                                        Page 290
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 295 of 439 PageID #: 506
Sounds like a healthy and delicious combination! I love incorporating fresh
vegetables and greens into my meals. The green juice and micro greens must
add a nice burst of flavor and nutrition. D
                                                                                     1:46:07


<attached: 00003399-GIF-2024-07-07-16-42-00.mp4>
                                                              4:42:00


                                               <attached: 00003400-GIF-2024-07-07-16-44-14.mp4>
                                                                                                          4:44:14


Strong.
 4:45:05


Do you spend your weekends working out
                                          4:45:19


                                              <attached: 00003403-GIF-2024-07-07-16-46-43.mp4>
                                                                                                          4:46:43


I would choose yoga. Meditate
                          4:47:29


                                                                                            I meditate every day
                                                                                                          4:47:52


Yes, it's a great way to relax yourself
                                    4:48:22


Oh, that's right. Honey, have you been raising money during this time? There
was a good market on Wednesday
                                                                                   4:50:44


                                                                        Did you make a trade on Wednesday?
                                                                                                          4:53:53


On Wednesday, I will trade 600 second operations
                                                    4:54:32


What I planned for you was a 180-second operation. But there's not enough
money in your account. There will be a risk factor.
                                                                                  4:55:07


                                                How much money is required to do a 600 second trade?
                                                                                                          4:57:19


                        Trust wallet shows I can do a 600 second trade with less money. Minimum
                        shows 10,000.
                                                                                                          4:58:49


A 600-second operating account would require $6 million. Hedge your risk.
                                                                                  4:59:15


I know what you're saying, but you're not thinking about the risks
                                                                        4:59:45


                      Why are the risks less with $6 million? Help me to understand your thinking.
                                                                                                           5:01:17
                                                                                            COHN0290
                                                                                                 Page 291
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 296 of 439 PageID #: 507
                                                It seems more money in the trade the higher the risk.
                                                                                                  5:02:30


                                                            More to lose if the trade doesn’t work out.
                                                                                                  5:02:51


I remember when I first showed you the operation, I told you that we need to set
aside half of the capital to hedge the risk. The market is volatile. In the case of a
large amount of money. We make more money. And have enough money to buy
and sell. Sell and buy
                                                                                    5:04:16


If it's your idea, you can trade it for $10,000. Then all you have to do is put in
$10,000. It's impossible to operate. Directly swallowed by the market
                                                                              5:05:31


The more money in the transaction. The lower the risk factor. And the chance of
earning a profit is more stable. Not the higher the risk factor. The rise and fall of
the market is rapid. That's why people put a lot of money into it.
                                                                                    5:07:34


                 I will have $800,000 to trade on Wednesday. Is that also too small? And if it is
                 then I will just have to wait in the sidelines for a few months until I can build up to
                 $6 million using arbitrage.
                                                                                                  5:08:12


It's like a capitalist. I'll tell you in stock terms. When a stock market is not very
good, but there are capitalists to invest a lot of money, the stock will inevitably
rise, retail investors will also earn profits with the rise. But the capitalists pulled
their money out. Stocks fell with it. Capitalists have enough capital to hedge
their risks. What about retail investors? It would be a total loss of capital
                                                                                  5:09:41


I know what you mean. What you mean is that you don't want to add additional
funds. Just use the arbitrage money to give you a rollover.
                                                                                 5:12:21


                 Noted the ability of whales to make money over the retail investor. I’m not in your
                 league yet sweetie. Not a whale. However I’ve always been a nimble investor and
                 follow the big money and exit the trade with profit. I don’t buy and hold never
                 have.

                 I am trusting you to guide my decisions with this crypto arena. So if there are
                 some opportunities to trade what I have that’s available then great. But if not
                 then I’ll just wait until my account gets big enough to join you in this 600 second
                 market.
                                                                                                  5:14:33


You'd rather wait a few months. Then you will choose to miss the opportunity
that arises in the middle. Our ideas do not coincide at present. I was trying to
make a profit in short-term trading. And planning for retirement. Take yourself
off the market and start enjoying life
                                                                                5:14:45


I guide you. I help you plan. Is in your best interest. But after I told you, you
wanted to wait a few months. So what can I do?
                                                                            5:16:04
                                                                                      COHN0291
                                                                                                Page 292
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                                          <attached: 00003427-AUDIO-2024-07-07-17-21-23.opus>
                                                                                                  5:21:23


                                                           Did my voice text make sense to you? !
                                                                                                 5:23:28


I know what you mean. But you misunderstand me. I'm not asking you to have $6
million in your account before you can trade. But you can do it in the short run.
What I'm suggesting is that you now have $800,000 in your account. Then you
can increase your account to 1.5 million dollars for short-term operations. So you
can operate for 180 seconds and still have money in the arbitrage. So the
concept of double returns
                                                                               5:28:30


Do you understand what I'm saying
                                5:28:39


You are also in the process of accumulation. If you want to make a profit. Then
we can't keep waiting for an opportunity. It's about creating opportunities. I'm
sure you feel the same way. It's all about earning money and then enjoying life.
                                                                             5:31:40


                      Not completely.
                      1. How do I increase my account to 1.5 million for short term operations? Do I
                      take money out of my arbitrage account early to do this?
                                                                                                 5:32:44


Why would you take it out of arbitrage?
                                     5:34:21


Have you run out of money in your stock account and your retirement account?
                                                                             5:35:04


                   Sweetie my IRA is off the table for the reasons we have already
                   discussed before.
                   I only have about $100k in my stock account that is there to pay for my ADU
                   rental expenses. I’m planning to send $50k from that account to my trust wallet.
                   I feel I need to keep at least $50k on hand for now. There are some very large
                   bills coming in for the project.
                                                                                                  5:40:01


What account
         5:41:01


                                                                                       My stock account
                                                                                                  5:41:20


I know you need to pay your bills. But honey, in the time it takes to pay your bills,
you can put $100,000 into your short-term trading account. We made a profit
after trading for a short time. You withdraw it when you need to pay. So you used
the $100,000 to make money
                                                                               5:42:47


Do you understand what I'm saying
                                5:44:12




                                                                                 COHN0292
                                                                                                Page 293
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 298 of 439 PageID #: 509
                     Yes I understand you.
                     Okay I will send as much of the $100k as I can. Yes we can make the profit on the
                     trade and I can send money I need back to my account after the trade is done to
                     pay bills.
                                                                                                  5:46:23


One more thing. My dear. There's nothing we can't talk about. When there's
something that can't be solved. It's more about the two of us talking. Instead of
choosing not to talk
                                                                                 5:48:16


                      Yes I agree completely with you on this. Communication is key  Thank you for
                      saying this. * ,
                                                                                                  5:49:34


Because the two of us need to live together. Everything should be between the
two of us. To put our two minds out there, to collide. Move forward together.
Instead of going through it alone.
                                                                               5:49:35


So when you say your IRA is off the table, I don't understand. We can all speak
our minds on this matter.
                                                                               5:50:37


                          Sweetie I want to finish my workout. I will reply to you when I get back home.
                                                                                                  5:53:45


OK
 5:54:00


You can text me when you're done working out.
                                               6:45:36


                                                                             You deleted this message.
                                                                                                  8:06:30


What's going on?
                8:17:10


                                          <attached: 00003450-AUDIO-2024-07-07-20-27-54.opus>
                                                                                                  8:27:54


I listened to your message very carefully.
So the first thing I need to tell you is how to take the IRA out. You have two
options, just the way you need to withdraw the funds. It's not that complicated.
It just depends if you want to do it, because you know the IRA has a 60-day life.
You also have your project going on in the process. You need money. Then you
can withdraw your funds for the renovation of the house. I know that if you tell
someone who manages your money to invest it, it's not a realistic thing to do.
Because it's their job to manage your money. They're also afraid you'll fire them.
I'll tell you what I've experienced before. What I said when I made the withdrawal
was that I needed to use this money for turnover. I need to buy materials and
furniture for the construction of my room.
                                                                                 8:49:36




                                                                                   COHN0293
                                                                                              Page 294
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 299 of 439 PageID #: 510
This is a short-term contract for BTC, which I call BTC quantitative trading
(because analysis and statistics need to be done through the Quant model) and
it can be traded both ways. For example, if I predict that the price of Bitcoin will
rise within a fixed income time (180S), I create an order for the price of bitcoin to
rise. After the order is successfully created and the Bitcoin price rises in the
fixed income time, I can close the position and profit. Conversely, when I predict
that the price of bitcoin will fall, I can also create an order for the price of bitcoin
to fall. As long as the prediction is correct, after the order is created
successfully and the price drops, I will also profit by closing the position.


All we do is make a profit in the BTC market.
                                                                                  8:51:45


These predictions, data analysis and statistics, the final strategy and risk control
are all assisted by mathematical models built by computers and modern finance,
statistics and mathematics methods, which can also be called quantitative
trading models.
I spent a lot of time and money seeking help from the technical team to build
these models, which calculate the probability that a financial product will rise or
fall over a specified period of time. Formula templates are built based on hash
algorithms, as well as functions. Take blockchain, which can capture copies of
historical transaction data in countless nodes of the blockchain, as well as real-
time prices and volumes for analysis and statistics


I observe the BTC market every day, collect and record some important data,
and then plug these data into these models to get the final result, and finally
plan the stock capital
                                                                                  8:53:06


Mainly through the statistics of historical data, find out the mathematical
relationship between the changes of financial product prices, macroeconomic,
market indicators, technical indicators and other indicators, find out the small
profit opportunities in the market, and make profits through rapid and large-
scale trading through leverage ratio. The model continuously monitors the prices
of major investment targets such as Treasury bonds, futures, currencies, and
stocks, and makes orders to buy up or buy down



These mathematical models are built and verified by Python, R, Bloomberg
Terminal and some open source libraries


I will combine the results of this model with my own experience to come up with
the final strategy. Most of these quantitative software and models are used in
the stock, futures and foreign exchange markets, but it is long-term, and I don't
have much time to manage it, so I choose short-term trading.

Buying low and selling high is a thing of the past. This is subject to fluctuations
in market sentiment and some short-term buying and selling which makes it
speculative.
                                                                                  8:57:29


Sleep well, darling. Good night.                                                   COHN0294
                           10:25:50
                                                                                              Page 295
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                                              Jul 8, 2024

                  Good morning, gorgeous ☀ As you step into the new day, may every moment
                  unfold beautiful blessings and joy for you. You deserve all the happiness in the
                  world, and I always enjoy doing my best to give it to you every day. ,
                                                                                               6:59:05


Good morning! Dear, today is another beautiful day. May your day be filled with
sunshine and happiness. At the beginning of a new day, I send you my most
sincere greetings and blessings.>
                                                                             8:08:25


                 Thank you Sweetie for your in-depth explanation on how you set up your trades.
                 WOW!!! Having your proprietary software is pretty cool to have and i have no
                 doubt you have invested a lot of time and money in this. Now I know there is no
                 way i can duplicate how you set up your trades without your software and
                 experience.
                 And I hope you know I’m super grateful to have the opportunity to benefit from
                 your expertise and trade along with you. ,
                                                                                               12:00:38


So all you need to do is add funds
                              12:10:18


I will make plans for our future. So you can rest assured.
                                                     12:28:32


How's your work today?
                   1:36:17


                         Hey beautiful M
                         It’s been a busy morning with my rental project. Been working on it all day.
                         How’s your day been going?
                                                                                                3:10:58


So you're done now?
               4:37:25


                             Yes I’m done for the day gorgeous and am heading out to exercise. V
                                                                                               4:54:42


OK. Enjoy your workout. We can connect later.
                                           4:55:14




                                                                                COHN0295
                                                                                           Page 296
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                                                                          <attached: 00003466-
                                                                          PHOTO-2024-07-08-20
                                                                          -37-25.jpg>




                                                                                              8:37:25


I do yoga in the evening. How about you?
                                   8:38:07


                                                               Sounds relaxing Ä
                                                               I’m reading and listening to music.
                                                                                             8:39:27


I'm glad you're taking good care of yourself now. I know we both have our own
space. So when we're busy and lack communication, I know.
                                                                            8:39:46


I hope you can plan your time well. I know your current project keeps you
very busy.
                                                                    8:40:46


                 Right now it does because there are still lots to do as it ramps up. Yes I plan my
                 time well .
                                                                                             8:52:09


Can you catch the deal on Wednesday?
                                 8:52:30


                                                                        Sweet dreams sweetie ,
                                                                                             10:30:52


                                             Jul 9, 2024

Good morning! Honey, I wish you a happy mood, good health, smooth work and a
happy life at the beginning of the day. The morning sunshine is particularly
beautiful, and it will soften your heart with its warmth, so that you can have a
wonderful day.>
                                                                               8:02:16


                 Good morning Gorgeous. The world is waiting to see your sweet smile and hear
                 your cheerful laughter. You are a gift to everyone around you. May your day be
                 as wonderful as the impact you have on my life. Have an amazing day filled with
                 joy.{ R
                                                                                             8:32:03




                                                                                COHN0296
                                                                                              Page 297
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 302 of 439 PageID #: 513
I'm going to go to the gym to work out, and then continue my fashion design
work in the afternoon, preparing new samples and design plans. What are your
plans for today?
                                                                             8:34:51


                  Fabulous! I’m sure you will have a great day. I have a glass guy coming to fix a
                  window and have a chiropractor appointment for an adjustment. Working out at
                  the gym. And I’ll be thinking about you all day gorgeous. ,
                                                                                               8:38:09


Thank you, dear! Sounds like you had a busy day. Hope all goes well with the
glazier and chiropractor appointments. Enjoy your workout! !
                                                                          8:41:53


                                                                    Thank you sweetie. You too. +
                                                                                               8:43:52


Are you ready for today's wire transfer? There will be a transaction
tomorrow, Wednesday.
                                                                8:46:55


                             Yes I’m literally transferring every remaining dollar I have in my stock
                             account haha!
                                                                                               8:53:16


OK, dear, maybe it will arrive this afternoon.
                                        8:55:43


Is your cervical spine feeling better now?
                                    10:17:28


                 Hi sweetie ,
                 I’m still waiting for the wire to arrive at Coinbase. Funds were deducted
                 and sent.

                 And my body also feels better after an adjustment from my Chiropractor. Now I
                 have to pack up some of Cameron’s personal items and ship them to him in
                 Seattle.

                 Hope your day is flowing smoothly. '
                                                                                                2:20:16


Honey, I'm glad to hear you're feeling better after seeing the chiropractor. I hope
Cameron receives his belongings safely in Seattle. As for the wire transfer, I
hope it arrives at Coinbase soon. We just have to be patient now , k
                                                                               2:22:56


What are you busy with now?
                         4:40:11


                Hi Sweetie,
                A friend called me at the last minute and I met him for a bite to ear after working
                out. I’m back home now.

                Geez Louise!!’ My wire has not arrived in my Coinbase account. This is not a
                good sign. All my past wires have arrived same day. So tomorrow I will have to do
                                                                            COHN0297
                some investigation to see why the wire has not arrived yet. t
                                                                                                7:26:14
                                                                                                    Page 298
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 303 of 439 PageID #: 514
Yes. You may need to ask your bank
                                  7:26:49


If the bank deducts the funds, it will arrive
                                            7:27:01


                       The funds are gone from my account. I will call the Schwab wire department
                       tomorrow morning and see what’s up!
                                                                                                      7:28:58


How much funds
            7:29:28


                                                                                                   $80,000
                                                                                                      7:29:43


Then you need to call the bank
                            7:30:04


                                                                                                     3
                                                                                                      7:30:24


                                                                                          How was your day?
                                                                                                      7:32:22


I'm very tired today. Because I feel my period is coming.
                                                              7:33:01


                      Take good care of yourself sweetie. Sending you healing energy and a big hug
                      '
                                                                                                      7:35:56


It would be nice if I could touch my belly
                                       7:36:31


                                               <attached: 00003499-GIF-2024-07-09-19-38-06.mp4>
                                                                                                      7:38:06


                                                                        Good night sweetie,
                                                                        I hope you feel better tomorrow Å )
                                                                                                      9:31:15


Good night, dear. Thank you for your concern. Hope you can sleep well tonight.
!
                                                                                     9:40:05


<attached: 00003502-GIF-2024-07-09-21-40-17.mp4>
                                                              9:40:17


                                                                                                     +
                                                                                                      9:40:48


                                                      Jul 10, 2024

Good morning, dear, I hope your day is filled with health and happiness, forget
your worries and welcome a beautiful day. >
                                                                                     7:19:36

                                                                                        COHN0298
                                                                                                 Page 299
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 304 of 439 PageID #: 515
                    Good morning Gorgeous, No matter how the night was, your sweet text in the
                    morning makes everything right.
                                                                                                  8:34:46


Dear, has the Coinbase payment arrived normally?
                                              8:35:35


                   No it has not. I’ve been on the phone all morning with both Schwab
                   and Coinbase.
                   Coinbase support is worthless. The wire details are correct so I did nothing
                   wrong on my end. This is a bank to bank issue now.

                   Bottom line I have to wait three business days before a trace can be put on
                   the wire.
                   Which will be this Friday.
                   So unless a miracle happens and the money gets credited to my account I will
                   not have the $80k today. This has been really frustrating and I lost sleep last
                   night over it. Ç
                                                                                                   8:41:36


The bank has already deducted the funds, right?
                                            8:43:54


                                        Yes the money was deducted from my account yesterday.
                                                                                                  8:47:50


Yeah, so it's a banking issue now, we can only wait. i
                                                      8:54:07


Dear, you can contact coinbase's email address. Send a message to coinbase.
                                                                              10:18:13


Coinbase: help@coinbase.com Customer service phone: +1 888 908-7930
                                                                           10:19:28


                 I already have contacted Coinbase support sweetie as I shared with you in my
                 earlier text. They are worthless. I was on the phone with them for quite a while
                 this morning. They told me that I had to wait three days for the wire to reach my
                 account. If it does not then to contact them again.

                 They cannot do anything more.
                                                                                                  10:22:23


Yes. Then you need to follow up. I don't want you to lose money.
                                                                10:24:42


                   I won’t lose the money. These are electronic transactions that are traceable. I
                   will call Schwab on Friday morning and they will put a trace on the wire. The
                   money will show up. The problem is with Cross Bank that received the wire.

                   I can also get the federal wire number from Schwab for my wire and call the
                   cross bank wire department and see if they can locate it
                                                                                                  10:30:27


Maybe it's because the wire transfer time is too late. Please wait patiently today.
                                                                                 10:34:22
                                                                                      COHN0299
                                                                                                 Page 300
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 305 of 439 PageID #: 516
                      Okay I called Cross River Bank and they confirmed the wire arrived and was
                      deposited into the Coinbase account yesterday.

                      So this is a Coinbase issue of not crediting my account for the $80k wire.
                                                                                                  10:41:07


                                                                                 Video call, No answer
                                                                                                  10:41:39


I see. It's probably a matter of wire transfer time. Wait a little longer today. I was
in a meeting just now. So I didn't receive your call.
                                                                                10:51:24


Missed video call, Tap to call back
                              11:17:39


Missed video call, Tap to call back
                              11:18:51


<attached: 00003522-AUDIO-2024-07-10-11-20-46.opus>
                                                         11:20:46




                                                                                           <attached:
                                                                                           00003523-
                                                                                           PHOTO-2024-
                                                                                           07-10-12-26-
                                                                                           40.jpg>




                                                                                                  12:26:40


                 Hey sweetie.
                 Sorry I missed your call I was out talking with the plumber about some plumbing
                 issues with my rental unit.
                                                                                                  12:28:15


Good, it looks like the funds have been deposited into your Coinbase account.
                                                                            12:30:30


lol, don't worry honey. We all have our day jobs and plenty of time. We can do
this when we have time. 1
                                                                            12:31:38


Have you solved the plumbing problem at your rental property?
                                                             12:32:19


                                                                                       Yes it was solved.
                                                                                                  12:33:07


Yes, that's great. Now you can put your funds into a short-term account. Glad it
all worked out. I was worried about you. !
                                                                             COHN0300
                                                                         12:34:06
                                                                                                        Page 301
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 306 of 439 PageID #: 517
                                     Thanks sweetie for your concern. You have such a beautiful heart. )
                                                                                                        12:34:57


<attached: 00003531-GIF-2024-07-10-12-35-43.mp4>
                                                               12:35:43


Thank you for your compliment. Honey, we will dance happily together. lolC B
N
                                                                                       12:36:14


Dear, can be sent to your short-term trading account
                                                         12:47:45


<attached: 00003534-GIF-2024-07-10-17-54-31.mp4>
                                                                5:54:31


Are you done with work?
                       6:25:32


                                            Yes gorgeous!! I’m all done and so happy to hear from you '
                                                                                                         6:26:39


Did you miss me today?
                      6:26:50


I miss you today
           6:26:57


                                                               Yes I missed you today. I miss you every day. ,
                                                                                                         6:27:22


Is the renovation complete?
                           6:27:59


I want to see what the design looks like.
                                           6:28:12


                     Ha! The renovation won’t be complete for a few months. If I’m lucky. It’s a major
                     renovation.
                     I only have architectural plans. Tomorrow I will take some photos so you can see
                     how major of a project this is.
                                                                                                         6:31:24


Yes, I'm curious. Because you've been so busy lately that you need to build
a castle.
                                                                                   6:32:05


                      I’m building a very cool small castle for a tenant that will eventually bring some
                      cash flow. Plus it will add value to my property when I sell since it could also be
                      used as a mother-in-law apartment for family or for a tenant.
                                                                                                         6:34:32


This is a long-term plan. I hope it works out well.
                                                     6:35:11


Real estate is a long-term investment. But the returns are not very high. This is a
process that takes time.
                                                                                         6:35:44
                                                                                             COHN0301
                                                                                                      Page 302
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 307 of 439 PageID #: 518
                                                         It will. I’ve had great guidance from my realtor.
                                                                                                       6:35:49


I am happy that your financial advisor will give you good advice. This is a
good thing
                                                                              6:36:41


Everyone is different. Your financial advisor will give you advice. This is for your
money. At the same time, I know that they have worked for you for a long time.
So you also rely on them, but we need to understand that you are the master of
your money. The financial advisor should listen to your instructions.
                                                                                        6:38:30


                 This advise did not come from my wealth advisor. My realtor is one of the top
                 agents in San Diego county and last year sold over $85 million worth of property.
                 She does projects all the time and she was the one that convinced me when I
                 bought the property to convert this space in my home to an ADU.
                                                                                                        6:41:10


                 Of course if I had met you last year I would not have undertaken this project. But
                 it’s too late to turn back now since the project began in January before I met
                 you.
                                                                                                       6:43:59


It doesn't matter. Our main goal is to make money from the project.
                                                                    6:49:35


                 So gorgeous, you told me that today you were going to do a trade. That a good
                 node was coming. The $80k money is now in my short term trading account. Are
                 you still planning to make a trade?
                                                                                                       6:51:06


Has it been sent? I thought it wasn't
                                6:51:33


Then you need to wait for me for fifteen minutes.
                                               6:52:36


                  Yes I shared with you today that the money arrived in Coinbase and you told me
                  to send it over to my trust wallet which I did.
                                                                                                       6:52:43


I thought it was $100,000
                     6:52:57


                                          I had some big bills to pay so I was only make to send $80k
                                                                                                       6:53:31


Yes. You can do what I say. I am happy. Because we have the same goal. We
move forward together.
                                                                                 6:53:42




                                                                                           COHN0302
                                                                                              Page 303
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 308 of 439 PageID #: 519




                                                                   <attached: 00003560-
                                                                   PHOTO-2024-07-10-18-54-47.
                                                                   jpg>




                                                                                                6:54:47


Honey, I'm wondering why you're reluctant to withdraw funds from your
retirement account. Is it because you're worried?
                                                                    6:54:21


OK, I will develop a trading plan for you for $830,000.
                                                  6:55:17


Are you ready?
             7:04:07


Honey
 7:10:39


                                                                                               Yes
                                                                                                7:10:53


Now open your short-term trading account and take a screenshot and send it
to me.
                                                                              7:11:18


We are ready to trade
                       7:11:25




                                                                                        <attached:
                                                                                        00003568-
                                                                                        PHOTO-2024-
                                                                                        07-10-19-11-4
                                                                                        0.jpg>




                                                                                                7:11:40


Amount input: 430,000 USD
                                 7:12:56


Is it done?                                                                        COHN0303
     7:15:04
                                                                                                  Page 304
            Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 309 of 439 PageID #: 520
                                                                Yes How many seconds? Up or down?
                                                                                                    7:15:18


60 seconds
        7:15:31


up
 7:15:34


                                                                                              Okay ready
                                                                                                    7:15:47


                                                                                  Tell me when to entrust.
                                                                                                    7:17:59


Now you can click
                      7:18:44


is it finished
            7:19:34


                                                                                                  Almost
                                                                                                    7:19:41


OK
  7:19:51


                                                                                       Done successfully
                                                                                                    7:20:01


OK Wait for profit
                      7:20:15


                                                                              Yes profit is posted! Yay
                                                                                                    7:20:47


How much profit to get
                                7:21:04


                                                                                                 $43,000
                                                                                                    7:21:19


OK. Now our transaction is over. The recent BTC market is not very good.
                                                                        7:21:51


                                                    Okay sweetie. Sending you a big hug and a kiss +
                                                                                                    7:22:29


I trade on a 600 second operation
                                          7:23:41


                                                                                              Yes I know.
                                                                                                    7:23:53


                                                                            One day I hope to as well.
                                                                                                     7:24:11


I made $750,000                                                                      COHN0304
                  7:24:30
                                                                                                   Page 305
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 310 of 439 PageID #: 521
                                                                        Fabulous!! Congratulations 9
                                                                                                    7:24:46


Dear, today's trading is over. This week, I will spend more time trading.
                                                                      7:25:09


                                 Okay. Gratitude!!! Look forward to more trades this week sweetie.
                                 You’re amazing.
                                                                                                    7:26:25


Yes. Because I want you to make a profit.
                                      7:26:51


Honey, you said you'd move at your own pace. Have you not considered
withdrawing funds from your retirement account?
                                                                        7:27:29


                                                     Well today I made $120,510 including arbitrage.
                                                                                                     7:28:27


Yes. It's not much.
              7:28:58


                                                                                Yes I am worried sweetie.
                                                                                                     7:29:14


Dear, we should be able to communicate well. You can tell me what you are
worried about.
                                                                            7:30:21


                   Yes I want to share with you why and have great communication.

                   Main reason is concern to withdraw such a huge amount of money from my IRA
                   account. It raises a lot of red flags with the brokerage, the bank, the wire
                   department etc. And then sending that huge amount money back within 60
                   days.
                                                                                                     7:38:13


Dear, don't worry about this. I have withdrawn the money before. Although there
will be a call back, I always say that I need to use the funds for business
turnover. Just pay it back within 60 days.
                                                                                      7:42:04


So you can go for it boldly. Believe me, you can also do as I say. Dear, we can't
be afraid of this or that when we make money. You just need to understand one
thing, this fund is yours. You have the right to control it. You need to understand
a logic. We need to use money to make money. If you withdraw 3 million US
dollars, then you can earn one or two times the principal within 60 days. So there
is enough time to pay it back
                                                                                      7:44:21


I have walked the path. I will help you arrange it well. If I have not tried the path I
will not let you take this risk
                                                                                    7:45:43


If you withdraw 5 million US dollars, you will achieve financial freedom in 60
days and have more funds to control the life you want.
                                                                                7:47:18 COHN0305
                                                                                                 Page 306
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 311 of 439 PageID #: 522
                 Sounds like you would just use arbitrage with the funds. No risk to the principal.
                                                                                                  7:49:48


No. When the funds are sufficient, allocating funds is a strategy. Arbitrage can
bring me daily income. But short-term trading operations will earn more.
                                                                                  7:50:41


                                                                             Okay understand. Thanks
                                                                                                   7:51:15


For example, I did this time. I performed a 600-second operation. I could earn
$750,000 in one go. Arbitrage only yields 3.8% a day. A short-term operation
yields 25% of profit. Dear
                                                                                  7:51:51


So dear, when are you ready to withdraw funds from your retirement account?
                                                                              7:53:38


<attached: 00003610-GIF-2024-07-10-20-28-58.mp4>
                                                             8:28:58


Have a good sleep. Good night
                         10:21:15


<attached: 00003612-GIF-2024-07-10-22-21-24.mp4>
                                                         10:21:24


                The best way to start my day is to tell you good morning. The best way to end my
                day is by wishing you good night. Sweet dreams
                                                                                                  10:22:48


                                               <attached: 00003614-GIF-2024-07-10-22-23-23.mp4>
                                                                                                  10:23:23


Dear, please remember to reply to me so that I can help you make a plan.
                                                                       10:24:01


                                                 Jul 11, 2024

Morning is the freshest moment of the day. I hope you can feel the power of life
and beautiful hope in the morning sunshine. Savor the first breath of air in the
morning and feel the beauty and magic of life.>
                                                                                   7:07:55


                 Hello beautiful, and good morning! The day ahead is full of endless possibilities
                 and I am so happy that we get to share it together. I hope your day is as
                 wonderful as the first sip of coffee
                                                                                                   8:11:01


Yes, let's enjoy our morning coffee together. ☕ ☕
                                                   8:12:01


Don't forget to share your house today
                                    10:44:07




                                                                                      COHN0306
                                                                                           Page 307
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 312 of 439 PageID #: 523




                                                          <attached: 00003620-
                                                          PHOTO-2024-07-11-14-44-43.jpg>




                                                                                            2:44:43




                                                                           <attached: 00003621-
                                                                           PHOTO-2024-07-11-14-
                                                                           45-20.jpg>




                                                                                            2:45:20




                                                                           <attached: 00003622-
                                                                           PHOTO-2024-07-11-14-
                                                                           45-20.jpg>




                                                                                            2:45:20


Dear, thank you for sharing. At this rate, when will the construction
be completed?
                                                               4:42:34


It's a huge project. I hope you can build a castle.
                                             5:52:20


                                                                         How was your day sweetie?
                                                                                             8:18:12

                                                                               COHN0307
                                                                                                        Page 308
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 313 of 439 PageID #: 524
Dear, I'm fine, just dealing with some light business emails today. I had a nice
relaxing day. You?
                                                                                    8:20:23


                    It’s been a busy day again with my rental unit. So happy to be done for the day
                                                                                                         8:46:29


Great. Already completed your rental property project?
                                                    8:47:00


                 My project won’t be completed for a few months. But it should move fast. Today I
                 placed orders for the doors and windows. So making progress!!
                                                                                                          8:59:11


That’s great to hear! It sounds like you’re really making progress on your project,
even though it’s still a few months away from completion. But everything is
going well.
                                                                                            9:41:29


Hope you have a good sleep tonight and sweet dreams. Good night
                                                                        9:44:25


<attached: 00003632-GIF-2024-07-11-21-44-36.mp4>
                                                     9:44:36


                 You're the best! Just wanted to let you know before bed. Sweet dreams sweetie
                 ,
                                                                                                         9:45:43


                                             Jul 12, 2024

Good morning, dear, hope you had a good sleep last night. Today is going to be a
great day. >
                                                                                            7:17:42


                  Good Morning Gorgeous! The morning unveils the world’s beauty, but none can
                  compare to the beauty I see in you. Have an amazing day.
                                                                                                          7:30:21


                                                                                  Hi sweetie,
                                                                                  What are you doing today?
                                                                                                         7:39:29


I will be working out in the gym later. My work today will be simple, I will be
proofing and revising the design plan in the office later.
                                                                                  7:46:59


                      Sounds like a great day. Your design skills are amazing! What’s the name of
                      your company?
                                                                                                         7:49:29


www.fashionbrandagency.com
                           7:51:10


Dear, this is our company website, headquartered in London
                                                              7:51:31


What are your plans for today?                                                               COHN0308
                          7:53:43
                                                                                                   Page 309
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 314 of 439 PageID #: 525
Still busy
   10:16:51


                       I’m going to San Diego to look at some hardware for my unit. Then I have a
                       meeting with the facilitator of my Peru trip.
                                                                                                    10:50:54


That sounds exciting! I hope you find the hardware you need in San Diego. And I
hope the meeting with the facilitator goes well for your Peru trip. ! !
                                                                                    10:52:55


                                                                                         Thanks sweetie '
                                                                                                    10:53:27


When you are done, remember to send me a message
                                                           1:59:46


                                                 Hi Sweetie!
                                                 I’m done for the day and back home now. How about you?
                                                                                                     5:38:10


Hey honey, glad your day ended well. I've also finished my work for the day but
am still in the office and planning to go home later.
                                                                                    5:40:01


                  Yes my day was great sweetie. Okay well glad your day is wrapping up! We can
                  connect later on. ,
                                                                                                     5:41:15


Yes, I'll text you when I get home.
                             5:41:47


Honey, I'm home. What are you doing? !
                                          6:25:15


                                                               I’m about to make some dinner for myself. D
                                                                                                     6:25:47


That sounds great, what's for dinner tonight?
                                                 6:27:43


                         A simple dinner of marinated Tofu, snap peas and broccoli air fried. You?
                                                                                                     6:30:09


I'm relaxing on the couch right now. 1
                                       6:31:06




                                                                                       COHN0309
                                                                                              Page 310
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 315 of 439 PageID #: 526




<attached: 00003656-
PHOTO-2024-07-12-19
-10-43.jpg>




                        7:10:43


Dinner tonight. D
              7:10:51


                                                                          Looks simple but delicious!
                                                                                                7:11:27


I love your comments. 1
                         7:11:51


                                                                                              +
                                                                                                7:12:15


<attached: 00003661-GIF-2024-07-12-19-20-46.mp4>
                                                       7:20:46


Honey, how was your trip to Peru today?
                                             7:23:10


                 Haha now that would require teleportation to go to Peru and back in one day.

                 I was supposed to meet with the leader of the Peru trip but he changed our
                 meeting to Monday morning. He wanted to bounce something off of me. Needing
                 some advice and support.
                                                                                                7:25:59


lol, teleportation would definitely come in handy for that! Well, I hope your
meeting with the leader goes well on Monday. 1
                                                                         7:35:10


                        Hi sweetie! Hey we have had an amazing connection for weeks now- texting
                        each other, building trust and getting to know one another heart to heart ❤ I
                        feel it is time for us to meet in person via a video chat.

                        Do you have some time this weekend to connect? '
                                                                                                8:13:48


Missed video call, Tap to call back
                                   8:35:42


Video call, 1 min
           8:36:58
                                                                                   COHN0310
                                                                                                     Page 311
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 316 of 439 PageID #: 527
Video call, 12 min
            8:38:22


                  Hi Sweetie!
                  So awesome to meet you!!

                  Here are some links to a couple of my various channels to check me out as well.
                  Gives you an idea of what I'm up to these days in chapter two of my journey.

                  My website:
                  https://brucecohn.com/
                  YouTube:
                  https://tinyurl.com/2ardyrf9
                  SoundCloud:
                  https://soundcloud.com/brucecohn
                                                                                                      8:51:25


I'm so sorry, dear, I'm taking care of Dalia to sleep.
I'm glad to see you too, and I hope this video call will bring us closer together.'
                                                                                    9:40:52


Dear, I hope you have a wonderful night and a good sleep tonight. Good night
                                                                                9:45:29


<attached: 00003672-GIF-2024-07-12-21-45-41.mp4>
                                                              9:45:41


                                                                                            Sweet dreams )
                                                                                                      9:46:11


                                                      Jul 13, 2024

Good morning Honey! Unremitting efforts will open up your glory. May you feel
the infinite possibilities in the first ray of sunshine in the morning. I hope you
slept well. It's coffee time ☕ ☕
                                                                                  8:59:14


                          Alert! The hottest girl in the world has just awoken! Good morning Sweetie!
                          Coffee time☕ ☕
                                                                                                      9:28:37


Are you done with this busy period?
                                  9:28:56


We don't seem to be communicating well.
                                            9:29:07


Did something happen?
                      9:32:46


                                                           Why do you feel we are not communicating well?
                                                                                                      9:34:05


Because you've been too busy lately.
                                   9:34:27



                                                                                      COHN0311
                                                                                                  Page 312
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 317 of 439 PageID #: 528
                 Yes i have been busy a lot lately and sorry that I haven’t been texting you as
                 much. It’s not my intension to ignore you - it’s just that when I get busy I need to
                 focus on getting the work done.

                 My rental project has required a lot of my time as people are constantly asking
                 me questions in this stage of the project and need to make decisions.
                                                                                                   9:40:58


I will wait patiently for you to finish your work.
                                              9:42:26


Now it's good that things can go according to plan
                                                   9:44:10


                   Thank you for speaking your truth, for communicating and for being patient. ,
                   *
                                                                                                   9:45:42


I know you are very busy recently. So I will also concentrate on my work. I know
you will contact me when you are done. I believe that if we love each other, we
will understand each other.
                                                                                     9:46:45


                                      Yes understanding each other is a foundation for love to flourish.
                                                                                                  10:02:02


I hope you can tell me anything.
                           10:02:28


                                                             And I hope you can tell me anything as well.
                                                                                                   10:31:39


Yes, this is what I hope to see
                         10:37:40


How often does Cameron visit you?
                                11:09:40


                     Cameron only comes to visit me occasionally. Maybe once every 3-4 months.
                     He’s really busy with his work and travels.
                                                                                                   11:41:44


Yes, it sounds like Cameron must be very successful in his field of work？
                                                                          11:47:46


                 Well he just started this job a few months ago and so success will come later on.
                 As a CSA for Alaska Airlines he works a lot!! And he picks up more hours to make
                 more pay because they do not pay him a real living wage. What he gets are
                 fantastic travel benefits. That’s why he took the job. But now he’s realizing he
                 needs to make more money so he can move out of his Mom’s house.
                                                                                                   12:10:34


Yes, I remember last time you mentioned that Cameron was trying to get a new
job at Alaska Airlines. How is that going?6
                                                                                 12:13:30



                                                                                       COHN0312
                                                                                               Page 313
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 318 of 439 PageID #: 529
                  He loves the job, just not the pay. He only makes $19/hour and after deductions
                  for union dues, taxes and benefits his take home pay is really low.

                  I haven’t heard yet if he’s going to go back to school to get certified as a flight
                  dispatcher and then apply for the position at Alaska Airlines
                                                                                                12:37:25


Cameron seems to really love this job, and I think it would be a great career move
if he decided to continue studying to become a flight dispatcher and apply for a
position with Alaska Airlines.!
                                                                               12:41:05


                 Yes I agree, but his chances of getting hired are low. Alaska only hires a few new
                 people once per year for this position and many times there are other more
                 qualified dispatchers applying for the position from other airlines. He must pay
                 $5,000 for the school and spend a lot of school time studying to become
                 certified. They hire only in January, but if he doesn’t get hired he will have to
                 wait another year to apply for the position. Which means he would have spent
                 the money and time to get certified for nothing.
                                                                                                12:46:00


I understand the challenges and risks involved, but I believe in his determination
and passion for this career. He is willing to take the necessary steps and invest
in himself to pursue this opportunity. Even if the chances of success are slim, I
believe he will give it his all and make the most of it. Plus, he can always use his
credentials and experience to apply for similar positions in the future if needed.
What do you think? 6
                                                                               12:48:07


                I agree with you about having passion for his career and know he will figure it
                out. He’s a smart cookie and has determination to succeed. He will figure it out.

                If he does go back to school, get certified and then not get hired he said he does
                not want to leave Alaska airlines and start over with a new airline company. Plus
                he would have to relocate away from the west coast if he applied as a dispatcher
                at another airline. He does not want to live Dallas, Atlanta, Chicago or any other
                city that is not on the west coast.
                                                                                                 1:22:20


Honey, you are right, Cameron is passionate about his job and I believe he can
solve the problem.
                                                                             1:25:38


Children have their own choices. As parents, we are the ones who support them.
                                                                               4:36:10


                                                               Good night sweetie,
                                                               I hope you sleep well. Sweet dreams =
                                                                                                 9:56:05


Have a good sleep. Good night
                          9:56:30


<attached: 00003704-GIF-2024-07-13-21-56-40.mp4>
                                                     9:56:40


                                             Jul 14, 2024                        COHN0313
                                                                                                  Page 314
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 319 of 439 PageID #: 530
The first ray of dawn illuminates your window, the first breeze of the morning
breeze brushes your face, and my blessing comes to you as promised, only to
bring you good wishes. Good morning!
I hope you have a pleasant Sunday !
It's coffee time. Let's enjoy it together ☕ ☕
                                                                                  7:02:21


                    Good morning, gorgeous! Just wanted to remind you how irresistible you are.
                    Have an amazing Day.{ V )
                                                                                                    9:03:17


What are your plans for today?
                             9:41:40


Do we have time to chat today?
                             9:48:38


<attached: 00003709-GIF-2024-07-14-11-06-38.mp4>
                                                         11:06:38


                   Hi Sweetie,
                   I don’t have much planned for today because I’m not feeling well.

                   I need to share with you that I injured myself in the Amazon Jungle and have I
                   been in a lot of pain. And when I’m in pain I need to take care of myself and it’s
                   all I can think about is feeling better. It’s been getting worse so I’m seeing a
                   physician on Monday about my condition.
                                                                                                   11:08:57


                                          Yes we can chat today. Later on this afternoon is best for me.
                                                                                                   11:09:21


What happened to you?
                  11:09:50


I hope you can take good care of yourself. So you can rest now. I will pray
for you.
                                                                           11:10:59


                                                I tore my rectum and have a fissure that will not heal up.
                                                                                                    11:11:36


Is it caused by lifting heavy objects?
                                   11:11:59


                                              <attached: 00003716-AUDIO-2024-07-14-11-16-11.opus>
                                                                                                    11:16:11


                  He’s this can sometimes cause it but not in my case. Heavy lifting can make the
                  condition worse because you have to engage your core to lift which puts
                  pressure on the rectum.
                                                                                                    11:17:35


<attached: 00003718-GIF-2024-07-14-11-21-51.mp4>
                                                        11:21:51


                 Thank you sweetie for being here for me. Sending you big hugs and all my aloha.
                 )                                                          COHN0314
                                                                                                   11:22:52
                                                                                                       Page 315
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 320 of 439 PageID #: 531
Yes, I can give you a nice hug.
                         11:23:18


Are you feeling better now?
                       4:37:21


                                              Yes my pain levels have dropped down. Thanks for asking.
                                                                                                        4:58:48


Yes, I'm glad you're feeling better. É
                                    4:59:55


                                                          I am too. Today has been a rough day for me.
                                                                                                        5:00:46


Dear, I'm so sorry to hear this. I hope you can feel that I am by your side.❤
                                                                           5:01:45


                                                Hearing you say this means the world to be sweetie. ,
                                                                                                        5:03:00


lol, so glad to hear that, I've been praying for you all day today and I'm worried
about you. *
                                                                                   5:07:09


                  I love you sweetie. Truly feel blessed to have you here now in my life.
                  I’m strong but must try to heal the tear. I’m calling in a powerful healer that has
                  been my teacher and mentor for many years to help me.
                                                                                                         5:10:36


Thank you, dear, I am glad to have you in my life too. I support your decision to
seek healing, you just have to take care of yourself and keep me updated on how
you are doing ok?
                                                                                      5:13:56


<attached: 00003730-GIF-2024-07-14-17-14-24.mp4>
                                                         5:14:24


                             Okay I will keep you updated and happy you are supporting me in this
                             difficult time.
                                                                                                         5:14:57


Yes, dear, I am worried about you. I think you will care about me as much as I
care about you, right?
                                                                                 5:18:22


                Yes gorgeous. Of course I will care about you as much as you care about me.
                Over time this will continue to deepen. We should have more phone calls or video
                calls to try to help us deepen our relationship.
                                                                                                         5:22:12


Thank you for your commitment, and I believe that as time goes by, our
friendship will become deeper and stronger.
                                                                       5:24:39


                                                                                                Yes it will. '
                                                                                                        5:47:52
                                                                                       COHN0315
                                                                                                Page 316
      Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 321 of 439 PageID #: 532
Yes, we will communicate more as time goes by.
                                              5:50:49




                                                                                  <attached:
                                                                                  00003737-
                                                                                  PHOTO-2024-07-14-
                                                                                  17-53-52.jpg>




                                                                                                  5:53:52


<attached: 00003738-VIDEO-2024-07-14-17-55-46.mp4>
                                                          5:55:46


My own stamp. lol1
               5:56:15


Glad you laughed. ^
               6:03:41


What are you doing?
              6:48:32


                                                              I’m taking an epsom salt bath to relax me.
                                                                                                  7:05:14


                                      And I’ve been watching the Copa America futbol final in Miami.
                                                                                                  7:06:02


                                                                                   What are you doing?
                                                                                                  7:08:35


I am now ready to enjoy some time for myself.
                                            7:11:03


How was the football game?
                         8:30:52


               The game is still going. They are in overtime. Argentina just scored and leads 1-0
               over Columbia. It’s almost over and looks like Argentina will win the finals and
               the copa America
                                                                                                  9:06:44


Have a good sleep. Good night
                            9:43:12


                                               Good night beautiful Anna. My we meet in our dreams
                                                                                                  9:55:36


                                               Jul 15, 2024
                                                                                   COHN0316
                                                                                                               Page 317
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 322 of 439 PageID #: 533
Good morning, dear. Hope you had a good sleep last night. !
                                                                    7:10:36


Video call, 3 min
           10:15:17


<attached: 00003752-GIF-2024-07-15-10-39-09.mp4>
                                                         10:39:09


Be sure to take good care of your body.
                                        10:40:10


Only after taking good care of our bodies can we enjoy life better. Passive
income is just to pay part of the bills of our lives. I believe that no one does not
like to make money and want to achieve financial freedom.
                                                                                          10:43:01


                                                                                                    I agree completely
                                                                                                                11:12:53


You go to the doctor this afternoon and remember to tell me the result. Don't
make me worry.
                                                                                         11:13:59


                                                                                                            I promise!
                                                                                                                11:14:32


I hope you are doing well. I will also inform you if there is a good deal.
                                                                              11:17:31


How much money do you have in your account now?
                                                    11:21:12


                                                                                    I still have $830,000 to trade
                                                                                                                11:37:43


Last time I told you, you haven't considered withdrawing money from your
retirement account? Dear
                                                                                     11:40:31


Are you having any problems?
                             11:44:31


                      Dearest Anna,
                      I just found out from Trust support that I can only withdraw $200k per month
                      unless I have $10 million USDT in my account. This does not make me happy at
                      all. As I no longer can get at a large amount of money it if I need it for a large
                      purchase. Like buying new home. Can’t do it. All my wealth is essentially locked
                      up now.

                      So there is no way I’m going withdraw funds from my IRA and lock them up. Too
                      much risk and not interested in taking that risk.
                                                                                                                11:55:44


This is very simple. Just withdraw your IRA funds and the amount you need to
reach VIP2. I will help you complete it and you can transfer the funds directly to
me.
                                                                                            11:58:54
                                                                                                COHN0317
                                                                                                  Page 318
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 323 of 439 PageID #: 534
Your account has reached 10 million US dollars, so how much do you need? I can
help you directly. After completing VIP2, you can transfer it back to me.
                                                                                11:59:36


                 My IRA is off the table. Please don’t ask me again about this. Yes if you’re willing
                 to transfer 7 million into my account so I can become VIP2 that would be great.
                 Then I can transfer it back to you.
                                                                                                   12:02:25


My account is now arbitraging, and I have 3.5 million USD available to me, which
I can use to help you with 3.5 million USD. So, is your account still short of 3
million USD to reach VIP2?
                                                                               12:03:50


I have 8 million USDT for arbitrage. These funds cannot be withdrawn. I can only
help you with 3.5 million USDT
                                                                                12:05:09


My account is already VIP3. My accumulated funds exceed 40 million USDT. I
can withdraw any amount at will.
                                                                            12:06:41


                 My account currently needs 6.2 million to get to 10 million. Thank for the offer of
                 the 3.5 million but yes it will be still short 2.7 million.
                 Perhaps when your arbitrage is finished we can get me to the 10
                 million threshold.
                                                                                                    3:51:25


                  Hi Gorgeous
                  I am back from seeing the physician and i will need surgery to fix my torn
                  rectum. I scheduled the surgery for next Monday 7/22 for the surgery which is
                  coming very soon. The surgeon told me it will be a very slow and painful healing
                  afterwards. The first two weeks are the hardest.
                  That’s the latest sweetie.
                                                                                                    3:55:24


You can withdraw funds from your retirement account
                                                   4:39:25


Dear, I am willing to offer you $3.5 million. I believe you can raise $2.7 million.
                                                                            4:50:34


                     Hi sweetie,
                     Just wanted to let you know I’m thinking about you. I’m doing some self care
                     right now to manage the pain.
                                                                                                    9:10:29


Are you feeling better now?
                       9:33:43


                                                                                           A little better.
                                                                                                    9:45:38


That's good. I was worried about you.
                                  9:45:59


                                                  The pain never goes away. It just gets more it less.
                                                                                COHN0318        9:46:38
                                                                                             Page 319
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 324 of 439 PageID #: 535
<attached: 00003779-GIF-2024-07-15-21-46-57.mp4>
                                                    9:46:57


                                                                             Good night gorgeous +
                                                                                              10:46:25


                                            Jul 16, 2024

Good morning, dear, I hope you have a great day today.
                                                   7:05:15


                                                                Good morning Gorgeous,
                                                                You too have an amazing day today -
                                                                                               9:07:09


                     Good morning Sweetie,
                     I need to withdraw money to pay some bills. When you need to convert your
                     USDT to cash what KYC/exchange platform do you usually use?
                     Thanks *
                                                                                               9:16:43


When you need to exchange USDT for cash, you can actually withdraw it directly
to your bank account. It just takes a long time for the account to arrive. It takes
5-7 days.
                                                                               9:42:24


                                                                               From the Trust wallet?
                                                                                               9:43:14


Sometimes I convert USDT to USD through Coinbase
                                                9:45:25


Sometimes it is done directly in a short-term trust account
                                                          9:45:35


Because Coinbase is the fastest way to withdraw USD to a bank account, but the
handling fee is also relatively high
                                                                               9:45:58


                Hey Sweetie,
                I’m really frustrated with the Trust Wallet. I need money for my project and
                expenses. Yesterday I withdrew 43,500 USDT which was not enough money. So
                today I tried to withdraw 30,000 USDT and it was blocked due to frequent
                withdrawals of large amounts. Now I have to wait 48 hours to do another
                withdrawal.

                This is a nightmare that I cannot get the money off of the account when I need it.
                My money is trapped here and I need it because I sent it all to Trust wallet on
                your advice. Had I known this would happen I would never have sent all my
                money there.
                                                                                               2:50:47




                                                                                COHN0319
                                                                                                   Page 320
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                                                                             <attached: 00003790-
                                                                             PHOTO-2024-07-16-14
                                                                             -50-59.jpg>




                                                                                                     2:50:59




                                                                                             <attached:
                                                                                             00003791-
                                                                                             PHOTO-2024-
                                                                                             07-16-14-51-2
                                                                                             5.jpg>




                                                                                                     2:51:25


                                                         Can you please give me some suggestions?
                                                                                                     3:05:25


Dear. I just read the message you sent me. This is for the safety of funds to wait
48 hours
                                                                                  4:36:03


For fund considerations, you can wait 48 hours before withdrawing funds.
                                                                        4:38:23


Because my account is already VIP3. I can withdraw money from my account at
will. This happened when I withdrew money before I reached VIP3. They thought
I was using cryptocurrency to do something illegal.
                                                                                   4:43:16


                          Thanks gorgeous- this is what support told me. I have some big expenses
                          coming right now and need to have the money to cover them.
                                                                                                     4:44:02


what happened
          4:44:37


                    Nothing happened except that many of my rental project bills are all coming in
                    now. Plus living expenses- I sent all my money to Trust per your advice to trade,
                    but now I need to replenish my accounts. I can’t afford onto be caught short
                    because Trust wallet is blocking my withdrawals.            COHN0320
                                                                                                     4:48:49
                                                                                                       Page 321
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 326 of 439 PageID #: 537
I see
 4:49:31


                                                                                   How was your day gorgeous?
                                                                                                        6:39:39


I went to the gym today to work out and do some fashion design work, preparing
new samples and designs. It was a relaxing and wonderful day for me. How
about you?
                                                                                          6:42:00


                     I worked on my rental and ran some errands. Gosh I wish I could go to the gym.
                     I’m unable to workout and miss it dearly.
                                                                                                        6:43:31


I know how you feel! It's tough not being able to go to the gym. I'm sure you'll
feel better soon. !
                                                                                       6:45:47


                                                     Yes I’m sure I will after I heal from my procedure.
                                                                                                        6:46:48


Yes, I believe the operation will be successful. I will pray for you.
                                                                  6:48:44


                                                                                                       +
                                                                                                        6:49:25


How do you feel now?
                   6:52:53


                    Thanks for asking sweetie! I had a healing session earlier in the day from one of
                    my teachers and am feeling better right now. Only a small amount of discomfort.
                                                                                                        6:54:10


Honey, you have to take care of yourself.
                                      6:54:39


                   Yes pretty much what I do all day is take care of myself except when I have to run
                   errands. I’m blessed that I don’t need to go to work for a job.
                                                                                                        6:56:04


Yes, that's really lucky. This way you have enough time to rest and
recover better.
                                                                         7:02:14


Sleep well, good night.
                    9:58:42


<attached: 00003813-GIF-2024-07-16-21-58-53.mp4>
                                                        9:58:53


                                                Jul 17, 2024

Good morning dear, hope you had a good sleep last night. !
                                                               7:18:20

                                                                                            COHN0321
                                                                                                      Page 322
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 327 of 439 PageID #: 538
                      Good morning Gorgeous ☀
                      I wanted to greet you with a huge heartfelt hug as you awaken into your day. +
                      ,
                                                                                                        8:37:52


Yes, a new day will be a beautiful day. !
                                         8:38:58


Honey, what are your plans for today?
                                     11:20:34


Still busy?
     7:50:38


                      Hey Sweetie,
                      I’m just relaxing on the couch after a busy day. Plus I’m experiencing some pain
                      right now. How was your day?
                                                                                                        7:51:57


Hey Honey,
I'm sorry to hear that you're in pain. My day was pretty good, thank you for
asking. I hope you feel better soon and can relax and unwind on the couch.É
                                                                                  7:54:12


                                                          I’m sitting on a heating pad that helps relax me.
                                                                                                        7:59:19


Yes, you did a great job, hope this makes you feel better.
                                                           7:59:56


                                                   Jul 18, 2024

Good morning, dear, I hope you had a great night last night. Are you
feeling better?
                                                                       7:23:41


                     Good morning Sweetie,
                     I’m not sleeping well due to the pain. Wish I could tell you I am getting better, but
                     I’m not. Have a great day.
                                                                                                        8:11:31


Dear, I'm sorry to hear that you're not feeling well. I hope you get better soon.
Try to rest as much as possible. You have to take care of yourself. I'll be praying
for you. *
                                                                                     8:13:15


                                                                                 You deleted this message.
                                                                                                       3:29:43


                                                    Sweetie we need to talk when the get home. Hugs e
                                                                                                       4:08:35


                                                                                        It’s really important.
                                                                                                        4:32:33


Honey, I'm here
           4:36:58
                                                                                       COHN0322
                                                                                               Page 323
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 328 of 439 PageID #: 539
What's wrong?
          4:37:01


                                                                                          Can we talk?
                                                                                                 4:37:16


                                                                                Voice call, No answer
                                                                                                 4:37:31


Honey, I'm still working.
                      4:37:49


What's wrong?
         4:37:52


                                                       I can wait until you get home and we can talk.
                                                                                                 4:38:44


Yes, of course, tell me what's wrong with you?
                                            4:39:49


                    It’s the Trust wallet. I waited 48 hours per the instructions and tried again to
                    send 50,000 USDT to Coinbase. I sent it 2 hours ago and it’s still pending which
                    means it’s being blocked from leaving my wallet. And I have not exceeded the
                    $200k limit.
                    I contacted support and there has been no reply at all.

                    Anna I am running out of money and need the $50k before my surgery. I am
                    really concerned now that my money is being blocked on purpose. I keep reading
                    that the Trust wallet is a scam.
                                                                                                 4:47:24


                                            I feel they want to keep all my money and not let it leave.
                                                                                                 4:50:51


                        I just received this message from support;

                        You have a new message: Hi, your account triggered a security risk, please
                        provide your KYC certified credentials. Provide KYC credentials photo and a
                        selfie of you with your credentials. Thank you!
                                                                                                 4:52:17


                                                         What should I do? You have experience here
                                                                                                 4:53:32


I understand your concerns, it's normal, when we enter a new environment, we
all have some security concerns. Don't worry, I have received a message from
support, they have noticed this issue. Now just follow their instructions to
provide your KYC verification information. They are there to protect your
account security, you should trust them. Don't worry, everything will be fine.
                                                                              4:53:43


You should do what they ask you to do first. I have encountered this before. They
just want to protect the security of our accounts and don’t want our funds to
have any problems.
                                                                                4:54:30


                                     So did you receive a message from supportCOHN0323
                                                                               about my my issue?
                                                                                                 4:55:32
                                                                                            Page 324
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 329 of 439 PageID #: 540
I didn't receive your message. I just had this experience before. I often made
small withdrawals when I used it before. Later, I was asked to submit my ID
information and risk review. At that time, I was waiting for the review and I was
still trading. When my account was upgraded to V2, there were no such
problems.
                                                                            4:57:54


                         So do they just want a selfie holding up my drivers license in the picture?
                                                                                              5:00:36


Take a selfie using the same ID that you used to pass the KYC certification.
                                                                       5:01:33


                 I submitted it and hope it gets approved ASAP. They do not allow withdrawals on
                 weekends from my account. I need to send the money by tomorrow before my
                 surgery on Monday.
                                                                                              5:17:20


I also hope to help you as soon as possible, because when I see that you are in
pain, I feel very painful too.
                                                                            5:18:48


Are you still feeling that bad now?
                              5:24:51


                 I feel worse now.

                 This is what I received from support:


                 Hello, as your account has triggered the security risk control mechanism several
                 times. The system recommends you to upgrade your account VIP level to V2
                 before July 31st to lift the risk control restriction. Of course, you upgrade the
                 process of recharging the funds. All of the funds will reach your account, and
                 after your upgrade is completed, you can make a one-time withdrawal.
                                                                                              5:26:13


Has your account triggered security risks multiple times? Have you been making
frequent withdrawals?
                                                                                 5:27:01


Only frequent withdrawals all the time will trigger this risk
                                                       5:27:36


                       It’s only triggered it a couple of times. No I have not been making frequent
                       withdrawals.
                                                                                              5:27:50


Then now you need to de-risk the security of your account. Is there any other
way to de-risk it when you consult customer service?
                                                                          5:29:06


How much money can you raise to upgrade to VIP2? How much do you need my
help?Complete the upgrade if you can and withdraw all funds
                                                                             5:29:46



                                                                                 COHN0324
                                                                                             Page 325
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 330 of 439 PageID #: 541
Can you first see how much you can raise and how much you're short of what
you need from me? Then you can go ahead and finish
                                                                           5:31:34


                     This is my problem. I can’t raise anymore money. I’m stuck and running out of
                     money. I need $5.9 million to get to 10 million.
                                                                                              5:32:22


Let me see what I can do, I can go divert some funds, plus 3.5 million USDT from
my short term account. i should be able to help you with 4 million USDT
                                                                                 5:34:25


So we're still 1.9 million short.
                          5:34:40


You go and raise some money, see how much there is. I'll know how much I need
to help you.
                                                                                5:35:03


I could go and divert some of the other funds, but I'm not sure how much.
                                                                      5:35:26


Give me 10 minutes. I'll see how much I can divert.
                                               5:36:12


I can divert a million dollars, plus the 3.5 million dollars in the account. That's
$4.5 million that could help you. Then there's still a $1.4 million short. You need
to come up with it yourself. The funds can only be used for 3 days, because it's
business money, so you have to upgrade your account as soon as possible, and
then withdraw all the funds.
                                                                                5:50:19


                                       <attached: 00003864-AUDIO-2024-07-18-17-54-11.opus>
                                                                                               5:54:11


Dear I understand what you are saying, but one thing is that your account has
triggered the security risk several times, then without upgrading IVP2 even if
you complete the arbitrage, then still the same need to complete upgrade IVP2.
my point is to solve this problem once and for all. Then you don't need to worry
about it.
                                                                                6:05:00


According to your account now you are 1.4 million dollars short of completing
VIP2. done everything is solved.
                                                                           6:07:01


I'm considering that even if I transfer you $100,000 now, then next month you
want to make a withdrawal, and your account is equally at risk because of the
security risk. So we might as well go through this once and for all
                                                                            6:08:41


Your approach is treating the symptoms and not the root of the problem. The
root of the problem is not addressed
                                                                          6:09:08




                                                                                  COHN0325
                                                                                                    Page 326
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 331 of 439 PageID #: 542
                 Yes correct. If I do the arbitrage one more time I will have 8 million. Then you can
                 easily loan me the 2 million to upgrade to the V2 level and then I can withdraw it
                 all.

                 Honestly I’m not willing risk anymore of my hard earned lifetime savings and IRA
                 and send it to the trust wallet on the hope that I can get out of this situation.
                 I don’t trust them. I trust you. I hope you can see my pint of view.

                 Plus everywhere I look online they say the trust wallet is a scam.
                                                                                                       6:12:37


                                                                                             *Point of view
                                                                                                       6:13:13


I never believe anything that is passed around the top of the internet. Because
people who really make money will not go to denigrate. Only those who lose
money will have the negative energy to denigrate this is not good, that is not
good.
                                                                              6:14:27


                                                                                 Yes you may be right.
                                                                                                       6:15:12


Honey have you ever thought that I am brave enough to tell you that I can take
$4.5 million dollars to help you. So what's the reason you can't get the $1.4
million in funds for your IRA? I understand your concern, but we are trying to
solve the problem with your account right now. I'm helping you because I think
you deserve it.
                                                                               6:15:55


                    Thank you sweetie for all you are and do. I love you my dear!!) unfortunately
                    my IRA is locked up and I do not have access to the moneys. So the way I
                    outlined is the only way I can do this to get to level v2.
                                                                                                      6:26:02


My dear, these problems you are worried about do not exist. Believe me, just be
bold and do what I say. If I can help you, I will try my best to help you. But if you
are worried about yourself, then even if I try so hard to help you, I will never be
able to solve the problem.
                                                                                6:27:32


Honey, so now you're saying your IRA is gang locked and you can't withdraw
$1.4 million?
                                                                            6:28:00


I didn't understand what it means for an IRA to be locked?
                                                        6:28:32


                                                                                      Yes it is all invested.
                                                                                                      6:28:41


Can't sell those investments? Withdrawal of $1.4 million?
                                                       6:30:29


                                    Are you home now? Can we talk on the phone and not just text?
                                                                                                      6:32:15

                                                                                  COHN0326
                                                                                                   Page 327
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 332 of 439 PageID #: 543
Honey wait for me, I'm not home yet. I'll call you when I get home.
                                                                 6:33:02


                                                                                                   Okay.
                                                                                                    6:33:13


I was just dealing with my need to embezzle a million dollars. So I wasn't
at home.
                                                                           6:33:29


Voice call, 11 min
            7:09:36


Honey, have you ever thought about this? If you take 1.4 million and cannot
complete the upgrade and withdraw funds. Will I tell you that I will embezzle 1
million funds? The funds I embezzled are from the business. Because I know that
you can withdraw it all at once after completing the upgrade. I also believe in
you, so I dare to take out 4.5 million to help you.
Two people working together can solve this problem. Maybe you are worried that
you will need to pay taxes or fines to withdraw IRA. But have you ever thought
about how much profit you have made? These profits are enough for you to pay
any taxes and any fines. What you need to do now is to complete it. The account
triggers security risks. I have also encountered this. The only solution is to help
your account complete the upgrade and remove the restrictions.
When the upgrade is completed, you can withdraw all of it, or you can continue
to trade or arbitrage. I didn’t have anyone to help me when I triggered the risk. I
solved the problem through a bank loan, because only by solving the root of the
problem can the same thing not happen again.
                                                                                       8:18:58


                      Hi sweetie,
                      I’ve been I touch with support and have more answers and information on
                      my problem.

                      I wish I didn’t have my surgery on Monday so I can be focused to take care of
                      this. I’ll be in deep pain and on pain killers not able to cope with all of this.

                      I may have to delay my surgery in order to deal with this problem first.

                      Good night.=
                                                                                                   10:06:36


Dear are you worried about the taxes incurred from the IRA withdrawal of $1.4
million dollars or the penalties? For now you rest if you are tired and we will
figure it out together tomorrow. If it can't be solved, then the only thing to do is
to find a way to go to surgery first
                                                                                     10:11:35


<attached: 00003888-GIF-2024-07-18-22-13-07.mp4>
                                                      10:13:07


                 Good night.
                 Yes we will figure this out tomorrow. If I’m going to reschedule my surgery I have
                 to do it by tomorrow morning.
                                                                                                    10:15:58


                                                                                        COHN0327
                                                                                                Page 328
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 333 of 439 PageID #: 544
                  This is the trust wallet support conversation I had with them.

                  Me
                  There was no help that tells me how many withdrawals I am allowed to make. I
                  didn’t know this problem would happen. If I did I would have been careful.

                  Hello, for the account that triggers security risks, the system needs to complete
                  the VIP2 upgrade to solve the account security risk issue for the sake of account
                  funds security. Please complete it as soon as possible
                  07-18 19:37:46

                  Me
                  What will happen if I am unable to upgrade to V2 for another month?
                  07-18 19:39:09

                  Hello, your account security restrictions will always exist. If you cannot complete
                  it within one month, your account will need to be re-audited.
                  07-18 19:40:27

                  Me
                  Thank you. What does it mean that my account will need to be re-audited? What
                  does that entail?
                  07-18 22:01:12Reply

                  Hello, we will review the security of your account. If the review fails, your
                  account will be listed as a high-risk account and you will not be able to perform
                  other transactions. You can only complete the VIP2 upgrade to withdraw all
                  funds and close the account.
                  07-18 22:04:35Reply
                                                                                                 10:17:48


Honey, it's late now. I'm worried about your health. What you need to do now is
to have a good sleep. We'll figure it out together tomorrow. ❤
                                                                              10:23:44


                                              Jul 19, 2024

Good morning, dear, I hope you had a good sleep last night.
                                                          6:59:27


                  Good morning sweetie,
                  I did not sleep well thinking about how all my money is trapped on Trust wallet
                  unless I get to 10 million dollars. Very stressful situation for me while I’m in pain.
                                                                                                  7:17:10


Honey, we're gonna figure this thing out together today.
                                                      7:18:15


I've been trying to figure out how to help you.
                                           7:18:24


Honey do you have any way to come up with a million dollars? I thought about it
yesterday and I could go ask my friend to borrow $400,000 dollars. That would
be a million dollars short.
                                                                               7:19:33


You're busy?                                                                      COHN0328
        9:42:11
                                                                                             Page 329
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 334 of 439 PageID #: 545
                                                                                          No I’m not
                                                                                              9:43:19


I thought you were busy.
                    9:44:37


                                                                   No not right now. Can you chat?
                                                                                               9:45:12


What are your plans for today? I'm going to my friend's now, she has cash I can
borrow so I can help you out as soon as possible
                                                                             9:45:40


                                                         I have a dentist appointment and that’s it.
                                                                                              9:46:14


OK, you can tell me about your IRA situation or if there's any way you can go
about getting other funds together, only then we'll know how to go about this.
Because I'm trying to be helpful.
                                                                           9:47:33


                   Hi Anna I’m still working on seeing how I can raise more money.

                   Hey I would like to come up to buy you dinner soon! When would be a good time
                   to do so?
                                                                                              10:24:12


When we meet, I have already started to arrange our meeting plan, I want to
arrange all the work things in advance, when we meet, we can enjoy the time
belonging to us, I also hope you can arrange the work things in advance. I don't
want us to be thinking about work when we meet.
                                                                            10:27:54


Honey, I need to go talk to my friend right now, she doesn't know if something
happened to me when I suddenly asked her to borrow money. She is very
worried.
                                                                          10:28:44


; ; ; ; ;
        10:28:48


She asked me if I was broke. lol
                              10:29:05


My friend can lend us a quarter of a million dollars, honey.
                                                     11:08:45


There are good short-term markets today that we can trade to make money
                                                                       11:09:59


                                                                                       Sounds great!
                                                                                              4:48:02


                      Sweetie,
                      I am so grateful for you and want to send you a gift of appreciation. Can you
                      please text me an address to send you my gift?
                                                                                              4:49:53

                                                                                  COHN0329
                                                                                             Page 330
        Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 335 of 439 PageID #: 546
I hope that when we meet, you can hand it to me personally when I come out of
the airport. Don’t you think it will be more romantic?^ ^
                                                                            4:55:31


                     I want to send it to you now sweetie. I’m going to be laid up for a while. Make
                     me happy !
                                                                                              4:57:28


It seems you don't know much about women.
                                        4:58:40


Women always want some surprises and romance, and I like it even more when
you recover and personally come to the airport with flowers and small gifts to
welcome me.
                                                                            4:59:45


I'll give you a big hug then.
                       5:00:16


                 Well my gift can then be sent via email to you from the company. Can you please
                 share your email address with me then? Thank you gorgeous
                                                                                               5:01:03


annapopescu622@gmail.com This is my personal email address. Are you going
to send me any gift?
                                                                             5:16:03


                                                                         Yes I want to surprise you.
                                                                                               5:16:27


surprise
   5:16:54


Honey, do you have time now?
                           6:01:34


                                                                                             Yes
                                                                                              6:01:44


Now open your short-term trading account. Then send me a screenshot. We
need to make short-term transactions.
                                                                         6:02:22




                                                                                   <attached:
                                                                                   00003925-
                                                                                   PHOTO-2024-07-1
                                                                                   9-18-03-23.jpg>




                                                                               COHN0330       6:03:23
                                                                                      Page 331
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 336 of 439 PageID #: 547




<attached: 00003926-
PHOTO-2024-07-19-18-
03-54.jpg>




                      6:03:54


Set it to 180 seconds, honey.
                           6:04:10


                                                                                     Okay 3
                                                                                          6:04:30


Then enter the amount 400K and send me a screenshot.
                                                6:04:48




                                                                               <attached:
                                                                               00003930-
                                                                               PHOTO-2024-
                                                                               07-19-18-05-
                                                                               21.jpg>




                                                                                          6:05:21


Click Entrust Now
            6:06:20




<attached:
00003932-
PHOTO-2024-07-
19-18-06-41.jpg>




                                                                         COHN0331
            6:06:41
                                                                                                    Page 332
              Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 337 of 439 PageID #: 548
                                                                                               Finished. ✅
                                                                                                     6:09:41


OK, let's wait for the trade to end before moving on to the next one.
                                                                    6:10:28


Do not worry.
               6:10:41


Now take a screenshot of your trading interface and send it to me.
                                                                   6:11:18


                                             Well it’s the same one I already sent to you dear. No need.
                                                                                                      6:12:11


Now go back to the trading interface and input 420K. Then take a screenshot
and send it to me.
                                                                                   6:12:52


Set it to 180 seconds, dear.
                               6:13:38


                                                                                             Okay I’m ready
                                                                                                      6:14:02


K
    6:14:10


                                                                                              Tell me when
                                                                                                      6:14:29


You need to take a screenshot and give it to me so I can confirm it.
                                                                  6:14:53


                                                                              It’s right sweetie- trust me
                                                                                                      6:15:18


OK, Click Entrust Now
                         6:15:38


You can now open your trading record to check today's earnings, dear.
                                                                        6:19:26


                                                              Wowza! Yay so happy. Did you trade too?
                                                                                                      6:20:16


Dear now can you calculate how much money is left in your account to reach
the upgrade?
                                                                                  6:20:28


yea
 6:20:39




                                                                                        COHN0332
                                                                                                Page 333
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 338 of 439 PageID #: 549




<attached:
00003950-
PHOTO-2024-
07-19-18-21-1
2.jpg>




          6:21:12


                                                                           Gosh you are doing so well.
                                                                                                  6:21:47


How much is your account funded now? Do the math and let me know so I know
what the difference is.
                                                                                6:22:17


                                                                          I only need $5.7 million now.
                                                                                                  6:22:29


So I now have $3.7 million in my short-term account, on top of the $1 million I
embezzled. That's 4.7 million dollars. My friend promised to lend me the money,
but I don't know when he can give it to me
                                                                                6:23:34


So you need to go figure out how to come up with $800-1 million dollars. And
we'll be done by Monday.
                                                                             6:23:57


I need Monday to be a wire transfer of 1 million dollars to a short term account so
that I can get it done for you as soon as possible. I haven't been able to get any
rest in the last couple days because of this. I have to help you with this.
                                                                                 6:25:10


                           Well we will keep working together for the solution. I have my surgery on
                           Monday. I’m working with my advisor now to come up with a solution.
                                                                                                  6:25:25


Can you withdraw $800,000-$1,000,000? Is there any way to withdraw to your
bank account on Monday to complete a wire transfer, then we can get this done
on Monday for good and all!
                                                                                6:26:14


                    Unfortunately my money is invested and I’ve been trying to talk to my wealth
                    adviser who is been out of town. As much as I’d like to get it done by Monday- it
                    will have to unfold when I can get access to it. Anyway support told me I have 30
                    days to complete the VIP2 upgrade. So there’s still time thank goodness.
                                                                                                  6:29:04


                                                    I have to go eat some dinner now. I’m still in pain.
                                                                                                  6:30:50
                                                                                  COHN0333
                                                                                                       Page 334
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 339 of 439 PageID #: 550
Honey you need to contact your advisor and you withdraw a portion of the
money. Because of the 1 million dollars I embezzled, I can't keep embezzling it.
So you need to find a way to come up with other funds as soon as possible or
else the $1 million dollars I can't divert to help you in a short period of time
                                                                                    6:31:04


OK
 6:31:39


                    Well if you can’t come up with the extra embezzled funds then I will have to look
                    at more money contribute
                                                                                                         6:33:39


So if it can be done in the next week, I can appropriate $1 million dollars. If it
can't be done in the next week, I can't divert that amount.
                                                                                 6:37:03


Because that's for business turnover.
                                    6:37:25


Honey, are you feeling better now?
                                 7:53:23


                                                                                     No sweetie,
                                                                                     I’m still in a lot of pain.
                                                                                                         8:30:53


I hope you feel better darling, I am praying for you. *
                                                    8:31:47


                     Thank you gorgeous. I really would like to get on another video call with you
                     maybe tomorrow evening? Seeing your beautiful face makes me feel better and
                     I’m worried about my upcoming surgery.
                                                                                                         8:34:29


I will be with my friend tomorrow, and I want her to confirm the funds as soon as
possible, because I am worried that you will need it in time, and then I will treat
her to dinner in the evening to thank her.
                                                                                     8:42:40


I will video call you in my free time the day after tomorrow, dear.
                                                                 8:43:12


                                                                                                        Okay
                                                                                                         8:43:21


                                                                                           Sunday will be great
                                                                                                         8:43:34


Yes, honey, I think so too.
                       8:44:27


<attached: 00003975-GIF-2024-07-19-20-46-02.mp4>
                                                       8:46:02


Hope you have a good sleep tonight, sweet dreams, dear. Good night.
                                                                       9:40:08


<attached: 00003977-GIF-2024-07-19-21-40-18.mp4>                                       COHN0334
                                                      9:40:18
                                                                                               Page 335
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 340 of 439 PageID #: 551
                                                                         Sweet dreams beautiful }
                                                                                                 9:41:33


                                            Jul 20, 2024

                Good morning to the most incredible woman. You are such a gift in my life, and
                every morning knowing you is a blessing. May your day be bright, your coffee be
                strong, and your heart be filled with joy.)
                                                                                                 7:31:40


Good morning, dear, I hope you had a good sleep last night and feel better.
                                                                        9:13:05


                   I’m going to try to talk with my investment advisor today about raising money.
                   He’s been out of town and said he will try to reach out to me today.
                                                                                                9:14:43


Dear, I feel the same way. I will talk to my friend today and hope to get her to
confirm the funds as soon as possible. Don't worry, I believe we can solve it well
together.
                                                                                  9:40:49


Honey, how are you doing today?
                            5:02:45


                Hi Gorgeous!)
                I’m hanging in there still with pain. Good news I talked with my wealth advisor
                today. And we have a plan now to get my IRA money out of my account. In our
                video chat tomorrow I will share with you all the details and need your help so we
                can solve this together.

                And I’m also looking forward to seeing you sweetie! We need to keep fanning the
                flames of our beautiful relationship to get closer and closer to each other. I don’t
                feel close to you when I don’t get to see you and I want to build our wealth
                together so we can have an amazing life.

                Okay, I’m free tomorrow afternoon and evening to have our chat. Lmk when
                would be a good time for us to meet online?
                                                                                                 5:57:41


You can tell me now what the details of your IRA withdrawal are.
                                                            6:08:05


                          There’s much to discuss and I will share it with you on our call tomorrow
                                                                                                6:09:13


                                                    Besides we already planned to meet tomorrow.
                                                                                                 6:10:12


Yes, I will call you tomorrow, but you can withdraw IRA. call your IRA specialist,
fill out the corresponding form and apply, honey.
                                                                              6:12:20


Withdrawing IRA is a very simple matter. We just need to initiate an application,
contact an IRA specialist, and then fill out the form.
                                                                                  6:13:01

                                                                                    COHN0335
                                                                                             Page 336
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 341 of 439 PageID #: 552
                   Okay looking forward to meeting tomorrow. I have a busy day so what time can
                   we plan to meet on video chat?
                                                                                               6:15:05


When are you free tomorrow?
                         6:16:24


Are you free tomorrow at 12 o'clock in California?
                                               6:16:53


                            I am not free at that time. I’m meeting a friend for coffee and free at 2
                            pm onwards.
                                                                                               6:18:54


Then I'll video call you at 6pm California time. Are you free at that time, honey?
                                                                             6:19:56


                                             Yes I’ll be home at that time sweetie. That works great.
                                                                                               6:20:46


OK, I will call you at about 6 o'clock in California. If you have any questions about
IRA in advance, you can tell me now.
                                                                               6:21:42


                 Well I plan to withdraw $2.1 million to help make up the short fall to get to the 10
                 million mark in the account.
                                                                                                6:31:51


If you do it in advance, you only need to contact an IRA specialist and fill out the
form. The funds will then be released to your bank account.
                                                                              6:45:53


Sleep well darling, sweet dreams. Good night
                                         9:41:33


<attached: 00004000-GIF-2024-07-20-21-41-49.mp4>
                                                         9:41:49


                                             Jul 21, 2024

Good morning, dear, hope you had a good sleep last night. Today is going to be a
great day. >
                                                                                7:11:55


                                   Good morning Gorgeous!
                                   Wishing you an amazing day today full of special happiness. )
                                                                                               10:17:41


Thanks, dear, what are your plans for today?
                                        10:18:07


                 I’m meeting a friend for coffee soon, doing some food shopping and then coming
                 back home to rest until our video chat.
                 My body is still in pain.
                 You?
                                                                                               10:19:41


                                                                                COHN0336
                                                                                                Page 337
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 342 of 439 PageID #: 553
It sounds like you'll have a busy and fulfilling day! Hope you can relax with your
coffee and have a great time shopping. As for me, I'll be spending my Sunday
relaxing time with Dalia today. Remember to get some rest and take care of
yourself! !
                                                                               10:29:23


Honey, how are you today?
                        4:40:10


Don't forget our date, dear.
                        5:03:34


                      Yes I won’t forget. I’m here and ready. I will call you in a couple of minutes. ,
                                                                                                  5:58:40


                                                                                  Video call, No answer
                                                                                                  6:00:56


                                                                                  Video call, No answer
                                                                                                  6:03:05


Honey, wait a few minutes, I'm in the bathroom.
                                             6:04:43


It only takes a few minutes.
                        6:04:49


                                                                                  Video call, No answer
                                                                                                  6:14:21


                                                  What are you doing sweetie? It’s been a while now.
                                                                                                  6:15:45


                                                   Are you coming gorgeous? I can’t wait to see you.
                                                                                                  6:21:31


                              Okay what’s going on? It’s been 30 minutes now? Is something wrong?
                                                                                                  6:30:40


Video call, 15 min
            6:32:47


Honey, are you feeling better now?
                                  7:09:47


                         Yes sweetie,
                         I always feel better after talking to you. This has been so very hard for me.
                                                                                                   7:11:31


<attached: 00004020-GIF-2024-07-21-19-13-07.mp4>
                                                        7:13:07


Dear, don't worry, I believe we can solve it together. É
                                                       7:13:59


                                                                  Yes we will get through this together.
                                                                                                  7:17:47


So, don't worry, we are a couple and I will help you.
                                                 7:18:23                           COHN0337
                                                                                                Page 338
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 343 of 439 PageID #: 554
<attached: 00004024-GIF-2024-07-21-19-18-47.mp4>
                                                       7:18:47


What you need now is to confirm how much you can withdraw from your IRA and
when it will arrive in your bank account.
                                                                                      7:19:34


You can go to process your IRA withdrawal procedure tomorrow, and then
confirm the above information. Then tell me, because only after you confirm it,
and then tell me how much money you still lack, I can help you.
                                                                                 7:21:46


You said my attitude has changed, but I am actually worried about your health.
You read the message yourself but didn't reply. I sent you too many messages
and was worried that it would affect your rest.
                                                                                7:52:43


Sleep well, dear. Good night.
                      10:02:05


                                           Jul 22, 2024

Good morning! Honey, a new day has begun. The sun shines through the
curtains into the room, bringing warmth and hope. I hope you can face today's
challenges and opportunities with the best attitude. No matter what happened
yesterday, today is a brand new beginning. Remember to smile and bring
positive energy to yourself and the people around you. May you enjoy every
moment of life in this day. Good morning, I hope you have a wonderful and
fulfilling day!>
                                                                                 7:13:20


I have arrived at the company. How are you today?
                                             9:41:43


                 Good morning Sweetie,
                 I’m not bit feeling well today and in a lot of pain. I’m doing my best but it’s hard
                 to do much when I don’t feel well.
                 Have a great day
                                                                                                 9:45:40


If it still hurts, you need some massage or hot compress. Dear
                                                                 9:46:59


Adjust your breathing. Take a deep breath when you feel pain. Maybe it will
get better.
                                                                           10:00:00


                    Hi Sweetie,
                    Well per our conversation last night I my wealth advisor will not be willing to
                    move any of my IRA money until I can get the withdrawal of $50,000 from my
                    short term trading account. They want proof that I can still take withdrawals
                    from the account and have living expenses. Please let me know how you can
                    help.

                    Can you text customer support and ask them to lift the restriction for the
                    $50,000? Which by the way is the last withdrawal that was blocked. It is still
                    sitting there confirming and never left the account.
                    Lmk sweetie                                             COHN0338
                                                                                                 12:01:56
                                                                                               Page 339
       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 344 of 439 PageID #: 555
Dear, it is meaningless for me to send any message to customer service.
Because it is not my account that has the problem. Can you understand?
                                                                     12:05:58


I don't understand why your advisor is unwilling to transfer funds from your own
IRA account. Don't you even have the right to control this money?
                                                                                 12:09:20


                                     Hmmm, Sweetie what did we talk about last night on our call?
                                                                                                12:41:43


The most important thing I remember yesterday was that you told me that your
surgery was postponed to next week, because in my heart, your health is the
most important thing. Then you cried to me.
                                                                                12:44:18


You just told me that your IRA is tied to an entity. But can't you withdraw a
certain amount of funds every quarter?
                                                                       12:45:26


You see, you said that my attitude towards you has changed, but it was you who
didn't reply to my message.
                                                                                  1:51:36


                                       Sorry I am very busy at the moment with my home projects.
                                                                                                 1:52:57


                                             Yes this is why I cannot withdraw my IRA funds at will.
                                                                                                 1:53:27


Yes, so I understand, I am also worried that I will disturb your rest. Because of
your health problems.
                                                                                1:54:02


Yes, I understand. But you have to know that all the rights to this money belong
to you. You can make the decision yourself. It is not for others to teach you how
to use your rights and your property.
                                                                                 1:55:53


Is your IRA tied up in stocks or mutual funds?
                                         1:58:38




                                                                                    COHN0339
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 345 of 439 PageID #: 556




                       Created with ChatPDF



                                                                  COHN0340
 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 346 of 439 PageID #: 557


  From: Anna Popescu annapopescu622@gmail.com
Subject: Re: Hello sweet Anna
   Date: July 22, 2024 at 7:25 PM
                                                               1-B
     To: Bruce Cohn bruce.cohn@gmail.com


      Yes, you got it right. What gift do you want to give me? Nothing expensive.

      On Sun, Jul 21, 2024 at 12:12 PM Bruce Cohn <bruce.cohn@gmail.com> wrote:
       Hi Gorgeous,

        I have not herd back from you and don't know if this is a real email address. I can’t send you a gift unless you
        reply to this email.

        Thanks

        > On Jul 19, 2024, at 8:53 PM, Bruce Cohn <bruce.cohn@gmail.com> wrote:
        >
        > Hello Gorgeous,
        >
        > Nice to be connected on email now.
        >
        > Hugs
        > Bruce




                                                                                                     COHN0341
                   Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 347 of 439 PageID #: 558

    1-C
Cohn - TrustHFTWallet Tx History

                                                                       SENDING          RECEIVING          TRANSACTION
DATE         USD AMOUNT        CURRENCY              WALLET/EXCHANGE   ADDRESS          ADDRESS            HASH
                                                                                                           55e94fb504c82d9841
                                                                       bc1qlq73u5jytkwy7 bc1qv2sppwap6sfty c4284f40a4c68ac2bfe
                                                                       tg2un76l9aqsuehs6 4g8q0xdkyxmtdhttd 65304e733fccd23e3d4
   6/10/24         ($19,186.86) 0.27605752 BITCOIN   EXODUS            w5d728vc          0j4r2ghy          2e7d5f2a
                                                                                                       742a6fd03369ba7937
                                                                       3Ghu4SfanRUM3rz 1BHxG3Zbn4TQ9a 91296eac2a587640f9
                                                                       FDBErpfPaSTUigg 9Y8JWs3uR7y5C4h 98a6cda9411874777d
   6/10/24        ($134,659.86) 2 BITCOIN            EXODUS            abuf            ZMCA1           c1b3faa08b
                                                                                                         ec4ef08dde10a0563df
                                                                       bc1q0umxfhwgfygga 1BHxG3Zbn4TQ9a 6b5e2b6ab8467479a
                                                                       qy9g8jyen46v3xzx4 9Y8JWs3uR7y5C4h 319d0f140a934d9404
   6/10/24        ($142,904.64) 2.1224534 BTC        EXODUS            c09nt7gp          ZMCA1           2982bbe44a
                                                                                                         d8ffb97d6e83a17ba0
                                                                       bc1q0umxfhwgfygga 1BHxG3Zbn4TQ9a 1405f8a79735602130
                                                                       qy9g8jyen46v3xzx4 9Y8JWs3uR7y5C4h 5c746faea06a854d03
   6/12/24         ($21,343.77) 0.31274893 BITCOIN   EXODUS            c09nt7gp          ZMCA1           8a1274e514
                                                                                                        af6d845e19398cae8b
                                                                       bc1q9tqem0x2gduw 1BHxG3Zbn4TQ9a 9bc6e763bb42ed11db
                                                                       l725p6ky00a04mzy 9Y8JWs3uR7y5C4h cf0af57a2ebbb68f6fce
   6/12/24        ($244,312.52) 3.33451311 BITCOIN   STRIKE WALLET     dep5fkmjgr       ZMCA1           4759253a
                                                                                                        4a6d29abd324ffe138
                                                                       bc1q9tqem0x2gduw 1BHxG3Zbn4TQ9a 759c662a29614219a7
                                                                       l725p6ky00a04mzy 9Y8JWs3uR7y5C4h 44bba0d0a012621a1
   6/14/24         ($25,000.00) 0.37402321 BITCOIN   STRIKE WALLET     dep5fkmjgr       ZMCA1           409b2e167a4
                                                                                                        acb5467720ee522df0
                                                                       bc1q9tqem0x2gduw 1BHxG3Zbn4TQ9a a6060f206f9bb121e5
                                                                       l725p6ky00a04mzy 9Y8JWs3uR7y5C4h 3477e0da329d84cffd6
   6/19/24        ($330,000.00) 5.03340001 BITCOIN   STRIKE WALLET     dep5fkmjgr       ZMCA1           299c5950f
                                                                                                        479c18812c0b242525
                                                                       bc1q9tqem0x2gduw 1BHxG3Zbn4TQ9a a774ab644b5fd761ea
                                                                       l725p6ky00a04mzy 9Y8JWs3uR7y5C4h ffcc6293d66fa29fbf6a
   6/24/24        ($500,000.00) 8.29360511 BITCOIN   STRIKE WALLET     dep5fkmjgr       ZMCA1           5be794c7




                                                                                                              COHN0342
           Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 348 of 439 PageID #: 559


                                                                                               da6e9f4f1b81d94f46d
                                                              bc1q9tqem0x2gduw 1BHxG3Zbn4TQ9a 34adf0ddd5450cba6f
                                                              l725p6ky00a04mzy 9Y8JWs3uR7y5C4h 151356033637ef11f5
6/25/24   ($200,000.00) 3.20312268 BITCOIN   STRIKE WALLET    dep5fkmjgr       ZMCA1           4d5585206
                                                                                               710a2851b750d84ddc
                                                              bc1q9tqem0x2gduw 1BHxG3Zbn4TQ9a d7634dfb85879f00ac
                                                              l725p6ky00a04mzy 9Y8JWs3uR7y5C4h 7242f928d89cd519ad
6/27/24   ($350,000.00) 5.62275932 BITCOIN   STRIKE WALLET    dep5fkmjgr       ZMCA1           64e81c6fcb




6/18/24   ($100,000.00) 99713.94 USDT        KRAKEN




6/20/24   ($100,000.00) 99864.90 USDT        KRAKEN
                                                                                                 0x9eca3f4f800f8c817
                                                              0x7830c87C02e56A 0x9e88decd4b770ff 9d7dcab5daf004ca65
                                                              Ff27FA8Ab124171 51cb023d18364a37 45dc6cfc5b0e9ca41aa
6/19/24    ($50,000.00) 49,230.857619 USDT   COINBASE         1331FA86F43      43ff18297         bdd0a46d0b
                                                                                                 0xca57b62c949ffa694
                                                              0x7830c87C02e56A 0x9e88decd4b770ff 4d0e5942b0432bb87
                                                              Ff27FA8Ab124171 51cb023d18364a37 945bb722d1bd2a951
6/25/24    ($99,990.00) 99,953.804434 USDT   COINBASE         1331FA86F43      43ff18297         4d64fcfa756c5
                                                                                                 0x4a2852bf00089f6c9
                                                              0x7830c87C02e56A 0x9e88decd4b770ff 4329e3ce15b10fc3dba
                                                              Ff27FA8Ab124171 51cb023d18364a37 72a89cd499d9460b08
7/10/24    ($79,990.00) 79,995.599756 USDT   COINBASE         1331FA86F43      43ff18297         a580e3acc6
                                                                                               8d1d860ad3f174257c
                                                                               1BHxG3Zbn4TQ9a 17096ad5232bffd268
                                                                               9Y8JWs3uR7y5C4h 05d16e558ea9a70b5d
6/25/24       ($68.15) 0.00109935 BTC        COINBASE                          ZMCA1           57148e9092
                                                                                               d92e6f47b42b51e976
                                                              bc1qv2sppwap6sfty 1BHxG3Zbn4TQ9a df9263aee79afe2e1ba
                                                              4g8q0xdkyxmtdhtt 9Y8JWs3uR7y5C4h 4d70fc5c47792f8493a
6/10/24    ($18,034.19) 0.27553885 BTC       TRUST WALLET     d0j4r2ghy         ZMCA1          609c9f86
                                                                                                0xf21efb834dce433f8
                                                              0xeA273619A6521 0x9e88decd4b770ff 1ae490ea6942588ddb
                                                              1E14D6291b49713 51cb023d18364a37 46e0dda1914152182
6/24/24    ($25,020.00) 25020 USDT           TRUST WALLET     731640345b9A    43ff18297         deb4fa66c5cf


                                                                                                     COHN0343
          Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 349 of 439 PageID #: 560


                                                                                               0x0a02dfe55b57e90a
                                                             0xeA273619A6521 0x9e88decd4b770ff 560808cbdf044eda34f
                                                             1E14D6291b49713 51cb023d18364a37 33f0b5e7fa33be25f92
6/24/24    ($3,008.00) 3008USDT           TRUST WALLET       731640345b9A    43ff18297         36b12feb11
                                                                                               0x288225f0c9d72fea2
                                                             0xeA273619A6521 0x9e88decd4b770ff 83d9b2c6ce81f5bff7f9
                                                             1E14D6291b49713 51cb023d18364a37 d4961872b04657264
6/25/24    ($5,010.00) 5010 USDT          TRUST WALLET       731640345b9A    43ff18297         07e737face
                                                                                               0x6b7997483003aa1
                                                             0xeA273619A6521 0x9e88decd4b770ff 87801d9d79ad8c5f7c
                                                             1E14D6291b49713 51cb023d18364a37 bf92b8dd23d32be63f
6/27/24   ($12,020.00) 12020 USDT         TRUST WALLET       731640345b9A    43ff18297         d42e6f5fb55ef
                                                                                               0xb75ca96ab539f2e2
                                                             0xeA273619A6521 0x9e88decd4b770ff 688640fa1b0a5d035e
                                                             1E14D6291b49713 51cb023d18364a37 0729f2c1797288e0a7
 7/5/24    ($4,942.00) 4942 USDT          TRUST WALLET       731640345b9A    43ff18297         d0fb8fa8c7e6
                                                                                               0x5b61e928690324f1
                                                             0xeA273619A6521 0x9e88decd4b770ff 94e7deab1185b0d146
                                                             1E14D6291b49713 51cb023d18364a37 1afdcea42f7a3fe7658f
7/15/24     ($300.00) 300 USDT            TRUST WALLET       731640345b9A    43ff18297         e39891fb0b




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               Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 350 of 439 PageID #: 561




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                      trusthftwallet.com                                                             10       ■
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Receive BTC                                                                                       Successful

Amount                                                                                 0.31274893 BTC

Created Time                                                            2024/06/12 11:17:38

Confirm Time                                                            2024/06/12 11:17:50



Receive BTC                                                                                       Successful

Amount                                                                                 2.12245339 BTC

Created Time                                                            2024/06/10 22:26:56

Confirm Time                                                            2024/06/10 22:27:05



Receive BTC                                                                                       Successful

Amount                                                                                                2 BTC

Created Time                                                            2024/06/10 20:39:00

Confirm Time                                                            2024/06/10 20:39:17



Receive BTC                                                                                       Successful

Amount                                                                                 0.27553885 BTC

Created Time                                                            2024/06/10 18:54:06

Confirm Time                                                            2024/06/10 1


                                       No more




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               Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 351 of 439 PageID #: 562




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                      trusthftwallet.com                                                             10       ■
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Created Time                                                            2024/06/19 21:53:52

Confirm Time                                                            2024/06/19 21:54:07



Receive USDT                                                                                      Successful

Amount                                                                                            100 USDT

Created Time                                                            2024/06/19 21:44:03

Confirm Time                                                            2024/06/19 21:44:12



Receive BTC                                                                                       Successful

Amount                                                                                 5.03260179 BTC

Created Time                                                            2024/06/19 14:42:52

Confirm Time                                                            2024/06/19 14:43:10



Receive BTC                                                                                       Successful

Amount                                                                                 0.37322951 BTC

Created Time                                                            2024/06/14 21:56:06

Confirm Time                                                            2024/06/14 21:56:14



Receive BTC                                                                                       Succe

Amount                                                                                 3.553690

Created Time                                                            2024/06/12 20:1 .

Confirm Time                                                            2024/06/12 20:13:58



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                                                                                                          COHN0346
               Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 352 of 439 PageID #: 563




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                      trusthftwallet.com                                                                10       ■
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Amount                                                                                 8.29284306 BTC

Created Time                                                            2024/06/24 13:50:04

Confirm Time                                                            2024/06/24 13:50:14



Receive USDT                                                                                         Successful

Amount                                                                                             25020 USDT

Created Time                                                            2024/06/24 13:16:55

Confirm Time                                                            2024/06/24 13:17:04



Receive USDT                                                                                         Successful

Amount                                                                                            99864.9 USDT

Created Time                                                            2024/06/20 14:25:59

Confirm Time                                                            2024/06/20 14:26:25



Receive USDT                                                                                         Successful

Amount                                                                                    49229.43 USDT

Created Time                                                            2024/06/19 22:10:03

Confirm Time                                                            2024/06/19 22:10:12



Receive USDT                                                                                         Sue

Amount                                                                                     99713.94

Created Time                                                            2024/06/19 21:53:52

Confirm Time                                                            2024/06/19 21:54:07


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                                                                                                             COHN0347
               Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 353 of 439 PageID #: 564




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                      trusthftwallet.com                                                             10       ■
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Amount                                                                                      0.0010685 BTC

Created Time                                                            2024/06/25 14:09:38

Confirm Time                                                            2024/06/25 14:09:51



Receive USDT                                                                                      Successful

Amount                                                                                     99952.44 USDT

Created Time                                                            2024/06/25 13:28:25

Confirm Time                                                            2024/06/25 13:28:40



Receive BTC                                                                                       Successful

Amount                                                                                 3.20233953 BTC

Created Time                                                            2024/06/25 12:12:32

Confirm Time                                                            2024/06/25 12:12:42



Receive USDT                                                                                      Successful

Amount                                                                                            3008 USDT

Created Time                                                            2024/06/24 14:48:31

Confirm Time                                                            2024/06/24 14:48:41



Receive BTC                                                                                       Sue

Amount                                                                                 8.2928430

Created Time                                                            2024/06/24 13:50:04

Confirm Time                                                            2024/06/24 13:50:14


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                                                                                                          COHN0348
               Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 354 of 439 PageID #: 565




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                      trusthftwallet.com                                                              10       ■
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Created Time                                                            2024/07/10 14:00:35

Confirm Time                                                            2024/07/10 14:00:44



Receive ETH                                                                                        Successful

Amount                                                                                             0.632 ETH

Created Time                                                            2024/07/07 15:46:32

Confirm Time                                                            2024/07/07 15:46:48



Receive USDT                                                                                       Successful

Amount                                                                                            12020 USDT

Created Time                                                            2024/06/27 13:38:12

Confirm Time                                                            2024/06/27 13:38:23



Receive BTC                                                                                        Successful

Amount                                                                                      5.6219822 BTC

Created Time                                                            2024/06/27 12:24:35

Confirm Time                                                            2024/06/27 12:24:44



Receive BTC                                                                                        Succ

Amount                                                                                      0.00106

Created Time                                                            2024/06/25 14:0 .

Confirm Time                                                            2024/06/25 14:09:51



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                                                                                                           COHN0349
                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 355 of 439 PageID #: 566




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                        trusthftwallet.com                                                               10       ■
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                Transaction Records


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      Receive                                  Send                                                 Convert



Receive USDT                                                                                          Successful

Amount                                                                                                300 USDT

Created Time                                                              2024/07/15 11:45:51

Confirm Time                                                              2024/07/15 11:46:02



Receive USDT                                                                                          Successful

Amount                                                                                      79994.71 USDT

Created Time                                                              2024/07/10 14:00:35

Confirm Time                                                              2024/07/10 14:00:44



Receive ETH                                                                                           Successful

Amount                                                                                                0.632 ETH

Created Time                                                              2024/07/07 15:46:32

Confirm Time                                                              2024/07/07 15:46:48



Receive USDT                                                                                          Sue

Amount                                                                                              12020 USDT

Created Time                                                              2024/06/27 13:38:12
Confirm Time                                                              2024/06/27 13:38:23

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                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 356 of 439 PageID #: 567




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                       trusthftwallet.com                                                              10       ■
                                                                                                                ■

 Address

Chain Name                                                                                             ERC20

Created Time                                                             2024/06/17 12:02:22

Confirm Time                                                             2024/06/17 12:10:06



Send USDT                                                                                           Successful

Amount                                                                                              6500 USDT

Fee                                                                                                 0.00 USDT

    Receive    OxeA273619A65211E14D6291b4971
 Address                                                                               3731640345b9A

Chain Name                                                                                             ERC20

Created Time                                                             2024/06/17 11:08:04

Confirm Time                                                             2024/06/17 11:35:25



Send USDT                                                                                           Successful

Amount                                                                                             29500 USDT

Fee                                                                                                 0.00 USDT

    Receive    OxeA273619A65211E14D6291b4971
 Address                                                                               3731640345b9A

Chain Name                                                                                             ERC20

Created Time                                                             2024/06/12 10·

Confirm Time                                                             2024/06/12 1


                                        No more



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                                                                                                            COHN0351
                          Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 357 of 439 PageID #: 568




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 Address                                                                                         3731640345b9A

Chain Name                                                                                                       ERC20

Created Time                                                                       2024/06/17 21:24:50

Confirm Time                                                                       2024/06/17 21:28:02

Failure Reason



Send USDT                                                                                                     Successful

Amount                                                                                                       10000 USDT

Fee                                                                                                           0.00 USDT

    Receive             OxeA273619A65211E14D6291b4971
 Address                                                                                         3731640345b9A

Chain Name                                                                                                       ERC20

Created Time                                                                       2024/06/17 20:32:32

Confirm Time                                                                       2024/06/17 21:07:56



Send USDT                                                                                                     Successful

Amount                                                                                                       4000 USDT

Fee                                                                                                           0.00 USDT

    Receive             OxeA273619A65211E14D6291b4971
 Address                                                                                         373164034

Chain Name

Created Time                                                                       2024/06/17 12:0 .

Confirm Time                                                                       2024/06/17 12:10:06



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                         Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 358 of 439 PageID #: 569




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 Address                                                                                        3731640345b9A

Chain Name                                                                                                      ERC20

Created Time                                                                      2024/06/24 11:49:40

Confirm Time                                                                      2024/06/24 12:00:24



Send USDT                                                                                                        Failed

Amount                                                                                                      52000 USDT

Fee                                                                                                          0.00 USDT

    Receive             OxeA273619A65211E14D6291b4971
 Address                                                                                        3731640345b9A

Chain Name                                                                                                      ERC20

Created Time                                                                      2024/06/17 21:31:05

Confirm Time                                                                      2024/06/17 21:33:43

Failure Reason



Send USDT                                                                                                        Failed

Amount                                                                                                      32000 USDT

Fee                                                                                                          0.00 USDT

    Receive             OxeA273619A65211E14D6291b4971
 Address                                                                                        373164034

Chain Name

Created Time                                                                      2024/06/17 21:

Confirm Time                                                                      2024/06/17 21:28:02

Failure Reason


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                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 359 of 439 PageID #: 570




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Fee                                                                                                    0.00 ETH

    Receive    Oxc2bedl44adlf32130bcdcl8482bll
    Address                                                                                        08ac329a355

Chain Name                                                                                               ERC20

Created Time                                                             2024/07/07 15:15:38

Confirm Time                                                             2024/07/07 15:34:31



Send USDT                                                                                             Successful

Amount                                                                                              10000 USDT

Fee                                                                                                   0.00 USDT

    Receive    OxD2EE5e99f75384d4ae3CAld74A6f
 Address                                                                                     4EC7cb252615

Chain Name                                                                                               ERC20

Created Time                                                             2024/07/05 13:01:09

Confirm Time                                                             2024/07/05 13:08:48



Send ETH                                                                                              Successful

Amount                                                                                             0.060584 ETH

Fee                                                                                                    0.00 ETH

    Receive    OxeA273619A65211E14D629lb
 Address                                                                               37316403

Chain Name

Created Time                                                             2024/06/24 11:49:40

Confirm Time                                                             2024/06/24 12:00:24


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                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 360 of 439 PageID #: 571




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X                       trusthftwallet.com                                                                  10          ■
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    Receive    OxD2EE5e99f75384d4ae3CAld7 4A6f
 Address                                                                                      4EC7cb252615

Chain Name                                                                                                   ERC20

Created Time                                                              2024/07/15 09:58:43

Confirm Time                                                              2024/07/15 10:37:03



Send USDT                                                                                                      Failed

Amount                                                                                              43500 USDT

Fee                                                                                                   0.00 USDT

    Receive    OxD2EE5e99f75384d4ae3CAld74A6f
 Address                                                                                      4EC7cb252615

Chain Name                                                                                                   ERC20

Created Time                                                              2024/07/13 19:11:10

Confirm Time                                                              2024/07/15 09:54:40

Failure Reason



Send ETH                                                                                              Successful

Amount                                                                                       0.0016981 ETH

Fee                                                                                                     0.00 ETH

    Receive    Oxc2bed144ad1f32130bcdc184
    Address                                                                                         08ac32

Chain Name

Created Time                                                              2024/07/07 15:15:38

Confirm Time                                                              2024/07/07 15:34:31

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                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 361 of 439 PageID #: 572




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    Receive    OxD2EE5e99f75384d4ae3CAld74A6f
 Address                                                                                      4EC7cb252615

Chain Name                                                                                                ERC20

Created Time                                                              2024/07/18 14:57:48

Confirm Time                                                                                        Confirming ...



Send USDT                                                                                                  Failed

Amount                                                                                              30000 USDT

Fee                                                                                                  0.00 USDT

    Receive    OxD2EE5e99f75384d4ae3CAld74A6f
 Address                                                                                      4EC7cb252615

Chain Name                                                                                                ERC20

Created Time                                                              2024/07/16 10:00:10

Confirm Time                                                              2024/07/17 13:35:27

Failure Reason



Send USDT                                                                                             Successful

Amount                                                                                              43500 USDT

Fee                                                                                                  0.00 USDT

    Receive    OxD2EE5e99f75384d4ae3CAld7
 Address                                                                                      4EC7cb2

Chain Name

Created Time                                                              2024/07/15 09:58:43

Confirm Time                                                              2024/07/15 10:37:03


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                                                                                                               COHN0356
                    Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 362 of 439 PageID #: 573




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                   Transaction Records


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        Receive                                   Send                                                 Convert



Send USDT                                                                                              Confirming ...

Amount                                                                                                 50000 USDT

Fee                                                                                                      0.00 USDT

     Receive       OxD2EE5e99f75384d4ae3CAld74A6f
 Address                                                                                         4EC7cb252615

Chain Name                                                                                                   ERC20

Created Time                                                                 2024/07/18 14:57:48

Confirm Time                                                                                           Confirming ...



Send USDT                                                                                                     Failed

Amount                                                                                                 30000 USDT

Fee                                                                                                      0.00 USDT

     Receive       OxD2EE5e99f75384d4ae3CAld74A6f
 Address                                                                                         4EC7cb252615

Chain Name                                                                                                   ERC20

Created Time                                                                 2024/07/16 10

Confirm Time                                                                 2024/07/17 13.

Failure Reason


-      . . ·--.                                                                                          -         ,-       I




 <                          >
                                                                                                                  COHN0357
               Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 363 of 439 PageID #: 574




    10:55

X
                                                                                                                 ■
                      trusthftwallet.com                                                                10       ■
                                                                                                                 ■



USDT Amount                                                                                       21633.832827

Created Time                                                            2024/06/12 11:28:46



Convert BTC To USDT

Amount                                                                                      2.1224534 BTC

Fee                                                                                                    0 USDT

USDT Amount                                                                          144119.3401556

Created Time                                                            2024/06/10 22:27:47



Convert BTC To USDT

Amount                                                                                                   2 BTC

Fee                                                                                                    0 USDT

USDT Amount                                                                                          136750.36

Created Time                                                            2024/06/10 20:41:58



Convert BTC To USDT

Amount                                                                                      0.2755389 BTC

Fee                                                                                                    0 USDT

USDT Amount                                                                               18935.0304526

Created Time                                                            2024/06/10 19


                                       No more




<                      >
                                                                                                             COHN0358
               Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 364 of 439 PageID #: 575




    10:55

X
                                                                                                                 ■
                      trusthftwallet.com                                                                10       ■
                                                                                                                 ■


Convert BTC To USDT

Amount                                                                                      5.0326018 BTC

Fee                                                                                                    0 USDT

USDT Amount                                                                          327371.2000242

Created Time                                                            2024/06/19 14:58:21



Convert BTC To USDT

Amount                                                                                      0.3732295 BTC

Fee                                                                                                    0 USDT

USDT Amount                                                                               24770.9619929

Created Time                                                            2024/06/14 22:31:47



Convert BTC To USDT

Amount                                                                                      3.5536908 BTC

Fee                                                                                                    0 USDT

USDT Amount                                                                          239622.2433961

Created Time                                                            2024/06/12 20:58:47



Convert BTC To USDT

Amount                                                                                      0.31274

Fee

USDT Amount                                                                                       21633.832827

Created Time                                                            2024/06/12 11:28:46



<                      >
                                                                                                             COHN0359
               Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 365 of 439 PageID #: 576




    10:55

X
                                                                                                               ■
                      trusthftwallet.com                                                              10       ■
                                                                                                               ■


Convert BTC To USDT

Amount                                                                                      0.0010685 BTC

Fee                                                                                                  0 USDT

USDT Amount                                                                                       66.1380237

Created Time                                                            2024/06/25 14:37:41



Convert BTC To USDT

Amount                                                                                      3.2023395 BTC

Fee                                                                                                  0 USDT

USDT Amount                                                                          198961.8655093

Created Time                                                            2024/06/25 12:58:22



Convert BTC To USDT

Amount                                                                                      8.2928431 BTC

Fee                                                                                                  0 USDT

USDT Amount                                                                          496575.3618996

Created Time                                                            2024/06/24 14:41:11



Convert USDT To ETH

Amount                                                                                             200

Fee

ETH Amount                                                                                          0.060584

Created Time                                                            2024/06/24 11:48:08



<                      >
                                                                                                           COHN0360
                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 366 of 439 PageID #: 577




    10:55

X
                                                                                                                  ■
                        trusthftwallet.com                                                               10       ■
                                                                                                                  ■



                Transaction Records


            •
      Receive                                  Send                                                 Convert



Convert ETH To USDT

Amount                                                                                                0.632 ETH

Fee                                                                                                      0 USDT

USDT Amount                                                                                            1859.976

Created Time                                                              2024/07/07 15:50:17



Convert USDT To ETH

Amount                                                                                                  5 USDT

Fee                                                                                                       0 ETH

ETH Amount                                                                                            0.0016981

Created Time                                                              2024/07/07 14:33:07



Convert BTC To USDT

Amount                                                                                        5.6219822 BTC

Fee                                                                                                      OU
USDT Amount                                                                            345620.57

Created Time                                                              2024/06/27 13:



Convert BTC To USDT

<                        >
                                                                                                              COHN0361
                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 367 of 439 PageID #: 578




    10:56

                                                                                                                 ■
X                      trusthftwallet.com                                                               10       ■
                                                                                                                 ■




                           USDT wallet



                            I                        I                              •


            Frozen: 3,417,678.5000000 USDT



      Receive                                 Send                                                 Convert




    Deposit funds


      ERC20       TRC20




             Dear users, pl...-time address.

                                Copy address


<                       >
                                                                                                             COHN0362
                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 368 of 439 PageID #: 579




     10:56

                                                                                                            ■
X                      trusthftwallet.com                                                          10       ■
                                                                                                            ■




                    @J              Hosting Order




        Total Arbitrage                                             Today Earnings

        1317678.5 USDT                                                   77510.5 USDT




     Introduction
     How does Ai robot work




Arbitrage Products


                      Wealth Management -
     ldays redeemable

 <                      >
                                                                                                        COHN0363
                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 369 of 439 PageID #: 580




    10:56

                                                                                                            ■
X                      trusthftwallet.com                                                          10       ■
                                                                                                            ■




                      Wealth Management -
    7days redeemable


         Amount                                                                Daily income

      $10000-50000                                                                      1.8000 %

    Arbitrage coin types




      30 Days              Wealth Management -
    30days Redeemable


         Amount                                                                Daily income

    $50000-50000000                                                                    3.8000 %

    Arbitrage coin types




<                       >
                                                                                                        COHN0364
                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 370 of 439 PageID #: 581




    10:56

                                                                                                                   ■
X                       trusthftwallet.com                                                                10       ■
                                                                                                                   ■




                  Hosting Detailed


                                                     •              •
      Hosting                     Term1nat1on                                                       Redeemed



    Wealth Management - 30days
                                                                                                       0 Redeemed
                Redeemable

Purchase Amount                                                                               2000000 USDT
Daily income                                                                                            3.8000°/o
Purchase Time                                                             2024/07/02 18:26:45
Redemption Date                                                           2024/08/02 18:26:45


    Wealth Management - 30days
                                                                                                       0 Redeemed
                Redeemable

Purchase Amount                                                                                      50000 USDT
Daily income                                                                                            3.8000 /o
                                                                                                              °

Purchase Time                                                             2024/07/02 18:25:00
Redemption Date                                                           2024/08/02 18:25:00


                                         No more




<                        >
                                                                                                               COHN0365
                       Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 371 of 439 PageID #: 582




    10:ss

                                         Discover
                                                                                                                               ■
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  Q Search or enter dApp URL                                                                                         Cancel


History                                                                                                                  See All

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  Buy & Sell                                          Buy & Sell                                          Trust
your cryptos...                                     your cryptos...



Featured

          Eigenlayer
          EigenLayer is a protocol built on Ethereum that introduces
          restaking, a new primitive in cryptoeconomic security. This p...



          Merlin Swap
          The first and largest DEX for Merlin and Bitcoin Ecosystem.



          Lido Staking
          The Lido Ethereum Liquid Staking Protocol, built on Ethereum
          2.0's Beacon chain, allows their users to earn staking reward...



 &        Balancer
         Automated portfolio manager and trading platform.



          GMX
          Decentralised Perpetual Exchange. Trade BTC, ETH, AVAX and
          more with up to 30x leverage directly from your wallet.




    Home                     Swap                                                  Earn                           Discover


                                                                                                                           COHN0366
                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 372 of 439 PageID #: 583




    10:59

X
                                                                                                                ■
                       trusthftwallet.com                                                              10       ■
                                                                                                                ■


        SOL Coin                                                                                   US$170.485
        USDT                                                                                  9.266% 24 Hrs



�       ETC Coin                                                                                   US$ 23.423
V       USDT                                                                                  2.284o/o 24 Hrs




         Mining machine leasing
         High efficiency and fast return


                                                                                  0


                                                                                       •




Invite friends


     Invite friends to join

     Start invitation




<                       >
                                                                                                            COHN0367
                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 373 of 439 PageID #: 584




11:05




                                        rus
The easiest and most secure crypto wallet

  Store all your crypto and NFTs in one place
  Trade 500+ assets on DEXes and earn interest
  No Trust account required



                10:17
                                                 ••• 9
            0                            Home

            Q

           0 Main Wallet•

           $1.836.76
                                                                                                Bitcoin                '5   0


                  Send         RoceiVc           Buy        Earn


                         Earn up to 30'% yield on4 cha.in            X
                                                                                            1 BTC
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                    Crypto                              NFTs

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                                       Manage crypto




                                                                               ■,                Download on the
                                                                                                App Store




 AA               trusthftwallet.com



                                                                                                                                COHN0368
                   Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 374 of 439 PageID #: 585




     6:05

X
                                                                                                                    ■
                          trusthftwallet.com                                                           10           ■
                                                                                                                    ■




Delivery time

        180S V                                                                                        Down


Price range

            °/o)                                                                                            V
     (*16



Purchase price                                                                                        Fee: 0%


        USDT              400000                                                                        Max

Available Balance:780285.30

At least:5000                                                                        Expected:64000.00




                                                                                                            X




                                                                                   •


 <                         >
                                                                                                                COHN0369
                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 375 of 439 PageID #: 586




    s:44

X
                                                                                                             ■
                        trusthftwallet.com                                                          10       ■
                                                                                                             ■




 Trust
                                                                             Credit: 670
 UID: 39665


Functions

 O
[ ] Account


     Arbitrage


Co) Mining




-    Chat




<                        >
                                                                                                         COHN0370
                    Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 376 of 439 PageID #: 587




          s:44

X
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                           trusthftwallet.com                                                                10       ■
                                                                                                                      ■



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                                                                                                                  □□


Send Crypto Now
Choose a wallet to send crypto from




Select a wallet                                                    °'             earch


              USDT wallet                                                       US$ 4,561,695.306
              USDT Coin                                                            911,485.306 USDT



              BTC wallet                                                                               US$ 0.0000
              BTC Coin                                                                                  0.0000 BTC



              ETH wallet                                                                               US$ 0.0000
              ETH Coin                                                                                  0.0000 ETH



              AAVE wallet                                                                              US$ 0.0000
              AAVE Coin                                                                                0.0000 AAVE


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      •   •
              ADA wallet                                                                               US$
••
  ·•··
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 • •••••
 • ••• •
         ••
   • • •      ADA Coin                                                                                 0.000



              AR wallet                                                                                US$ 0.0000
      a
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                                                                                                                  COHN0371
                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 377 of 439 PageID #: 588




    s:44

X
                                                                                                                 ■
                       trusthftwallet.com                                                               10       ■
                                                                                                                 ■




                           USDTwallet



                           I                           I                              •


           Frozen: 3,650,210.0000000 USDT



      Receive                                 Send                                                 Convert




    Deposit funds


      ERC20       TRC20




            Dear users, pl ...-time address.

                               Copy address

<                       >
                                                                                                             COHN0372
                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 378 of 439 PageID #: 589




       8:45

  X
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                        trusthftwallet.com                                                               10       ■
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                                                                                                              □=
                                                                                                              □□

          BTC Coin
                                  V
          USDT


  us 67,479.6
  -392.19 (-0.578%)


                                             68,193.5
-- ------------------------------------------------►




                                             67,205.9
---------------------------------------------------►



   SM         15M                     lH                            6H                              1D




   <                     >
                                                                                                              COHN0373
                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 379 of 439 PageID #: 590




     8:45

X
                                                                                                                  ■
                        trusthftwallet.com                                                               10       ■
                                                                                                                  ■




BTC Coin Delivery                                                                                               X

          BTC Coin                                                                                    e 605
          Buy Up                                                                                      0.00 USDT

Delivery time

         60S V                                                                                         Down


Price range

          °
     (*10 /o)                                                                                                 V



Purchase price                                                                                           Fee: 0%


         USDT           Amount                                                                               Max

Available Balance:911485.30

At least:100                                                                                        Expect




 <                       >
                                                                                                              COHN0374
                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 380 of 439 PageID #: 591




     8:45

X
                                                                                                                  ■
                        trusthftwallet.com                                                               10       ■
                                                                                                                  ■




BTC Coin Delivery                                                                                               X

          BTC Coin                                                                                    e 605
          Buy Down                                                                                    0.00 USDT

Delivery time

         60S V                                                Up


Price range

          °
     (*10 /o)                                                                                                 V



Purchase price                                                                                           Fee: 0%


         USDT           Amount                                                                               Max

Available Balance:911485.30

At least:100                                                                                        Expect




 <                       >
                                                                                                              COHN0375
                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 381 of 439 PageID #: 592




     8:45

X
                                                                                                                 ■
                       trusthftwallet.com                                                               10       ■
                                                                                                                 ■




BTC Coin Delivery                                                                                              X

        BTC Coin                                                                                     e 180S
        Buy Up                                                                                       0.00 USDT

Delivery time

       180S     V                                                                                     Down


Price range

                                                                                                             V



Purchase price                                                                                          Fee: 0%


       USDT            Amount                                                                               Max

Available Balance:911485.30

At least:5000                                                                                      Expect




 <                      >
                                                                                                             COHN0376
                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 382 of 439 PageID #: 593




     8:46

X
                                                                                                                  ■
                        trusthftwallet.com                                                               10       ■
                                                                                                                  ■




BTC Coin Delivery                                                                                               X

        BTC Coin                                                                                      e 600S
        Buy Up                                                                                        0.00 USDT

Delivery time

       600S V                                                                                          Down


Price range

                                                                                                              V



Purchase price                                                                                           Fee: 0%


       USDT             Amount                                                                               Max

Available Balance:911485.30

At least:10000                                                                                      Expect




 <                       >
                                                                                                              COHN0377
                    Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 383 of 439 PageID #: 594
                                                                                                         •


X
                                                                                                                      ■
                           trusthftwallet.com                                                                10       ■




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                                                                                                                  □□


Send Crypto Now
Choose a wallet to send crypto from




Select a wallet                                                    °'             earch


              USDT wallet                                                          US$ 5,191,779.306
              USDT Coin                                                           921,485.306 USDT



              BTC wallet                                                                               US$ 0.0000
              BTC Coin                                                                                  0.0000 BTC



              ETH wallet                                                                               US$ 0.0000
              ETH Coin                                                                                  0.0000 ETH



              AAVE wallet                                                                              US$ 0.0000
              AAVE Coin                                                                                0.0000 AAVE


  •
   •••
      •   •
              ADA wallet                                                                               US$
••
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 • •••••
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         ••
   • • •      ADA Coin                                                                                 0.000



              AR wallet                                                                                US$ 0.0000
      a
 <                          >
                                                                                                                  COHN0378
                Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 384 of 439 PageID #: 595
                                                                                                     •


X
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                       trusthftwallet.com                                                                10       ■
                                                                                                                  ■




                           USDTwallet



                             I                        I                            •


          Frozen: 4,270,294.0000000 USDT



      Receive                                 Send                                                 Convert




    Deposit funds


      ERC20       TRC20




           Dear users, pl ...-time address.

                               Copy address

<                       >
                                                                                                              COHN0379
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 385 of 439 PageID #: 596



 Hello, how can I help you?
                                                  1-E
 07-12 19:04:00
 Message: Hello!After sending successfully, please provide a screenshot with ETH quantity and address
 so that customer service can verify your ETH quantity
 Message: Hello, dear customer, our company has successfully reviewed your application and your funds
 have been received. Please refresh the page to view the changes in funds in your account.
 Message: Hello, the review is successful and the funds have been deposited into your account. Please
 refresh and check. I wish you a happy life.

 Hello- Where can I learn about the 60s, 90s & 180s smart contracts. I wish to understand how they work.
 Is there an article I can read? I also would like to understand the arbitrage smart contracts as well.
 Please provide me with the link to the info about these products. Thanks
 07-12 19:06:56

 Hello, please wait.
 07-12 19:07:55

 Hello, click on the upper left corner to open and then select Arbitrage to view it.
 07-12 19:14:54
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-12 20:10:54
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-13 21:47:22
 Message: Hello, your withdrawal will not be accepted during the weekend。Please wait patiently

 I sent 43500 USDT from my short term wallet to to
 07-13 21:49:32

 Another wallet but it has not left after several hours. Still saying conﬁrming… why is it not conﬁrmed and
 left my wallet yet?
 07-13 21:50:45




                                                                                             COHN0380
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 386 of 439 PageID #: 597




 07-13 21:52:49

 Hello, withdrawals are not accepted on weekends, you can withdraw on Monday.
 07-13 21:53:35
 Conversation ended
 Conversation started




                                                                                COHN0381
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 387 of 439 PageID #: 598



 Hello, how can I help you?
 07-15 09:49:34

 I have an order in progress that I sent on the weekend. Will this order be sent? If not can you cancel it? I
 need to send some USDT today.
 07-15 09:50:41




                                                                                               COHN0382
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 388 of 439 PageID #: 599



 07-15 09:50:56

 Hello, please wait.
 07-15 09:51:25

 Hello, the ﬁnance department is reviewing it. Do you want to cancel it?
 07-15 09:52:14

 I want to send it - but if it blocks my activity then please cancel it
 07-15 09:53:11

 Please advise what will happen with this order
 07-15 09:53:48

 Hello, we are cancelling your request
 07-15 09:54:14

 Hello, your withdrawal application has been cancelled. If you need to withdraw funds, please re-apply.
 07-15 09:55:18
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-15 10:36:04

 I have sent a second order of USDT and it is not left yet. What is the delay? Thanks
 07-15 10:36:47




                                                                                            COHN0383
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 389 of 439 PageID #: 600




                                                                    COHN0384
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 390 of 439 PageID #: 601



 07-15 10:37:00

 Hello, your withdrawal has been successful. Please refresh your account in 5-30 minutes.
 07-15 10:37:59
 Conversation ended
 Conversation started
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-15 11:29:59

 Is there a limit to how much I can withdraw per day?
 07-15 11:30:20

 Hello, your account has a monthly withdrawal limit of 200,000USDT, you need to upgrade your account
 to VIP2 to withdraw large amounts.
 07-15 11:34:35

 How do I upgrade my account to VIP2
 07-15 11:35:49

 Hello, your account has accumulated 10 million USDT and will be automatically upgraded to VIP2. The
 monthly withdrawal limit for VIP2 accounts is 10 million USDT.
 07-15 11:39:30

 Hello, the review is successful and the funds have been deposited into your account. Please refresh and
 check. I wish you a happy life.
 07-15 11:46:24
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-16 13:42:14

 Yes I sent 30,000 USDT from my short term wallet to another address several hours ago. It has not left
 yet. What is the hold up?
 07-16 13:44:11




                                                                                            COHN0385
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 391 of 439 PageID #: 602




 07-16 13:44:27

 Hello, due to your frequent withdrawals, the security mechanism has been triggered. Please wait
 patiently for 48 hours.
 07-16 13:47:33
 Conversation ended




                                                                                          COHN0386
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 392 of 439 PageID #: 603



 Conversation started

 Hello, how can I help you?
 07-16 14:31:51

 What my triggers frequent withdrawals? I have only made one withdrawal yesterday? Joe this is my
 second one in two days
 07-16 14:33:02

 Hello, due to security detection, the amount you withdraw is large, which triggers the security
 mechanism. Please wait patiently for 48 hours
 07-16 14:38:48
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-16 14:52:30

 How much USDT am I allowed to withdraw per day? Can I withdraw 100,000 USDT?
 07-16 14:53:35
 Conversation ended
 Conversation started

 I need the money now and can’t wait 48 hours. Can you please release the security freeze so I can
 withdraw more USDT?
 07-16 15:03:57

 Hello, how can I help you?
 07-16 15:03:57

 Hello, due to the large number of inquiries, customer service is responding one by one, please wait
 patiently~
 07-16 15:05:41
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-16 15:30:09
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-16 15:42:17
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-16 16:07:05
 Conversation ended
 Conversation started




                                                                                             COHN0387
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 393 of 439 PageID #: 604



 Hello, how can I help you?
 07-16 16:24:57

 How much USDT am I allowed to withdraw per day? Can I withdraw 100,000 USDT all at once and send
 it to my KYC?
 07-16 16:25:07

 Hello, please wait.
 07-16 16:32:13
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-16 18:01:25
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-16 19:56:10
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-17 12:27:35
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-17 13:33:23

 Please cancel this order that was blocked for security reasons. Thanks
 07-17 13:33:53
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-17 16:06:13
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-18 15:12:59

 Yes I just initiated a send to
 07-18 15:13:24

 Yes I just initiated sending some USDT to my Coinbase account. It is still conﬁrming. Will this be sent?
 Thanks
 07-18 15:15:17




                                                                                             COHN0388
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 394 of 439 PageID #: 605




                                                                    COHN0389
Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 395 of 439 PageID #: 606



 07-18 15:15:33

 Hello, due to the large number of inquiries, customer service is responding one by one, please wait
 patiently~
 07-18 15:15:59
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-18 15:27:09

 Yes I have waited 48 hours per your instructions to send more USDT to my Coinbase account. However
 the USDT is not left which it should have. It is still pending. I really nerd this USDT to pay expenses. I
 have followed your instructions. And I have NOT exceeded the $200k per month withdrawal limit. Please
 advise. Thanks
 07-18 15:34:02
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-18 16:07:04
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-18 16:30:20

 Hello,
 07-18 16:30:57

 I have been waiting for the 50,000 USDT to leave that I sent to another wallet. Can you please tell me
 why it is still conﬁrming and not left. Thanks
 07-18 16:32:00
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-18 16:51:08
 Message: Hi, your account triggered a security risk, please provide your KYC certiﬁed credentials.
 Provide KYC credentials photo and a selﬁe of you with your credentials. Thank you!
 Conversation ended
 Conversation started

 Hello, how can I help you?
 07-18 17:03:15




                                                                                             COHN0390
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 Hello, please wait. Your application has been submitted to the security department. The security
 department is reviewing it.
 07-18 17:08:32

 Thank you. Please inform me when I am cleared with the security department.
 07-18 17:11:49

 Hello, when the review is completed, we will leave you a message. Please pay attention to the
 information notiﬁcation. Thank you!
 07-18 17:13:43

 Hello, as your account has triggered the security risk control mechanism several times. The system
 recommends you to upgrade your account VIP level to V2 before July 31st to lift the risk control
 restriction. Of course, you upgrade the process of recharging the funds. All of the funds will reach your
 account, and after your upgrade is completed, you can make a one-time withdrawal.
 07-18 17:17:40

 Hello, how can I help you?
 07-18 17:31:18

 Hello - is there anyway other way can de-risk my account other than upgrading to level V2?
 07-18 17:36:47

 Hello, there is no other way at the moment. Upgrading to V2 is the fastest and safest way. Thank you!
 07-18 17:40:51

 Hello, how can I help you?
 07-18 18:22:56

 Hello, how can I help you?
 07-18 19:25:45

 Hello I sent to my short term trading wallet almost $2.3 million in crypto. And now you are not letting me
 withdraw my crypto due to frequent withdrawals. Which I have only made a few withdrawals from my
 account. Please explain why I cannot withdraw my original crypto
 07-18 19:28:08

 Hello, since you are not VIP2, frequent withdrawals from your account trigger security risks.
 07-18 19:30:04

 Hello, your account has triggered security risks many times. Please complete the upgrade as soon as
 possible to eliminate the security risks. You can then make large withdrawals.
 07-18 19:32:45

 I have only made 8 withdrawals since June 12.. that’s less than 2 withdrawals per week?
 07-18 19:35:54

 There was no help that tells me how many withdrawals I am allowed to make. I didn’t know this problem
 would happen. If I did I would have been careful.
 07-18 19:37:36




                                                                                              COHN0395
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 Hello, for the account that triggers security risks, the system needs to complete the VIP2 upgrade to
 solve the account security risk issue for the sake of account funds security. Please complete it as soon
 as possible
 07-18 19:37:47

 What will happen if I am unable to upgrade to V2 for another month?
 07-18 19:39:10

 Hello, your account security restrictions will always exist. If you cannot complete it within one month,
 your account will need to be re-audited.
 07-18 19:40:28

 Hello, how can I help you?
 07-18 21:58:51

 Thank you. What does it mean that my account will need to be re-audited? What does that entail?
 07-18 22:01:13

 Hello, we will review the security of your account. If the review fails, your account will be listed as a
 high-risk account and you will not be able to perform other transactions. You can only complete the VIP2
 upgrade to withdraw all funds and close the account.
 07-18 22:04:36

 Hello, how can I help you?
 07-18 23:13:11

 Why do I need to complete the VIP2 upgrade Is it possible to
 07-18 23:20:20

 Why do I need to complete the VIP2 upgrade to withdraw all of my funds? Can I withdraw all of my funds
 tomorrow and then afterwards closd the account?
 07-18 23:22:05

 Hello, because your account has triggered security risk control reasons many times, please upgrade to
 VIP2 before withdrawing all funds, thank you!
 07-18 23:24:08

 Hello, how can I help you?
 07-19 07:24:05

 Hello, how can I help you?
 07-19 09:28:35

 Yes I have $393.08 in my Trust wallet. And I have over 4.1 million in this trading account connected to my
 trust wallet. What is the diﬀerence between the two accounts?
 07-19 09:30:50

 Hello, your 4.1 million USD is in your trust short-term trading account.
 07-19 09:37:10




                                                                                              COHN0396
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 How can I move money from my short term trading account to my trust wallet?
 07-19 09:40:48

 Hello, once your account is upgraded and account restrictions are lifted, you can make large
 withdrawals.
 07-19 09:41:58

 Please explain- I furnished all my KYC credentials and it still did not remove the restrictions. It does
 make sense to one that I have to add another 6 million to make a withdrawal when I have 4 million in the
 account.
 07-19 09:48:58

 Hello, since your account has triggered security risks many times, you can only upgrade to VIP2 to
 eliminate the risk. After completing the upgrade, your account can make large withdrawals.
 07-19 09:52:05

 Hello, your account has triggered security risks multiple times. For the safety of your account funds,
 please complete it as soon as possible.
 07-19 09:52:13

 Hello, how can I help you?
 07-19 10:11:12

 So if I have security issues- why isn’t my Trust wallet blocked as well?
 07-19 10:12:56

 Hello, your funds are in the trust short-term trading account, and the security risk triggered by your
 account is in the short-term account.
 07-19 10:14:15

 Hello, how can I help you?
 07-20 15:35:42
 07-20 15:45:44 Dialog timeout




                                                                                               COHN0397
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                                                                                   COHN0398
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            Investigation Report by Nefture
            This investigation report outlines the detailed analysis of a sophisticated cryptocurrency scam that resulted in significant financial losses for the victim, Bruce Cohn. The scam, orchestrated through a
            fraudulent trading platform and manipulative relationship tactics, led to a total financial loss of $2,427,839.84 on Bitcoin and Ethereum. The report traces the stolen funds across the Bitcoin and
            Ethereum blockchains, identifies key scam addresses, and provides recommendations for authorities to prevent further losses and aid in the prosecution of the perpetrators.



            Victim Report
            Victim Information
                Name: Bruce Cohn

            Scam Timeline and Transactions
            Initial Contact:

                Date: June 3, 2024

                Platform: MillionaireMatch

                Scammer Alias: Anna Popescu

                Scammer Details: Claims to be from Romania, 44 years old.

            Movement to WhatsApp:

                Date: June 9, 2024

            Fake Wallet and Trading Platform:

                Fake Platform URL https://www.trusthftwallet.com/

            Financial Loss
            Total Stolen Amounts:

                Bitcoin $1,951,258.49

                Ethereum $476,581.36

            Total Financial Loss $2,427,839.84



            Breakdown by Wallet:

            Bitcoin:

                Strike Wallet $1,652,387.48 7 transactions, 26.35352667 BTC

                Exodus Wallet $298,871.01 3 transactions, 4.43520232 BTC

            USDT and Ethereum:

                Coinbase $229,356.53 3 transactions, 229,176.5881 USDT

                Kraken $199,678.86 3 transactions, 199,678.8555 USDT

                Victim Trust Wallet Ethereum address) $45,358.00 5 transactions, 45,358 USDT

                Victim Wallet 3 Ethereum address) $2,187.97 1 transaction, 0.6320406564 ETH



            Profits Returned: $45,000 (not counted in total losses)

            Profits were returned to the victim Coinbase wallet on Ethereum. Below are the details of the transaction.

             From                                               To                                              Date            Amount USDT    Hash

             0x8832cbbF8e9e2DA8FD2B927a141112AEF1AaE26D         0xD2EE5e99f753B4d4ae3CA1d74A6f4EC7cb252615      Jul-152024     43500          0xeaca1ac07b38cc886566af33af1af40484313857428eca23a12840621c6f4c5d


            Modus Operandi:
            The scam was executed through a meticulous and manipulative approach, which can be broken down into the following stages:

              Initial Contact and Relationship Building: The scammer, posing as a potential romantic partner, established a deep and trusting relationship with the victim over time.

                    Victim met "Anna" on MillionaireMatch.

                    Moved conversation to WhatsApp for privacy and exclusivity.

              Establishing Trust and Encouraging Investment: Leveraging the trust gained, the scammer introduced the victim to a sophisticated but fraudulent trading platform, convincing them of its
                legitimacy and high potential returns.

                    Shared interests in Bitcoin and cryptocurrency trading.

                    Video calls and phone calls to build trust, though infrequent and cut short.

              Manipulation to Use Fake Trading Platform: The scammer used a combination of realistic trading interfaces and fabricated investment results to manipulate the victim into believing their
                investments were growing.

                    "Anna" guided victim to use https://www.trusthftwallet.com/, presented as a legitimate trading platform.

                    Conducted KYC verification, providing sensitive personal information.

                    Victim transferred significant funds to this platform through guided steps.

              Fake Platform Interaction:

                    Platform appeared legitimate with support chat and realistic interface.

                    Victim made several trades, initially able to withdraw profits to establish trust.

              Withdrawal Restrictions and Increased Pressure:

                    Platform blocked further withdrawals citing security reasons and frequent transactions.

                    Claimed the need for account upgrade to VIP2 level with a $10 million account value to lift restrictions.

                    Pressure to withdraw additional funds from IRA to reach VIP2 level.

              Realization of Scam:

                    Continued blockage of withdrawals.

                    Platform and support shifted focus to extracting more funds.

                    Final failed withdrawal attempt on July 18, 2024, led to victim detecting the potential scam.

            Conclusion:
            The victim was lured by a romantic connection into investing in a sophisticated fake trading platform, leading to substantial financial losses. The scam was executed through a combination of
            relationship-building, manipulation, and the use of a realistic but fraudulent trading interface.




Investigation Report by Nefture                                                                                                                                                                                          1
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            We suspect a pig butchering scam which we detailed the modus operandi in a report that we shared in the attachementPig Butchering Report.html). Immediate action is needed to trace the funds
            and gather evidence for law enforcement. The investigation will help provide data to try and help find clues to identify the scammerʼs real identity.


            Victim's Wallet and Origin Transactions
            In this investigation, we analyzed several transactions originating from the victim's wallet that were sent to the scammer, initiating our detailed examination. Below are the details of these transactions,
            categorized by their respective blockchain networks and tokens.

             Victimʼs Wallet addresses                          Name                          Chain

             0xeA273619A65211E14D6291b49713731640345b9A         Victim Trust Wallet           Ethereum

             0xc2bed144ad1f32130bcdc18482b1108ac329a355         Victim Wallet 2               Ethereum

             0xF6033fBBad9b318Aca5B895181c62A901d1d26b3         Victim Coinbase ETH           Ethereum

                                                                Victim Coinbase USDT
             0xD2EE5e99f753B4d4ae3CA1d74A6f4EC7cb252615                                       Ethereum
                                                                Deposit

             bc1q0umxfhwgfyggaqy9g8jyen46v3xzx4c09nt7gp         Exodus Wallet 1               Bitcoin

             3Ghu4SfanRUM3rzFDBErpfPaSTUiggabuf                 Exodus Wallet 2               Bitcoin

             lnbc1pnfluktpp5j6stxj9kmczvpvmnaylservyla4h2az
             a7v0cah2a00yy70ukyakqdqqcqzzsxqrrs0fppq2zcu
             l3pmckhmh9wrjxfc4tr3kmulstqtsp54mu86uwmlkp
                                                                Strike Wallet  Lightning
             vwepttla55jhjnjzusqkeey79rpy9au0hlun737uq9qyy                                    Bitcoin
                                                                Newtork
             ssq6xj8ug53p7dy8wlawt6m849fqpf2jlu6d4e8tq0n
             utvynx5dfvmq2ks6ajnpytggfrq6ztzzknyqy8hqwmvd
             krr54plup0ah7djyypcpwag2q9

             bc1qwtewmqe8h7pz5ghkges5r3440mfk75zkzc93xg         Strike Wallet 2               Bitcoin

            NB From the lack of activity on the strike mainnet address, we can deduce that most of the transactions happened on the lightning network which doesnʼt share transaction data publicly. To continue
            the investigations around these wallets, access to the Strike app transaction history would be necessary.


            Below are two tables listing the initial transaction hashes from the victim to the scammer on Bitcoin and on Ethereum

             Bitcoin Transaction Hash                                                       Chain        Token

             ec4ef08dde10a0563df6b5e2b6ab8467479a319d0f140a934d94042982bbe44a               Bitcoin      BTC

             742a6fd03369ba793791296eac2a587640f998a6cda9411874777dc1b3faa08b               Bitcoin      BTC

             d8ffb97d6e83a17ba01405f8a797356021305c746faea06a854d038a1274e514               Bitcoin      BTC

             d92e6f47b42b51e976df9263aee79afe2e1ba4d70fc5c47792f8493a609c9f86               Bitcoin      BTC

             af6d845e19398cae8b9bc6e763bb42ed11dbcf0af57a2ebbb68f6fce4759253a               Bitcoin      BTC

             4a6d29abd324ffe138759c662a29614219a744bba0d0a012621a1409b2e167a4               Bitcoin      BTC

             acb5467720ee522df0a6060f206f9bb121e53477e0da329d84cffd6299c5950f               Bitcoin      BTC

             479c18812c0b242525a774ab644b5fd761eaffcc6293d66fa29fbf6a5be794c7               Bitcoin      BTC

             da6e9f4f1b81d94f46d34adf0ddd5450cba6f151356033637ef11f54d5585206               Bitcoin      BTC

             710a2851b750d84ddcd7634dfb85879f00ac7242f928d89cd519ad64e81c6fcb               Bitcoin      BTC


             Ethereum Transaction Hash                                                        Chain        Token

             0x9eca3f4f800f8c8179d7dcab5daf004ca6545dc6cfc5b0e9ca41aabdd0a46d0b               Ethereum     USDT

             0xca57b62c949ffa6944d0e5942b0432bb87945bb722d1bd2a9514d64fcfa756c5               Ethereum     USDT

             0x4a2852bf00089f6c94329e3ce15b10fc3dba72a89cd499d9460b08a580e3acc6               Ethereum     USDT

             0x969f9972702eb96be9e9095d0894676dbbecfa80330a5538a62fb14027831861               Ethereum     USDT

             0xf61b3a1d77590958549b8e251ef6acef9940b643d4c71a24c36e9f06aaf31d3a               Ethereum     USDT

             0xf8454ba13e7f6f53065a3a07b3731ed65f9a62044bff96547f99c2affdb844b0               Ethereum     USDT

             0xf21efb834dce433f81ae490ea6942588ddb46e0dda1914152182deb4fa66c5cf               Ethereum     USDT

             0x0a02dfe55b57e90a560808cbdf044eda34f33f0b5e7fa33be25f9236b12feb11               Ethereum     USDT

             0x288225f0c9d72fea283d9b2c6ce81f5bff7f9d4961872b0465726407e737face               Ethereum     USDT

             0x6b7997483003aa187801d9d79ad8c5f7cbf92b8dd23d32be63fd42e6f5fb55ef               Ethereum     USDT

             0x5b61e928690324f194e7deab1185b0d1461afdcea42f7a3fe7658fe39891fb0b               Ethereum     USDT

             0xa0e60d233931a134a102839f5579e9bb86a5a3eb16862c6b25a6d4d22e09295d               Ethereum     ETH

            The transactions listed above are critical to understanding the movement of funds from the victim's wallet to the scammer's addresses. Each transaction hash serves as a unique identifier that can be
            used to trace the specific transfer of assets on the blockchain. The Bitcoin and Ethereum transactions detailed above were conducted using various wallets, leading to a significant financial loss for
            the victim.



            Tracking Methodology
            This investigation report presents a comprehensive analysis of the stolen funds traced on both the Bitcoin and Ethereum blockchains. Our objective is to provide a detailed, transparent account of the
            movement of these funds, ensuring that authorities can effectively pursue legal action against the perpetrators.
            The investigation was conducted across two chains, Bitcoin and Ethereum, as the stolen funds were sent there using three different tokens: BTC, USDT, and ETH. For each chain, we meticulously
            followed the funds for specific tokens at a time.


            Segmentation of the Tracking Process
            We had to segment the investigation into three categories based on the tokens and blockchains involved:

            1. Bitcoin

                Token: BTC

                    We focused on tracking stolen BTC, following the movement of funds through multiple transactions.

                    Each fund flow originates from the initial transfer transaction from the victim to the scammer, representing distinct paths taken by the stolen funds.

                    Detailed tables outline the initial transaction hashes, amounts traced, and final destinations for each fund flow.

            2. Ethereum

                Token: ETH

                    We traced the stolen ETH through various transactions.

                    Each fund flow originates from the initial transfer transaction from the victim to the scammer, representing distinct paths taken by the stolen funds.

                    Detailed tables provide a clear path from the theft to the current location of the funds.

                Token: USDT

                    We traced the stolen USDT through multiple transactions.

                    Each fund flow originates from the initial transfer transaction from the victim to the scammer, representing distinct paths taken by the stolen funds.

                    Detailed tables outline the specific paths taken by the stolen USDT, ensuring a comprehensive trace of the funds.




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            Analysis for Bitcoin Fund Flow
            The analysis of the fund flow reveals several key points:

                   The funds were quickly dispersed through multiple addresses to obscure their origin.

                   Several intermediary addresses were used to further complicate the traceability of the funds.

                   The final destinations of the funds include:

                       Exchange Deposit Address These addresses should allow authorities to contact the exchange to reveal the identity behind the account. As KYC Know Your Customer) is mandatory on this
                       platform, this could help identify the scammer. It is possible that fake KYC information was used, but contacting the exchange can at least block any remaining funds.

            List of Binance Deposit Addresses Associated With Scam Activity
            This category includes a list of Bitcoin Exchange Deposit addresses that have been traced back to the scammer and are associated with a cryptocurrency exchange. The funds transferred to these
            addresses have been moved through the scam network, eventually reaching these deposit points.

            Contacting the exchanges is crucial, as they require mandatory KYC Know Your Customer) protocols for their users. By doing so, there is a possibility of identifying the scammer through the provided
            KYC details or, at the very least, blocking any remaining funds in these accounts to prevent further losses.

             Fund Flow          Address                                   Name                        Exchange

             1/2/3              16gWSWQ8nJ6QiiuCj8Ya9ADVZVD4LRRQyy        Scammer Binance Deposit     Binance

             3/6                17y7A2SUCZpjdKmdAJq2rD4Js6Z89jehgi        Zedxion Exchange

             4/7                1JYByGQYMHzRMSpha7f3bT6V2qv1NVkNVj        Scammer Binance Deposit     Binance

             5/8/9              1n9wzc4Bbb8vYvXugeFBfLsfqC5NC1WcN         Zedxion Exchange

             9/10               3NdBc2vgwxWt4jjUeoYshqibXPRD5NrL7C        OKX                         OKX


            Analysis for Ethereum Fund Flow
            The analysis of the Ethereum fund flow reveals several key points:

                   The funds were quickly dispersed through multiple Ethereum addresses to obscure their origin.

                   Several intermediary addresses were used to further complicate the traceability of the funds.

                   The final destinations of the funds include:

                       Exchange Deposit Address Binance, OKX, and more) These addresses are linked to centralized exchanges that require KYC Know Your Customer) procedures. By contacting the exchange
                       directly, we can request the identity behind the account associated with the stolen funds. Even if fake KYC information was used, the exchange can help by freezing any remaining funds to
                       prevent further laundering.

                       On-Chain Ethereum Addresses A significant portion of the funds remains in several Ethereum addresses on-chain. We have implemented monitoring alerts on these wallets to receive real-
                       time updates on fund movements. This information will be provided to authorities directly if the funds are transferred to an exchange, enabling the possibility of blocking the funds.

                       Decentralized Exchanges Dex: TokenIon) Decentralized exchanges DEXs) operate without a central authority, allowing users to trade directly with one another. Unlike centralized
                       exchanges, DEXs typically do not require KYC, making them attractive for illicit activities. Funds moving through DEXs can be harder to trace due to the lack of centralized control and the
                       potential for anonymized trading.

            List of Ethereum Deposit Addresses Associated With Scam Activity
            During our investigation, we identified the following Ethereum deposit addresses directly involved in this particular scam. These addresses have been traced back to the scammer and are associated
            with various cryptocurrency exchanges. The funds transferred to these addresses have moved through the criminal organization network, eventually reaching these deposit points.

            Contacting the exchanges associated with these addresses is crucial. These exchanges enforce mandatory Know Your Customer KYC protocols for their users, which could lead to the identification
            of the scammer through their KYC details or, at the very least, facilitate the blocking of any remaining funds in these accounts to prevent further losses.

             Fund Flow USDT      Address                                          Name                 Exchange

             1/6/7               0xdA22870E0Bd87133250fbC319476E278D7af93c2       OKX Deposit          OKX

             2                   0x5041ed759Dd4aFc3a72b8192C143F72f4724081A       OKX                  OKX

             3                   0x093a414747eeb4d913d90a250731fcf7ca2097fe       Coinbase deposit     Coinbase

             4/10                0x8c14c1215A5b32830537F6255079a9802A020891       Kraken Deposit       Kraken

             5                   0x8bf9538e6d36a20466b40d1e873b137e68dbf5f3       Binance Deposit      Binance

             8                   0x7d732b8fff5e1fcbf7c384c8ed1577209d7ed48f       Binance Deposit      Binance

             8                   0x46340b20830761efd32832A74d7169B29FEB9758       Crypto.com           Crypto.com

                                                                                                       Change Now
             8                   0x48c04ed5691981C42154C6167398f95e8f38a7fF       Change Now
                                                                                                       No KYC exchange)

             8                   0x89e51fA8CA5D66cd220bAed62ED01e8951aa7c40       Kraken               Kraken

             8                   0xA9D1e08C7793af67e9d92fe308d5697FB81d3E43       Coinbase             Coinbase

             8                   0x6d7c64808be889d12b97d812b6e54d9594c87a1c       Binance Deposit      Binance

             8                   0x59dca074075b8d622d50bf8bdb78d2d168764fb0       OKX                  OKX

             8                   0x5d8814d1268d70d89c2ee8cdf9e14ff64902fce6       OKX Deposit          OKX

             8                   0x16bae474cbdfca7214196decf6e74e856dd09e10       Binance Deposit      Binance

             8                   0x8bd3596bd1d0e4484ff29df420399b6e9197e3f4       Binance Deposit      Binance


             Fund Flow ETH      Address                                          Name                Exchange

             1.1                0xf3b0073e3a7f747c7a38b36b805247b222c302a3       Crypto.com          Crypto.com

             2.2                0x0e747eb2ff0f26fb77c3a1ea67ee07fac2dbb783       ChainUp Custody     ChainUp Custody


            List of Scammer Addresses with Remaining Funds
            This category includes a series of Ethereum addresses used by the scammer to facilitate the transfer and laundering of the stolen funds. These transit addresses act as intermediaries, making it
            challenging to trace the fund flow. However, they are crucial in the investigation as they link the initial scam transactions to the final deposit points, such as the Binance addresses.

            Monitoring these addresses allows for real-time alerts on fund movements, providing timely information to authorities to take action, especially if the funds move to exchanges where they can be
            blocked or further traced.

             Fund Flow USDT       Address                                               Amount           Token

             2                    0x48d5305aCDc74C2E5Ed9CEd98F60EF4Dd3132691            100              USDT

             2                    0x48d5305aCDc74C2E5Ed9CEd98F60EF4Dd3132691            19700            USDT

             2                    0xB6B5780CDF824627318cd1868A70727EC81dFECB            30194.71         USDT

             3                    0x54FAC0c5a4c45D671b57FD965Df051718Da64dc6            20.75            USDT

             8a                   0x956Ba55F24c5e47DB8B72d8cF44B60a88560fD3D            5010             USDT

             8b                   0x2D81D4d86765df01B5a29EAF4609F5Fe0fc6988e            200              USDT

             8b                   0xC876D4d503a3E1C616126633DC8cBA6C1c1C2eab            291,63           USDT

             8b                   0x8e49D0017e1f597e4Cb06E0FEEE0663F3cDdF451            10               USDT

             8b                   0xf2B86610c44A33cD8cbaecBcb4d8472C04e1C95c            11,97            USDT

             8b                   0x18bD32cde2aF9cbD8227352eDD8d18d47573a473            25,29            USDT

             ETH 3.1              0x9e88decd4b770ff51cb023d18364a3743ff18297            0.003            ETH




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           Tracking The Stolen Funds - Ethereum
           This investigation report presents a comprehensive analysis of the stolen funds traced on the Ethereum blockchain. Our objective is to provide a detailed, transparent account of the movement
           of these funds, ensuring that authorities can effectively pursue legal action against the perpetrators. To achieve this, we have segmented the tracking process into two primary categories: ETH
           flows and USDT flows. Each category is further broken down into distinct fund flows for clarity and precision.

           Segmentation of the Tracking Process
           1. Tracking the USDT Flows: This section focuses on the tracking of stolen USDT. We follow the movement of the funds through multiple transactions, providing detailed information on each sub
           fund flow. This includes the initial transaction hash, amounts traced, and final destinations.

           2. Tracking the ETH Flows: In this section, we detail the movement of stolen ETH across various transactions. Each fund flow within this category highlights the initial transaction, subsequent
           transfers, and final destinations of the stolen ETH. Our aim is to provide a clear path from the theft to the current location of the funds.

           Fund Flow Segmentation
           Each category ETH and USDT is further segmented into individual fund flows. These fund flows represent distinct paths that the stolen funds have taken. Each fund flow is introduced with a
           summary, including the total stolen funds and key transaction hashes. We then provide a detailed table for each fund flow, outlining the following:

               Sub Fund Flow: Identification number for the sub flow within the main fund flow.

               Transaction Hash: The unique identifier of the transaction.

               Stolen Funds Traced: The amount of stolen funds traced in each sub fund flow.

               Percentage of Total Stolen Funds Traced % The percentage of the total stolen funds represented by each sub fund flow.

               Final Destination Addresses: The Ethereum addresses where the funds were last traced.

               Final Destination Addresses Identifiable KYC The exchange deposit accounts linked to a KYC identity, aiding in the identification of the fraudsters.

               Exchange Name: The name of the exchange where the funds were deposited.

               Last Transaction Date: The date of the last transaction for each sub fund flow.

           By meticulously documenting each step of the stolen funds' journey, we aim to provide authorities with the critical information needed to track down and apprehend those responsible.

           Appendix
           All the data extracted and analyzed as well as the visualization of the fund flows are in the Appendix.



           Algorithm for Tracking Stolen Funds on Ethereum
           Overview
           In our investigation of the stolen USDT/ETH funds on the Ethereum blockchain, we developed an advanced algorithm designed to trace the flow of these funds through various transactions and
           addresses. This algorithm leverages several techniques to ensure accurate tracking and identification of stolen funds, even when they are mixed with other funds or split across multiple
           transactions. Below, we detail the working of this algorithm and the rationale behind its design, which is crucial for authorities to understand the methodology and validate our findings.

           Algorithm Design

           1. Transaction Hash Tracking
           The algorithm begins by identifying the initial transaction hashes where the stolen funds were first detected. From these initial points, the algorithm follows the trail of the funds as they move
           through various addresses and transactions.

             Transaction List
             0x9eca3f4f800f8c8179d7dcab5daf004ca6545dc6cfc5b0e9ca41aabdd0a46d0b
             0xca57b62c949ffa6944d0e5942b0432bb87945bb722d1bd2a9514d64fcfa756c5
             0x4a2852bf00089f6c94329e3ce15b10fc3dba72a89cd499d9460b08a580e3acc6
             0x969f9972702eb96be9e9095d0894676dbbecfa80330a5538a62fb14027831861
             0xf61b3a1d77590958549b8e251ef6acef9940b643d4c71a24c36e9f06aaf31d3a
             0xf8454ba13e7f6f53065a3a07b3731ed65f9a62044bff96547f99c2affdb844b0
             0xf21efb834dce433f81ae490ea6942588ddb46e0dda1914152182deb4fa66c5cf
             0x0a02dfe55b57e90a560808cbdf044eda34f33f0b5e7fa33be25f9236b12feb11
             0x288225f0c9d72fea283d9b2c6ce81f5bff7f9d4961872b0465726407e737face
             0x6b7997483003aa187801d9d79ad8c5f7cbf92b8dd23d32be63fd42e6f5fb55ef
             0x5b61e928690324f194e7deab1185b0d1461afdcea42f7a3fe7658fe39891fb0b


           2. Amount and Raw Amount Analysis
           Each transaction is analyzed for two key components:

               Amount: The amount, within the raw amount, identified as stolen funds.

               Raw Amount: This is the total amount of the transaction, which may include both stolen funds and other unrelated funds.

           The distinction between these two amounts is critical for ensuring that the tracking focuses specifically on the stolen funds while acknowledging the presence of other funds in the same
           transactions.

           3. First Visit Tracking
           The algorithm maintains a record of whether a transit address has been visited for the first time. If it is the first visit, the algorithm treats the full amount of the stolen funds as part of the
           transaction. For subsequent visits, it considers only the remaining part of the transaction amount, thereby preventing double-counting of the same funds.

           4. Next Transaction Identification
           For each transaction, the algorithm identifies the subsequent transactions where the funds are moved. This is done by examining the destination addresses and the amounts transferred. The
           algorithm creates a chain of transactions, allowing us to follow the stolen funds through various layers of transactions.

           5. Exchange Flagging
           The algorithm also flags exchange transactions. These are transactions where the destination address is likely an exchange, based on predefined criteria such as known exchange addresses or
           patterns typical of exchange transactions. This helps in identifying points where the stolen funds might be converted to other assets or withdrawn.

           Algorithm Rationale

           1. Comprehensive Tracking
           The algorithm ensures that every transaction involving stolen funds is meticulously tracked. By recording each transaction hash, the algorithm provides a clear path of how the stolen funds are
           moved, allowing for accurate reconstruction of the fund flow.

           2. Segregation of Stolen Funds




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           By distinguishing between the amount identified as stolen funds and the total transaction amount (raw amount), the algorithm accurately isolates the stolen funds from other legitimate funds.
           This ensures that our tracking focuses solely on the stolen funds, eliminating potential confusion caused by mixed transactions.

           3. Prevention of Double-Counting
           The first visit tracking mechanism ensures that the same transaction amount is not counted multiple times. This is particularly important when analyzing multiple transactions involving stolen
           funds, as it prevents inflation of the traced amounts and maintains accuracy.

           4. Identification of Exchange Points
           Flagging potential exchange transactions helps in identifying critical points where the stolen funds might be converted to other assets or withdrawn. This information is crucial for understanding
           the final disposition of the stolen funds and identifying potential avenues for recovery.

           5. FIFO Approach
           The First-In-First-Out FIFO approach ensures that the earliest stolen funds are tracked first. This method aligns with typical transaction processing and provides a logical and chronological
           tracking of the funds, which is easier to follow and verify.

           Conclusion
           Our algorithm is designed to provide a comprehensive and accurate tracking of stolen USDT/ETH funds on the Ethereum blockchain. This report, along with the algorithm, provides authorities
           with the necessary tools to decipher the fund flows and pursue further actions for recovery and legal proceedings. We are open to share the algortihm code with the client on-demand.



           Tracking USDT Funds on Ethereum
           Understanding Stolen Fund Flows
           This section provides a detailed representation of each identified fund flow involving stolen USDT funds. For each flow, we present the final destination addresses, the total amount of stolen
           funds traced, the percentage of the total stolen funds, the date of the last transaction for each exchange address, and visualizations for better understanding.

           Fund Flow Format
           Each fund flow section in our investigation report provides a detailed trace of the stolen USDT funds. The format is designed to present the information clearly and concisely, ensuring authorities
           can easily understand the movement and final destinations of the stolen funds. Here is an overview of the format used for each fund flow:

             Total Stolen Funds (USDT): The total amount of USDT traced in the specific fund flow.

             Transaction Hash Traced: The primary transaction hash from which the fund flow analysis begins.

             Description: A brief explanation of the movement of the stolen funds, highlighting the key transactions and their final destinations.

             Table: A structured table providing detailed information on each sub fund flow within the main fund flow.

           In our investigation, we identified that the final destination addresses of the stolen funds are often generic addresses associated with exchanges. These addresses do not have any identity
           information linked to them, making it challenging to trace the actual individual or entity responsible for the fraudulent activities. To mitigate this issue, we have included a column for "Final
           Destination Addresses Identifiable KYC" in our tables. This column provides the specific exchange deposit account from which the transaction originated, which is linked to a KYC identity. By
           including this information, we aim to expedite the identification process for authorities, making it easier to track down the fraudster or scammer behind the transactions. This approach ensures a
           more efficient and accurate investigation, ultimately aiding in the recovery of stolen funds and the prosecution of the individuals involved.

           Fund Flow Summary Table
                                                                                                                                Percentage of Total
            Fund Flow       Transaction Hash of Transfer to Scammer                                       Total Amount USDT
                                                                                                                                Stolen Funds

            Fund Flow 1     0xca57b62c949ffa6944d0e5942b0432bb87945bb722d1bd2a9514d64fcfa756c5            99952,44              21,08%

            Fund Flow 2     0x4a2852bf00089f6c94329e3ce15b10fc3dba72a89cd499d9460b08a580e3acc6            79994,71              16,87%

            Fund Flow 3     0x969f9972702eb96be9e9095d0894676dbbecfa80330a5538a62fb14027831861            100                   0,02%

            Fund Flow 4     0xf61b3a1d77590958549b8e251ef6acef9940b643d4c71a24c36e9f06aaf31d3a            99713,94              21,03%

            Fund Flow 5     0xf8454ba13e7f6f53065a3a07b3731ed65f9a62044bff96547f99c2affdb844b0            99864,9               21,06%

            Fund Flow 6     0xf21efb834dce433f81ae490ea6942588ddb46e0dda1914152182deb4fa66c5cf            25020                 5,28%

            Fund Flow 7     0x0a02dfe55b57e90a560808cbdf044eda34f33f0b5e7fa33be25f9236b12feb11            3008                  0,63%

            Fund Flow 8a    0x288225f0c9d72fea283d9b2c6ce81f5bff7f9d4961872b0465726407e737face            5010                  1,06%

            Fund Flow 8b    0x6b7997483003aa187801d9d79ad8c5f7cbf92b8dd23d32be63fd42e6f5fb55ef            12020                 2,53%

            Fund Flow 9     0x5b61e928690324f194e7deab1185b0d1461afdcea42f7a3fe7658fe39891fb0b            300                   0,06%

            Fund Flow 10    0x9eca3f4f800f8c8179d7dcab5daf004ca6545dc6cfc5b0e9ca41aabdd0a46d0b            49229,43              10,38%

            Total                                                                                         474213,42             100%



           Fund Flow 1
           Total Stolen Funds USDT 99952.44
           Transaction Hash Traced: 0xca57b62c949ffa6944d0e5942b0432bb87945bb722d1bd2a9514d64fcfa756c5

           In Fund Flow 1, we traced a total of 99952.44 USDT. The stolen funds were moved through several transactions before reaching their final destinations. The two primary sub fund flows within
           this fund flow are:

             A transaction with hash 0x79000d37b725752108c04bb1b28abb4d784e8535804d2d65db2e20ac3656c029 that traced 67371.44 USDT, representing 67.40% of the total stolen funds. The final destination for this
               transaction is the address 0x5041ed759Dd4aFc3a72b8192C143F72f4724081A .

             Another transaction with hash 0x0e37f2a5463b8f923af111eefeb70bf1c435c37b6c2d405cea97e4e64701e0b3 traced 32581 USDT, representing 32.60% of the total stolen funds, ending at the address
               0x5041ed759Dd4aFc3a72b8192C143F72f4724081A .


                                                                                               Percentage of Total
                                                                             Stolen Funds                                                             Final Destination Addresses   Exchange      Last Transaction
            Sub Fund Flow   Transaction Hash                                                   Stolen Funds Traced    Final Destination Addresses
                                                                             Traced USDT                                                            Identifiable KYC            Name          Date
                                                                                               %

                                                                                                                                                      0xdA22870E0Bd871332                         20240720
                            0x79000d37b725752108c04bb1b                                                               0x5041ed759Dd4aFc3
            1                                                                67371.44          67.40                                                  50fbC319476E278D7af93c2       OKX           141747 for OKX
                            28abb4d784e8535804d2d65db2e20ac3656c029                                                   a72b8192C143F72f4724081A
                                                                                                                                                      (OKX Deposit)                               Deposit

                                                                                                                                                      0xdA22870E0Bd871332                         20240720
                            0x0e37f2a5463b8f923af111eefeb70bf                                                         0x5041ed759Dd4aFc3
            2                                                                32581             32.60                                                  50fbC319476E278D7af93c2       OKX           141747 for OKX
                            1c435c37b6c2d405cea97e4e64701e0b3                                                         a72b8192C143F72f4724081A
                                                                                                                                                      (OKX Deposit)                               Deposit

            Total                                                            99952.44          100



           Fund Flow 2
           Total Stolen Funds USDT 79994.71
           Transaction Hash Traced: 0x4a2852bf00089f6c94329e3ce15b10fc3dba72a89cd499d9460b08a580e3acc6

           Fund Flow 2 involved tracking a total of 79994.71 USDT through multiple transactions.
           Key sub fund flows include:




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             A transaction with hash 0x9ebf5e467f2cac959a1c91c799c85a60ed81758217e7245e8a99becf61bb33bf , which traced 30000 USDT, accounting for 37.50% of the stolen funds, ending at the address
               0xa4A76eC9697Be8fcF1fDb907d9e2F64378c83762 .


                a Another transaction, 0x83b200f09a5e69df901d0adf1810e60dc882678ea0748d71b3a3687ce3cc295f , traced 100 USDT 0.12% and 19700 USDT 24.63%, ending at the address
                   0x2cB3c2F4BDbF6f89436D25A19Eb5b60C1DEabcEc, which is an ethereum wallet. We recommend monitoring in real-time this address to get alerted as soon as the stolen funds are transferred.


             A final significant transaction, 0x32fd0e99b3974e00f1084723ca59886e91d4442e912d21bc23ada658c4ecb2a9 , traced 30194.71 USDT 37.75%, ending at the address
               0xB6B5780CDF824627318cd1868A70727EC81dFECB, which is an ethereum wallet. We recommend monitoring in real-time this address to get alerted as soon as the stolen funds are transferred.


                                                                                           Percentage of                                                                                                               Last
                                                                        Stolen Funds                                                            Final Destination Addresses
            Sub Fund Flow   Transaction Hash                                               Total Stolen         Final Destination Addresses                                          Exchange Name                     Transaction
                                                                        Traced USDT                                                           Identifiable KYC
                                                                                           Funds Traced %                                                                                                            Date

                            0x9ebf5e467f2cac959a1c91c799c85a                                                    0x5041ed759Dd4aFc                                                                                      20240728
            1                                                           30000              37.50                                                                                     OKX
                            60ed81758217e7245e8a99becf61bb33bf                                                  3a72b8192C143F72f4724081A                                                                              122459

                                                                                                                                                                                     Not an exchange,
                                                                                                                                                                                     Ethereum address.
                                                                                                                                                                                     Real-time monitoring on
                            0x83b200f09a5e69df901d0adf1810e6                                                    0x2cB3c2F4BDbF6f89              0x48d5305aCDc74C2E                   this address is                   20240728
            2                                                           100                0.12
                            0dc882678ea0748d71b3a3687ce3cc295f                                                  436D25A19Eb5b60C1DEabcEc        5Ed9CEd98F60EF4Dd3132691             recommended as the                32847
                                                                                                                                                                                     funds were transferred to
                                                                                                                                                                                     a new wallet 0x48..2691
                                                                                                                                                                                     and are still in the wallet.

                                                                                                                                                                                     Not an exchange,
                                                                                                                                                                                     Ethereum address.
                                                                                                                                                                                     Real-time monitoring on
                            0x83b200f09a5e69df901d0adf1810e6                                                    0x2cB3c2F4BDbF6f894             0x48d5305aCDc74C2                    this address is                   20240728
            3                                                           19700              24.63
                            0dc882678ea0748d71b3a3687ce3cc295f                                                  36D25A19Eb5b60C1DEabcEc         E5Ed9CEd98F60EF4Dd3132691            recommended as the                32847
                                                                                                                                                                                     funds were transferred to
                                                                                                                                                                                     a new wallet 0x48..2691
                                                                                                                                                                                     and are still in the wallet.

                                                                                                                                                                                     Not an exchange.
                            0x32fd0e99b3974e00f1084723ca59                                                      0xB6B5780CDF82462                                                                                      20240722
            4                                                           30194.71           37.75                                                                                     Real-time monitoring
                            886e91d4442e912d21bc23ada658c4ecb2a9                                                7318cd1868A70727EC81dFECB                                                                              61947
                                                                                                                                                                                     recommended.

            Total                                                       79994.71           100


           Fund Flow 3
           Total Stolen Funds USDT 100
           Transaction Hash Traced: 0x969f9972702eb96be9e9095d0894676dbbecfa80330a5538a62fb14027831861
           For Fund Flow 3, we tracked 100 USDT. The transactions within this flow include:

             A transaction with hash 0xf9e32bf889dc78ba01fd9025d5b6f04364b43341540933d0d404816d59693bf8 , tracking 20.75 USDT, which is 20.75% of the total stolen funds, ending at the address
               0x54FAC0c5a4c45D671b57FD965Df051718Da64dc6 .


             Another transaction with hash 0xa02e6e698809ca42300406a2836e7217dbb6d644080ce36fcb533797ee3d1646 , tracking 79.25 USDT, accounting for 79.25% of the stolen funds, ending at the address
               0xA9D1e08C7793af67e9d92fe308d5697FB81d3E43 which we identified as the Coinbase exchange.


                                                                                                Percentage of Total
                                                                          Stolen Funds                                                                 Final Destination Addresses                              Last Transaction
            Sub Fund Flow   Transaction Hash                                                    Stolen Funds          Final Destination Addresses                                       Exchange Name
                                                                          Traced USDT                                                                Identifiable KYC                                       Date
                                                                                                Traced %

                                                                                                                                                                                        Not an exchange.
                            0xf9e32bf889dc78ba01fd9025d5b                                                             0x54FAC0c5a4c45D67                                                Real-time               20240622
            1                                                             20.75                 20.75
                            6f04364b43341540933d0d404816d59693bf8                                                     1b57FD965Df051718Da64dc6                                          monitoring              130211
                                                                                                                                                                                        recommended.

                                                                                                                                                       0x093a414747eeb4d                                        20240710 02511
                            0xa02e6e698809ca42300406a283                                                              0xA9D1e08C7793af67e
            2                                                             79.25                 79.25                                                  913d90a250731fcf7ca2097fe        Coinbase                (for Coinbase
                            6e7217dbb6d644080ce36fcb533797ee3d1646                                                    9d92fe308d5697FB81d3E43
                                                                                                                                                       Coinbase deposit)                                       Deposit)

            Total                                                         100                   100



           Fund Flow 4
           Total Stolen Funds USDT 99713.94
           Transaction Hash Traced: 0xf61b3a1d77590958549b8e251ef6acef9940b643d4c71a24c36e9f06aaf31d3a
           For Fund Flow 4, we traced 99713.94 USDT. The major sub fund flows are:

             A transaction with hash 0xa02e6e698809ca42300406a2836e7217dbb6d644080ce36fcb533797ee3d1646 , tracking 875.3 USDT, representing 0.88% of the stolen funds, ending at the address
                0xA9D1e08C7793af67e9d92fe308d5697FB81d3E43 .which is the Coinbase Exchange and we detected the Coinbase deposit account which is linked to a KYC procedure and should allow the authorities to

               request identification data from Coinbase.

             Another transaction, 0xe2ef6806a4ef8aacfd106d6bac96ca2ce9929724c4115135d6fba391d2bd398a , traced 48924.7 USDT 49.07%, and another 49813.94 USDT 49.96%, both ending at the address
                0x89e51fA8CA5D66cd220bAed62ED01e8951aa7c40, which is the Kraken Exchange and we detected the Kraken deposit account which is linked to a KYC procedure and should allow the authorities to

               request identification data from Kraken.

                                                                                                   Percentage of Total
                                                                                Stolen Funds                                                              Final Destination Addresses       Exchange                Last Transaction
            Sub Fund Flow   Transaction Hash                                                       Stolen Funds          Final Destination Addresses
                                                                                Traced USDT                                                             Identifiable KYC                Name                    Date
                                                                                                   Traced %

                                                                                                                                                          0x093a414747eeb4d9                                        20240710 02511
                            0xa02e6e698809ca42300406a2836e7217dbb6d6                                                     0xA9D1e08C7793af67e
            1                                                                   875.3              0.88                                                   13d90a250731fcf7ca2097fe          Coinbase                for Coinbase
                            44080ce36fcb533797ee3d1646                                                                   9d92fe308d5697FB81d3E43
                                                                                                                                                          Coinbase Deposit)                                        Deposit

                                                                                                                                                          0x8c14c1215A5b32830                                       20240725
                            0xe2ef6806a4ef8aacfd106d6bac96                                                               0x89e51fA8CA5D66cd
            2                                                                   48924.7            49.07                                                  537F6255079a9802A020891           Kraken                  155023 for Kraken
                            ca2ce9929724c4115135d6fba391d2bd398a                                                         220bAed62ED01e8951aa7c40
                                                                                                                                                          (Kraken Deposit)                                          Deposit

                                                                                                                                                          0x8c14c1215A5b32830                                       20240725
                            0xe2ef6806a4ef8aacfd106d6bac96                                                               0x89e51fA8CA5D66cd
            3                                                                   49813.94           49.96                                                  537F6255079a9802A020891           Kraken                  155023 for Kraken
                            ca2ce9929724c4115135d6fba391d2bd398a                                                         220bAed62ED01e8951aa7c40
                                                                                                                                                          (Kraken Deposit)                                          Deposit

            Total                                                               99713.94           100



           Fund Flow 5
           Total Stolen Funds USDT 99864.9
           Transaction Hash Traced: 0xf8454ba13e7f6f53065a3a07b3731ed65f9a62044bff96547f99c2affdb844b0
           For Fund Flow 5, a total of 99864.9 USDT was traced. Significant sub fund flows include:

             A transaction with hash 0x903987ea4ea1315d967e52c706dd35db2f260deb353ffa8b9341d3545cd34c18 tracking 100 USDT 0.10%, 3189.3 USDT 3.19%, 6312 USDT 6.32%, 85400 USDT 85.52%, and
               4863.6 USDT 4.87%, all ending at the address 0x28C6c06298d514Db089934071355E5743bf21d60 which is the Binance exchange and we detected the Binance deposit account which is linked to a KYC
               procedure and should allow the authorities to request identification data from Binance.




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                                                                                           Percentage of Total
                                                                         Stolen Funds                                                                  Final Destination Addresses          Exchange          Last Transaction
            Sub Fund Flow     Transaction Hash                                             Stolen Funds Traced      Final Destination Addresses
                                                                         Traced USDT                                                                 Identifiable KYC                   Name              Date
                                                                                           %

                                                                                                                                                       0x8bf9538e6d36a20
                              0x903987ea4ea1315d967e52c706d                                                         0x28C6c06298d514                                                                          20240709 50011
            1                                                            100               0.10                                                        466b40d1e873b137e68dbf5f3            Binance
                              d35db2f260deb353ffa8b9341d3545cd34c18                                                 Db089934071355E5743bf21d60                                                                for Binance Deposit
                                                                                                                                                       (Binance Deposit)

                                                                                                                                                       0x8bf9538e6d36a2
                              0x903987ea4ea1315d967e52c706d                                                         0x28C6c06298d514                                                                          20240709 50011
            2                                                            3189.3            3.19                                                        0466b40d1e873b137e68dbf5f3           Binance
                              d35db2f260deb353ffa8b9341d3545cd34c18                                                 Db089934071355E5743bf21d60                                                                for Binance Deposit
                                                                                                                                                       (Binance Deposit)

                                                                                                                                                       0x8bf9538e6d36a20
                              0x903987ea4ea1315d967e52c706d                                                         0x28C6c06298d514                                                                          20240709 50011
            3                                                            6312              6.32                                                        466b40d1e873b137e68dbf5f3            Binance
                              d35db2f260deb353ffa8b9341d3545cd34c18                                                 Db089934071355E5743bf21d60                                                                for Binance Deposit
                                                                                                                                                       (Binance Deposit)

                                                                                                                                                       0x8bf9538e6d36a20
                              0x903987ea4ea1315d967e52c706d                                                         0x28C6c06298d514                                                                          20240709 50011
            4                                                            85400             85.52                                                       466b40d1e873b137e68dbf5f3            Binance
                              d35db2f260deb353ffa8b9341d3545cd34c18                                                 Db089934071355E5743bf21d60                                                                for Binance Deposit
                                                                                                                                                       (Binance Deposit)

                                                                                                                                                       0x8bf9538e6d36a20
                              0x903987ea4ea1315d967e52c706dd                                                        0x28C6c06298d514                                                                          20240709 50011
            5                                                            4863.6            4.87                                                        466b40d1e873b137e68dbf5f3            Binance
                              35db2f260deb353ffa8b9341d3545cd34c18                                                  Db089934071355E5743bf21d60                                                                for Binance Deposit
                                                                                                                                                       (Binance Deposit)

            Total                                                        99864.9           100



           Fund Flow 6
           Total Stolen Funds USDT 25020
           Transaction Hash Traced: 0xf21efb834dce433f81ae490ea6942588ddb46e0dda1914152182deb4fa66c5cf
           Fund Flow 6 traced a total of 25020 USDT. Key transactions include:

             A transaction with hash 0x79000d37b725752108c04bb1b28abb4d784e8535804d2d65db2e20ac3656c029 , tracking 14782.55 USDT 59.08%, ending at the address 0x5041ed759Dd4aFc3a72b8192C143F72f4724081A .

             Another transaction with hash 0xec59c14859549c0d7491c24591be40a51a8cbde1780ee2aea100af59761efa9b , tracking 10237.44 USDT 40.92%, also ending at the address
                0x5041ed759Dd4aFc3a72b8192C143F72f4724081A which is the OKX exchange and we detected the OKX deposit account which is linked to a KYC procedure and should allow the authorities to request

               identification data from OKX.

                                                                                                    Percentage of
                                                                                Stolen Funds                                                               Final Destination Addresses       Exchange           Last Transaction
            Sub Fund Flow     Transaction Hash                                                      Total Stolen Funds   Final Destination Addresses
                                                                                Traced USDT                                                              Identifiable KYC                Name               Date
                                                                                                    Traced %

                                                                                                                                                           0xdA22870E0Bd8713                                    20240720
                              0x79000d37b725752108c04bb1b28abb4d784e853                                                  0x5041ed759Dd4aFc
            1                                                                   14782.55            59.08                                                  3250fbC319476E278D7af93c2         OKX                141747 for OKX
                              5804d2d65db2e20ac3656c029                                                                  3a72b8192C143F72f4724081A
                                                                                                                                                           (OKX Deposit)                                        Deposit

                                                                                                                                                           0xdA22870E0Bd8713                                    20240720
                              0xec59c14859549c0d7491c24591be                                                             0x5041ed759Dd4aFc
            2                                                                   10237.44            40.92                                                  3250fbC319476E278D7af93c2         OKX                141747 for OKX
                              40a51a8cbde1780ee2aea100af59761efa9b                                                       3a72b8192C143F72f4724081A
                                                                                                                                                           (OKX Deposit)                                        Deposit

            Total                                                               25020               100



           Fund Flow 7
           Total Stolen Funds USDT 3008
           Transaction Hash Traced: 0x0a02dfe55b57e90a560808cbdf044eda34f33f0b5e7fa33be25f9236b12feb11

           In Fund Flow 7, we tracked 3008 USDT. The key transaction within this flow is:

             A transaction with hash 0xec59c14859549c0d7491c24591be40a51a8cbde1780ee2aea100af59761efa9b , tracking the full amount of 3008 USDT 100%, ending at the address
                0x5041ed759Dd4aFc3a72b8192C143F72f4724081A which is the OKX exchange and we detected the OKX deposit account which is linked to a KYC procedure and should allow the authorities to request

               identification data from OKX.

                                                                                            Percentage of Total
                                                                        Stolen Funds                                                                   Final Destination Addresses         Exchange           Last Transaction
            Sub Fund Flow     Transaction Hash                                              Stolen Funds Traced       Final Destination Addresses
                                                                        Traced USDT                                                                  Identifiable KYC                  Name               Date
                                                                                            %

                                                                                                                                                       0xdA22870E0Bd8713                                      20240720
                              0xec59c14859549c0d7491c24591b                                                           0x5041ed759Dd4aFc
            1                                                           3008                100                                                        3250fbC319476E278D7af93c2           OKX                141747 for OKX
                              e40a51a8cbde1780ee2aea100af59761efa9b                                                   3a72b8192C143F72f4724081A
                                                                                                                                                       (OKX Deposit)                                          Deposit

            Total                                                       3008                100



           Fund Flow 8
           Total Stolen Funds USDT 5010
           Transaction Hash Traced: 0x288225f0c9d72fea283d9b2c6ce81f5bff7f9d4961872b0465726407e737face

           For Fund Flow 8, we traced a total of two stolen amounts.
           The first flow (8a) represents a total of 5010 USDT. Key transactions within this flow include:

             A transaction with hash 0x288225f0c9d72fea283d9b2c6ce81f5bff7f9d4961872b0465726407e737face , tracking 5010 USDT 100%, ending at the address 0x956Ba55F24c5e47DB8B72d8cF44B60a88560fD3D .

            Sub Fund Flow A   Transaction Hash                         Stolen Funds Traced USDT     Percentage of Total Stolen Funds Traced %   Final Destination Addresses          Exchange Name

                              0x288225f0c9d72fea283d9b2c6ce81                                                                                       0x956Ba55F24c5e47                    Not an exchange, Ethereum address.
            1                                                          5010                           100
                              f5bff7f9d4961872b0465726407e737face                                                                                   DB8B72d8cF44B60a88560fD3D            Real-time monitoring is recommended

            Total                                                      5010                           100

           The second flow (8b) represents a total of 12020 USDT. Key transactions within this flow include:

                                                                                                   Percentage of
                                                                                                                                                                                                                     Last
                                                                                Stolen Funds       Total Stolen                                                                                  Exchange
            Sub Fund Flow     Transaction Hash                                                                      Final Destination Addresses            KYC                                                       Transaction
                                                                                Traced USDT      Funds Traced                                                                                  Name
                                                                                                                                                                                                                     Date
                                                                                                   %

                              0x7136e932901efcc72e1ea547b3aad                                                       0x28C6c06298d514                       0x7d732b8fff5e1fcbf
            2                                                                   103,6              0,8618968386                                                                                  Binance
                              8ef86e0bbf0e92f89540cf67f2c87072d26                                                   Db089934071355E5743bf21d60             7c384c8ed1577209d7ed48f

                                                                                                                                                                                                 Not an
                                                                                                                                                                                                 exchange.
                              0x19f8a5b90571dbcb812f294c324                                                         0x2D81D4d86765df                                                                                 20240627
            3                                                                   200                1,663893511                                                                                   Real-time
                              bdc908bcef1510f7a98e5eb3eb50d0206c2c7                                                 01B5a29EAF4609F5Fe0fc6988e                                                                       215723
                                                                                                                                                                                                 monitoring
                                                                                                                                                                                                 recommended.

                              0x041d0c5b1b5ffafc4bf5d296bc713                                                       0x46340b20830761e
            4                                                                   10,01              0,08327787022                                                                                 Crypto.com
                              7bf02748dea4cc00fb1cbed076b1716cc4e                                                   fd32832A74d7169B29FEB9758

                                                                                                                                                                                                 Change Now
                              0xed55266974cbf2261075ecfeb9861                                                       0x48c04ed5691981C4
            5                                                                   373,95             3,111064892                                                                                   No KYC
                              9a523d69e4d5dc4e37c71db0bf71626e420                                                   2154C6167398f95e8f38a7fF
                                                                                                                                                                                                 exchange)




Tracking The Stolen Funds  Ethereum                                                                                                                                                                                                4
                                                                                                                                                                                                                COHN0406
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                                                                                                   Percentage of
                                                                                                                                                                                                           Last
                                                                                 Stolen Funds      Total Stolen                                                                          Exchange
            Sub Fund Flow    Transaction Hash                                                                      Final Destination Addresses       KYC                                                   Transaction
                                                                                 Traced USDT     Funds Traced                                                                          Name
                                                                                                                                                                                                           Date
                                                                                                   %

                             0x796c4da2629c50522f830e79838                                                         0x89e51fA8CA5D66
            6                                                                    200               1,663893511                                                                           Kraken
                             436f105609140962af5d1366213e54c60cc0e                                                 cd220bAed62ED01e8951aa7c40

                             0x7f2435970ae540d1a3f39fc89575                                                        0xA9D1e08C7793af67
            7                                                                    312               2,595673877                                                                           Coinbase
                             c9e9fd434041a803f2967182ab2ca0472032                                                  e9d92fe308d5697FB81d3E43

                                                                                                                                                                                         Not an
                                                                                                                                                                                         exchange.
                             0xbdc3f0c3dff75c620817b1b2c3ee                                                        0xC876D4d503a3E1C
            8                                                                    291,63            2,426206323                                                                           Real-time
                             36190b8fc24f60c35b26a23131dfea8e3f44                                                  616126633DC8cBA6C1c1C2eab
                                                                                                                                                                                         monitoring
                                                                                                                                                                                         recommended.

                                                                                                                                                                                         Not an
                                                                                                                                                                                         exchange.
                             0xd323a54cc0288b02ed9fc9db87a6                                                        0x8e49D0017e1f597e4Cb06E0FEEE
            9                                                                    10                0,08319467554                                                                         Real-time
                             4b802ed94685cefffa49699601807a7b415d                                                  0663F3cDdF451
                                                                                                                                                                                         monitoring
                                                                                                                                                                                         recommended.

                             0xe884ad06277cd997faa01b3813a4f                                                       0x46340b20830761efd32832A74d
            10                                                                   100               0,8319467554                                                                          Crypto.com
                             b693ecd4cdf9c0667b6f624ca16706e394b                                                   7169B29FEB9758

                             0x4668b66db7d9a2537632dc1a4b979d4a415ffa79                                            0xA9D1e08C7793af67
            11                                                                   188               1,5640599                                                                             Coinbase
                             c3c679c3b60ac9932fd34d4d                                                              e9d92fe308d5697FB81d3E43

                                                                                                                                                                                         Not an
                                                                                                                                                                                         exchange.
                             0x505304c16d5381d4f09056692b3                                                         0xf2B86610c44A33c
            12                                                                   11,97             0,09958402662                                                                         Real-time
                             ed9cae76c7eb2ca1c0989b143823148869d83                                                 D8cbaecBcb4d8472C04e1C95c
                                                                                                                                                                                         monitoring
                                                                                                                                                                                         recommended.

                                                                                                                                                                                                           20240724
                                                                                                                                                     0x6d7c64808be889
                             0xdfd75541b66c7adb9413ad961c5                                                         0x28C6c06298d51                                                                         200059 for
            13                                                                   100               0,8319467554                                      d12b97d812b6e54d9594c87a1c          Binance
                             848d8ac782a5cdaea68dfc37461f5eaa5fdf9                                                 4Db089934071355E5743bf21d60                                                             Binance
                                                                                                                                                     Binance Deposit)
                                                                                                                                                                                                           Deposit

                             0x2be6e7d0e871fc00b024a535d5f7                                                        0x18bD32cde2aF9cb                                                                       20240704
            14                                                                   25,29             0,2103993344
                             1393db1c4e58f309fb797118b7abb089b1c9                                                  D8227352eDD8d18d47573a473                                                               203935

                             0xbf7de8ae1065f25492a6d764d0c1b                                                       0x5041ed759Dd4aFc3                0x59dca074075b8d62                                    20240629
            15                                                                   9000              74,87520799                                                                           OKX
                             3e78091d8a9a259120cf812d3232ad721b1                                                   a72b8192C143F72f4724081A          2d50bf8bdb78d2d168764fb0                              02247

                             0x9bd7db0316efaa2460b2e5c9443b                                                        0xA9D1e08C7793af67
            16                                                                   770               6,405990017                                                                           Coinbase
                             7979ac6f685a4b8ddf72421bd3b5e589d33b                                                  e9d92fe308d5697FB81d3E43

                                                                                                                                                     0x5d8814d1268d70d
                             0x8b8136db2e474e8b925da0aabbbb                                                        0x5041ed759Dd4aFc                                                                       20240728
            17                                                                   86,15             0,7167221298                                      89c2ee8cdf9e14ff64902fce6 OKX      OKX
                             2821af3f78d6727a3f961ee19b10b066240f                                                  3a72b8192C143F72f4724081A                                                               94423
                                                                                                                                                     Deposit)

                                                                                                                                                                                                           20240726
                             0x15ffc21d8cb9760d8997b2361f8e23                                                      0x28C6c06298d514                  0x16bae474cbdfca7214196decf6e7                        200059 for
            18                                                                   218,56            1,818302829                                                                           Binance
                             966541a4dfdeea68ad200f5185560c0f38                                                    Db089934071355E5743bf21d60        4e856dd09e10 Binance Deposit)                        Binance
                                                                                                                                                                                                           deposit

                                                                                                                                                                                                           20240710
                                                                                                                                                     0x8bd3596bd1d0e448
                             0x75e22c9f54493d5cff106633a701                                                        0x28C6c06298d514                                                                        161435 for
            19                                                                   18,83             0,156655574                                       4ff29df420399b6e9197e3f4            Binance
                             6ce5ae61c627e4947baa0a6aa58c2b268f83                                                  Db089934071355E5743bf21d60                                                              Binance
                                                                                                                                                     (Binance Deposit)
                                                                                                                                                                                                           Deposit

            Sub Total B                                                          12019,99          99,99991681




           Fund Flow 9
           Total Stolen Funds USDT 300
           Transaction Hash Traced: 0x5b61e928690324f194e7deab1185b0d1461afdcea42f7a3fe7658fe39891fb0b
           Fund Flow 9 tracked 300 USDT, moved in a single significant transaction:

             A transaction with hash 0x6a3816490f10c34b0424b673a1e869c10e081fc2cfe8c0e46132030085dc2797 , tracking the full amount of 300 USDT 100%, ending at the address
                0x28C6c06298d514Db089934071355E5743bf21d60, which is the Binance exchange and we detected the Binance deposit account which is linked to a KYC procedure and should allow the authorities to

               request identification data from Binance.

                                                                                            Percentage of Total
                                                                      Stolen Funds                                                               Final Destination Addresses       Exchange           Last Transaction
            Sub Fund Flow    Transaction Hash                                               Stolen Funds Traced    Final Destination Addresses
                                                                      Traced USDT                                                              Identifiable KYC                Name               Date
                                                                                            %

                                                                                                                                                 0x8bf9538e6d36a20
                             0x6a3816490f10c34b0424b673a1e86                                                       0x28C6c06298d514D                                                                  20240709 50011
            1                                                         300                   100                                                  466b40d1e873b137e68dbf5f3         Binance
                             9c10e081fc2cfe8c0e46132030085dc2797                                                   b089934071355E5743bf21d60                                                          for Binance Deposit
                                                                                                                                                 Binance Deposit)

            Total                                                     300                   100



           Fund Flow 10
           Total Stolen Funds USDT 49229.43
           Transaction Hash Traced: 0x9eca3f4f800f8c8179d7dcab5daf004ca6545dc6cfc5b0e9ca41aabdd0a46d0b
           In Fund Flow 10, we traced a total of 49229.43 USDT. Key transactions include:

             A transaction with hash 0xe2ef6806a4ef8aacfd106d6bac96ca2ce9929724c4115135d6fba391d2bd398a , tracking 186.05 USDT 0.38%, ending at the address 0x89e51fA8CA5D66cd220bAed62ED01e8951aa7c40 .

             The same transaction, 0xe2ef6806a4ef8aacfd106d6bac96ca2ce9929724c4115135d6fba391d2bd398a , traced 49043.38 USDT 99.62%, also ending at the address 0x89e51fA8CA5D66cd220bAed62ED01e8951aa7c40 which
               is the Kraken Exchange and we detected the Kraken deposit account which is linked to a KYC procedure and should allow the authorities to request identification data from Kraken.

                                                                                            Percentage of Total
                                                                        Stolen Funds                                                              Final Destination Addresses       Exchange           Last Transaction
            Sub Fund Flow    Transaction Hash                                               Stolen Funds Traced    Final Destination Addresses
                                                                        Traced USDT                                                             Identifiable KYC                Name               Date
                                                                                            %

                                                                                                                                                  0x8c14c1215A5b3283                                   20240725
                             0xe2ef6806a4ef8aacfd106d6bac96                                                        0x89e51fA8CA5D66c
            1                                                           186.05              0.38                                                  0537F6255079a9802A020891          Kraken             155023 for Kraken
                             ca2ce9929724c4115135d6fba391d2bd398a                                                  d220bAed62ED01e8951aa7c40
                                                                                                                                                  Kraken Deposit)                                     Deposit

                                                                                                                                                  0x8c14c1215A5b328                                    20240725
                             0xe2ef6806a4ef8aacfd106d6bac96                                                        0x89e51fA8CA5D66
            2                                                           49043.38            99.62                                                 30537F6255079a9802A020891         Kraken             155023 for Kraken
                             ca2ce9929724c4115135d6fba391d2bd398a                                                  cd220bAed62ED01e8951aa7c40
                                                                                                                                                  Kraken Deposit)                                     Deposit

            Total                                                       49229.43            100




Tracking The Stolen Funds  Ethereum                                                                                                                                                                                         5
                                                                                                                                                                                                         COHN0407
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           Tracking ETH Funds on Ethereum
           Stolen Funds Overview
           Total ETH Transferred to Scammer

                Amount: 0.6320 ETH

                Equivalent in USD $1852.64

                Destination 0x9e88decd4b770ff51cb023d18364a3743ff18297 Scammer Main ETH 1

                Transaction hash: 0xa0e60d233931a134a102839f5579e9bb86a5a3eb16862c6b25a6d4d22e09295d

                Date of Transfer: July 7th, 2024

            ETH Flow            Transaction Hash of Transfer to Scammer           Total Amount ETH    Value in Dollars   Date             Destination

                                0xa0e60d233931a134a102839f557
            1                                                                     0,6320 ETH            $1852.64           July 7th, 2024   0x9e88decd4b770ff51cb023d18364a3743ff18297
                                9e9bb86a5a3eb16862c6b25a6d4d22e09295d


           ETH Fund Flow Summary Table
            Details                  Final Destination Address Scammer)                     Total Amount ETH

            Fund Flow 1              0xf3b0073e3a7f747c7a38b36b805247b222c302a3              0,2629

            Fund Flow 2              0x03f34be1bf910116595db1b11e9d1b2ca5d59659              0,3599

            Fund Flow 2              0x0e747eb2ff0f26fb77c3a1ea67ee07fac2dbb783              0,0001

            Fund Flow 3              0x9e88decd4b770ff51cb023d18364a3743ff18297              0,003

            Fund Flow 3              0x03f34be1bf910116595db1b11e9d1b2ca5d59659              0,0053

            Sub Total                                                                        0,6312

            Remaining funds in
                                     0x9e88decd4b770ff51cb023d18364a3743ff18297              0,002052716852867
            scammer wallet

            Total                                                                            0,6320


           Overview of Fund Movement
           The stolen funds in ETH were mixed with other Ether sent from the same address, transited through five intermediary addresses, then arrived at a new transit address that subsequently sent the
           funds into two different flows.

             Initial Transfer:

                      The victim funds were sent to the scammer address 0x9e88decd4b770ff51cb023d18364a3743ff18297 .

                      First transfer: 0.623 ether is sent to 0x217d465337cc8603c0db7c0c3cd8827c49b1b7bc .

                      Second transfer: 0.0083 ether is sent to 0x28b9b9f69f5c8fd2a2697fc183a8c160e285728f Flow 3

             Subsequent Transfers:

                      From 0x217d465337cc8603c0db7c0c3cd8827c49b1b7bc , 0.623 ether is transferred to 0x3cfbf79066d6f77edc072fddada30069627318f1 .

                      0x3cfbf79066d6f77edc072fddada30069627318f1   then sends 0.623 ether to 0xf9b627cbc3f3d0de8ebdc6527a34ed5d41588c22 .

                      The pattern continues through several addresses, each transfer involving 0.623 ether:

                          0xf9b627cbc3f3d0de8ebdc6527a34ed5d41588c22   to 0x490196e855c913d3396cdf092c80d8ba2f79451d .

             Flow Diversification:

                      At 0x490196e855c913d3396cdf092c80d8ba2f79451d , the funds are split:

                          0x4b0f575a469f63c788cb436410617aa7a1a159b9   receives 0.3601 ether Flow 2

                          0x3fc1bcf8dc7cbe2da9cf3169ae94e4e0a34210fc   receives 0.2629 ether. Flow 1




           Flow 1: 0.2629 ETH
           Total Stolen Funds ETH 0.2629 Ether
           Transaction Hash Traced: 0x06e60f83cdf16ab127ab946f83b8a39b8026b29762c4ada37bf0cc583c375cf6

           The 0.2629 ETH portion was then sent from 0x490196e855c913d3396cdf092c80d8ba2f79451d and transited through three intermediary addresses before arriving at the Crypto.com wallet.

             A transaction with hash 0x5a204cd0d99f48ffa26321a807fa0d4f0a8d252fe2fd1861265bdf7c08c1b0a9 , tracking 0.2629 ETH, ending at the address 0x3fc1bcf8dc7cbe2da9cf3169ae94e4e0a34210fc .

             A transaction with hash 0x814f836c9f456786321e1cff805e63ce62dbc3e0cc77f7f81a49298f91bd8bc2 , tracking 0.2629 ETH, ending at the address 0x26e40a8e8b294cefb35a7c7788af8038148ab5cb .

             A transaction with hash 0x86ea2cc84cdc6e57ee6840dbe02e4c3318b86b7d34435871af5a6633d41da9c9 , tracking 0.2629 ETH, ending at the address 0xb9156170659b6c220913b7a36dedb764aa768715 .

             A transaction with hash 0x07262814c670a23e76ac7de2b4dfa97d1a38382a8dd2f255a80eadbeedb8aa21 , tracking 0.2629 ETH, ending at the address 0xf3b0073e3a7f747c7a38b36b805247b222c302a3 which is a
               Crypto(.)com exchange wallet.

            Sub Fund Flow       Transaction Hash                                     Stolen Funds Traced USDT     Final Destination Addresses   Exchange Name

                                0x07262814c670a23e76ac7de2b4dfa97d1a38382                                           0xf3b0073e3a7f747c7a38b3
            1                                                                        0,2629                                                       Crypto.com
                                a8dd2f255a80eadbeedb8aa21                                                           6b805247b222c302a3

            Total                                                                    0,2629

           The transaction hash provides a unique identifier for this transfer, allowing us to trace the exact movement of funds. The arrival of 0.2706 ETH into the Crypto.com Hot Wallet indicates a
           significant checkpoint in the fund flow. As Crypto.com requires KYC Know Your Customer) compliance for its users, contacting Crypto.com will be crucial to obtain the KYC identity linked to this
           address, which may reveal the scammer's real identity or, at the very least, block any remaining funds.

           Recommendations:
           Immediate Action with Crypto.com: Contact Crypto.com with the transaction details to request the KYC identity linked to the address 0xf3b0073e3a7f747c7a38b36b805247b222c302a3 . Emphasize the
           urgency due to the nature of the fraud and the potential need to freeze the account.


           Flow 2: 0.3601 ETH
           Total Stolen Funds ETH 0,3601 Ether
           Transaction Hash Traced: 0x06e60f83cdf16ab127ab946f83b8a39b8026b29762c4ada37bf0cc583c375cf6

             A transaction with hash 0xc298a47df345a2a2e5412abf7d25f313782b6e3ac866fc250ef09ea33a69ad39 , tracking 0.3599 ETH, ending at the address 0x03f34be1bf910116595db1b11e9d1b2ca5d59659 which is a DEX
               TokenIon.

             A transaction with hash 0x8ae35b4dc6946320cad3cdc1eac21b45f73cced00b3e69433e5f105e735722f8 , tracking 0.0001 ETH, ending at the address 0x0e747eb2ff0f26fb77c3a1ea67ee07fac2dbb783 which is a ChainUp
               Custody. The final destination of this sub flow is ChainUp Custody which is an Exchange.




Tracking The Stolen Funds  Ethereum                                                                                                                                                                                   6
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            Sub Fund Flow    Transaction Hash                               Stolen Funds Traced USDT   Final Destination Addresses   Exchange Name

                             0xc298a47df345a2a2e5412abf7d25f313782b6e                                    0x03f34be1bf910116595d
            1                                                               0,3599                                                     DEX TokenIon
                             3ac866fc250ef09ea33a69ad39                                                  b1b11e9d1b2ca5d59659

                             0x8ae35b4dc6946320cad3cdc1eac21b45f73c                                      0x0e747eb2ff0f26fb77c3a
            2                                                               0,0001                                                     ChainUp Custody
                             ced00b3e69433e5f105e735722f8                                                1ea67ee07fac2dbb783

            Total                                                           0,36




           Flow 3: 0,0083 Ether
           Total Stolen Funds: 0,0083 Ether

           Transaction Hash Traced: 0x638781f5cea222b1cad6228ca96a604a52f56a4afdac8f6ae833c7f5014ff637

             A transaction with hash 0x9e88decd4b770ff51cb023d18364a3743ff18297 , tracking 0.003 ETH, ending at the address 0x9e88decd4b770ff51cb023d18364a3743ff18297 which is not an exchange. The funds are still
               in the wallet, and real-time monitoring on this address is recommended.

             A transaction with hash 0x8ae35b4dc6946320cad3cdc1eac21b45f73cced00b3e69433e5f105e735722f8 , tracking 0.0053 ETH, ending at the address 0x03f34be1bf910116595db1b11e9d1b2ca5d59659 which is a DEX
               TokenIon.

            Sub Fund Flow    Transaction Hash                                        Stolen Funds Traced USDT   Final Destination Addresses   Exchange Name

                             0x9e88decd4b770ff51cb0                                                               0x9e88decd4b770ff51cb0        Not an exchange.
            1                                                                        0,003
                             23d18364a3743ff18297                                                                 23d18364a3743ff18297          Real-time monitoring recommended as the funds are still in the wallet.

                             0x8ae35b4dc6946320c                                                                  0x03f34be1bf910116595
            2                                                                        0,0053                                                     DEX TokenIon
                             ad3cdc1eac21b45f73cced00b3e69433e5f105e735722f8                                      db1b11e9d1b2ca5d59659

            Total                                                                    0,0083




Tracking The Stolen Funds  Ethereum                                                                                                                                                                                     7
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                                                                                   COHN0410
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            Tracing The Stolen Funds - Bitcoin
            This investigation report presents a comprehensive analysis of the stolen funds traced on the Bitcoin blockchain. Our objective is to provide a detailed, transparent account of
            the movement of these funds, ensuring that authorities can effectively pursue legal action against the perpetrators. In this investigation, a total of 30.79222815 BTC was stolen,
            which has been traced through ten different flows of funds. The aim is to understand the movement of these stolen bitcoins across different transactions and addresses.



            Fund Flow Segmentation
            Tracking the BTC Flows: This section focuses on the tracking of stolen BTC. We follow the movement of the funds through multiple transactions, providing detailed information
            on each sub fund flow. This includes the initial transaction hash, amounts traced, and final destinations.

            Fund Flows per Transaction: We segmented the flow of stolen BTC funds into individual fund flows by transactions. These fund flows represent distinct paths that the stolen
            funds have taken for each transaction. Each fund flow is introduced with a summary, including the total stolen funds and key transaction hashes. We then provide a detailed
            table for each fund flow, outlining the following:
            Methodology for Tracking Different Flows:

              Initial Transaction Identification: Each fund flow starts with the identification of the initial transaction where the stolen BTC was first transferred. This transaction is the
                entry point for our tracking process and includes the transaction hash, the sender's and receiver's addresses, and the amount of BTC transferred.

              Subsequent Transaction Tracking: After identifying the initial transaction, we trace the movement of funds through subsequent transactions. Each subsequent transaction
                is documented with its unique hash, the addresses involved, the amount transferred, and the block number.

              Amount Traced and Aggregation: For each transaction within a fund flow, we record the specific amount of stolen BTC traced. This amount is aggregated to provide the
                total BTC traced within the entire fund flow. The percentage of the total stolen funds represented by each sub fund flow is calculated to understand the distribution of the
                stolen funds.

              Final Destination Addresses: The final destination addresses are identified for each sub fund flow. These addresses represent the endpoint of the traced funds within the
                fund flow. For better identification of the perpetrators, we also record the exchange deposit accounts associated with KYC Know Your Customer) identities. This linkage
                helps in quickly identifying and apprehending the individuals involved in the theft.

            By meticulously documenting each step of the stolen funds' journey, we aim to provide authorities with the critical information needed to track down and apprehend those
            responsible. All the data extracted and analyzed as well as the visualization of the fund flows are in the Appendix.



            Algorithm for Tracking Stolen BTC Funds on Bitcoin
            Overview
            In our investigation of the stolen BTC funds on the Bitcoin blockchain, we developed an advanced algorithm designed to trace the flow of these funds through various
            transactions and addresses. This algorithm leverages several techniques to ensure accurate tracking and identification of stolen funds, even when they are mixed with other
            funds or split across multiple transactions. Below, we detail the working of this algorithm and the rationale behind its design, which is crucial for authorities to understand the
            methodology and validate our findings.

            Procedure
            Bitcoin operates on a UTXO model, which stands for Unspent Transaction Output. This model is fundamental to how Bitcoin transactions are recorded and validated on the
            blockchain. Hereʼs a step-by-step breakdown of the process:

              Transactions and Outputs:

                    Each Bitcoin transaction consists of inputs and outputs. Inputs are references to UTXOs from previous transactions, and outputs are new UTXOs created by the
                    transaction.

                    When a Bitcoin user sends BTC, they are effectively creating new outputs from the inputs UTXOs) they own.

              Unspent Transaction Outputs UTXOs):

                    UTXOs are the outputs of transactions that have not yet been spent. These are recorded on the Bitcoin blockchain and represent the actual Bitcoin that users can
                    spend.

                    Each UTXO has a specific amount of BTC and a cryptographic address (or script) that specifies the conditions under which it can be spent.


            Tracking Stolen BTC with UTXOs
            Tracking stolen BTC involves tracking the movement of UTXOs through the blockchain. Hereʼs how we use this process during our investigation:

              Identifying Initial UTXOs:

                    Begin by identifying the UTXOs that were stolen. This is typically done by analyzing the transaction where the theft occurred, marking the specific outputs UTXOs) that
                    represent the stolen BTC.

              Transaction History Analysis:

                    Trace the movement of these UTXOs from the point of theft. Every time a UTXO is spent, it becomes an input in a new transaction, which in turn creates new UTXOs.

                    By following the chain of transactions, we can see how the stolen BTC moves through the network.

              Address and Transaction Linking:

                    Each transaction is recorded on the blockchain with a unique identifier and includes details of the inputs (previous UTXOs) and outputs (new UTXOs).

                    By analyzing these details, we can link different addresses and transactions, forming a chain that shows the flow of the stolen funds. The algorithm ensures that every
                    transaction involving stolen funds is meticulously tracked. The algorithm begins by identifying the initial transaction hashes where the stolen funds were first detected.
                    From these initial points, the algorithm follows the trail of the funds as they move through various addresses and transactions

                       Transaction List
                       ec4ef08dde10a0563df6b5e2b6ab8467479a319d0f140a934d94042982bbe44a
                       742a6fd03369ba793791296eac2a587640f998a6cda9411874777dc1b3faa08b
                       d8ffb97d6e83a17ba01405f8a797356021305c746faea06a854d038a1274e514
                       d92e6f47b42b51e976df9263aee79afe2e1ba4d70fc5c47792f8493a609c9f86
                       af6d845e19398cae8b9bc6e763bb42ed11dbcf0af57a2ebbb68f6fce4759253a
                       4a6d29abd324ffe138759c662a29614219a744bba0d0a012621a1409b2e167a4
                       acb5467720ee522df0a6060f206f9bb121e53477e0da329d84cffd6299c5950f
                       479c18812c0b242525a774ab644b5fd761eaffcc6293d66fa29fbf6a5be794c7




Tracing The Stolen Funds  Bitcoin                                                                                                                                                                 1
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                       da6e9f4f1b81d94f46d34adf0ddd5450cba6f151356033637ef11f54d5585206
                       710a2851b750d84ddcd7634dfb85879f00ac7242f928d89cd519ad64e81c6fcb


              Pattern Recognition and Anomaly Detection:

                    The algorithm detects patterns typical of money laundering, such as the splitting of stolen funds into smaller amounts (a process known as “peelingˮ) to obscure the
                    trail. Despite such tactics, the underlying UTXO model ensures that each piece of BTC can be traced back through its transaction history.

              Segregation of Stolen Funds: By distinguishing between the stolen funds and other legitimate funds within the same transactions, the algorithm accurately isolates the
                stolen BTC. This ensures that our tracking focuses solely on the stolen funds, eliminating potential confusion caused by mixed transactions.

              Prevention of Double-Counting: The first visit tracking mechanism ensures that the same transaction amount is not counted multiple times. This is particularly important
                when analyzing multiple transactions involving stolen funds, as it prevents inflation of the traced amounts and maintains accuracy.

              Identification of Exchange Points: Flagging potential exchange transactions helps in identifying critical points where the stolen funds might be converted to other assets or
                withdrawn. This information is crucial for understanding the final disposition of the stolen funds and identifying potential avenues for recovery.


            Algorithm: Methodology and Rationale
            The rationale for our Bitcoin algorithm differs from our Ethereum approach; instead of using the FIFO First-In-First-Out) method, we employed the UTXO Unspent Transaction
            Output) model to trace the movement of funds and LOF.
            In our investigation of the stolen BTC funds on the Bitcoin blockchain, we employed two advanced tracking techniques: "Large Outputs First" LOF and "Diluted Tracking"
            DT. Our choice of these techniques was guided by their effectiveness in accurately tracking the movement of funds through multiple transactions and addresses, even when
            the funds are split or mixed with other transactions. Here, we provide a detailed explanation of these techniques and the rationale behind their use in our algorithm.

            Large Outputs First (LOF)
            Description:
            The LOF technique prioritizes tracking funds by filling the larger UTXOs Unspent Transaction Outputs) first when a transaction splits into multiple outputs. This method
            assumes that larger outputs are more likely to represent significant portions of the stolen funds, making it easier to follow the main flow of the funds.
            Example:
            Suppose we are tracking 1 BTC, and the transaction has two outputs:

                Output A 0.75 BTC

                Output B 0.35 BTC

            Using the LOF technique, we trace the funds by allocating them to the larger output first. Therefore, we would account for 0.75 BTC in flow A and 0.25 BTC in flow B.
            Rationale:
            The rationale behind the LOF technique is to simplify the tracking process by focusing on the larger, more significant outputs. This approach helps to quickly identify the
            primary paths taken by the stolen funds, reducing the complexity of tracking through numerous smaller transactions.

            Diluted Tracking (DT)
            Description:
            The DT technique distributes the traced funds across all outputs proportionally when a transaction splits into multiple UTXOs. This method provides a more granular view of
            how the stolen funds are dispersed across different outputs.

            Example:
            Using the same example of tracking 1 BTC with two outputs:

                Output A 0.75 BTC

                Output B 0.35 BTC

            The DT technique allocates the funds proportionally. Therefore, we would account for:

                Flow A 0.5625 BTC 0.75  0.75

                Flow B 0.1875 BTC 0.35  0.75

            Rationale:
            The rationale behind the DT technique is to provide a comprehensive view of the distribution of stolen funds. By proportionally allocating the funds across all outputs, this
            method captures the dispersion and mixing of funds, which is crucial for understanding complex laundering schemes.

            Choice of Technique in Our Report
            In this investigation, we only used the LOF technique to trace the stolen BTC funds. The choice of LOF was based on its ability to quickly and clearly identify the main paths
            taken by the stolen funds, making it easier for authorities to follow and verify the flow of funds.
            While we did not use the DT technique to trace and identify the fund flows in this report, we recognize its value in providing a detailed understanding of the potential
            distribution of stolen funds. Therefore, we have provided an extensive file with all the data obtained through the DT technique, so that authorities can study it if needed. The
            file name is Diluted_Tracking.zip



            Tracking BTC Funds on Bitcoin
            In this section, we present a detailed overview of the tracked BTC funds. The summary table below consolidates the information of each fund flow, highlighting the destination
            addresses. This table provides a clear snapshot of how the stolen funds were moved and their final destinations, enabling authorities to efficiently understand the flow of
            transactions and identify key addresses involved.


            Stolen Funds Overview
            Total Transferred to Scammer on Bitcoin:

                Amount: 30,79222815 BTC

                Number of transfer transactions: 10

                Equivalent in USD $1 951 258,49

                Destination 1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1 Scammer BTC

                Transaction hash: 0xa0e60d233931a134a102839f5579e9bb86a5a3eb16862c6b25a6d4d22e09295d


            Fund Flow Overview
              Identifying the scammer address:




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                     The victim addresses sent BTC to 1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1, labeled as Scammer 1.

                     From Scammer 1, funds were transferred to intermediate addresses.

              Flow Through Exchanges: Almost all the funds ended up at exchanges, indicating attempts to cash out or further obfuscate the origin.

            Fund Flow Summary Table

                                                                                                                                                                            Percentage of Total
             Fund Flow          Transaction Hash of Transfer to Scammer                                   Final Destination Address Scammer)         Total Amount BTC
                                                                                                                                                                            Stolen Funds

             Fund Flow 1        ec4ef08dde10a0563df6b5e2b6ab8467479a319d0f140a934d94042982bbe44a          1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1          2,1224911             6,89%

             Fund Flow 2        d92e6f47b42b51e976df9263aee79afe2e1ba4d70fc5c47792f8493a609c9f86          1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1          0,27553885            0,89%

             Fund Flow 3        742a6fd03369ba793791296eac2a587640f998a6cda9411874777dc1b3faa08b          1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1          2,00002583            6,50%

             Fund Flow 4        d8ffb97d6e83a17ba01405f8a797356021305c746faea06a854d038a1274e514          1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1          0,31274893            1,02%

             Fund Flow 5        af6d845e19398cae8b9bc6e763bb42ed11dbcf0af57a2ebbb68f6fce4759253a          1n9wzc4Bbb8vYvXugeFBfLsfqC5NC1WcN           3,55451311            11,54%

             Fund Flow 6        4a6d29abd324ffe138759c662a29614219a744bba0d0a012621a1409b2e167a4          1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1          0,37402321            1,21%

             Fund Flow 7        acb5467720ee522df0a6060f206f9bb121e53477e0da329d84cffd6299c5950f          1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1          5,03340001            16,35%

             Fund Flow 8        479c18812c0b242525a774ab644b5fd761eaffcc6293d66fa29fbf6a5be794c7          1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1          8,29360511            26,93%

             Fund Flow 9        da6e9f4f1b81d94f46d34adf0ddd5450cba6f151356033637ef11f54d5585206          1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1          3,20312268            10,40%

             Fund Flow 10       710a2851b750d84ddcd7634dfb85879f00ac7242f928d89cd519ad64e81c6fcb          1BHxG3Zbn4TQ9a9Y8JWs3uR7y5C4hZMCA1          5,62275932            18,26%

             Total                                                                                                                                    30,79222815           100%


            Fund Flow Destination Address Summary Table

             Fund Flow          Address                                      Tx hash                                                                Name              Exchange         Amount

                                                                                                                                                    Scammer
             1                  16gWSWQ8nJ6QiiuCj8Ya9ADVZVD4LRRQyy           26e4a7fd227d5568257ef7f9a56ec902e90f0aa6f52ea3f8f93cc45ebf01e40f       Binance           Binance          2.12249119
                                                                                                                                                    Deposit

                                                                                                                                                    Scammer
             2                  16gWSWQ8nJ6QiiuCj8Ya9ADVZVD4LRRQyy           26e4a7fd227d5568257ef7f9a56ec902e90f0aa6f52ea3f8f93cc45ebf01e40f       Binance           Binance          0.27605752
                                                                                                                                                    Deposit

                                                                                                                                                    Zedxion           Zedxion
             3                  17y7A2SUCZpjdKmdAJq2rD4Js6Z89jehgi           1236d82dd849c21a597caeff3aa7152af27c1b82a76f7eb8180115de5ca4ef3d                                          1.12235025
                                                                                                                                                    Exchange          Exchange

                                                                                                                                                    Scammer
             3                  16gWSWQ8nJ6QiiuCj8Ya9ADVZVD4LRRQyy           26e4a7fd227d5568257ef7f9a56ec902e90f0aa6f52ea3f8f93cc45ebf01e40f       Binance           Binance          0.87759818
                                                                                                                                                    Deposit

                                                                                                                                                    Scammer
             4                  1JYByGQYMHzRMSpha7f3bT6V2qv1NVkNVj           0f5fc11dc462fd4010b9ed0a5acbd9768a7bfbc27d892ec720878c4c8bd55c7d       Binance           Binance          0.3127987
                                                                                                                                                    Deposit

                                                                                                                                                    Zedxion           Zedxion
             5                  1n9wzc4Bbb8vYvXugeFBfLsfqC5NC1WcN            fba8ad8de0bd047dbb140b2489a26dff625bab63f0a78bea85f8a3380db0f37c                                          3.55362967
                                                                                                                                                    Exchange          Exchange

                                                                                                                                                    Zedxion           Zedxion
             6                  17y7A2SUCZpjdKmdAJq2rD4Js6Z89jehgi           1236d82dd849c21a597caeff3aa7152af27c1b82a76f7eb8180115de5ca4ef3d                                          0.37322951
                                                                                                                                                    Exchange          Exchange

                                                                                                                                                    Scammer
             7                  1JYByGQYMHzRMSpha7f3bT6V2qv1NVkNVj           b6e69e185819e804fe962ad6fcf78dc333791466d19b64b3d70d5da081a79d52       Binance           Binance          5.03
                                                                                                                                                    Deposit

                                                                                                                                                    Zedxion           Zedxion
             8                  1n9wzc4Bbb8vYvXugeFBfLsfqC5NC1WcN            8a4c8a7b102213d18e2a402d060a0e4b8afed2849c9ff45c5731d29fc277071c                                          8
                                                                                                                                                    Exchange          Exchange

                                                                                                                                                    Zedxion           Zedxion
             8                  1n9wzc4Bbb8vYvXugeFBfLsfqC5NC1WcN            8a4c8a7b102213d18e2a402d060a0e4b8afed2849c9ff45c5731d29fc277071c                                          0.29277468
                                                                                                                                                    Exchange          Exchange

             9                  3NdBc2vgwxWt4jjUeoYshqibXPRD5NrL7C           1406fad819a09058d3c78ddaa181460f17414ac7b04fd7bc4105b848ada8ab5e       OKX               OKX              3.20233953

             10                 3NdBc2vgwxWt4jjUeoYshqibXPRD5NrL7C           1406fad819a09058d3c78ddaa181460f17414ac7b04fd7bc4105b848ada8ab5e       OKX               OKX              1.79652607


            Fund Flow 1
            Total Stolen Funds BTC 2.12249119

            Transaction Hash Traced: ec4ef08dde10a0563df6b5e2b6ab8467479a319d0f140a934d94042982bbe44a

            For Fund Flow 3, we tracked 2.12249119 BTC. The transactions within this flow include:

              A transaction with hash 202b8f068ed33a2cc41703695b70000affa6cb6c0071c81b7bb9a26a512fc8c6 , Tracking 2.12249119 BTC, accounting for 100% of the stolen funds, ending at the address
                  3QxMfPmU4vpsHJM1QS7whvUX373jwrDWYK   identified as "Scammer ETH Transit 1".

              A further transaction with hash a81045f352978426f9c15b2ea840f3766a474cbce38135da4f77cf1e3c9f981f , Tracking 2.12249119 BTC, accounting for 100% of the stolen funds, ending at the
                  address 3M8ohR58UwmwhqagAoALRJBnmBxsyb1X6E identified as "Scammer Transit BTC 9".

              Another transaction with hash 89c8b038d3f766a8900d17be17f432eaf9b63fa7bfebd6e6777b183262d24051 , Tracking 2.12249119 BTC, accounting for 100% of the stolen funds, ending at the
                  address 1AQeNmsQmjWW7SVvp4NeHcb8nWdrghLsJ7 identified as "Scammer Transit BTC 10".

              A final transaction with hash 26e4a7fd227d5568257ef7f9a56ec902e90f0aa6f52ea3f8f93cc45ebf01e40f , Tracking 2.12249119 BTC, accounting for 100% of the stolen funds, ending at the
                  address 16gWSWQ8nJ6QiiuCj8Ya9ADVZVD4LRRQyy identified as "Scammer Binance Deposit 3".

            In the table below you will find the final exchange accounts that trace to the stolen funds:

                                                                                                                       Percentage of
                                                                                                        Stolen Funds   Total Stolen                                                  Exchange
             Sub Fund Flow      Transaction Hash                                                                                        Final Destination Addresses
                                                                                                        Traced BTC   Funds Traced                                                  Name
                                                                                                                       %

             1                  26e4a7fd227d5568257ef7f9a56ec902e90f0aa6f52ea3f8f93cc45ebf01e40f        2.12240182     100%             16gWSWQ8nJ6QiiuCj8Ya9ADVZVD4LRRQyy           Binance

            This table clearly demonstrates the flow of the stolen BTC through various addresses, ending at a Binance deposit address, which can be used by authorities to trace the
            identity behind the deposit address.




            Flow 2



Tracing The Stolen Funds  Bitcoin                                                                                                                                                                   3
                                                                                                                                                                                      COHN0413
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            Total Stolen Funds BTC 0.27605752
            Transaction Hash Traced: d92e6f47b42b51e976df9263aee79afe2e1ba4d70fc5c47792f8493a609c9f86

            In the table below you will find the final exchange accounts that trace to the stolen funds:

                                                                                                                       Percentage of
                                                                                                      Stolen Funds     Total Stolen                                                 Exchange
             Sub Fund Flow     Transaction Hash                                                                                             Final Destination Addresses
                                                                                                      Traced BTC     Funds Traced                                                 Name
                                                                                                                       %

             1                 26e4a7fd227d5568257ef7f9a56ec902e90f0aa6f52ea3f8f93cc45ebf01e40f       0.27547773       99.8%                16gWSWQ8nJ6QiiuCj8Ya9ADVZVD4LRRQyy      Binance

            This table clearly demonstrates the flow of the stolen BTC through various addresses, ending at a Binance deposit address, which can be used by authorities to trace the
            identity behind the deposit address.




            Flow 3
            Total Stolen Funds BTC 2.00002583

            Transaction Hash Traced: 742a6fd03369ba793791296eac2a587640f998a6cda9411874777dc1b3faa08b
            For Fund Flow 3, we tracked 2.00002583 BTC. The final transactions within this flow include:

                 A transaction with hash 1236d82dd849c21a597caeff3aa7152af27c1b82a76f7eb8180115de5ca4ef3d , tracking 1.67356162 BTC, accounting for 83.64% of the stolen funds, ending at the
                 address 17y7A2SUCZpjdKmdAJq2rD4Js6Z89jehgi .which is a Zedxion Exchange address.

                 A further transaction with hash 1236d82dd849c21a597caeff3aa7152af27c1b82a76f7eb8180115de5ca4ef3d , tracking 0.32646421 BTC, accounting for 16.36% of the stolen funds, ending at
                 the address bc1qcznc7kj5gsgjx459yz2jtjfj8yufl0n3h2m8jt .

            In the table below you will find the final exchange accounts that trace to the stolen funds:

                                                                                                                       Percentage of
                                                                                                      Stolen Funds     Total Stolen                                                 Exchange
             Sub Fund Flow     Transaction Hash                                                                                             Final Destination Addresses
                                                                                                      Traced BTC     Funds Traced                                                 Name
                                                                                                                       %

             1                 26e4a7fd227d5568257ef7f9a56ec902e90f0aa6f52ea3f8f93cc45ebf01e40f       0.87759818       43.88%               16gWSWQ8nJ6QiiuCj8Ya9ADVZVD4LRRQyy      Binance

                                                                                                                                                                                    Zedxion
             2                 1236d82dd849c21a597caeff3aa7152af27c1b82a76f7eb8180115de5ca4ef3d       1.12235025       56.12%               17y7A2SUCZpjdKmdAJq2rD4Js6Z89jehgi
                                                                                                                                                                                    Exchange

            This table clearly demonstrates the flow of the stolen BTC through various addresses, ending at a Binance deposit address and a Zedxion Exchange address, which can be
            used by authorities to trace the identity behind the deposit address.


            Flow 4
            Total Stolen Funds BTC 0.31274893

            Transaction Hash Traced: d8ffb97d6e83a17ba01405f8a797356021305c746faea06a854d038a1274e514
            In the table below you will find the final exchange accounts that trace to the stolen funds:

                                                                                                                        Percentage of
                                                                                                       Stolen Funds     Total Stolen                                                Exchange
             Sub Fund Flow     Transaction Hash                                                                                             Final Destination Addresses
                                                                                                       Traced BTC     Funds Traced                                                Name
                                                                                                                        %

             1                 0f5fc11dc462fd4010b9ed0a5acbd9768a7bfbc27d892ec720878c4c8bd55c7d        0.31267635       100%                1JYByGQYMHzRMSpha7f3bT6V2qv1NVkNVj      Binance




            Flow 5
            Total Stolen Funds BTC 3,55451311

            Transaction Hash Traced: af6d845e19398cae8b9bc6e763bb42ed11dbcf0af57a2ebbb68f6fce4759253a
            In the table below you will find the final exchange accounts that trace to the stolen funds:

                                                                                                                         Percentage of
                                                                                                        Stolen Funds     Total Stolen                                               Exchange
             Sub Fund Flow     Transaction Hash                                                                                               Final Destination Addresses
                                                                                                        Traced BTC     Funds Traced                                               Name
                                                                                                                         %

                                                                                                                                                                                    Zedxion
             1                 fba8ad8de0bd047dbb140b2489a26dff625bab63f0a78bea85f8a3380db0f37c         3.55362967       99.9%                1n9wzc4Bbb8vYvXugeFBfLsfqC5NC1WcN
                                                                                                                                                                                    Exchange




            Flow 6
            Total Stolen Funds BTC 0.37402321

            Transaction Hash Traced: 4a6d29abd324ffe138759c662a29614219a744bba0d0a012621a1409b2e167a4
            In the table below you will find the final exchange accounts that trace to the stolen funds:

                                                                                                                       Percentage of
                                                                                                     Stolen Funds                                                                  Exchange
             Sub Fund Flow     Transaction Hash                                                                        Total Stolen Funds     Final Destination Addresses
                                                                                                     Traced BTC                                                                  Name
                                                                                                                       Traced %

                                                                                                                                                                                   Zedxion
             1                 1236d82dd849c21a597caeff3aa7152af27c1b82a76f7eb8180115de5ca4ef3d      0.37322951        99.79%                 17y7A2SUCZpjdKmdAJq2rD4Js6Z89jehgi
                                                                                                                                                                                   Exchange




            Flow 7
            Total Stolen Funds BTC 5.03340001

            Transaction Hash Traced: acb5467720ee522df0a6060f206f9bb121e53477e0da329d84cffd6299c5950f

            In the table below you will find the final exchange accounts that trace to the stolen funds:




Tracing The Stolen Funds  Bitcoin                                                                                                                                                                  4
                                                                                                                                                                                   COHN0414
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                                                                                                                     Percentage of
                                                                                                      Stolen Funds   Total Stolen                                             Exchange
             Sub Fund Flow     Transaction Hash                                                                                         Final Destination Addresses
                                                                                                      Traced BTC   Funds Traced                                             Name
                                                                                                                     %

             1                 b6e69e185819e804fe962ad6fcf78dc333791466d19b64b3d70d5da081a79d52       5              99.34%             1JYByGQYMHzRMSpha7f3bT6V2qv1NVkNVj    Binance

             2                 b6e69e185819e804fe962ad6fcf78dc333791466d19b64b3d70d5da081a79d52       0.03254496     0.66%              1JYByGQYMHzRMSpha7f3bT6V2qv1NVkNVj    Binance




            Flow 8
            Total Stolen Funds BTC 8.29360511

            Transaction Hash Traced: 479c18812c0b242525a774ab644b5fd761eaffcc6293d66fa29fbf6a5be794c7
            In the table below you will find the final exchange accounts that trace to the stolen funds:

                                                                                                                     Percentage of
                                                                                                     Stolen Funds    Total Stolen                                             Exchange
             Sub Fund Flow     Transaction Hash                                                                                          Final Destination Addresses
                                                                                                     Traced BTC    Funds Traced                                             Name
                                                                                                                     %

                                                                                                                                                                              Zedxion
             1                 8a4c8a7b102213d18e2a402d060a0e4b8afed2849c9ff45c5731d29fc277071c      8               96.47%              1n9wzc4Bbb8vYvXugeFBfLsfqC5NC1WcN
                                                                                                                                                                              Exchange

                                                                                                                                                                              Zedxion
             2                 8a4c8a7b102213d18e2a402d060a0e4b8afed2849c9ff45c5731d29fc277071c      0.29277468      3.53%               1n9wzc4Bbb8vYvXugeFBfLsfqC5NC1WcN
                                                                                                                                                                              Exchange




            Flow 9
            Total Stolen Funds BTC 3.20312268

            Transaction Hash Traced: da6e9f4f1b81d94f46d34adf0ddd5450cba6f151356033637ef11f54d5585206
            In the table below you will find the final exchange accounts that trace to the stolen funds:

                                                                                                                     Percentage of
                                                                                                     Stolen Funds                                                             Exchange
             Sub Fund Flow     Transaction Hash                                                                      Total Stolen        Final Destination Addresses
                                                                                                     Traced BTC                                                             Name
                                                                                                                     Funds Traced %

             1                 1406fad819a09058d3c78ddaa181460f17414ac7b04fd7bc4105b848ada8ab5e      3.20233953      99.98%              3NdBc2vgwxWt4jjUeoYshqibXPRD5NrL7C   OKX




            Flow 10
            Total Stolen Funds BTC 5.62275932

            Transaction Hash Traced: 710a2851b750d84ddcd7634dfb85879f00ac7242f928d89cd519ad64e81c6fcb

            In the table below you will find the final exchange accounts that trace to the stolen funds:

                                                                                                                     Percentage of
                                                                                                     Stolen Funds                                                             Exchange
             Sub Fund Flow     Transaction Hash                                                                      Total Stolen        Final Destination Addresses
                                                                                                     Traced BTC                                                             Name
                                                                                                                     Funds Traced %

             1                 1406fad819a09058d3c78ddaa181460f17414ac7b04fd7bc4105b848ada8ab5e      1.79652607      31.95               3NdBc2vgwxWt4jjUeoYshqibXPRD5NrL7C   OKX




Tracing The Stolen Funds  Bitcoin                                                                                                                                                       5
                                                                                                                                                                              COHN0415
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                                                                                   COHN0416
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          Recommended Course of Action
          Recommended Course of Action
          Urgency for Action
          Our investigation has confirmed that these addresses were actively receiving stolen funds as recently as July, 28th.

           Immediate action is imperative for the following reasons

               Prevention of Further Losses: Rapid intervention by the authorities can lead to the freezing of these accounts, thereby preventing
               additional financial losses.

               Potential for Future Transactions: These addresses have shown activity in July, indicating the possibility of receiving more funds
               imminently. Quick action can intercept and block these fraudulent transactions.

          Recommended Actions
          First recommendation: Active Monitoring

          Real-time monitoring should be initiated for the identified ethereum and bitcoin addresses who have remaining stolen funds in their
          balance to track any movements of the remaining stolen funds. Continuous observation will help identify any suspicious activity, allowing
          for immediate intervention to prevent further illicit transactions.

          The risk that these funds could be moved or spent remains significant. Monitoring these addresses will enable authorities to intercept
          and block any future transactions, thereby minimizing potential financial losses. This ongoing vigilance can also provide valuable
          information to law enforcement agencies, aiding in the identification and prosecution of the scammers.

          Second Recommendation: Immediate Reporting

          Collaboration with Exchange Platforms is essential. Leveraging their KYC protocols can help track any linked accounts attempting to
          withdraw or move the stolen funds. Additionally, requesting the freezing of any accounts associated with these addresses can prevent
          further illicit activities.

          Immediate Steps to Take
             Notify Exchange Platforms: Promptly inform Exchange Platforms of the identified scam-related deposit addresses. Utilize their KYC
               protocols to potentially identify the scammer.

             Account Freezing: Request Exchange Platforms to freeze the accounts associated with these addresses to prevent any further
               fraudulent activity.

             Law Enforcement Coordination: Collaborate with relevant law enforcement agencies to ensure a coordinated and swift response to
               the identified addresses and associated scam network.

             Ongoing Monitoring: Continue surveillance of these deposit addresses to detect and intercept any future transactions linked to
               fraudulent activities.

          Dismantling the Criminal Organization
          It is important to note that while this report focuses on the addresses directly linked to this scam, our investigation has uncovered
          hundreds more addresses involved in the criminal organization. Although these additional addresses were not the primary focus of this
          investigation, the data can be made available upon request to aid in the broader effort to dismantle this criminal network.

          By including these additional Bitcoin and Ethereum addresses in our monitoring efforts, we can gather crucial intelligence that goes
          beyond the immediate scam. This comprehensive surveillance will provide insights into the fraudulent organization's broader operations.
          Identifying and tracking these additional addresses will enable authorities to uncover the full extent of the network, including its key
          players and operational methods.

          Such detailed information is essential for law enforcement agencies to effectively target and dismantle the entire criminal enterprise,
          disrupting their activities and preventing future scams. This approach will not only aid in recovering stolen funds but also contribute to a
          more significant, long-term impact on combating organized financial fraud.



          Final Remarks
          This investigation report underscores the critical need for immediate action to mitigate further losses and facilitate the identification and
          prosecution of the scammer. Authorities are urged to act swiftly based on the evidence provided to prevent the continued exploitation of
          victims. The detailed analysis within this report aims to provide a clear and actionable roadmap for law enforcement agencies and
          relevant stakeholders.



          Nefture is dedicated to assisting the authorities throughout their investigation. We understand the complexities involved in tracking
          cryptocurrency transactions and are prepared to offer comprehensive support in several ways:




Recommended Course of Action                                                                                                                              1
                                                                                                                                           COHN0417
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             Additional Information: We are ready to provide any further details or clarifications needed regarding the transactions and
               addresses identified in this report. Our team can supply deeper insights into the methodologies used and the findings uncovered
               during our investigation.

             Collaborative Efforts: We are committed to working closely with law enforcement agencies, financial institutions, and other relevant
               parties. This collaboration can enhance the effectiveness of the investigation, ensuring that all available resources and expertise are
               utilized to track down the perpetrators.

          Disclaimer
          While we strive to offer the most accurate and comprehensive data possible, it is important to note that our findings are based on the
          information available at the time of the investigation. The dynamic nature of blockchain transactions means that new data can emerge,
          potentially altering the context or understanding of specific transactions. Consequently, we do not guarantee the absolute veracity of the
          findings and cannot take responsibility for any actions taken based on this report.
          We believe that the information provided in this report can significantly aid in the pursuit of justice and the recovery of stolen funds. By
          taking swift and informed action, authorities can mitigate further losses and prevent the continued exploitation of victims. Nefture
          remains at your disposal for any further assistance.




Recommended Course of Action                                                                                                                             2
                                                                                                                                           COHN0418
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                                                                                   COHN0419
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           Appendix - Supplementary Files
           This appendix provides a comprehensive list and explanation of all supplementary files included with this investigation report. These files
           contain detailed data and additional insights that support the findings presented in the report. Authorities are encouraged to review these
           files to gain a deeper understanding of the investigation and facilitate further analysis.

           All the supplementary files can be found in the following zip file: Investigation_Nefture.zip

           1. Bitcoin Fund Flows Data
           Filename: results-btc

           Description: This file contains detailed information about the traced Bitcoin fund flows, including transaction hashes, amounts,
           timestamps, and addresses involved. Each fund flow has its specific json file eg BTC1.json

           2. Diluted Tracing Data for Bitcoin
           Filename: diluted_tracing


           Description: This file contains the diluted tracing data for the Bitcoin fund flows. It provides a granular view of the distribution of stolen
           BTC across multiple outputs, allowing for a detailed analysis of fund dispersion.

           3. Ethereum USDT Fund Flows Data
           Filename: results_usdt.json

           Description: This file is a combined file and includes comprehensive data on the traced USDT fund flows on the Ethereum blockchain. It
           details transaction hashes, amounts, timestamps, and addresses involved in the movement of the stolen USDT.

           4. Ethereum ETH Fund Flows Data
           Filename: result_eth.json

           Description: This file is a combined file and presents the traced ETH fund flows on the Ethereum blockchain. It includes detailed records
           of transaction hashes, amounts, timestamps, and addresses involved in the movement of the stolen ETH.

           5. Transaction Visualizations Ethereum
           Filename: Visualizations ETH

           Filename: Visualizations USDT

           Description: This file contains visual representations of the fund flows for USDT and ETH on Ethereum. Each visualization is a png file
           and illustrates the path of the stolen funds, showing the relationships between transactions and addresses.

           6. Transaction Visualizations Bitcoin
           Filename: Visualizations BTC

           Description: This file contains visual representations of the fund flows for BTC on Bitcoin. Each visualization is a png file and illustrates
           the path of the stolen funds, showing the relationships between transactions and addresses.

           7. Pig Butchering Report
           Filename: Pig Butchering Report.html


           Description: This file is the report we wrote on this particular scam.




Appendix  Supplementary Files                                                                                                                              1
                                                                                                                                              COHN0420
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           Appendix Ethereum 1 - USDT Flow
           This appendix provides a detailed analysis of USDT flows using the Nefture Algorithm Tracing output. The visualizations
           included in this section illustrate the movement and distribution of USDT across various Ethereum addresses.

           Data Overview
           The analysis is based on the results-usdt.json file, which contains the complete data output from the Nefture Algorithm
           Tracing. The visualizations are provided in PNG and SVG formats for better clarity in ethereum-usdt file.

           The beginning of each fund flow in the results-usdt.json is marked with the following identifier:

                     "fundFlow": 1




           USDT Flow 1




           USDT Flow 2




           USDT Flow 3

Appendix Ethereum 1  USDT Flow                                                                                                        1
                                                                                                                            COHN0421
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           USDT Flow 4




Appendix Ethereum 1  USDT Flow                                                                                                 2
                                                                                                                     COHN0422
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           USDT Flow 5




Appendix Ethereum 1  USDT Flow                                                                                                 3
                                                                                                                     COHN0423
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           USDT Flow 6




Appendix Ethereum 1  USDT Flow                                                                                                 4
                                                                                                                     COHN0424
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           USDT Flow 7




Appendix Ethereum 1  USDT Flow                                                                                                 5
                                                                                                                     COHN0425
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           USDT Flow 8




Appendix Ethereum 1  USDT Flow                                                                                                 6
                                                                                                                     COHN0426
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           USDT Flow 9




Appendix Ethereum 1  USDT Flow                                                                                                 7
                                                                                                                     COHN0427
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           USDT Flow 10




Appendix Ethereum 1  USDT Flow                                                                                                 8
                                                                                                                     COHN0428
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           Appendix Ethereum 2 - ETH Flow
           This appendix provides a detailed analysis of ETH flows using the Nefture Algorithm Tracing output. The visualizations
           included in this section illustrate the movement and distribution of ETH across various Ethereum addresses.

           Data Overview
           The analysis is based on the results-eth.json file, which contains the complete data output from the Nefture Algorithm
           Tracing. The visualizations are provided in PNG and SVG formats for better clarity in the file.

           The beginning of each fund flow in the results-eth.json is marked with the following identifier:

                     "fundFlow": 1.2 (Fund flow 1 and 2 have the same output)




           Flow 1 and 2 [Combined]




           Flow 3




Appendix Ethereum 2  ETH Flow                                                                                                         1
                                                                                                                            COHN0429
                                 Case 1:24-cv-00337-MJT Document 9-1 Filed 09/09/24 Page 431 of 439 PageID #: 642




Appendix Ethereum 2  ETH Flow                                                                                                 2
                                                                                                                    COHN0430
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           Appendix #3 Bitcoin - BTC Flows
           This appendix provides a detailed analysis of BTC flows using the Nefture Algorithm Tracing output. The visualizations included in this
           section illustrate the movement and distribution of BTC across various Bitcoin addresses.

           Data Overview
           The analysis is based on the results-btc file, which contains the complete data output from the Nefture Algorithm Tracing. The
           visualizations are provided in PNG for better understanding of the flows.

           Flow 1




           Flow 2




Appendix #3 Bitcoin  BTC Flows                                                                                                                      1
                                                                                                                                        COHN0431
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           Flow 3




Appendix #3 Bitcoin  BTC Flows                                                                                                 2
                                                                                                                     COHN0432
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           Flow 4




Appendix #3 Bitcoin  BTC Flows                                                                                                 3
                                                                                                                     COHN0433
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           Flow 5




Appendix #3 Bitcoin  BTC Flows                                                                                                 4
                                                                                                                     COHN0434
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           Flow 6




           Flow 7




Appendix #3 Bitcoin  BTC Flows                                                                                                 5
                                                                                                                     COHN0435
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           Flow 8




           Flow 9




Appendix #3 Bitcoin  BTC Flows                                                                                                 6
                                                                                                                     COHN0436
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           Flow 10




Appendix #3 Bitcoin  BTC Flows                                                                                                 7
                                                                                                                     COHN0437
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                                                                                   COHN0438
